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         EXHIBIT A
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_____________________________________ x
                                          )           SUPERIOR COURT OF NEW JERSEY
TUMI, INC., SAMSONITE LLC, and            )           UNION COUNTY LAW DIVISION
DELILAH EUROPE INVESTMENTS                )
SARL,                                     )
                      Plaintiffs,         )           Docket No. UNN-L-_________________
    v.                                    )
                                          )
FACTORY MUTUAL INSURANCE                  )
COMPANY,                                  )           COMPLAINT AND JURY DEMAND
                      Defendant.          )
_____________________________________ x

        Plaintiffs Tumi, Inc., Samsonite LLC, and Delilah Europe Investments Sarl file this

Complaint for declaratory judgment in light of a coverage dispute with Defendant Factory Mutual

Insurance Company (“FMIC”), and FMIC's breach of contract and anticipatory breach of contract,

alleging the following:

                                     I.     INTRODUCTION

        1.        Tumi, Inc., Samsonite LLC, and Delilah Europe Investments Sarl, and their

subsidiaries and any partnerships and joint ventures in which they have management control or

ownership (collectively “Samsonite”) are Insureds under FMIC’s “All Risk” Master Global Policy.

This dispute arises from FMIC’s refusal to accept coverage for Samsonite’s claim for insurance

coverage under the “All Risk” Master Global Policy that FMIC sold to Samsonite.

        2.        Despite selling an insurance policy broadly covering Samsonite for “all risks of

physical loss or damage” to property (except as otherwise expressly excluded), as well as the




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resulting time element and extra expense losses, FMIC has refused to honor its full scope of

contractual obligations for a claim that is clearly covered.

          3.      FMIC must cover the loss sustained by Samsonite, which FMIC contractually

agreed to insure.

                                          II.     PARTIES

          4.      Tumi, Inc. is an Insured under FMIC’s “All Risk” Master Global Policy. It is

incorporated under the laws of the state of New Jersey with its principal place of business in New

Jersey.

          5.      Samsonite LLC is an Insured under FMIC’s “All Risk” Master Global Policy. It is

a limited liability company organized in the state of Delaware with its principal place of business

at 575 West Street, Suite 110, Mansfield, Massachusetts. The sole member of Samsonite LLC is

a holding company organized in the state of Delaware with its principal place of business at 575

West Street, Suite 110, Mansfield, Massachusetts.

          6.      Delilah Europe Investments Sarl is an Insured under FMIC’s “All Risk” Master

Global Policy. It is a Société à Responsabilité Limitée organized in Luxembourg with a principal

place of business at 13-15 Avenue de la Liberte, Luxembourg, L-1931, Luxembourg.

          7.      Samsonite operates in Union County, in New Jersey, in the United States and in

numerous countries around the globe.

          8.      FMIC is incorporated under the laws of the State of Rhode Island with its principal

place of business in Johnston, Rhode Island.

                                 III.   JURISDICTION AND VENUE

          9.      This Court has jurisdiction over this action because more than $15,000 is at issue;

FMIC has engaged in or carried out business in New Jersey, including by selling insurance to New


                                                   2

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Jersey residents and to the Samsonite insureds, covering their property and business operations in

New Jersey; there is a nexus between such FMIC’s and Samsonite’s businesses and this action;

and FMIC has engaged in, and continues to engage in, substantial business activity in New Jersey.

        10.       Indeed, FMIC is licensed to do business in New Jersey, and it transacts insurance

business in New Jersey.

        11.       FMIC is subject to jurisdiction in New Jersey by having acted for the purpose of

realizing pecuniary benefit in this State, and by contracting to insure policyholders, property, and

risks located within New Jersey.

        12.       Venue is proper in this Court under R. 4:3-2(a)(3) because the parties conduct

business here and have suffered losses here. Indeed, the Tumi Outlet Store and the Samsonite

Company Store are both at The Mills at Jersey Gardens in Elizabeth, New Jersey.

                                IV.    FACTUAL BACKGROUND

        13.       The Samsonite insureds are worldwide leaders in superior travel bags, luggage, and

accessories combining notable style with the latest design technology and the utmost attention to

quality and durability.

        14.       The Samsonite insureds sell their products in New Jersey and throughout the world

under the Samsonite® and Tumi® brand names as well as other owned and licensed brand names;

they do so through multiple distribution channels including wholesale distribution channels (e.g.,

department and specialty retail stores, mass merchants, warehouse clubs and e-retailers), through

company-operated retail stores and through e-commerce.

        15.       Prior to being forced to close in the midst of the coronavirus pandemic, thousands

of people visited Samsonite stores every day.

        16.       FMIC sold a comprehensive, global program of insurance to Samsonite.


                                                  3

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        17.       FMIC, operating as “FM Global,” markets itself as a “true business partner in risk

management and resilience.” FMIC claims it provides “property insurance coverage based on the

realities of your business and your particular property risk management challenged.”

        18.       On information and belief, FMIC represents to its policyholders that it evaluates all

claims in good faith, in a manner consistent with the plain language of the policy and pursuant to

the applicable law governing the interpretation of the relevant policy.

        19.       Samsonite paid substantial premium to purchase from FMIC the Master Global

Policy No. 1059326, with a policy period of November 1, 2019 to November 1, 2020 (“Policy”)

and other policies issued by it and its affiliates. The Policy is attached hereto as Exhibit A.

        20.       The Policy covers Samsonite’s property against “ALL RISKS OF PHYSICAL

LOSS OR DAMAGE, except as hereinafter excluded…” (Exhibit A, at 1, 8). 1

        21.       The Policy also affords coverage to Samsonite for Time Element Loss “directly

resulting from physical loss or damage of the type insured…” (Exhibit A, at 49).

        22.       The Policy provides up to one billion dollars in coverage. (Exhibit A, at 12).

        23.       FMIC agreed to cover Samsonite’s risk of loss in consideration of the substantial

premium that was paid by Samsonite.

        A.        COVID-19 is a Deadly Communicable Disease

        24.       COVID-19 is a deadly communicable disease that, as of January, 2021, has already

infected over 22.6 million people in the United States and caused more than 376,476 deaths.2




1
  The page number refers to the bates stamp number beginning “Samsonite 000001” at the bottom
right corner of each page.
2
   N.Y. Times, https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html (last
visited January 12, 2021).
                                               4

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        25.       The World Health Organization (“WHO”) declared the COVID-19 outbreak a

pandemic and President Trump declared a nationwide emergency due to the public health

emergency caused by the COVID-19 outbreak in the United States.

        26.       A pandemic, by definition, is an “epidemic occurring worldwide.”3

        27.       The incubation period for COVID-19 – i.e., the time between exposure (becoming

infected) and symptom onset – can be up to 14 days.4

        28.       During this period, known as the “pre-symptomatic” period, infected persons can

be contagious and disease transmission can occur before the infected person shows any symptoms

or has any reason to believe they are infected.5

        29.       In addition to being spread by human-to-human transfer, COVID-19 also can exist

on contaminated objects or surfaces.6

        30.       According to a study documented in The New England Journal of Medicine, SARS-

CoV-2 (the viral particle causing COVID-19) is detectable in aerosols for up to three hours, up to

24 hours on cardboard, and up to three days on plastic and stainless steel.7

        31.       Samsonite uses all of these materials at its stores and in its ordinary course of

business.



3
   Bulletin of the World Health Organization, https://www.who.int/bulletin/volumes/89/7/11-
088815/en/#:~:text=A%20pandemic%20is%20defined%20as,are%20not%20considered%20pan
demics.
4
  Centers for Disease Control & Prevention, Interim Clinical Guidance for Management of
Patients         with        Confirmed         Coronavirus       Disease       (COVID-19),
https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-management-patients.html.
5
  Id.
6
  National Institutes of Health, Study Suggests New Coronavirus May Remain On Surfaces For
Days (Mar. 24, 2020), https://www.nih.gov/news-events/nih-research-matters/study-suggests-
new-coronavirus-may-remain-surfaces-
days#:~:text=Scientists%20found%20that%20SARS%2D,to%20protect%20against%20infection
7
  New England Journal of Medicine, Aerosol & Surface Stability of SARS-CoV-2 As Compared
With SARS-CoV-1 (Apr. 16, 2020), https://www.nejm.org/doi/full/10.1056/nejmc2004973.
                                                5

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        32.       Individuals can become infected with COVID-19 through indirect contact with

surfaces or objects used by an infected person, whether they were symptomatic or not.

        33.       COVID-19 also can spread through airborne transmission.

        34.       The Centers for Disease Control (“CDC”) published a study in July 2020 that

concluded “droplet transmission was prompted by air-conditioned ventilation” that caused an

outbreak among people who dined in the same air-conditioned restaurant.8

        B. Closure Orders Because Of COVID-19 and Related Physical Loss Or Damage To
           Property.

        35.       On March 16, 2020, and directly because of COVID-19, the CDC and the national

Coronavirus Task Force, civil authorities regulating the effect of infectious disease, issued public

guidance titled “30 Days to Slow the Spread” of COVID-19. The guidance called for extreme

social distancing measures, such as working from home, avoiding gatherings of more than ten

people, and avoiding discretionary travel, such as shopping at retail stores.

        36.       Also to protect property from further loss or damage, officials from state and local

governments in the United States and abroad imposed directives requiring residents to shelter in

place or remain in their homes unless performing “essential” activities and certain businesses to

close (“Stay at Home Orders”).

        37.       More recently, some medical researchers have advised that HEPA and other

specialized air filtration systems can be used to remediate the presence of COVID-19.9




8
  Jianyun Lu et al., COVID-19 Outbreak Associated with Air Conditioning in Restaurant,
Guangzhou, China, 2020, Vol. 26, No. 7 (July 2020), https://wwwnc.cdc.gov/eid/article/26/7/20-
0764_article.
9
   Zeynep Tufekci, We Need to Talk About Ventilation, The Atlantic (July 30, 2020),
https://www.theatlantic.com/health/archive/2020/07/why-arent-we-talking-more-about-
airborne-transmission/614737/.
                                              6

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           38.    Because COVID-19 physically affects the property on which it is present and can

be transferred to individuals that come into contact with the surface of such property, thereby

infecting that individual, the Stay at Home Orders were issued directly because of damage to

property to minimize the spread of COVID-19 by reducing the likelihood of an individual’s

exposure to that property.

           39.    Likewise, as evidenced by the recent advice that HEPA and other specialized air

filtration systems can be utilized to remedy the presence of COVID-19, physical alteration of

property may be necessary to render it safe from COVID-19 and return the property to a useable

state.10

           40.    The Stay at Home Orders typically require businesses deemed “non-essential” to

be closed and in-person work is forbidden.

           41.    For example, on March 21, 2020, Governor Murphy signed Executive Order No.

107. That Executive Order, among other things, provided: “The brick-and-mortar premises of all

non-essential retail businesses must close to the public as long as this Order remains in effect.”

The Order further mandated that New Jersey residents remain at their place of residence unless

engaged in essential activities, cancelling gatherings of individuals. (N.J. Exec. Order 107,

attached as Exhibit B.)

           42.    On March 16, 2020, New York City Mayor Bill De Blasio issued Executive Order

No. 100, which was intended to minimize the spread of COVID-19, emphasizing that COVID-19

“physically is causing property loss and damage.” (N.Y.C. Exec. Order No. 100, attached as

Exhibit C.)




10
     Id.
                                                 7

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        43.       On March 19, 2020, the City of Los Angeles issued a “Safer at Home” order,

detailing how COVID-19 “can spread easily from person to person and it is physically causing

property loss or damage due to its tendency to attach to surfaces for prolonged periods of time.”

(Los Angeles Safer at Home Order, attached as Exhibit D.)

        44.       Positivity rates measure the number of positive tests from the total number of tests

administered and are used for determining whether a particular area is prepared to reopen.11

        45.       The WHO recommended that a particular area reach a 5% positivity rate or lower

before reopening.12

        46.       On March 28, 2020, the positivity rate for New York City was 71.2%, meaning that

for every 1,000 people tested, 712 people tested positive.13

        47.       While the positivity rates dipped slightly over the summer months, the autumn and

winter of 2020 proved to be significantly problematic. As of January 12, 2021, New Jersey was

“either actively experiencing an outbreak or [was] at extreme risk,” with a positivity rate of

12.7%.14

        48.       Some Stay at Home Orders have been in effect and have caused the suspension of

both non-essential and essential businesses.

        49.       Despite reopening and loosening of restrictions under the Stay at Home Orders,

many non-essential businesses have not returned operations to pre-loss levels.




11
   Johns Hopkins University & Medicine, Which U.S. States meet WHO Recommended Testing
Criteria? https://coronavirus.jhu.edu/testing/testing-positivity.
12
   Id.
13
   NYC Health, https://www1.nyc.gov/site/doh/covid/covid-19-data.page.
14
   https://covidactnow.org/us/new_jersey-nj?s=1506459.
                                                  8

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          50.      In some jurisdictions, new orders restricting or closing businesses have been issued

 as a direct result of a new presence of COVID-19, which has required some reopened stores to

 close again.

          51.      As a non-essential business with operations in locations under Stay at Home Orders,

 Samsonite has been required to comply with applicable orders.

          52.      Stay at Home Orders required complete closure of Samsonite Locations around the

 United States. Many of these locations have reopened, but are subject to government orders

 limiting operational capacity.

          53.      Similar government orders and directions in the U.S. and other countries have

 likewise restricted travel, imposed entry bans and border controls, and required Samsonite

 Locations around the world to close.

          54.      Moreover, China, Italy, France, Spain, and other countries have implemented the

 cleaning and fumigating of public areas prior to allowing them to re-open due to the intrusion of

 the coronavirus.

          55.      In the U.S., the CDC has issued guidelines for the cleaning and disinfecting of

 surfaces before businesses should reopen to the public. 15 In accordance with the CDC guidance:

                   Examples of frequently touched surfaces and objects that will need routine
                   disinfection following reopening are:

                         tables,
                         doorknobs,
                         light switches,
                         countertops,
                         handles,
                         desks,
                         phones,
                         keyboards,
                         toilets,

 15
      https://www.cdc.gov/coronavirus/2019-ncov/community/reopen-guidance.html
                                                9

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                         faucets and sinks,
                         gas pump handles,
                         touch screens, and
                         ATM machines.

         56.       In New Jersey, Governor Murphy issued Executive Order No. 122 (Requirements

 for Operation of Essential Retail Businesses) on April 8, 2020, which provides that essential retail

 businesses “must adopt policies that include, at minimum, the following requirements: . . . Require

 frequent sanitization of high-touch areas like restrooms, credit card machines, keypads, counters

 and shopping carts.” (New Jersey Order, attached as Exhibit E).

         57.       COVID-19 and relevant Orders, including Stay at Home Orders, have directly

 impacted Samsonite’s operations and Samsonite’s gross earnings and gross profit. They have also

 directly caused Samsonite to incur extra costs to temporarily continue as nearly normal as

 practicable the conduct of its business.

         58.       The restrictions and limitations on Samsonite’s operations have caused substantial

 damage.

         59.       Despite efforts to prioritize online sales in the midst of store closures due to

 COVID-19, Samsonite’s revenues nonetheless have dropped substantially.

         60.       Samsonite has suffered direct physical loss and/or damage to its property due to

 COVID-19 and the Stay at Home Orders.

         61.       Likewise, COVID-19 has caused direct physical loss and/or damage to property

 that Samsonite does not own, occupy, lease, rent, or have insured under the Policy.

         C.        Samsonite’s Policy

         62.       The Policy’s Declarations provides “This Policy covers property, as described in

 this Policy, against ALL RISKS OF PHYSICAL LOSS OR DAMAGE, except as hereinafter

 excluded, while located as described in this Policy.” (Exhibit A, at 8).
                                                   10

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         63.       The Named Insureds are Samsonite LLC, Tumi Inc. and Delilah Europe

 Investments Sarl and any subsidiary, as well as any partnership or joint venture in which Samsonite

 LLC, Tumi Inc. and Delilah Europe Investments Sarl has management control or ownership.

 (Exhibit A, at 8).

         64.       The Property Damage coverage section provides the Policy insures real and

 personal property on the Schedule of Locations or within 1,000 feet/300 meters thereof. (Exhibit

 A, at 20).

         65.       Indeed, the Schedule of Locations is a lengthy spreadsheet providing information

 concerning numerous locations worldwide, including in the United States, Canada, Mexico,

 Australia, Asia, and Europe. (Exhibit A, at 89-135).

         66.       The Property Damage coverage section also covers any location that is purchased,

 leased, or rented by the Insured after the inception date of the Policy.

         67.       As used herein, “Samsonite Location” refers to any location that is covered under

 the Policy.

         68.       The Property Damage coverage section includes “Additional Coverages for insured

 physical loss or damage.” (Exhibit A, at 21-48).

         69.       The Additional Coverages include, without limitation, “Claims Preparation Costs”

 or the reasonable fees payable to the Insured’s accountants, auditors, or other professionals, as well

 as the cost of using the Insured’s employees for preparing proofs, information or evidence

 concerning the claim for coverage as required by FMIC. (Exhibit A, at 33)

         70.       The Additional Coverages further include “Communicable Disease Response.”

 The Policy provides, in pertinent part, as follows:




                                                  11

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               If a location owned, leased or rented by the Insured has the actual not suspected
               presence of communicable disease and access to such location is limited, restricted or
               prohibited by:

               1) an order of an authorized governmental agency regulating the actual not suspected
                  presence of communicable disease; or

               2) a decision of an Officer of the Insured as a result of the actual not suspected
                  presence of communicable disease,

               this Policy covers the reasonable and necessary costs incurred by the Insured at such
               location with the actual not suspected presence of communicable disease for the:

               1) cleanup, removal and disposal of the actual not suspected presence of
                  communicable diseases from insured property; and

               2) actual costs of fees payable to public relations services or actual costs of using the
                  Insured’s employees for reputation management resulting from the actual not
                  suspected presence of communicable diseases on insured property.

               This Additional Coverage will apply when access to such location is limited, restricted
               or prohibited in excess of 48 hours.

               This Additional Coverage does not cover any costs incurred due to any law or
               ordinance with which the Insured was legally obligated to comply prior to the actual
               not suspected presence of communicable disease. . . . .

 (Exhibit A, at 34).

         71.       The Policy defines “Communicable Disease” as including “disease which is: …

 transmissible from human to human by direct or indirect contact with an affected individual or the

 individual’s discharges.” (Exhibit A, at 83).

         72.       By including Communicable Disease Response coverage as one of the “Additional

 Coverages for insured physical loss or damage,” the Policy expressly acknowledges that

 communicable disease causes “insured physical loss or damage.”

         73.       The Additional Coverages also include “Decontamination Costs,” as follows:

               If insured property is contaminated as a direct result of insured physical damage and
               there is in force at the time of the loss any law or ordinance regulating contamination
               due to the actual not suspected presence of contaminant(s), then this Policy covers, as

                                                    12

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               a direct result of enforcement of such law or ordinance, the increase cost of
               decontamination and/or removal of such contaminated insured property in a manner to
               satisfy such law or ordinance. This Additional Coverage applies only to that part of
               insured property so contaminated due to the actual not suspected presence of
               contaminant(s) as a direct result of insured physical damage.

 (Exhibit A, at 35-36).

         74.       The Policy defines “contaminant” as “anything that causes contamination;”

 “contamination” is defined as “any condition of property due to the actual or suspected presence

 of any foreign substance, impurity, pollutant, hazardous material, poison, toxin, pathogen or

 pathogenic organism, bacterial, virus, disease causing or illness causing agent, fungus, mold or

 mildew.” (Exhibit A, at 83).

         75.       By including Decontamination Costs coverage as one of the “Additional Coverages

 for insured physical loss or damage,” the Policy expressly acknowledges that contamination causes

 “insured physical loss or damage.”

         76.       The Policy provides “Time Element” coverages and coverage extensions.

         77.       The Policy provides: “This Policy insures TIME ELEMENT loss, as provided in

 the TIME ELEMENT COVERAGES, directly resulting from physical loss or damage of the type

 insured” to various properties, including (without limitation) property described in the Policy; used

 by the Insured or for which the Insured contracted use; and while located as described in the

 Schedule of Locations or within 1,000 feet/300 meters thereof. (Exhibit A, at 49).

         78.       The Policy also covers “expenses reasonably and necessarily incurred by the

 Insured to reduce the loss otherwise payable under this section of the Policy.” (Exhibit A, at 50).

         79.       The Policy provides “Supply Chain Time Element Coverage Extensions,” which

 include, without limitation, Civil or Military Authority, Contingent Time Element Extended,

 Ingress/Egress, and Logistics Extra Cost. (Exhibit A, at 61-66).


                                                  13

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         80.       “Civil or Military Authority” coverage is provided, in part, as follows:

               This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured during the PERIOD OF LIABILITY if an order of civil or military authority
               limits, restricts or prohibits partial or total access to an insured location provided such
               order is the direct result of physical damage of the type insured at the insured location
               or within five statute miles/eight kilometers of it.

 (Exhibit A, at 61-62).

         81.       “Contingent Time Element Extended” coverage is provided, in part, as follows:

               This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured during the PERIOD OF LIABILITY directly resulting from physical loss or
               damage of the type insured to property of the type insured at contingent time element
               locations located within the TERRITORY of this Policy.

               As respects CONTINGENT TIME ELEMENT EXTENDED:
               1) Time Element loss recoverable under this Extension is extended to include the
               following TIME ELEMENT COVERAGE EXTENSIONS:
               CIVIL OR MILITARY AUTHORITY
               CONTINGENT TIME ELEMENT EXTENDED
               DATA SERVICE PROVIDER TIME ELEMENT
               DELAY IN STARTUP
               EXTENDED PERIOD OF LIABILITY
               INGRESS/EGRESS
               ON PREMISES SERVICES
               SERVICE INTERRUPTION TIME ELEMENT

 (Exhibit A, at 62-63).

         82.       The Policy defines “contingent time element location” as follows:

               A. Any location:
                  1) Of a direct customer, supplier, contract manufacturer or contract service
                     provider to the Insured;
                  2) Of any company under a royalty, licensing fee or commission agreement with
                     the Insured;

               B. Any location of a company that is a direct or indirect customer, supplier, contract
                  manufacturer or contract service provider to a location described in A1 above, not
                  including locations of any company directly or indirectly supplying to, or receiving
                  from ,the Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice,
                  data or video.

 (Exhibit A, at 83-84).

                                                     14

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         83.       “Ingress/Egress” coverage is provided, in part, as follows:

               This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured during the PERIOD OF LIABILITY due to the necessary interruption of the
               Insured’s business due to partial or total physical prevention of ingress to or egress
               from an insured location, whether or not the premises or property of the Insured is
               damaged, provided that such prevention is a direct result of physical damage of the type
               insured to property of the type insured.

 (Exhibit A, at 63).

         84.       “Logistics Extra Cost” coverage is provided, in part, as follows:

               This Policy covers the extra cost incurred by the Insured during the PERIOD OF
               LIABILITY due to the disruption of the normal movement of goods or materials:

               1) directly between insured locations; or

               2) directly between an insured location and a location of a direct customer, supplier,
                  contract manufacturer or contract service provider to the Insured,

               provided that such disruption is a direct result of physical loss or damage of the type
               insured to property of the type insured located within the TERRITORY of this Policy.

 (Exhibit A, at 64-65).

         85.       The Policy provides “Additional Time Element Coverage Extensions,” which

 include, without limitation, Attraction Property, Extended Period of Liability, and Interruption by

 Communicable Disease. (Exhibit A, at 66-71).

         86.       “Attraction property” coverage is provided, in part, as follows:

               This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured during the PERIOD OF LIABILITY directly resulting from physical loss or
               damage of the type insured to property of the type insured that attracts business to an
               insured location and is within 1 statute mile/1.6 kilometers of the insured location.

 (Exhibit A, at 66-67).

         87.       “Extended Period of Liability” coverage is provided, in part, as follows:

               The GROSS EARNINGS coverage is extended to cover the reduction in sales
               resulting from:

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               1) the interruption of business as covered by GROSS EARNINGS;

               2) for such additional length of time as would be required with the exercise of due
                  diligence and dispatch to restore the Insured’s business to the condition that would
                  have existed had no loss happened; and

               3) commencing with the date on which the liability of the Company for loss resulting
                  from interruption of business would terminate if this Extension had not been
                  included in this Policy.

 (Exhibit A, at 68-69).

         88.       “Interruption by Communicable Disease” is provided, in part, as follows:

               If a location owned, leased or rented by the Insured has the actual not suspected
               presence of communicable disease and access to such location is limited, restricted or
               prohibited by:

               1) an order of an authorized governmental agency regulating the actual not suspected
                  presence of communicable disease; or

               2) a decision of an Officer of the Insured as a result of the actual not suspected
                  presence of communicable disease,

               this Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured during the PERIOD OF LIABILITY at such location with the actual not
               suspected presence of communicable disease.

               This Extension will apply when access to such location is limited, restricted, or
               prohibited in excess of 48 hours.

 (Exhibit A, at 69).

         D.        Multiple Coverages Are Triggered

         89.       The actual presence of COVID-19 at Samsonite Locations has triggered coverages

 under the Policy.

         90.       As a result of the actual presence of communicable disease, including at Samsonite

 Locations, access to such locations was restricted or prohibited by an order of an authorized

 governmental agency and/or an officer of Samsonite.


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          91.      Samsonite incurred among other losses, those for reasonable and necessary costs

 for cleanup, removal and disposal of communicable disease from such locations.

          92.      Samsonite sustained actual loss and extra expenses due to access to such locations

 being limited, restricted or prohibited due to the presence of communicable disease.

          93.      Samsonite incurred costs attending to property that was contaminated with SARS-

 CoV-2.

          94.      In addition, the presence of COVID-19 at or on property away from Samsonite

 Locations has triggered coverages under the Policy including, without limitation, for Civil or

 Military Authority, Contingent Time Element Extended, Ingress/Egress, Logistics Extra Cost, and

 Attraction Property.

          95.      Access to Samsonite Locations was limited, restricted, or prohibited (partially or

 totally) as a result of civil orders resulting from the presence of COVID-19 within five statute

 miles/eight kilometers from Samsonite’s locations. As a result, Samsonite sustained loss.

          96.      Samsonite incurred actual loss and extra expenses resulting from physical loss or

 damage to the properties of third parties including, without limitation, direct customers, suppliers,

 and contract manufacturers.

          97.      Samsonite incurred actual loss and extra expense due to the interruption of its

 business due to the partial or total physical prevention of ingress to or egress from Samsonite’s

 locations.

          98.      Samsonite incurred actual loss and extra expense resulting from physical loss or

 damage to property located within 1 statute mile/1.6 kilometers of a Samsonite Location, which

 attracts customers to Samsonite’s location.

          99.      Samsonite has suffered significant losses due to its interruption of business.


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          100.     Samsonite has incurred and will incur claim preparation costs with respect to this

 claim.

          101.     Further, governmental orders and public health guidance forcing Samsonite

 Locations to close has triggered coverage for “physical loss” of insured property under the broad

 coverage afforded by this All Risk insurance policy.

          102.     Samsonite has suffered and continues to suffer significant loss as a result of the

 foregoing.

          103.     No exclusions in the Policy apply to preclude or limit coverage for Samsonite’s

 claimed loss.

          104.     To the extent FMIC contends that any exclusion applies, such exclusion is

 unenforceable.

          105.     The Policy’s $1 million Communicable Disease Response and Interruption by

 Communicable Disease does not cap Samsonite’s recovery, nor limit any other coverage(s)

 available under the Policy.

          106.     Coverage for other physical loss or damage to Samsonite’s property, and coverage

 for business interruption resulting from loss or damage to property away from Samsonite’s

 locations, are subject to the policy limits associated with the coverage(s) implicated.

          107.     To date, FMIC has failed to accept all coverage obligations owed under the Policy

 for Samsonite’s claim.

          108.     By letter dated June 9, 2020, FMIC advised: “The presence of COVID-19 at an

 insured location does not constitute “physical damage of the type insured” as required under this

 provision. Accordingly, the Policy’s Civil or Military Authority provision (and other Policy




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 provisions requiring physical loss or damage of the type insured) do not respond based on the

 information presented.”

                                               COUNT I
                                         Declaratory Judgment

         109.      Samsonite repeats and re-alleges the allegations in the preceding paragraphs.

         110.      FMIC has refused and failed to meet its obligations in connection with the losses

 sustained by Samsonite.

         111.      In seeking to delay, avoid and limit its coverage obligations, FMIC has offered

 certain untenable characterizations of the provisions of, and coverage afforded by, the Policy.

         112.      By reason of the foregoing, an actual, present and justiciable controversy exists

 between Samsonite and FMIC regarding FMIC’s duties and obligations under the Policy.

         113.      A declaratory judgment is necessary to determine Samsonite’s rights and FMIC’s

 obligations under the Policy.

         WHEREFORE, Samsonite seeks a declaration from the Court that:

                   a) Each coverage provision identified herein is triggered by Samsonite’s claim;

                   b) No exclusion in the Policy applies to bar or limit coverage for Samsonite’s

                      claim;

                   c) The Policy covers Samsonite’s claim; and

                   d) Any other declaratory relief that would be useful to the resolution of the dispute

                      between the parties.




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                                             COUNT II
                                          Breach of Contract

           114.    Samsonite repeats and re-alleges the allegations in the preceding paragraphs.

           115.    FMIC sold the above referenced Policy, which provides insurance coverage for loss

 due to COVID-19 and the Stay at Home Orders.

           116.    Samsonite made a request for insurance coverage for such losses, but FMIC has

 failed and refused to fully acknowledge and accept its coverage obligations or pay the sums owed

 to Samsonite.

           117.    FMIC’s failure and refusal is a breach of the Policy.

           118.    As a result of such breach, Samsonite has incurred and will continue to incur

 damages.

           119.    FMIC is liable to Samsonite for such damages resulting from its breach of the

 Policy.

           WHEREFORE, Samsonite demands judgment against FMIC as follows:

                   a) For compensatory damages;

                   b) For consequential damages

                   c) For pre-judgment and post-judgment interest;

                   d) For attorneys’ fees and costs of suit; and

                   e) For such other relief as the court may deem just and appropriate.




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                                             COUNT III
                                   Anticipatory Breach of Contract

         120.      Samsonite repeats and re-alleges the allegations in the preceding paragraphs.

         121.      FMIC sold the above referenced Policy, which provides insurance coverage for loss

 due to COVID-19 and the Stay at Home Orders.

         122.      Samsonite made a request for insurance coverage for such losses, which it continues

 to incur.

         123.      However, to date, FMIC has not honored, or agreed to honor, its contractual

 obligations owed under the Policy.

         124.      By reason of the foregoing, Samsonite anticipates FMIC will breach its further

 obligations under the Policy for Samsonite’s losses, thereby depriving Samsonite of the benefit of

 the insurance protection for which substantial premiums have been paid.

         WHEREFORE, Samsonite demands judgment against FMIC as follows:

                   a) For compensatory damages;

                   b) For consequential damages

                   c) For pre-judgment and post-judgment interest;

                   d) For attorneys’ fees and costs of suit; and

                   e) For such other relief as the court may deem just and appropriate.




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                                          JURY DEMAND

         Plaintiffs hereby demand a trial by jury of all claims so triable.



                             DESIGNATION OF TRIAL COUNSEL

         Pursuant to New Jersey Court Rule 4:25-4, Sherilyn Pastor, Esq. is hereby designated as

 Trial Counsel for Plaintiffs.



                        CERTIFICATION PURSUANT TO RULE 4:5-1

         I HEREBY CERTIFY that the matter in controversy is not the subject of any other action

 pending in any court or any arbitration, and that no such other action is contemplated. I am not

 aware of any other parties that need to be joined at this time.



 Dated: January 19, 2021                                McCARTER & ENGLISH, LLP
                                                        Attorneys for Plaintiffs

                                                        By: /s/ Sherilyn Pastor             _
                                                           Sherilyn Pastor (Bar No. 026031988)
                                                           Four Gateway Center
                                                           100 Mulberry Street
                                                           Newark, NJ 07102
                                                           (973) 622-4444
                                                           spastor@mccarter.com




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                                  EXHIBIT A
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                                                                         MUTUAL CORPORATION
                                                                         NON-ASSESSABLE POLICY
       Factory Mutual Insurance Company
       P.O. Box 7500
       Johnston, Rhode Island 02919
       1-800-343-7722

DECLARATIONS
Policy No.                                       Previous Policy No.                            DATE OF ISSUE
 1059326                                           1046474                                       31 October 2019


Account No.                                      Replaces Binder No.
 1-56395                                           N/A

In consideration of this Policy’s Provisions, Conditions, Stipulations, Exclusions and Limits of Liability, and of premium charged,
Factory Mutual Insurance Company, hereafter referred to as the Company, does insure:

                        INSURED:

                        Samsonite LLC, Tumi Inc. and Delilah Europe Investments Sarl




                                           (For Complete Title See Policy)

The term of this Policy is from the 01 day of November 2019 to the 01 day of November 2020 at 12:01 a.m., Standard Time, at the
Locations of property involved as provided in this Policy.

This Policy covers property, as described in this Policy, against ALL RISKS OF PHYSICAL LOSS OR DAMAGE, except as
hereinafter excluded, while located as described in this Policy.

By virtue of this Policy and any other policies purchased from the Company being in force, the Insured becomes a member of the
Company, subject to the provisions of its charter and by-laws, and is entitled to one vote either in person or by proxy at any and all
meetings of said Company.

Assignment of this Policy will not be valid except with the written consent of the Company.

This Policy is made and accepted subject to the above provisions and those hereinafter stated, which are made a part of this
Policy, together with such other provisions and agreements as may be added to this Policy.

In Witness, this Company has issued this Policy at its office in the city of Johnston, R. I.
this 31st day of October 2019




 _______________________________________________
Authorized Signature                                                 Secretary                               President




Countersigned (if required) this        day of                         _________________________________________________
                                                                                                                              Agent

Florida information: "THIS POLICY CONTAINS A SEPARATE
DEDUCTIBLE FOR HURRICANE LOSSES, WHICH MAY
RESULT IN HIGH OUT-OF-POCKET EXPENSES TO YOU."
Form FMGA DEC                                                                                                    Printed in U.S.A.
7020 (10/13)
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                                                                       Samsonite 000002
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       This policy is issued by a mutual company having special regulations lawfully applicable to its organization,
membership, policies, or contracts of insurance of which the following shall apply to and form a part of this policy.

                             EXTRACTS FROM CHARTER OF THIS COMPANY
                            Granted by the General Assembly of the State of Rhode Island

          SECTION 5: Except as hereinafter specifically provided, each natural person, partnership, association, corporation or
legal entity insured on the mutual plan by the Corporation shall be a member of the Corporation during the term of its policy but
no longer, and at all meetings of the members shall be entitled to one vote either in person or by proxy, provided, however, that
where there is more than one insured under any policy, such insureds shall nevertheless be deemed to be a single member of the
Corporation for all purposes. The Corporation may issue policies which do not entitle the insured to membership in the
Corporation nor to participate in its surplus.

         SECTION 10: Upon the termination of the membership of any member, all his or its right and interest in the surplus,
reserves and other assets of the Corporation shall forthwith cease.


                           EXTRACTS FROM THE BY-LAWS OF THIS COMPANY
                                                       Adopted July 13, 2000


         ARTICLE 1 – MEETINGS OF THE MEMBERS

         SECTION 1. Annual Meeting
         The annual meeting of the members shall be held at the principal offices of the Company, or at such other place as may
be stated in the notice of the meeting, at 9:00 a.m. on the second Thursday of April in each year, for the election of directors and
the transaction of such other business as may be brought before the meeting. If the annual meeting is omitted on the day herein
provided therefor, a special meeting may be held in place thereof; and any business transacted or elections held at such special
meeting shall be as effective as if transacted or held at the annual meeting.




         7019 (9/01)


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                                                                                                                      Account No. 1-56395
                                                                                                                       Policy No. 1059326


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                                                                                                Policy No. 1059326




                                                       DECLARATIONS

         This Policy covers property, as described in this Policy, against ALL RISKS OF PHYSICAL
         LOSS OR DAMAGE, except as hereinafter excluded, while located as described in this Policy.

 1.      NAMED INSURED AND MAILING ADDRESS

         Samsonite LLC, Tumi Inc. and Delilah Europe Investments Sarl and any subsidiary, and Samsonite
         LLC, Tumi Inc. and Delilah Europe Investments Sarl interest in any partnership or joint venture in
         which Samsonite LLC, Tumi Inc. and Delilah Europe Investments Sarl has management control or
         ownership as now constituted or hereafter is acquired, as the respective interest of each may
         appear; all hereafter referred to as the “Insured,” including legal representatives.

         575 West Street, Suite 110
         Mansfield, Massachusetts 02048-1152
         United States of America

 2.      POLICY DATES

                       The term of this Policy is:

                       FROM: 01 November 2019 at 12:01 a.m., Standard Time;
                       TO:   01 November 2020 at 12:01 a.m., Standard Time,

                       at the location of property involved as provided in this Policy.

 3.      INSURANCE PROVIDED

         The coverage under this Policy applies to property described on the Schedule of Locations or
         covered under the terms and conditions of the AUTOMATIC COVERAGE, ERRORS AND
         OMISSIONS or MISCELLANEOUS PROPERTY provisions, unless otherwise provided.

         Schedule of Locations are as listed on the Schedule of Locations attached to this Policy.

 4.      PREMIUM

         This Policy is issued in consideration of an initial premium.

 5.      PREMIUM PAYABLE

         For property located worldwide, excluding Canada: Samsonite LLC, Tumi Inc. and Delilah Europe
         Investments Sarl pays the premium under this Policy, and any return of the paid premium accruing
         under this Policy will be paid to the account of Samsonite LLC, Tumi Inc. and Delilah Europe
         Investments Sarl.




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                                                                                                Policy No. 1059326


         For property located in Canada: Samsonite Canada, Inc. pays the premium under this Policy, and
         any return of the paid premium accruing under this Policy will be paid to the account of Samsonite
         Canada, Inc.

 6.      LOSS ADJUSTMENT/PAYABLE

         Loss, if any, will be adjusted with Samsonite LLC, Tumi Inc. and Delilah Europe Investments Sarl
         and payable to HSBC Bank USA, National Association, as Collateral Agent under the Credit and
         Guaranty Agreement, and its successors and/or assigns as their interests may appear, or as may be
         directed by HSBC Bank USA, National Association, as Collateral Agent under the Credit and
         Guaranty Agreement, and its successors and/or assigns as their interests may appear.

         Additional insured interests will also be included in loss payment as their interests may appear
         when named as additional named insured, lender, mortgagee and/or loss payee either on a
         Certificate of Insurance or other evidence of insurance on file with the Company or named below.

         When named on a Certificate of Insurance or other evidence of insurance, such additional interests
         are automatically added to this Policy as their interests may appear as of the effective date shown
         on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
         evidence of insurance will not amend, extend or alter the terms, conditions, provisions and limits of
         this Policy.

         The following additional interest is added to the Policy as their interests may appear. Such
         interests do not extend to any TIME ELEMENT coverage under this Policy:

         Lender Loss Payee
         HSBC Bank USA, National Association, as Collateral Agent under the Credit and Guaranty
         Agreement, and its successors and/or assigns
         452 5th Avenue (8E6)
         New York, New York 10018
         United States of America

 7.      DEDUCTIBLE REIMBURSEMENT

         For Location No. 002 as described on the Schedule of Locations, Appendix A, at the written
         request of the Insured, and in accordance with any Certificates of Insurance or other written
         evidence that may then be issued to protect the insurable interests of any third party covered
         hereunder, this Company shall adjust and pay losses in full without regard to any deductible
         provision which would otherwise apply under the terms and conditions of this Policy; such loss to
         be adjusted with Samsonite LLC, Tumi Inc. and Delilah Europe Investments Sarl and payable to
         Samsonite LLC, Tumi Inc. and Delilah Europe Investments Sarl and appropriate loss payee(s) as
         their interests may appear.

         It is further agreed that in any case where a loss is adjusted and payment made in accordance with
         the above, Samsonite LLC, Tumi Inc. and Delilah Europe Investments Sarl agrees to reimburse this
         Company as respects such loss payment for that amount which is equal to but not exceeding the
         amount of the deductible that would have been applicable had this provision not been in effect.
         Such reimbursement shall be made within 30 days, payable to and forwarded to the Factory Mutual
         Insurance Company 1175 Boston-Providence Turnpike, Norwood, Massachusetts, 02062.


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 8.      TERRITORY

         Coverage as provided under this Policy applies worldwide except does not apply in:

         Afghanistan; Albania; Algeria; Angola; Armenia; Azerbaijan; Bangladesh; Belarus; Belize; Benin;
         Bhutan; Bolivia; Bosnia and Herzegovina; Botswana; Brazil; Burkina Faso; Burundi; Cambodia;
         Cameroon; Central African Republic; Chad; Chile; Cote D’Ivoire; Cuba; Democratic Republic of
         the Congo; Djibouti; Egypt; Equatorial Guinea; Eritrea; Ethiopia; Fiji; Gabon; Gambia; Georgia;
         Ghana; Grenada; Guatemala; Guinea; Guinea-Bissau; Guyana; Haiti; Honduras; Jammu and
         Kashmir in India; Indonesia; Iran; Iraq; Israel; Gaza Strip, West Bank and territories north of
         Latitude 32.80 N in Israel; Kenya; Laos; Lebanon; Lesotho; Liberia; Libya; Madagascar; Malawi;
         Malaysia; Mali; Mauritania; Mauritius; Moldova; Mongolia; Montenegro; Montserrat;
         Mozambique; Myanmar; Namibia; Nepal; Niger; Nigeria; North Korea; Pakistan; Papua New
         Guinea; Aksai Chin and Trans-Karakoram Tract in People’s Republic of China; Republic of the
         Congo; Philippines, except Location No. PH01 as described on the Schedule of Locations,
         Appendix A; Chechen Republic of the Russian Federation; Rwanda; Senegal; Seychelles; Sierra
         Leone; Singapore; Somalia; Sri Lanka; South Sudan; Sudan; Swaziland; Syria; Taiwan, except
         Location No. CH03 as described on the Schedule of Locations, Appendix A; Tajikistan; Tanzania;
         Timor-Leste; Togo; Tunisia; Agri, Batman, Bingol, Bitlis, Diyarbakir, Elazig, Hakkari, Igdir,
         Mardin, Mus, Sanliurfa, Siirt, Sirnak and Van in Turkey; Turkmenistan; Uganda; Ukraine; Crimea
         Region of Ukraine; Uzbekistan; Venezuela; Yemen; Zambia; and Zimbabwe.

         As respects CONTINGENT TIME ELEMENT EXTENDED, coverage as provided under this
         Policy applies worldwide except does not apply in:

         Afghanistan; Albania; Algeria; Angola; Armenia; Azerbaijan; Bangladesh; Belarus; Belize; Benin;
         Bhutan; Bolivia; Bosnia and Herzegovina; Botswana; Burkina Faso; Burundi; Cambodia;
         Cameroon; Central African Republic; Chad; Cote D’Ivoire; Cuba; Democratic Republic of the
         Congo; Djibouti; Egypt; Equatorial Guinea; Eritrea; Ethiopia; Fiji; Gabon; Gambia; Georgia;
         Ghana; Grenada; Guinea; Guinea-Bissau; Guatemala; Guyana; Haiti; Honduras; Jammu and
         Kashmir in India; Iran; Iraq; Israel; Gaza Strip, West Bank and territories north of Latitude 32.80 N
         in Israel; Kenya; Laos; Lebanon; Lesotho; Liberia; Libya; Madagascar; Malawi; Mali; Mauritania;
         Mauritius; Moldova; Mongolia; Montenegro; Montserrat; Mozambique; Myanmar; Namibia;
         Nepal; Niger; Nigeria; North Korea; Pakistan; Papua New Guinea; Aksai Chin and Trans-
         Karakoram Tract in People’s Republic of China; Republic of the Congo; Chechen Republic of the
         Russian Federation; Rwanda; Senegal; Seychelles; Sierra Leone; Somalia; Sri Lanka; South Sudan;
         Sudan; Swaziland; Syria; Tajikistan; Tanzania; Timor-Leste; Togo; Tunisia; Agri, Batman, Bingol,
         Bitlis, Diyarbakir, Elazig, Hakkari, Igdir, Mardin, Mus, Sanliurfa, Siirt, Sirnak and Van in Turkey;
         Turkmenistan; Uganda; Ukraine; Crimea Region of Ukraine; Uzbekistan; Venezuela; Yemen;
         Zambia; and Zimbabwe.




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 9.      MASTER GLOBAL INSURING POLICY

         This Policy is designated the Master Global Insuring Policy. Coverage under this Policy shall
         apply only after the coverage provided under the local policy issued by the Company, its
         representative company(ies) or any other insurance company has been exhausted. Such local
         policy will be the first policy to respond in the event of loss or damage. Only upon exhaustion of
         coverage under the local policy, this Policy covers:

         A.       the difference in definitions, perils, conditions or coverages between the local policy and this
                  Policy; and

         B.       the difference between the limit(s) of liability stated in the local policy and this Policy,

         provided that:

                  1) the coverage is provided under this Policy;

                  2) the limit(s) of liability has been exhausted under the local policy, and

                  3) the deductible(s) applicable to such claim for loss or damage under the local policy has
                     been applied. If the deductible applied in the local policy is different from the
                     deductible that would have been applied for such loss under this Policy, then this Policy
                     will provide for such difference in deductible.

         Any coverage provided under the local policy that is not provided under this Policy does not extend
         to this Policy. As respects representative company(ies) only, any insolvency or bankruptcy of the
         local insurance company shall be considered exhaustion of coverage under the local policy.

         As respects local policies issued by companies other than this Company or its representative
         company(ies), the following also applies:

         A.       This Policy will not cover:

                  1) any financial loss due to insolvency or bankruptcy of the insurance company issuing the
                     local policy.

                  2) any financial loss due to the application of deductibles, coinsurance or average clauses
                     under the local policy.

                  3) any difference in limits of liability between the local policy and this Policy.

         B.       It is agreed that during the term of this Policy the Insured will not cancel or restrict any
                  insurance in force at the time coverage hereunder attaches, which covers the same risk(s) as
                  covered hereunder, without the knowledge and consent of the Company.

         C.       If the local policy is cancelled, restricted or allowed to expire and not renewed without the
                  knowledge and consent of the Company, this coverage will continue to apply as though such
                  local policy had been maintained in full force and effect.



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 10.     JURISDICTION

         This Policy will be governed by the laws of the United States of America.

         Any disputes arising hereunder will be exclusively subject to the jurisdiction of the United States of
         America.

 11.     CURRENCY

         All amounts, including deductibles, premiums and limits of liability, indicated in this Policy shall
         be in the currency represented by the three letter currency designation shown. This three letter
         currency designator is defined in Table A.1-Currency and funds code list, International
         Organization for Standardization (ISO) 4217, edition in effect at the inception of this Policy.

 12.     LIMITS OF LIABILITY

         The Company’s maximum limit of liability in an occurrence, including any insured TIME
         ELEMENT loss, will not exceed the Policy limit of liability of USD 1,000,000,000 subject to the
         following provisions:

         A.       Limits of liability and time limits stated below or elsewhere in this Policy are part of, and not
                  in addition to, the Policy limit of liability.

         B.       Limits of liability apply per occurrence, unless otherwise stated.

         C.       Limits of liability in an occurrence apply to the total loss or damage at all locations and for
                  all coverages involved, including any insured TIME ELEMENT loss, subject to the
                  following provisions:

                  1) when a limit of liability applies as an annual aggregate, the Company’s maximum
                     amount payable will not exceed such limit of liability during any policy year.

                  2) when a limit of liability applies to a location or other specified property, such limit of
                     liability will be the maximum amount payable for all loss or damage at all locations
                     arising from physical loss or damage at such location or to such other specified
                     property.

         D.       Should an occurrence result in liability payable under more than one policy issued to the
                  Named Insured by the Company, or its representative company(ies), the maximum amount
                  payable in the aggregate under all such policies will be the applicable limit(s) of liability
                  indicated in this Policy.




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        Applicable Limits of Liability/Time Limits:

          ATTRACTION PROPERTY                                  30 days

          AUTOMATIC COVERAGE                                   90 days, not to exceed USD 100,000,000 per location

          CIVIL OR MILITARY                                    30 days
          AUTHORITY

          CLAIMS PREPARATION COSTS                             USD 100,000

          COINSURANCE DEFICIENCY                               USD 100,000,000
          AND CURRENCY
          DEVALUATION

          COMMUNICABLE DISEASE                                 USD 1,000,000 annual aggregate
          RESPONSE
                                                               The Company’s maximum limit of liability for
                                                               INTERRUPTION BY COMMUNICABLE DISEASE
                                                               and this coverage combined shall not exceed
                                                               USD 1,000,000 annual aggregate.

          CONTINGENT TIME ELEMENT                              USD 25,000,000 except USD 120,000,000 for Location
          EXTENDED                                             No. CTGE as described on the Schedule of Locations,
                                                               Appendix A

          CRISIS MANAGEMENT                                    30 days

          cyber event                                          1.       USD 1,000,000 annual aggregate for DATA
                                                                        RESTORATION and OWNED NETWORK
                                                                        INTERRUPTION combined

                                                               2.       USD 1,000,000 annual aggregate for DATA
                                                                        SERVICE PROVIDER PROPERTY DAMAGE
                                                                        and DATA SERVICE PROVIDER TIME
                                                                        ELEMENT combined

                                                               3.       USD 25,000,000 annual aggregate for physical
                                                                        loss or damage to stock in process or finished
                                                                        goods manufactured by or for the Insured caused
                                                                        by or resulting from a cyber event that impacts
                                                                        the processing, manufacturing, or testing of such
                                                                        property or while it is otherwise being worked
                                                                        on




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          DATA RESTORATION                                     USD 10,000,000 annual aggregate

          DATA SERVICE PROVIDER                                USD 5,000,000 annual aggregate
          PROPERTY DAMAGE and DATA
          SERVICE PROVIDER TIME
          ELEMENT combined

          earth movement                                       USD 100,000,000 annual aggregate, not to exceed the
                                                               following:

                                                               1.       USD 20,000,000 annual aggregate for property
                                                                        located in the Republic of Mexico

                                                               2.       USD 1,000,000 annual aggregate for property
                                                                        located in the New Madrid Seismic Zone

                                                               3.       USD 2,000,000 annual aggregate for property
                                                                        located in the Pacific Northwest Seismic Zone

                                                               4.       USD 5,000,000 annual aggregate for property
                                                                        located in California

                                                               5.       USD 5,000,000 annual aggregate for property
                                                                        located in Japan

                                                               6.       USD 3,000,000 annual aggregate for property
                                                                        located in Turkey

                                                               7.       USD 1,000,000 annual aggregate for property
                                                                        located in Hawaii, New Zealand, Philippines,
                                                                        Puerto Rico or Taiwan combined

          ERRORS AND OMISSIONS                                 USD 100,000,000

          EXPEDITING COSTS and EXTRA                           USD 100,000,000
          EXPENSE combined

          EXTENDED PERIOD OF                                   90 days
          LIABILITY

          fine arts                                            USD 100,000,000, not to exceed USD 10,000 per item
                                                               for irreplaceable fine arts not on a schedule on file
                                                               with the Company

          fines or penalties for breach of                     USD 100,000
          contract or for late or noncompletion
          of orders combined


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          flood                                                USD 50,000,000, not to exceed the following:

                                                               1.       USD 5,000,000 for property located in the
                                                                        Netherlands

          GROSS PROFIT                                         12 months

          INGRESS/EGRESS                                       30 days

          INTERRUPTION BY                                      365 days, not to exceed USD 1,000,000 annual
          COMMUNICABLE DISEASE                                 aggregate

                                                               The Company’s maximum limit of liability for
                                                               COMMUNICABLE DISEASE RESPONSE and this
                                                               coverage combined shall not exceed USD 1,000,000
                                                               annual aggregate.

          LAND AND WATER                                       USD 100,000 annual aggregate
          CONTAMINANT CLEANUP,
          REMOVAL AND DISPOSAL

          LOGISTICS EXTRA COST                                 180 days, not to exceed 200% of the normal cost

          MISCELLANEOUS PROPERTY                               1.       USD 25,000,000 per location for property at a
                                                                        location

                                                               2.       USD 25,000,000 for property not at a location

          NEIGHBOUR’S RECOURSE AND                             USD 10,000,000
          TENANT’S LIABILITY

          SERVICE INTERRUPTION                                 USD 25,000,000
          PROPERTY DAMAGE and
          SERVICE INTERRUPTION TIME
          ELEMENT combined

          TERRORISM                                            USD 5,000,000 annual aggregate, not to exceed the
                                                               following:

                                                               1.       USD 5,000,000 annual aggregate for
                                                                        AUTOMATIC COVERAGE, ERRORS AND
                                                                        OMISSIONS, MISCELLANEOUS PROPERTY
                                                                        and TEMPORARY REMOVAL OF
                                                                        PROPERTY combined

                                                               2.       USD 5,000,000 annual aggregate for flood
                                                                        when caused by or resulting from terrorism


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                                                               The limits for TERRORISM shall not include the
                                                               actual cash value portion of fire damage caused by
                                                               terrorism.

                                                               The limits for TERRORISM do not apply to the
                                                               SUPPLEMENTAL UNITED STATES CERTIFIED
                                                               ACT OF TERRORISM ENDORSEMENT(S).

          valuable papers and records                          USD 100,000,000, not to exceed USD 10,000 per item
                                                               for irreplaceable valuable papers and records not on
                                                               a schedule on file with the Company


 13.     DEDUCTIBLES

         Subject to the deductible general provisions stated below, in each case of loss covered by this
         Policy the following deductibles apply per occurrence, for all coverages involved, unless
         otherwise stated:

          locations as described on Distribution               USD 100,000
          Centers, Manufacturing Plants and
          Warehouse Locations, Appendix F

          cyber event                                          USD 250,000 for DATA RESTORATION and
                                                               OWNED NETWORK INTERRUPTION

          DATA SERVICE PROVIDER                                USD 250,000
          PROPERTY DAMAGE and DATA
          SERVICE PROVIDER TIME
          ELEMENT

          earthquake                                           1.       For property located in California, Japan, New
                                                                        Zealand, Philippines, Republic of Mexico,
                                                                        Taiwan, Turkey and in the Pacific
                                                                        Northwest Seismic Zone:

                                                                        Property Damage: 5% per location
                                                                        Time Element: 5% per location

                                                                        The above are subject to a minimum of
                                                                        USD 50,000 for Property Damage and Time
                                                                        Element combined per location.

                                                               2.       For property located in the New Madrid
                                                                        Seismic Zone, Hawaii and Puerto Rico:

                                                                        Property Damage: 1% per location
                                                                        Time Element: 1% per location


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                                                                        The above are subject to a minimum of
                                                                        USD 50,000 for Property Damage and Time
                                                                        Element combined per location.

          flood                                                1.       For locations as described on Flood Locations,
                                                                        Appendix E:

                                                                        USD 500,000 per location

                                                               2.       For property located outside of Canada, the
                                                                        United States of America and the
                                                                        Commonwealth of Puerto Rico, excluding
                                                                        Location No. BE01 and Location No. HU01 as
                                                                        described on the Schedule of Locations,
                                                                        Appendix A:

                                                                        USD 250,000 per location

                                                               3.       For Location No. HU01 as described on the
                                                                        Schedule of Locations, Appendix A:

                                                                        USD 500,000 per location

                                                               4.       For Location No. BE01 as described on the
                                                                        Schedule of Locations, Appendix A:

                                                                        USD 100,000 per location

          LOGISTICS EXTRA COST                                 USD 50,000

          wind                                                 As respects wind loss associated with or occurring in
                                                               conjunction with a storm or weather disturbance
                                                               identified by name by any meteorological authority,
                                                               whether or not named prior to the loss:

                                                               1.       For Location No. 002, Location No. 007 and
                                                                        Location No. 033 as described on the Schedule
                                                                        of Locations, Appendix A:

                                                                        Property Damage: 2% per location
                                                                        Time Element: 2% per location

                                                                        The above are subject to a minimum of
                                                                        USD 100,000 for Property Damage and Time
                                                                        Element combined per location.

                                                               2.       For locations described on Wind Areas,
                                                                        Appendix B:


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                                                                        Property Damage: 3% per location
                                                                        Time Element: 3% per location

                                                                        The above are subject to a minimum of
                                                                        USD 50,000 for Property Damage and Time
                                                                        Element combined per location.

                                                               3.       For locations described on Wind Areas,
                                                                        Appendix C:

                                                                        Property Damage: 5% per location
                                                                        Time Element: 5% per location

                                                                        The above are subject to a minimum of
                                                                        USD 50,000 for Property Damage and Time
                                                                        Element combined per location.

                                                               4.       For locations described on Wind Areas,
                                                                        Appendix D:

                                                                        USD 50,000 per location.

          All Other Loss                                       USD 50,000


         Deductible General Provisions:

         In each case of loss covered by this Policy, the Company will be liable only if the Insured sustains
         a loss, including any insured TIME ELEMENT loss, in a single occurrence greater than the
         applicable deductible specified above, and only for its share of that greater amount.

         A.       For SERVICE INTERRUPTION loss, when a deductible is not specifically stated as
                  applying to SERVICE INTERRUPTION, the deductible applied to the SERVICE
                  INTERRUPTION loss will be the deductible that would apply if the cause of the interruption
                  happened at the insured location that sustains the interruption of the specified services.

         B.       For CONTINGENT TIME ELEMENT EXTENDED loss, when a deductible is not
                  specifically stated as applying to CONTINGENT TIME ELEMENT EXTENDED, the
                  deductible for CONTINGENT TIME ELEMENT EXTENDED loss will be determined as
                  though the contingent time element location was an insured location under this Policy.

         C.       The stated earthquake deductible will be applied to earthquake loss. The stated flood
                  deductible will be applied to flood loss. The stated wind deductible will be applied to wind
                  loss. The provisions of item E below will also be applied to each.

         D.       When this Policy insures more than one location, the deductible will apply against the total
                  loss covered by this Policy in an occurrence except that a deductible that applies on a per
                  location basis, if specified, will apply separately to each location where the physical damage
                  happened regardless of the number of locations involved in the occurrence.

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         E.       Unless stated otherwise, if two or more deductibles apply to an occurrence, the total to be
                  deducted will not exceed the largest deductible applicable. For the purposes of this
                  provision, when a separate Property Damage and a separate Time Element deductible apply,
                  the sum of the two deductibles will be considered a single deductible. If two or more
                  deductibles apply on a per location basis in an occurrence, the largest deductible applying
                  to each location will be applied separately to each such location.

         F.       When a % deductible is stated above, whether separately or combined, the deductible is
                  calculated as follows:

                  Property Damage – % of the value, per the Valuation clause(s) of the PROPERTY
                  DAMAGE section, of the property insured at the location where the physical damage
                  happened.

                  Time Element – % of the full Time Element values that would have been earned in the 12
                  month period following the occurrence by use of the facilities at the location where the
                  physical damage happened, plus that proportion of the full Time Element values at all other
                  locations where TIME ELEMENT loss ensues that was directly affected by use of such
                  facilities and that would have been earned in the 12 month period following the occurrence.

         G.       For insured physical loss or damage:

                  1) to insured fire protection equipment; or

                  2) from water or other substance discharged from fire protection equipment of the type
                     insured,

                  the applicable deductible applying to items 1 or 2 above only will be reduced by fifty percent
                  (50%), per occurrence. However, this provision will not apply to loss or damage resulting
                  from fire or earth movement regardless of whether claim is made for such fire or earth
                  movement.




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                                                   PROPERTY DAMAGE

 1.      INSURED PROPERTY

         This Policy insures the following property, unless otherwise excluded elsewhere in this Policy, as
         described in the INSURANCE PROVIDED provision or within 1,000 feet/300 metres thereof, to
         the extent of the interest of the Insured in such property:

         A.       Real Property, including new buildings and additions under construction, in which the
                  Insured has an insurable interest.

         B.       Personal Property:

                  1) owned by the Insured.

                  2) consisting of the Insured’s interest as a tenant in improvements and betterments. In the
                     event of physical loss or damage, the Company agrees to accept and consider the
                     Insured as sole and unconditional owner of improvements and betterments,
                     notwithstanding any contract or lease to the contrary.

                  3) of officers and employees of the Insured.

                  4) of others in the Insured’s custody to the extent the Insured is under obligation to keep
                     insured for physical loss or damage insured by this Policy.

                  5) of others in the Insured’s custody to the extent of the Insured’s legal liability for insured
                     physical loss or damage to Personal Property. The Company will defend that portion of
                     any suit against the Insured that alleges such liability and seeks damages for such
                     insured physical loss or damage. The Company may, without prejudice, investigate,
                     negotiate and settle any claim or suit as the Company deems expedient.

         This Policy also insures the interest of contractors and subcontractors in insured property during
         construction at an insured location or within 1,000 feet/300 metres thereof, to the extent of the
         Insured’s legal liability for insured physical loss or damage to such property. Such interest of
         contractors and subcontractors is limited to the property for which they have been hired to perform
         work and such interest will not extend to any TIME ELEMENT coverage provided under this
         Policy.

 2.      EXCLUDED PROPERTY

         The following exclusions apply unless otherwise stated in this Policy:

         This Policy excludes:

         A.       currency, money, notes or securities.

         B.       precious metal in bullion form.




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         C.       land and any substance in or on land. However, this exclusion does not apply to:

                  1) landscape gardening.

                  2) car parks, parking lots, pavement, roadways, railways, transformer enclosures or
                     walkways.

                  3) fill beneath car parks, parking lots, pavement, roadways, railways, transformer
                     enclosures, walkways, or buildings and structures.

         D.       water. However, this exclusion does not apply to:

                  1) water that is contained within any enclosed tank, piping system or any other processing
                     equipment.

         E.       animals, standing timber or growing crops.

         F.       watercraft or aircraft, except when unfueled and manufactured by the Insured.

         G.       vehicles of officers or employees of the Insured or vehicles otherwise insured for physical
                  loss or damage.

         H.       underground mines or mine shafts or any property within such mine or shaft.

         I.       dams or dikes.

         J.       property in transit, except as otherwise provided by this Policy.

         K.       property sold by the Insured under conditional sale, trust agreement, installment plan or
                  other deferred payment plan after delivery to customers, except as provided by the
                  INSTALLMENT OR DEFERRED PAYMENTS coverage of this Policy.

         L.       electronic data, programs or software, except when incorporated into physical goods
                  intended to be sold as:

                1)     finished goods manufactured by the Insured; or

                2)     other merchandise not manufactured by the Insured,

                or as otherwise provided by the DATA RESTORATION coverage of this Policy.

 3.      EXCLUSIONS

         In addition to the exclusions elsewhere in this Policy, the following exclusions apply unless
         otherwise stated:

         A.       This Policy excludes:

                  1) indirect or remote loss or damage.


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                  2) interruption of business, except to the extent provided by this Policy.

                  3) loss of market or loss of use.

                  4) loss or damage or deterioration arising from any delay.

                  5) mysterious disappearance, loss or shortage disclosed on taking inventory, or any
                     unexplained loss.

                  6) loss from enforcement of any law or ordinance:

                       a) regulating the construction, repair, replacement, use or removal, including debris
                          removal, of any property; or

                       b) requiring the demolition of any property, including the cost in removing its debris;

                       except as provided by the DECONTAMINATION COSTS and LAW AND
                       ORDINANCE coverages of this Policy.

                  7) loss resulting from the voluntary parting with title or possession of property if induced
                     by any fraudulent act or by false pretence.

         B.       This Policy excludes loss or damage directly or indirectly caused by or resulting from any of
                  the following regardless of any other cause or event, whether or not insured under this
                  Policy, contributing concurrently or in any other sequence to the loss:

                  1) nuclear reaction or nuclear radiation or radioactive contamination. However:

                       a) if physical damage by fire or sprinkler leakage results, then only that resulting
                          damage is insured; but not including any loss or damage due to nuclear reaction,
                          radiation or radioactive contamination.

                       b) this Policy does insure physical damage directly caused by sudden and accidental
                          radioactive contamination, including resultant radiation damage, from material used
                          or stored or from processes conducted on the insured location, provided that on the
                          date of loss, there is neither a nuclear reactor nor any new or used nuclear fuel on
                          the insured location. This coverage does not apply to any act, loss or damage
                          excluded in item B2f of this EXCLUSIONS clause.

                       This exclusion B1 and the exceptions in B1a and B1b do not apply to any act, loss or
                       damage which also comes within the terms of exclusion B2b of this EXCLUSIONS
                       clause.




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                  2) a) hostile or warlike action in time of peace or war, including action in hindering,
                        combating or defending against an actual, impending or expected attack by any:

                            (i) government or sovereign power (de jure or de facto);

                            (ii) military, naval or air force; or

                            (iii) agent or authority of any party specified in i or ii above.

                       b) discharge, explosion or use of any nuclear device, weapon or material employing or
                          involving nuclear fission, fusion or radioactive force, whether in time of peace or
                          war and regardless of who commits the act.

                       c) insurrection, rebellion, revolution, civil war, usurped power, or action taken by
                          governmental authority in hindering, combating or defending against such an event.

                       d) seizure or destruction under quarantine or custom regulation, or confiscation by
                          order of any governmental or public authority.

                       e) risks of contraband, or illegal transportation or trade.

                       f) terrorism, including action taken to prevent, defend against, respond to or retaliate
                          against terrorism or suspected terrorism, except to the extent provided in the
                          TERRORISM coverage of the Policy. However, if direct loss or damage by fire
                          results from any of these acts (unless committed by or on behalf of the Insured),
                          then this Policy covers only to the extent of the actual cash value of the resulting
                          direct loss or damage by fire to property insured. This coverage exception for such
                          resulting fire loss or damage does not apply to:

                            (i) direct loss or damage by fire which results from any other applicable exclusion
                                in the Policy, including the discharge, explosion or use of any nuclear device,
                                weapon or material employing or involving nuclear fission, fusion or radioactive
                                force, whether in time of peace or war and regardless of who commits the act.

                            (ii) any coverage provided in the TIME ELEMENT section of this Policy or to any
                                 other coverages provided in this Policy.

                            Any act which satisfies the definition of terrorism shall not be considered to be
                            vandalism, malicious mischief, riot, civil commotion, or any other risk of physical
                            loss or damage covered elsewhere in this Policy.

                            If any act which satisfies the definition of terrorism also comes within the terms of
                            item B2a of this EXCLUSIONS clause then item B2a applies in place of this item
                            B2f exclusion.

                            If any act which satisfies the definition of terrorism also comes within the terms of
                            item B2b of this EXCLUSIONS clause then item B2b applies in place of this item
                            B2f exclusion.



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                            If any act which satisfies the definition of terrorism also comes within the terms of
                            item B2c of this EXCLUSIONS clause then item B2c applies in place of this item
                            B2f exclusion.

                            If any act excluded herein involves nuclear reaction, nuclear radiation or radioactive
                            contamination, this item B2f exclusion applies in place of item B1 of this
                            EXCLUSIONS clause.

                  3) any dishonest act, including but not limited to theft, committed alone or in collusion
                     with others, at any time:

                       a) by an Insured or any proprietor, partner, director, trustee, officer, or employee of an
                          Insured; or

                       b) by any proprietor, partner, director, trustee, or officer of any business or entity (other
                          than a common carrier) engaged by an Insured to do anything in connection with
                          property insured under this Policy.

                       This Policy does insure acts of direct insured physical damage intentionally caused by
                       an employee of an Insured or any individual specified in b above, and done without the
                       knowledge of the Insured. This coverage does not apply to any act excluded in B2f of
                       this EXCLUSIONS clause. In no event does this Policy cover loss by theft by any
                       individual specified in a or b above.

                  4) lack of the following services:

                       a) incoming electricity, fuel, water, gas, steam or refrigerant;

                       b) outgoing sewerage;

                       c) incoming or outgoing voice, data or video,

                       all when caused by an event off the insured location, except as provided in the DATA
                       SERVICE PROVIDER and SERVICE INTERRUPTION coverages of this Policy. But,
                       if the lack of such a service directly causes insured physical damage on the insured
                       location, then only that resulting damage is insured.

         C.       This Policy excludes the following, but, if physical damage not excluded by this Policy
                  results, then only that resulting damage is insured:

                  1) faulty workmanship, material, construction or design from any cause.

                  2) loss or damage to stock or material attributable to manufacturing or processing
                     operations while such stock or material is being processed, manufactured, tested, or
                     otherwise worked on.

                  3) deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent
                     defect.



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                  4) settling, cracking, shrinking, bulging, or expansion of:

                       a) foundations (including any pedestal, pad, platform or other property supporting
                          machinery).

                       b) floors.

                       c) pavements.

                       d) walls.

                       e) ceilings.

                       f) roofs.

                  5) a) changes of temperature damage (except to machinery or equipment); or

                       b) changes in relative humidity damage,

                       all whether atmospheric or not.

                  6) insect, animal or vermin damage.

                  7) loss or damage to the interior portion of buildings under construction from rain, sleet or
                     snow, whether or not driven by wind, when the installation of the roof, walls or windows
                     of such buildings has not been completed.

         D.       This Policy excludes the following unless directly resulting from other physical damage not
                  excluded by this Policy:

                  1) contamination, and any cost due to contamination including the inability to use or
                     occupy property or any cost of making property safe or suitable for use or occupancy. If
                     contamination due only to the actual not suspected presence of contaminant(s) directly
                     results from other physical damage not excluded by this Policy, then only physical
                     damage caused by such contamination may be insured. This exclusion D1 does not
                     apply to radioactive contamination which is excluded elsewhere in this Policy.

                  2) shrinkage.

                  3) changes in color, flavor, texture or finish.

 4.      APPLICATION OF POLICY TO DATE OR TIME RECOGNITION

         With respect to situations caused by any date or time recognition problem by electronic data
         processing equipment or media (such as the so-called Year 2000 problem), this Policy applies as
         follows.

         A.       This Policy does not pay for remediation, change, correction, repair or assessment of any
                  date or time recognition problem, including the Year 2000 problem, in any electronic data


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                  processing equipment or media, whether preventative or remedial, and whether before or
                  after a loss, including temporary protection and preservation of property. This Policy does
                  not pay for any TIME ELEMENT loss resulting from the foregoing remediation, change,
                  correction, repair or assessment.

         B.       Failure of electronic data processing equipment or media to correctly recognize, interpret,
                  calculate, compare, differentiate, sequence, access or process data involving one or more
                  dates or times, including the Year 2000, is not insured physical loss or damage. This Policy
                  does not pay for any such incident or for any TIME ELEMENT loss resulting from any such
                  incident.

         Subject to all of its terms and conditions, this Policy does pay for physical loss or damage not
         excluded by this Policy that results from a failure of electronic data processing equipment or
         media to correctly recognize, interpret, calculate, compare, differentiate, sequence, access or
         process data involving one or more dates or times, including the Year 2000. Such covered
         resulting physical loss or damage does not include any loss, cost or expense described in A or B
         above. If such covered resulting physical loss or damage happens, and if this Policy provides
         TIME ELEMENT coverage, then, subject to all of its terms and conditions, this Policy also covers
         any insured Time Element loss directly resulting therefrom.

 5.      VALUATION

         Adjustment of the physical loss amount under this Policy will be computed as of the date of loss at
         the place of the loss, and for no more than the interest of the Insured.

         Unless stated otherwise in an Additional Coverage, adjustment of physical loss to property will be
         subject to the following:

         A.       On stock in process, the value of raw materials and labor expended plus the proper
                  proportion of overhead charges.

         B.       On finished goods manufactured by or for the Insured:

                  1) for retail stores, the regular cash selling price, less all discounts and charges to which the
                     finished goods would have been subject had no loss happened.

                  2) for distribution centers, manufacturing plants and warehouses, the replacement cost.

         C.       On raw materials or supplies:

                  1) if repaired or replaced, the actual expenditure incurred in repairing or replacing the
                     damaged or destroyed property; or

                  2) if not repaired or replaced, the actual cash value.

         D.       On exposed films, records, manuscripts and drawings that are not valuable papers and
                  records, the value blank plus the cost of copying information from back-up or from originals
                  of a previous generation. These costs will not include research, engineering or any costs of
                  restoring or recreating lost information.


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         E.       On property that is damaged by fire and such fire is the result of terrorism, the actual cash
                  value of the fire damage loss. Any remaining fire damage loss shall be adjusted according
                  to the terms and conditions of the Valuation clause(s) in this section of the Policy and shall
                  be subject to the limit(s) of liability for TERRORISM, and if stated the limit of liability for
                  SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF TERRORISM
                  ENDORSEMENT(S), as shown in the LIMITS OF LIABILITY clause in the
                  DECLARATIONS section.

         F.       On all other property, the lesser of the following:

                  1) The cost to repair.

                  2) The cost to rebuild or replace on the same site with new materials of like size, kind and
                     quality.

                  3) The cost in rebuilding, repairing or replacing on the same or another site, but not to
                     exceed the size and operating capacity that existed on the date of loss.

                  4) The selling price of real property or machinery and equipment, other than stock, offered
                     for sale on the date of loss.

                  5) The cost to replace unrepairable electrical or mechanical equipment, including computer
                     equipment, with equipment that is the most functionally equivalent to that damaged or
                     destroyed, even if such equipment has technological advantages and/or represents an
                     improvement in function and/or forms part of a program of system enhancement.

                  6) The increased cost of demolition, if any, directly resulting from insured loss, if such
                     property is scheduled for demolition.

                  7) The unamortized value of improvements and betterments, if such property is not
                     repaired or replaced at the Insured’s expense.

                  8) The actual cash value if such property is:

                       a) useless to the Insured; or

                       b) not repaired, replaced or rebuilt on the same or another site within two years from
                          the date of loss, unless such time is extended by the Company.

                  The Insured may elect not to repair or replace the insured real or personal property lost,
                  damaged or destroyed. Loss settlement may be elected on the lesser of repair or replacement
                  cost basis if the proceeds of such loss settlement are expended on other capital expenditures
                  related to the Insured’s operations within two years from the date of loss. As a condition of
                  collecting under this item, such expenditure must be unplanned as of the date of loss and be
                  made at an insured location under this Policy. This item does not extend to LAW AND
                  ORDINANCE.




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 6.      ADDITIONAL COVERAGES

         This Policy includes the following Additional Coverages for insured physical loss or damage.

         These Additional Coverages:

         1)       are subject to the applicable limit of liability;

         2)       will not increase the Policy limit of liability; and

         3)       are subject to the Policy provisions, including applicable exclusions and deductibles,

         all as shown in this section and elsewhere in this Policy.

         CYBER ADDITIONAL COVERAGES

         A.       DATA RESTORATION

                  This Policy covers insured physical loss or damage to electronic data, programs or
                  software.

                  With respect to physical loss or damage to electronic data, programs or software caused
                  by or resulting from a cyber event, this Additional Coverage will apply when the time to
                  recreate or restore such data, programs or software with due diligence and dispatch is in
                  excess of 48 hours.

                  For the purposes of this Additional Coverage, insured data, programs or software can be
                  anywhere worldwide, including while in transit, except in Cuba, Iran, North Korea, Sudan,
                  Syria or Crimea Region of Ukraine.

                  This Additional Coverage also covers:

                  1) the cost of the following reasonable and necessary actions taken by the Insured provided
                     such actions are taken due to actual insured physical loss or damage to electronic data,
                     programs or software:

                       a) actions to temporarily protect and preserve insured electronic data, programs or
                          software.

                       b) actions taken for the temporary repair of insured physical loss or damage to
                          electronic data, programs or software.

                       c) actions taken to expedite the permanent repair or replacement of such damaged
                          property.

                  2) the reasonable and necessary costs incurred by the Insured to temporarily protect or
                     preserve insured electronic data, programs or software against immediately impending
                     insured physical loss or damage to electronic data, programs or software. In the
                     event that there is no physical loss or damage, the costs covered under this item will be


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                       subject to the deductible that would have applied had there been such physical loss or
                       damage.

                  Costs recoverable under this Additional Coverage are excluded from coverage elsewhere in
                  this Policy.

                  This Additional Coverage excludes loss or damage to data, programs or software when
                  incorporated into physical goods intended to be sold as:

                  1) finished goods manufactured by the Insured; or

                  2) other merchandise not manufactured by the Insured.

                  DATA RESTORATION Exclusions: As respects DATA RESTORATION, the following
                  applies:

                  1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1,
                     A2, A6, B1, B2, B3a and B4.

                  2) the following additional exclusions apply:

                       This Policy excludes the following, but, if physical damage not excluded by this Policy
                       results, then only that resulting damage is insured:

                       a) errors or omissions in processing or copying.

                       b) loss or damage to data, programs or software from errors or omissions in
                          programming or machine instructions.

                       c) deterioration, inherent vice, vermin or wear and tear.

                  DATA RESTORATION Valuation: On property covered under this Additional Coverage the
                  loss amount will not exceed:

                  1) the cost to repair, replace or restore data, programs or software including the costs to
                     recreate, research and engineer;

                  2) if not repaired, replaced or restored within two years from the date of loss, the blank
                     value of the media.

         B.       DATA SERVICE PROVIDER PROPERTY DAMAGE

                  This Policy covers insured physical loss or damage to insured property at an insured
                  location when such physical loss or damage results from the interruption of off-premises
                  data processing or data transmission services by reason of any accidental event at the
                  facilities of the provider of such services that immediately prevents in whole or in part the
                  delivery of such provided services.




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                  For the purposes of this Additional Coverage:

                  1) facilities of the provider of off-premises data processing or data transmission
                     services can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or
                     Crimea Region of Ukraine, and

                  2) an accidental event to satellites will be considered an accidental event at the facilities of
                     the provider.

                  This Additional Coverage will apply when the period of interruption of off-premises data
                  processing or data transmission services as described below is in excess of 24 hours.

                  The period of interruption of off-premises data processing or data transmission services
                  is the period starting with the time when an interruption of provided services happens; and
                  ending when with due diligence and dispatch the service could be wholly restored.

                  Additional General Provisions:

                  1) The Insured will immediately notify the company providing off-premises data
                     processing or data transmission services of any interruption of such services.

                  2) The Company will not be liable if the interruption of such services is caused directly or
                     indirectly by the failure of the Insured to comply with the terms and conditions of any
                     contracts the Insured has entered into for such specified services.

                  DATA SERVICE PROVIDER PROPERTY DAMAGE Exclusions: As respects DATA
                  SERVICE PROVIDER PROPERTY DAMAGE, the following applies:

                  1) Items B4 and C5 of the EXCLUSIONS clause in this section do not apply except for B4
                     with respect to:

                       a) incoming electricity, fuel, water, gas, steam or refrigerant; and

                       b) outgoing sewerage.

                  2) The following additional exclusions apply:

                       This Policy excludes loss or damage directly or indirectly caused by or resulting from
                       the following regardless of any other cause or event, whether or not insured under this
                       Policy, contributing concurrently or in any other sequence to the loss:

                       a) earth movement for property located in California, in the New Madrid Seismic
                          Zone or in the Pacific Northwest Seismic Zone.

                       b) terrorism.




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         OTHER ADDITIONAL COVERAGES

         A.       ACCIDENTAL INTERRUPTION OF SERVICES

                  This Policy covers physical damage resulting from changes in temperature or relative
                  humidity to insured property at an insured location when such changes in temperature or
                  relative humidity result from the interruption of services consisting of electricity, gas, fuel,
                  steam, water or refrigeration by reason of any accidental event, other than insured physical
                  loss or damage, at the insured location.

                  This Additional Coverage will apply when the period of service interruption as described
                  below is in excess of 24 hours.

                  The period of service interruption is the period starting with the time when an interruption of
                  specified services happens; and ending when with due diligence and dispatch the service
                  could be wholly restored.

         B.       ACCOUNTS RECEIVABLE

                  This Policy covers the following directly resulting from insured physical loss or damage to
                  accounts receivable records while anywhere within this Policy’s TERRITORY, including
                  while in transit:

                  1) any shortage in the collection of accounts receivable.

                  2) the interest charges on any loan to offset such impaired collection pending repayment of
                     such uncollectible sum. Unearned interest and service charges on deferred payment
                     accounts and normal credit losses on bad debts will be deducted in determining the
                     amount recoverable.

                  3) the reasonable and necessary cost incurred for material and time required to re-establish
                     or reconstruct accounts receivable records excluding any costs covered by any other
                     insurance.

                  4) any other necessary and reasonable costs incurred to reduce the loss, to the extent the
                     losses are reduced.

                  Accounts receivable records will include accounts receivable records stored as electronic
                  data.

                  In the event of loss, the Insured will:

                  1) use all reasonable efforts, including legal action, if necessary, to effect collection of
                     outstanding accounts receivable.

                  2) reduce loss by use of any suitable property or service:

                       a) owned or controlled by the Insured; or



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                       b) obtainable from other sources.

                  3) reconstruct, if possible, accounts receivable records so that no shortage is sustained.

                  The settlement of loss will be made within 90 days from the date of physical loss or damage.
                  All amounts recovered by the Insured on outstanding accounts receivable on the date of loss
                  will belong and be paid to the Company up to the amount of loss paid by the Company. All
                  recoveries exceeding the amount paid will belong to the Insured.

                  ACCOUNTS RECEIVABLE Exclusions: As respects ACCOUNTS RECEIVABLE, the
                  following additional exclusions apply:

                  This Policy does not insure against shortage resulting from:

                  1) bookkeeping, accounting or billing errors or omissions; or

                  2) a) alteration, falsification, manipulation; or

                       b) concealment, destruction or disposal,

                       of accounts receivable records committed to conceal the wrongful giving, taking,
                       obtaining or withholding of money, securities or other property; but only to the extent of
                       such wrongful giving, taking, obtaining or withholding.

         C.       AUTOMATIC COVERAGE

                  This Policy covers insured physical loss or damage to insured property at any location
                  purchased, leased or rented by the Insured after the inception date of this Policy.

                  This Additional Coverage applies:

                  1) from the date of purchase, lease or rental,

                  2) until the first of the following:

                       a) the location is bound by the Company.

                       b) agreement is reached that the location will not be insured under this Policy.

                       c) the time limit shown in the LIMITS OF LIABILITY clause in the
                          DECLARATIONS section has been reached. The time limit begins on the date of
                          purchase, lease or rental.

         D.       BRANDS AND LABELS

                  If branded or labeled insured property is physically damaged and the Company elects to take
                  all or any part of that property, the Insured may at the Company’s expense:

                  1) stamp “salvage” on the property or its containers; or


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                  2) remove or obliterate the brands or labels,

                  if doing so will not damage the property.

                  The Insured must relabel such property or its containers to be in compliance with any
                  applicable law.

         E.       CLAIMS PREPARATION COSTS

                  This Policy covers the actual costs incurred by the Insured:

                  1) of reasonable fees payable to the Insured’s: accountants, architects, auditors, engineers,
                     or other professionals; and

                  2) the cost of using the Insured’s employees,

                  for producing and certifying any particulars or details contained in the Insured’s books or
                  documents, or such other proofs, information or evidence required by the Company resulting
                  from insured loss payable under this Policy for which the Company has accepted liability.

                  This Additional Coverage will not cover the fees and costs of:

                  1) attorneys, public adjusters, and loss appraisers, all including any of their subsidiary,
                     related or associated entities either partially or wholly owned by them or retained by
                     them for the purpose of assisting them,

                  2) loss consultants who provide consultation on coverage or negotiate claims.

                  This Additional Coverage is subject to the deductible that applies to the loss.

         F.       COINSURANCE DEFICIENCY AND CURRENCY DEVALUATION

                  This Policy covers the deficiency in the amount of loss payable under the Insured’s locally
                  written policy(ies), if any, and its renewals, issued by the Company or its representative
                  company(ies), solely as the result of:

                  1) the application of a coinsurance (or average) clause; or

                  2) official government devaluation of the currency in which the local policy is written,

                  for physical loss or damage of the type insured under such local policy(ies) to property of the
                  type insured under this Policy.

                  The Insured agrees to adjust the Policy values as a result of such devaluation within 30 days
                  after the date of the currency’s devaluation.

                  There is no liability under this Additional Coverage if the Insured is unable to recover any
                  loss under such local policy(ies) due to intentional underinsurance by the Insured.


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         G.       COMMUNICABLE DISEASE RESPONSE

                  If a location owned, leased or rented by the Insured has the actual not suspected presence of
                  communicable disease and access to such location is limited, restricted or prohibited by:

                  1) an order of an authorized governmental agency regulating the actual not suspected
                     presence of communicable disease; or

                  2) a decision of an Officer of the Insured as a result of the actual not suspected presence of
                     communicable disease,

                  this Policy covers the reasonable and necessary costs incurred by the Insured at such
                  location with the actual not suspected presence of communicable disease for the:

                  1) cleanup, removal and disposal of the actual not suspected presence of communicable
                     diseases from insured property; and

                  2) actual costs of fees payable to public relations services or actual costs of using the
                     Insured’s employees for reputation management resulting from the actual not suspected
                     presence of communicable diseases on insured property.

                  This Additional Coverage will apply when access to such location is limited, restricted or
                  prohibited in excess of 48 hours.

                  This Additional Coverage does not cover any costs incurred due to any law or ordinance
                  with which the Insured was legally obligated to comply prior to the actual not suspected
                  presence of communicable disease.

                  COMMUNICABLE DISEASE RESPONSE Exclusions: As respects COMMUNICABLE
                  DISEASE RESPONSE, the following additional exclusion applies:

                  This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                  following regardless of any other cause or event, whether or not insured under this Policy,
                  contributing concurrently or in any other sequence to the loss:

                  1) terrorism.

         H.       CONSEQUENTIAL REDUCTION IN VALUE

                  This Policy covers the reduction in value of insured merchandise that is a part of pairs, sets,
                  or components, directly resulting from insured physical loss or damage to other insured parts
                  of pairs, sets or components of such merchandise. If settlement is based on a constructive
                  total loss, the Insured will surrender the undamaged parts of such merchandise to the
                  Company.




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         I.       CONTROL OF DAMAGED PROPERTY

                  This Policy gives control of physically damaged property consisting of finished goods
                  manufactured by or for the Insured as follows:

                  1) the Insured will have full rights to the possession and control of damaged property in the
                     event of insured physical damage to such property provided proper testing is done to
                     show which property is physically damaged.

                  2) the Insured using reasonable judgment will decide if the physically damaged property
                     can be reprocessed or sold.

                  3) property so judged by the Insured to be unfit for reprocessing or selling will not be sold
                     or disposed of except by the Insured, or with the Insured’s consent.

                  4) any salvage proceeds received will go to the:

                       a) Company at the time of loss settlement; or

                       b) Insured if received prior to loss settlement and such proceeds will reduce the amount
                          of loss payable accordingly.

         J.       DEBRIS REMOVAL

                  This Policy covers the reasonable and necessary costs incurred to remove debris from an
                  insured location that remains as a direct result of insured physical loss or damage.

                  This Additional Coverage does not cover the costs of removal of:

                  1) contaminated uninsured property; or

                  2) the contaminant in or on uninsured property,

                  whether or not the contamination results from insured physical loss or damage. This
                  Additional Coverage covers the costs of removal of contaminated insured property or the
                  contaminant in or on insured property only if the contamination, due to the actual not
                  suspected presence of contaminant(s), of the debris resulted directly from other physical
                  damage not excluded by the Policy.

         K.       DECONTAMINATION COSTS

                  If insured property is contaminated as a direct result of insured physical damage and there is
                  in force at the time of the loss any law or ordinance regulating contamination due to the
                  actual not suspected presence of contaminant(s), then this Policy covers, as a direct result of
                  enforcement of such law or ordinance, the increased cost of decontamination and/or removal
                  of such contaminated insured property in a manner to satisfy such law or ordinance. This
                  Additional Coverage applies only to that part of insured property so contaminated due to the
                  actual not suspected presence of contaminant(s) as a direct result of insured physical
                  damage.


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                  The Company is not liable for the costs required for removing contaminated uninsured
                  property or the contaminant therein or thereon, whether or not the contamination results
                  from an insured event.

         L.       ERRORS AND OMISSIONS

                  If physical loss or damage is not payable under this Policy solely due to an error or
                  unintentional omission:

                  1) in the description of where insured property is physically located;

                  2) to include any location:

                       a) owned, leased or rented by the Insured on the effective date of this Policy; or

                       b) purchased, leased or rented by the Insured during the term of this Policy; or

                  3) that results in cancellation of the property insured under this Policy;

                  this Policy covers such physical loss or damage, to the extent it would have provided
                  coverage had such error or unintentional omission not been made.

                  It is a condition of this Additional Coverage that any error or unintentional omission be
                  reported by the Insured to the Company when discovered and corrected.

         M.       EXPEDITING COSTS

                  This Policy covers the reasonable and necessary costs incurred:

                  1) for the temporary repair of insured physical damage to insured property;

                  2) for the temporary replacement of insured equipment suffering insured physical damage;
                     and

                  3) to expedite the permanent repair or replacement of such damaged property.

                  This Additional Coverage does not cover costs recoverable elsewhere in this Policy,
                  including the cost of permanent repair or replacement of damaged property.

         N.       FINE ARTS AND VALUABLE PAPERS AND RECORDS

                  This Policy covers insured physical loss or damage to fine arts and valuable papers and
                  records while anywhere within this Policy’s TERRITORY, including while in transit.




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                  FINE ARTS AND VALUABLE PAPERS AND RECORDS Exclusions: As respects FINE
                  ARTS AND VALUABLE PAPERS AND RECORDS, the following applies:

                  1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1,
                     A2, A6, A7, B1, B2, B3a and B4.

                  2) the following additional exclusions apply:

                       This Policy excludes:

                       a) currency, money, securities.

                       b) errors or omissions in processing or copying of valuable papers and records, but,
                          if physical damage not excluded by this Policy results, then only that resulting
                          damage is insured.

                       c) deterioration, inherent vice, or wear and tear, but, if physical damage not excluded
                          by this Policy results, then only that resulting damage is insured.

                       d) fungus, mold or mildew unless directly resulting from other physical damage not
                          excluded by this Policy.

                       e) loss or damage to fine arts from any repairing, restoration or retouching process.

                  FINE ARTS AND VALUABLE PAPERS AND RECORDS Valuation: On property covered
                  under this Additional Coverage the loss amount will not exceed the lesser of the following:

                  1) the cost to repair or restore such property to the physical condition that existed on the
                     date of loss.

                  2) the cost to replace.

                  3) the value, if any, designated for the item on the schedule on file with the Company.

                  If a fine arts article is part of a pair or set, and a physically damaged article cannot be
                  replaced, or repaired or restored to the condition that existed immediately prior to the loss,
                  the Company will be liable for the lesser of the full value of such pair or set or the amount
                  designated on the schedule. The Insured agrees to surrender the pair or set to the Company.

         O.       INSTALLMENT OR DEFERRED PAYMENTS

                  This Policy covers insured physical loss or damage to personal property of the type insured
                  sold by the Insured under a conditional sale or trust agreement or any installment or deferred
                  payment plan and after such property has been delivered to the buyer. Coverage is limited to
                  the unpaid balance for such property.

                  In the event of loss to property sold under deferred payment plans, the Insured will use all
                  reasonable efforts, including legal action, if necessary, to effect collection of outstanding
                  amounts due or to regain possession of the property.


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                  There is no liability under this Policy for loss:

                  1) pertaining to products recalled including, but not limited to, the costs to recall, test or to
                     advertise such recall by the Insured.

                  2) from theft or conversion by the buyer of the property after the buyer has taken
                     possession of such property.

                  3) to the extent the buyer continues payments.

                  4) not within the TERRITORY of this Policy.

                  INSTALLMENT OR DEFERRED PAYMENTS Valuation: On property covered under this
                  Additional Coverage the loss amount will not exceed the lesser of the following:

                  1) total amount of unpaid installments less finance charges.

                  2) actual cash value of the property at the time of loss.

                  3) cost to repair or replace with material of like size, kind and quality.

         P.       LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                  DISPOSAL

                  This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal
                  of the actual not suspected presence of contaminant(s) from uninsured property consisting
                  of land, water or any other substance in or on land at the insured location if the release,
                  discharge or dispersal of such contaminant(s) is a direct result of insured physical loss or
                  damage to insured property.

                  This Policy does not cover the cost to cleanup, remove and dispose of contamination from
                  such property:

                  1) at any location insured for Personal Property only.

                  2) at any property insured under AUTOMATIC COVERAGE, ERRORS AND
                     OMISSIONS or MISCELLANEOUS PROPERTY coverage provided by this Policy.

                  3) when the Insured fails to give written notice of loss to the Company within 180 days
                     after inception of the loss.

         Q.       LAW AND ORDINANCE

                  This Policy covers the costs as described herein resulting from the Insured’s obligation to
                  comply with a law or ordinance, provided that:

                  1) such law or ordinance is enforced as a direct result of insured physical loss or damage at
                     an insured location;


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                  2) such law or ordinance is in force at the time of such loss or damage; and

                  3) such location was not required to be in compliance with such law or ordinance prior to the
                     happening of the insured physical loss or damage.

                  Coverage A:

                  The reasonable and necessary costs incurred by the Insured to comply with the enforcement
                  of the minimum requirements of any law or ordinance that regulates the demolition,
                  construction, repair, replacement or use of buildings, structures, machinery or equipment.

                  As respects insured property, this Coverage A covers the reasonable and necessary costs to:

                  1) demolish any physically damaged and undamaged portions of the insured buildings,
                     structures, machinery or equipment.

                  2) repair or rebuild the physically damaged and undamaged portions, whether or not
                     demolition is required, of such insured buildings, structures, machinery or equipment.

                  The Company’s maximum liability for this Coverage A at each insured location in any
                  occurrence will not exceed the actual costs incurred in demolishing the physically damaged
                  and undamaged portions of the insured property plus the lesser of:

                  1) the reasonable and necessary cost, excluding the cost of land, to rebuild on another site;
                     or

                  2) the cost to rebuild on the same site.

                  Coverage B:

                  The reasonable estimated cost to repair, replace or rebuild insured property consisting of
                  buildings, structures, machinery or equipment that the Insured is legally prohibited from
                  repairing, replacing or rebuilding to the same height, floor area, number of units, configuration,
                  occupancy or operating capacity, because of the enforcement of any law or ordinance that
                  regulates the construction, repair, replacement or use of buildings, structures, machinery or
                  equipment.

                  LAW AND ORDINANCE Coverage B Valuation: On property covered under this Coverage
                  B that cannot legally be repaired or replaced, the loss amount will be the difference between:

                  1) the actual cash value; and

                  2) the cost that would have been incurred to repair, replace or rebuild such lost or damaged
                     property had such law or ordinance not been enforced at the time of loss.




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                  LAW AND ORDINANCE Exclusions: As respects LAW AND ORDINANCE, the
                  following additional exclusions apply:

                  This Policy does not cover:

                  1) any cost incurred as a direct or indirect result of enforcement of any law or ordinance
                     regulating any form of contamination.

                  2) any machinery or equipment manufactured by or for the Insured, unless used by the
                     Insured in its operation at the location suffering the physical loss or damage.

         R.       LOSS PAYMENT INCREASED TAX LIABILITY

                  This Policy covers the increase in tax liability as described herein incurred by the Insured.

                  Coverage A:

                  The increase in tax liability from an insured loss at an insured location if the tax treatment
                  of:

                  1) the profit portion of a loss payment under this Policy involving finished stock
                     manufactured by the Insured; and/or

                  2) the profit portion of a TIME ELEMENT loss payment under this Policy;

                  is greater than the tax treatment of profits that would have been incurred had no loss
                  happened.

                  Coverage B:

                  If loss payment under this Policy cannot be made in the country where the loss happened,
                  such loss is to be paid in the currency of this Policy in a country designated by the Insured
                  where such payment is legally permissible. The Insured will cooperate with the Company in
                  making every reasonable effort to pay the loss or portion of it in the country in which the
                  loss happened.

                  The Company will pay the net amount required to offset local taxes on income with due
                  consideration to any tax relief/credit that accrues because of such payment using the Formula
                  described below. Such Formula will not apply if the calculation of additional payment
                  results in an amount less than zero.

                  The actual payment under this Additional Coverage will be adjusted and reduced by all
                  appropriate tax credits and/or tax relief entitled and/or received by the Insured and/or the
                  local entity where the loss happened provided that an income tax liability is incurred.

                  Any payment under this Additional Coverage will be made only after completion and
                  acceptance by the Company of audited tax returns for the period in question for both the
                  country where a payment under this Additional Coverage is made and the country where the
                  loss happened.


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                  Formula:

                  Additional Payment =                [a (1 - c) / (1 - b)] - a

                  Where:
                  a = loss otherwise payable under this Policy except for operation of this coverage, after due
                      consideration for any applicable deductible(s).
                  b = the net effective rate of the sum of: any taxation (a positive number) plus any tax
                      relief/credit (a negative number) that accrues in the country where loss payments are
                      received.
                  c = the net effective rate of the sum of: any taxation (a positive number) plus any tax
                      relief/credit (a negative number) that accrues in the country where the loss happened.

                  The rates referred to will be the respective corporate income tax rates in effect on the date of
                  the loss.

         S.       MACHINERY OR EQUIPMENT STARTUP OPTION

                  After insured machinery or equipment that has sustained insured physical loss or damage is
                  repaired or replaced and such machinery or equipment is undergoing startup, the following
                  applies:

                  If physical loss or damage of the type insured directly results to such machinery or
                  equipment from such startup, the Insured shall have the option of claiming such resulting
                  insured damage as part of the original event of physical loss or damage or as a separate
                  occurrence.

                  This Additional Coverage applies only:

                  1) to the first startup event after the original repair or replacement; and

                  2) when the first startup event happens during the term of this Policy or its renewal issued
                     by the Company.

                  For the purposes of this Additional Coverage, startup means:

                  1) the introduction into machinery or equipment of feedstock or other materials for
                     processing or handling;

                  2) the commencement of fuel or energy supply to machinery or equipment.

         T.       MISCELLANEOUS PROPERTY

                  This Policy covers insured physical loss or damage to:

                  1) insured property;




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                  2) property of the type insured that is under contract to be used in a construction project at
                     an insured location:

                       a) from the time such property is delivered to the Insured or their contractor (with
                          respect to the property under construction) by the manufacturer or supplier;

                       b) while such property is located at a storage site; and

                       c) while such property is in transit from a storage site to another storage site or to a
                          construction project at an insured location,

                       that does not include any such property owned or rented by the contractor;

                  while anywhere within this Policy’s TERRITORY, including while in transit.

                  This Additional Coverage excludes property covered elsewhere in this Policy.

                  MISCELLANEOUS PROPERTY Exclusions: As respects MISCELLANEOUS
                  PROPERTY, the following additional exclusions apply:

                  1) This Policy excludes:

                       a) transmission and distribution systems not at a location.

                       b) property insured under import or export ocean marine insurance.

                       c) property shipped between continents.

                       d) airborne shipments unless by regularly scheduled passenger airlines or air freight
                          carriers.

                       e) property of others, including the Insured's legal liability for it, hauled on vehicles
                          owned, leased or operated by the Insured when acting as a common or contract
                          carrier.

                  2) This Policy excludes loss or damage directly or indirectly caused by or resulting from
                     the following regardless of any other cause or event, whether or not insured under this
                     Policy, contributing concurrently or in any other sequence to the loss:

                       a) earth movement for property located in California, in the New Madrid Seismic
                          Zone or in the Pacific Northwest Seismic Zone.

         U.       NEIGHBOUR’S RECOURSE AND TENANT’S LIABILITY

                  As respects insured locations in France, the French Territories, Spain, Italy, Belgium,
                  Greece, Portugal or Luxembourg:




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                  This Policy covers the Insured’s liability:

                  1) as a tenant or occupant under the articles of any civil or commercial code toward the
                     owner for direct physical damage of the type insured to real or personal property of the
                     type insured of the owner of the premises.

                  2) under articles of any civil or commercial code toward neighbours, co-tenants and other
                     third parties for direct physical damage of the type insured to real or personal property
                     of the type insured of neighbours, co-tenants and other third parties.

                  3) as landlord under articles of any civil or commercial code for direct physical damage of
                     the type insured to personal property of the type insured of tenants as a result of
                     construction defects or lack of maintenance.

                  4) as tenant or occupant under the articles of any civil or commercial code for total or
                     partial loss of use by the owner of the premises resulting from direct physical damage of
                     the type insured.

         V.       OPERATIONAL TESTING

                  This Policy covers insured physical loss or damage to insured property during the period of
                  operational testing.

                  This Additional Coverage excludes property, including stock or material, manufactured or
                  processed by the Insured.

         W.       PROTECTION AND PRESERVATION OF PROPERTY

                  This Policy covers:

                  1) reasonable and necessary costs incurred for actions to temporarily protect or preserve
                     insured property; provided such actions are necessary due to actual, or to prevent
                     immediately impending, insured physical loss or damage to such insured property.

                  2) reasonable and necessary:

                       a) fire department firefighting charges imposed as a result of responding to a fire in, on
                          or exposing the insured property.

                       b) costs incurred of restoring and recharging fire protection systems following an
                          insured loss.

                       c) costs incurred for the water used for fighting a fire in, on or exposing the insured
                          property.

                  This Additional Coverage does not cover costs incurred for actions to temporarily protect or
                  preserve insured property from actual, or to prevent immediately impending, physical loss or
                  damage covered by TERRORISM coverage as provided in this section of the Policy.



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                  This Additional Coverage is subject to the deductible provisions that would have applied had
                  the physical loss or damage happened.

         X.       SERVICE INTERRUPTION PROPERTY DAMAGE

                  This Policy covers insured physical loss or damage to insured property at an insured
                  location when such physical loss or damage results from the interruption of incoming
                  services consisting of electricity, gas, fuel, steam, water, refrigeration or from the lack of
                  outgoing sewerage service by reason of any accidental event at the facilities of the supplier
                  of such service located within this Policy’s TERRITORY, that immediately prevents in
                  whole or in part the delivery of such usable service.

                  This Additional Coverage will apply when the period of service interruption as described
                  below is in excess of 12 hours.

                  The period of service interruption is the period starting with the time when an interruption of
                  specified services happens; and ending when with due diligence and dispatch the service
                  could be wholly restored.

                  Additional General Provisions:

                  1) The Insured will immediately notify the suppliers of services of any interruption of such
                     services.

                  2) The Company will not be liable if the interruption of such services is caused directly or
                     indirectly by the failure of the Insured to comply with the terms and conditions of any
                     contracts the Insured has for the supply of such specified services.

                  SERVICE INTERRUPTION PROPERTY DAMAGE Exclusions: As respects SERVICE
                  INTERRUPTION PROPERTY DAMAGE, the following applies:

                  1) The exclusions in the EXCLUSIONS clause in this section do not apply except for:

                       a) A1, A2, A3, A6, B1, B2, and

                       b) B4 with respect to incoming or outgoing voice, data or video, and

                       c) D1 except with respect to fungus, mold or mildew.

                  2) The following additional exclusions apply:

                       This Policy excludes loss or damage directly or indirectly caused by or resulting from
                       the following regardless of any other cause or event, whether or not insured under this
                       Policy, contributing concurrently or in any other sequence to the loss:

                       a) earth movement for property located in California, in the New Madrid Seismic
                          Zone or in the Pacific Northwest Seismic Zone.

                       b) terrorism.


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         Y.       TEMPORARY REMOVAL OF PROPERTY

                  When insured property is removed from an insured location for the purpose of being
                  repaired or serviced or in order to avoid threatened physical loss or damage of the type
                  insured by this Policy, this Policy covers such property:

                  1) while at the premises to which such property has been moved; and

                  2) for physical loss or damage as provided at the insured location from which such
                     property was removed.

                  This Additional Coverage does not apply to property:

                  1) insured, in whole or in part, elsewhere in this Policy.

                  2) insured, in whole or in part, by any other insurance policy.

                  3) removed for normal storage, processing or preparation for sale or delivery.

         Z.       TERRORISM

                  This Policy covers physical loss or damage to property as described in the INSURANCE
                  PROVIDED provision caused by or resulting from terrorism.

                  Any act which satisfies the definition of terrorism shall not be considered to be vandalism,
                  malicious mischief, riot, civil commotion, or any other risk of physical loss or damage
                  covered elsewhere in this Policy.

                  Amounts recoverable under this Additional Coverage are excluded from coverage elsewhere
                  in this Policy.

                  This Additional Coverage does not cover loss or damage which also comes within the terms
                  of either item B2a or B2c of the EXCLUSIONS clause in this section of the Policy.

                  This Additional Coverage does not in any event cover loss or damage directly or indirectly
                  caused by or resulting from any of the following, regardless of any other cause or event,
                  whether or not insured under this Policy contributing concurrently or in any other sequence
                  to the loss:

                  1) that involves the use, release or escape of nuclear materials, or that directly or indirectly
                     results in nuclear reaction or radiation or radioactive contamination or that involves the
                     discharge, explosion or use of any nuclear device, weapon or material employing or
                     involving nuclear fission, fusion, or radioactive force, whether in time of peace or war
                     and regardless of who commits the act; or

                  2) that is carried out by means of the dispersal or application of pathogenic or poisonous
                     biological or chemical materials; or



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                  3) in which pathogenic or poisonous biological or chemical materials are released, and it
                     appears that one purpose of the terrorism was to release such materials; or

                  4) that involves action taken to prevent, defend against, respond to or retaliate against
                     terrorism or suspected terrorism.

         AA. TRANSPORTATION

                  This Policy covers the following personal property, except as excluded by this Policy, while
                  in transit within the TERRITORY of this Policy:

                  1) owned by the Insured.

                  2) shipped to customers under F.O.B., C & F or similar terms. The Insured’s contingent
                     interest in such shipments is admitted.

                  3) of others in the actual or constructive custody of the Insured to the extent of the
                     Insured’s interest or legal liability.

                  4) of others sold by the Insured, that the Insured has agreed prior to the loss to insure
                     during course of delivery including:

                       a) when shipped by the Insured’s direct contract service provider or by the Insured’s
                          direct contract manufacturer to the Insured or to the Insured’s customer.

                       b) when shipped by the Insured’s customer to the Insured or to the Insured’s contract
                          service provider or to the Insured’s contract manufacturer.

                  Coverage Attachment and Duration:

                  1) This Additional Coverage covers from the time the property leaves the original point of
                     shipment for transit. It then covers continuously in the due course of transit:

                       a) within the continent in which the shipment commences until the property arrives at
                          the destination within such continent; or

                       b) between Europe and Asia, for land or air shipments only, from when the shipment
                          commences until the property arrives at the destination.

                  2) However, coverage on export shipments not insured under ocean cargo policies ends
                     when the property is loaded on board overseas vessels or aircraft. Coverage on import
                     shipments not insured under ocean cargo policies begins after discharge from overseas
                     vessels or aircraft.

                  This Additional Coverage:

                  1) covers general average and salvage charges on shipments covered while waterborne.




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                  2) insures physical loss or damage caused by or resulting from:

                       a) unintentional acceptance of fraudulent bills of lading, shipping or messenger
                          receipts.

                       b) improper parties having gained possession of property through fraud or deceit.

                  Additional General Provisions:

                  1) This Additional Coverage will not inure directly or indirectly to the benefit of any
                     carrier or bailee.

                  2) The Insured has permission, without prejudicing this insurance, to accept:

                       a) ordinary bills of lading used by carriers;

                       b) released bills of lading;

                       c) undervalued bills of lading; and

                       d) shipping or messenger receipts.

                  3) The Insured may waive subrogation against railroads under side track agreements.

                  Except as otherwise stated, the Insured will not enter into any special agreement with
                  carriers releasing them from their common law or statutory liability.

                  TRANSPORTATION Exclusions: As respects TRANSPORTATION, the following applies:

                  1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1
                     through A4, B1 through B4, C1, C3, C5, C6, D1 through D3.

                  2) the following additional exclusions apply:

                       This Policy excludes:

                       a) samples in the custody of salespeople or selling agents.

                       b) property insured under import or export ocean marine insurance.

                       c) waterborne shipments, unless:

                            (i) by inland water; or

                            (ii) by roll-on/roll-off ferries operating between European ports; or

                            (iii) by coastal shipments.




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                       d) airborne shipments unless by regularly scheduled passenger airlines or air freight
                          carriers.

                       e) property of others, including the Insured’s legal liability for it, hauled on vehicles
                          owned, leased or operated by the Insured when acting as a common or contract
                          carrier.

                       f) any transporting vehicle.

                       g) property shipped between continents, except by land or air between Europe and
                          Asia.

                  TRANSPORTATION Valuation: On property covered under this Additional Coverage the
                  loss amount will not exceed:

                  1) Property shipped to or for the account of the Insured will be valued at actual invoice to
                     the Insured. Included in the value are accrued costs and charges legally due. Charges
                     may include the Insured’s commission as selling agent.

                  2) Property sold by the Insured and shipped to or for the purchaser’s account will be valued
                     at the Insured’s selling invoice amount. Prepaid or advanced freight costs are included.

                  3) Property not under invoice will be valued:

                       a) for property of the Insured, at the valuation provisions of this Policy applying at the
                          place from which the property is being transported; or

                       b) for other property, at the actual cash market value at the destination point on the date
                          of loss,

                       less any charges saved which would have become due and payable upon arrival at
                       destination.




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                                                        TIME ELEMENT

         TIME ELEMENT loss as provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
         COVERAGE EXTENSIONS of this section of the Policy:

         A.       is subject to the applicable limit of liability that applies to the insured physical loss or
                  damage but in no event for more than any limit of liability that is stated as applying to the
                  specific TIME ELEMENT COVERAGE and/or TIME ELEMENT COVERAGE
                  EXTENSION; and

         B.       will not increase the Policy limit of liability; and

         C.       is subject to the Policy provisions, including applicable exclusions and deductibles,

         all as shown in this section and elsewhere in this Policy.

 1.      LOSS INSURED

         A.       This Policy insures TIME ELEMENT loss, as provided in the TIME ELEMENT
                  COVERAGES, directly resulting from physical loss or damage of the type insured:

                  1) to property described elsewhere in this Policy and not otherwise excluded by this Policy
                     or otherwise limited in the TIME ELEMENT COVERAGES below;

                  2) used by the Insured, or for which the Insured has contracted use;

                  3) while located as described in the INSURANCE PROVIDED provision or within 1,000
                     feet/300 metres thereof, or as described in the TEMPORARY REMOVAL OF
                     PROPERTY provision; or

                  4) while in transit as provided by this Policy, and

                  5) during the Periods of Liability described in this section,

                  provided such loss or damage is not at a contingent time element location.

         B.       This Policy insures TIME ELEMENT loss only to the extent it cannot be reduced through:

                  1) the use of any property or service owned or controlled by the Insured;

                  2) the use of any property or service obtainable from other sources;

                  3) working extra time or overtime; or

                  4) the use of inventory,

                  all whether at an insured location or at any other premises. The Company reserves the right
                  to take into consideration the combined operating results of all associated, affiliated or
                  subsidiary companies of the Insured in determining the TIME ELEMENT loss.


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         C.       This Policy covers expenses reasonably and necessarily incurred by the Insured to reduce the
                  loss otherwise payable under this section of this Policy. The amount of such recoverable
                  expenses will not exceed the amount by which the loss has been reduced.

         D.       In determining the amount of loss payable, the Company will consider the experience of the
                  business before and after and the probable experience during the PERIOD OF LIABILITY.
                  The probable experience will consider any increase or decrease in demand for the Insured’s
                  goods or services during the PERIOD OF LIABILITY, even if such increase or decrease is
                  from the same event that caused physical loss or damage starting the PERIOD OF
                  LIABILITY.

 2.      TIME ELEMENT COVERAGES

         A.       INSURED OPTION

                  The Insured has the option to make claim based on either

                  a) GROSS EARNINGS and EXTENDED PERIOD OF LIABILITY; or

                  b) GROSS PROFIT,

                  as described in the TIME ELEMENT section of this Policy and subject to the applicable
                  terms and conditions as may be shown elsewhere.

                  Such option may be exercised at any time prior to the conditions set forth in the
                  SETTLEMENT OF CLAIMS clause in the LOSS ADJUSTMENT AND SETTLEMENT
                  section of this Policy.

                  If such claim involves more than one insured location, including interdependency at one or
                  more insured locations, such claim will be adjusted by using the single coverage option
                  chosen above.

         B.       GROSS EARNINGS

                  Measurement of Loss:

                  1) The recoverable GROSS EARNINGS loss is the Actual Loss Sustained by the Insured
                     of the following during the PERIOD OF LIABILITY:

                       a) Gross Earnings;

                       b) less all charges and expenses that do not necessarily continue during the interruption
                          of production or suspension of business operations or services;

                       c) plus all other earnings derived from the operation of the business.




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                  2) For the purposes of the Measurement of Loss, Gross Earnings is:

                       for manufacturing operations: the net sales value of production less the cost of all raw
                       stock, materials and supplies used in such production; or

                       for mercantile or non-manufacturing operations: the total net sales less cost of
                       merchandise sold, materials and supplies consumed in the operations or services
                       rendered by the Insured.

                       Any amount recovered under property damage coverage at selling price will be
                       considered to have been sold to the Insured’s regular customers and will be credited
                       against net sales.

                  3) In determining the indemnity payable as the Actual Loss Sustained, the Company will
                     consider the continuation of only those normal charges and expenses that would have
                     been earned had there been no interruption of production or suspension of business
                     operations or services.

                  4) There is recovery hereunder to the extent that the Insured is:

                       a) wholly or partially prevented from producing goods or continuing business
                          operations or services;

                       b) unable to make up lost production within a reasonable period of time, not limited to
                          the period during which production is interrupted;

                       c) unable to continue such operations or services during the PERIOD OF LIABILITY;
                          and

                       d) able to demonstrate a loss of sales for the operations, services or production
                          prevented.

                  GROSS EARNINGS Exclusions: As respects GROSS EARNINGS for distribution centers,
                  manufacturing plants and warehouses, the TIME ELEMENT EXCLUSIONS C of this
                  section does not apply.

         C.       GROSS PROFIT

                  Measurement of Loss:

                  1) The recoverable GROSS PROFIT loss is the Actual Loss Sustained by the Insured of the
                     following due to the necessary interruption of business during the PERIOD OF
                     LIABILITY: a) Reduction in Sales and b) Increase in Cost of Doing Business. The
                     amount payable as indemnity hereunder will be:

                       a) with respect to Reduction in Sales: The sum produced by applying the Rate of
                          Gross Profit to the amount by which the sales during the PERIOD OF LIABILITY
                          will fall short of the Standard Sales. In determining the Reduction in Sales, any



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                            amount recovered under property damage coverage at selling price will be credited
                            against lost sales.

                       b) with respect to Increase in Cost of Doing Business:

                            (i) the additional expenditure necessarily and reasonably incurred for the sole
                                purpose of avoiding or diminishing the reduction in sales which, but for that
                                expenditure, would have taken place during the PERIOD OF LIABILITY; but

                            (ii) not exceeding the sum produced by applying the Rate of Gross Profit to the
                                 amount of the reduction thereby avoided,

                       all less any sum saved during the PERIOD OF LIABILITY with respect to such of the
                       Insured Fixed Charges as may cease or be reduced because of such interruption of
                       business.

                  2) For the purposes of the Measurement of Loss:

                       Gross Profit is:

                       The amount produced by adding to the Net Profit the amount of the Insured Fixed
                       Charges, or if there be no Net Profit the amount of the Insured Fixed Charges less that
                       proportion of any loss from business operations as the amount of the Insured Fixed
                       Charges bears to all fixed charges.

                       Net Profit is:

                       The net operating profit (exclusive of all capital receipts and accruals and all outlay
                       properly chargeable to capital) resulting from the business of the Insured at the insured
                       locations after due provision has been made for all fixed charges and other expenses
                       including depreciation but before the deduction of any taxes on profits.

                       Insured Fixed Charges is:

                       All fixed charges unless specifically excluded herein.

                       Sales is:

                       The money paid or payable to the Insured for goods sold and delivered and for services
                       rendered in the conduct of the business at an insured location.

                       Rate of Gross Profit is:

                       The rate of Gross Profit earned on the sales during the twelve full calendar months
                       immediately before the date of the physical loss or damage to the described property.




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                       Standard Sales is:

                       The sales during that period in the twelve months immediately before the date of the
                       physical loss or damage to the described property which corresponds with the PERIOD
                       OF LIABILITY.

                  3) In determining the indemnity payable as the Actual Loss Sustained:

                       a) if any fixed charges of the business are not insured hereunder, then, in computing
                          the amount recoverable hereunder as Increase in Cost of Doing Business, that
                          proportion only of the additional expenditure will be recoverable hereunder which
                          the sum of the Net Profit and the Insured Fixed Charges bears to the sum of the Net
                          Profit and all the fixed charges.

                       b) if during the PERIOD OF LIABILITY goods will be sold or services will be
                          rendered elsewhere than at the insured locations for the benefit of the business,
                          either by the Insured or by others on the Insured’s behalf, the money paid or payable
                          in respect of such sales or services will be included in arriving at the amount of sales
                          during the PERIOD OF LIABILITY.

                  4) The Insured will act with due diligence and dispatch in repairing or replacing physically
                     damaged buildings and equipment to the same or equivalent physical and operating
                     conditions that existed prior to the damage; and take whatever actions are necessary and
                     reasonable to minimize the loss payable hereunder.

                  GROSS PROFIT Exclusions: As respects GROSS PROFIT, the TIME ELEMENT
                  EXCLUSIONS B and C of this section do not apply and the following applies instead:

                  This Policy does not insure against any increase in loss due to damages for breach of
                  contract or for late or noncompletion of orders, or fines or penalties of any nature except
                  fines or penalties for breach of contract or for late or noncompletion of orders.

                  Coverage under GROSS PROFIT for the reduction in sales due to contract cancellation will
                  include only those sales that would have been earned under the contract during the PERIOD
                  OF LIABILITY.

         D.       EXTRA EXPENSE

                  Measurement of Loss:

                  The recoverable EXTRA EXPENSE loss will be the reasonable and necessary extra costs
                  incurred by the Insured of the following during the PERIOD OF LIABILITY:

                  1) extra expenses to temporarily continue as nearly normal as practicable the conduct of
                     the Insured’s business;

                  2) extra costs of temporarily using property or facilities of the Insured or others; and




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                  3) costs to purchase finished goods from third parties to fulfill orders when such orders
                     cannot be met due to physical loss or damage to the Insured’s finished goods, less
                     payment received for the sale of such finished goods.

                  less any value remaining at the end of the PERIOD OF LIABILITY for property obtained in
                  connection with the above.

                  If the Insured makes claim in accordance with the terms and conditions of the INSURED
                  OPTION clause, the PERIOD OF LIABILITY for EXTRA EXPENSE coverage will be the
                  PERIOD OF LIABILITY applicable to the Time Element coverage option selected.

                  EXTRA EXPENSE Exclusions: As respects EXTRA EXPENSE, the following applies:

                  1) TIME ELEMENT EXCLUSIONS C does not apply to item 3 above.

                  2) The following additional exclusions apply:

                       This Policy does not insure:

                       a) any loss of income.

                       b) costs that usually would have been incurred in conducting the business during the
                          same period had no physical loss or damage happened.

                       c) costs of permanent repair or replacement of property that has been damaged or
                          destroyed. However, this exclusion does not apply to item 3 above.

                       d) any expense recoverable elsewhere in this Policy.

         E.       LEASEHOLD INTEREST

                  Measurement of Loss:

                  The recoverable LEASEHOLD INTEREST incurred by the Insured of the following:

                  1) If the lease agreement requires continuation of rent; and if the property is wholly
                     untenantable or unusable, the actual rent payable for the unexpired term of the lease; or
                     if the property is partially untenantable or unusable, the proportion of the rent payable
                     for the unexpired term of the lease.

                  2) If the lease is cancelled by the lessor pursuant to the lease agreement or by the operation
                     of law; the Lease Interest for the first three months following the loss; and the Net Lease
                     Interest for the remaining unexpired term of the lease.

                  3) As used above, the following terms mean:

                       Net Lease Interest:
                       That sum which placed at 6% interest rate compounded annually would equal the Lease
                       Interest (less any amounts otherwise payable hereunder).


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                       Lease Interest:
                       The excess rent paid for the same or similar replacement property over actual rent
                       payable plus cash bonuses or advance rent paid (including maintenance or operating
                       charges) for each month during the unexpired term of the Insured’s lease.

                  LEASEHOLD INTEREST Exclusions: As respects LEASEHOLD INTEREST, the
                  following applies:

                  1) This Policy does not insure loss directly resulting from physical loss or damage to
                     Personal Property.

                  2) TIME ELEMENT EXCLUSIONS A, B and C do not apply and the following applies
                     instead:

                       This Policy does not insure any increase in loss resulting from the suspension, lapse or
                       cancellation of any license, or from the Insured exercising an option to cancel the lease;
                       or from any act or omission of the Insured that constitutes a default under the lease.

         F.       RENTAL INSURANCE

                  Measurement of Loss:

                  The recoverable RENTAL INSURANCE loss is the Actual Loss Sustained by the Insured of
                  the following during the PERIOD OF LIABILITY:

                  1) the fair rental value of any portion of the property occupied by the Insured;

                  2) the income reasonably expected from rentals of unoccupied or unrented portions of such
                     property; and

                  3) the rental income from the rented portions of such property according to bona fide
                     leases, contracts or agreements in force at the time of loss,

                  all not to include noncontinuing charges and expenses.

                  RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME
                  ELEMENT EXCLUSIONS A does not apply and the following applies instead:

                  This Policy does not insure any loss of rental income during any period in which the insured
                  property would not have been tenantable for any reason other than an insured loss.




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 3.      PERIOD OF LIABILITY

         A.       The PERIOD OF LIABILITY applying to all TIME ELEMENT COVERAGES, except
                  GROSS PROFIT and LEASEHOLD INTEREST and as shown below or if otherwise
                  provided under any TIME ELEMENT COVERAGE EXTENSION, and subject to any Time
                  Limit provided in the LIMITS OF LIABILITY clause in the DECLARATIONS section, is
                  as follows:

                  1) For building and equipment, the period:

                       a) starting from the time of physical loss or damage of the type insured; and

                       b) ending when with due diligence and dispatch the building and equipment could be:

                            (i) repaired or replaced; and

                            (ii) made ready for operations,

                            under the same or equivalent physical and operating conditions that existed prior to
                            the damage.

                       c) not to be limited by the expiration of this Policy.

                  2) For building and equipment under construction:

                       a) the equivalent of the above period of time will be applied to the level of business
                          that would have been reasonably achieved after construction and startup would have
                          been completed had no physical damage happened; and

                       b) due consideration will be given to the actual experience of the business compiled
                          after completion of the construction and startup.

                  3) For stock-in-process and mercantile stock, including finished goods not manufactured
                     by the Insured, the time required with the exercise of due diligence and dispatch:

                       a) to restore stock in process to the same state of manufacture in which it stood at the
                          inception of the interruption of production or suspension of business operations or
                          services; and

                       b) to replace physically damaged mercantile stock.

                       This item does not apply to RENTAL INSURANCE.

                  4) For raw materials and supplies, the period of time:

                       a) of actual interruption of production or suspension of operations or services resulting
                          from the inability to get suitable raw materials and supplies to replace similar ones
                          damaged; but



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                       b) limited to that period for which the damaged raw materials and supplies would have
                          supplied operating needs.

                  5) If water:

                       a) used for any manufacturing purpose, including but not limited to as a raw material or
                          for power;

                       b) stored behind dams or in reservoirs; and

                       c) on any insured location,

                       is released as the result of physical damage of the type insured to such dam, reservoir or
                       connected equipment, the Company’s liability for the actual interruption of production
                       or suspension of operations or services due to inadequate water supply will not extend
                       beyond 30 consecutive days after the damaged dam, reservoir or connected equipment
                       has been repaired or replaced.

                       This item does not apply to RENTAL INSURANCE.

                  6) For physically damaged exposed films, records, manuscripts and drawings, the time
                     required to copy from backups or from originals of a previous generation. This time
                     does not include research, engineering or any other time necessary to restore or recreate
                     lost information.

                       This item does not apply to RENTAL INSURANCE.

                  7) For physically damaged or destroyed property covered under DATA RESTORATION,
                     the period:

                       a) starting from the time of physical loss or damage to electronic data, programs or
                          software; and

                       b) ending when with due diligence and dispatch the electronic data, programs or
                          software could have been recreated or restored under the same or equivalent
                          physical and operating conditions that existed prior to the physical loss or damage.

                       This item does not apply to RENTAL INSURANCE.

         B.       The PERIOD OF LIABILITY applying to GROSS PROFIT is as follows:

                  1) The period:

                       a) starting from the time of physical loss or damage of the type insured; and

                       b) ending not later than the period of time shown in the LIMITS OF LIABILITY
                          clause of the DECLARATIONS section,




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                       during which period the results of the business shall be directly affected by such
                       damage.

                       c) not to be limited by the expiration of this Policy.

                  2) For property under construction, the period:

                       a) starting on the date that production, business operation or service would have
                          commenced if physical damage of the type insured had not happened; and

                       b) ending not later than the period of time shown in the LIMITS OF LIABILITY
                          clause of the DECLARATIONS section,

                       during which period the results of the business shall be directly affected by such
                       damage.

                       c) not to be limited by the expiration of this Policy.

                       The Rate of Gross Profit and Standard Sales will be based on the experience of the
                       business after construction is completed and the probable experience during the
                       PERIOD OF LIABILITY.

         C.       The PERIOD OF LIABILITY does not include any additional time due to the Insured’s
                  inability to resume operations for any reason, including but not limited to:

                  1) making changes to the buildings, structures, machinery or equipment except as provided
                     in the LAW AND ORDINANCE clause in the PROPERTY DAMAGE section.

                  2) restaffing or retraining employees. However, this item does not apply to additional time
                     needed to train staff to use new machinery or equipment that replaces machinery or
                     equipment that suffered insured physical loss or damage, provided such training is
                     completed within 90 consecutive days after the new machinery or equipment has been
                     installed.

                  If two or more Periods of Liability apply such periods will not be cumulative.

 4.      TIME ELEMENT EXCLUSIONS

         In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME
         ELEMENT loss:

         This Policy does not insure:

         A.       Any loss during any idle period, including but not limited to when production, operation,
                  service or delivery or receipt of goods would cease, or would not have taken place or would
                  have been prevented due to:

                  1) physical loss or damage not insured by this Policy on or off of the insured location.



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                  2) planned or rescheduled shutdown.

                  3) strikes or other work stoppage.

                  4) any other reason other than physical loss or damage insured under this Policy.

         B.       Any increase in loss due to:

                  1) suspension, cancellation or lapse of any lease, contract, license or orders.

                  2) damages for breach of contract or for late or noncompletion of orders.

                  3) fines or penalties of any nature except fines or penalties for breach of contract or for late
                     or noncompletion of orders.

                  4) any other consequential or remote loss.

         C.       Any loss resulting from physical loss or damage to finished goods manufactured by or for
                  the Insured, or the time required for their reproduction.

         D.       Any loss resulting from the actual cash value portion of direct physical loss or damage by
                  fire caused by or resulting from terrorism.

 5.      TIME ELEMENT COVERAGE EXTENSIONS

         This Policy also insures TIME ELEMENT loss, as provided by the TIME ELEMENT
         COVERAGES of this Policy, for the TIME ELEMENT COVERAGE EXTENSIONS described
         below.

         CYBER TIME ELEMENT COVERAGE EXTENSIONS

         A.       DATA SERVICE PROVIDER TIME ELEMENT

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the period of interruption at an insured location of off-premises data
                  processing or data transmission services, when the interruption is caused by any
                  accidental event at the facilities of the provider of such services that immediately prevents in
                  whole or in part the delivery of such provided services.

                  For the purposes of this Extension:

                  1) facilities of the provider of off-premises data processing or data transmission
                     services can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or
                     Crimea Region of Ukraine, and

                  2) an accidental event to satellites will be considered an accidental event at the facilities of
                     the provider.




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                  This Extension will apply when the period of interruption of off-premises data processing
                  or data transmission services is in excess of 24 hours.

                  Additional General Provisions:

                  1) The Insured will immediately notify the company providing off-premises data
                     processing or data transmission services of any interruption of such services.

                  2) The Company will not be liable if the interruption of such services is caused directly or
                     indirectly by the failure of the Insured to comply with the terms and conditions of any
                     contracts the Insured has entered into for such specified services.

                  Coverage provided in this Extension is excluded from coverage elsewhere in this Policy.

                  This Extension does not cover Actual Loss Sustained and EXTRA EXPENSE incurred by
                  the Insured covered by OWNED NETWORK INTERRUPTION coverage as provided in
                  this section of the Policy.

                  DATA SERVICE PROVIDER TIME ELEMENT Exclusions: As respects DATA SERVICE
                  PROVIDER TIME ELEMENT, the following applies:

                  1) Item B4 of the EXCLUSIONS clause in the PROPERTY DAMAGE section does not
                     apply except for B4 with respect to:

                       a) incoming electricity, fuel, water, gas, steam or refrigerant; and

                       b) outgoing sewerage.

                  2) The following additional exclusions apply:

                       This Policy excludes loss or damage directly or indirectly caused by or resulting from
                       the following regardless of any other cause or event, whether or not insured under this
                       Policy, contributing concurrently or in any other sequence to the loss:

                       a) earth movement for property located in California, in the New Madrid Seismic
                          Zone or in the Pacific Northwest Seismic Zone.

                       b) terrorism.

                  As used above, the period of interruption of off-premises data processing or data
                  transmission services:

                  1) is the period starting with the time when an interruption of provided services happens;
                     and ending when with due diligence and dispatch the service could be wholly restored
                     and the location receiving the service could or would have resumed normal operations
                     following the restorations of service under the same or equivalent physical and operating
                     conditions as provided by the PERIOD OF LIABILITY clause in this section.




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                  2) is limited to only those hours during which the Insured would or could have used
                     service(s) if it had been available.

                  3) does not extend to include the interruption of operations caused by any reason other than
                     interruption of the provided service(s).

         B.       OWNED NETWORK INTERRUPTION

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the period of interruption directly resulting from:

                  1) the failure of the Insured’s electronic data processing equipment or media to operate,
                     provided that such failure is the direct result of a cyber event directed at the NAMED
                     INSURED; or

                  2) the Insured’s reasonable action to temporarily protect the Insured’s electronic data
                     processing equipment or media against an actual or immediately impending cyber
                     event directed at the NAMED INSURED, provided such action is necessary to prevent
                     failure of the Insured’s electronic data processing equipment or media to operate.

                  For the purposes of this Extension, the Insured’s electronic data processing equipment or
                  media can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or Crimea
                  Region of Ukraine.

                  As respects item 1 above, this Extension will apply when the period of interruption is in
                  excess of 48 hours.

                  As used above, the period of interruption:

                  1) is the period starting when the Insured’s electronic data processing equipment or
                     media fails to operate and ending when with due diligence and dispatch, the Insured’s
                     electronic data processing equipment or media could be restored to the same or
                     equivalent operating condition that existed prior to the failure.

                  2) does not include the additional time to make changes to the Insured’s electronic data
                     processing equipment or media.

         SUPPLY CHAIN TIME ELEMENT COVERAGE EXTENSIONS

         A.       CIVIL OR MILITARY AUTHORITY

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the PERIOD OF LIABILITY if an order of civil or military authority limits,
                  restricts or prohibits partial or total access to an insured location provided such order is the
                  direct result of physical damage of the type insured at the insured location or within five
                  statute miles/eight kilometres of it.

                  This Extension does not apply to LEASEHOLD INTEREST.



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                  The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                  be:

                  The period of time:

                  1) starting at the time of such physical damage; and

                  2) ending not later than the number of consecutive days shown in the LIMITS OF
                     LIABILITY clause in the DECLARATIONS section,

                  this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                  any coverage provided in the TIME ELEMENT section.

         B.       CONTINGENT TIME ELEMENT EXTENDED

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                  of the type insured to property of the type insured at contingent time element locations
                  located within the TERRITORY of this Policy.

                  As respects CONTINGENT TIME ELEMENT EXTENDED:

                  1) Time Element loss recoverable under this Extension is extended to include the following
                     TIME ELEMENT COVERAGE EXTENSIONS:

                       CIVIL OR MILITARY AUTHORITY
                       CONTINGENT TIME ELEMENT EXTENDED
                       DATA SERVICE PROVIDER TIME ELEMENT
                       DELAY IN STARTUP
                       EXTENDED PERIOD OF LIABILITY
                       INGRESS/EGRESS
                       ON PREMISES SERVICES
                       SERVICE INTERRUPTION TIME ELEMENT

                  2) The Insured will influence and cooperate with the contingent time element location in
                     every way and take any reasonable and necessary action to mitigate the loss payable
                     hereunder.

                  3) TIME ELEMENT EXCLUSIONS C does not apply.

                  CONTINGENT TIME ELEMENT EXTENDED Exclusions: As respects CONTINGENT
                  TIME ELEMENT EXTENDED, the following additional exclusions apply:

                  This Policy does not insure loss resulting from:

                  1) lack of incoming or outgoing transmission of voice, data or video.




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                  2) earth movement as respects a direct or indirect customer, supplier, contract
                     manufacturer or contract service provider located in California, in the New Madrid
                     Seismic Zone or in the Pacific Northwest Seismic Zone.

                  3) physical loss or damage caused by or resulting from terrorism, regardless of any other
                     cause or event, whether or not insured under this Policy, contributing concurrently or in
                     any other sequence of loss.

         C.       INGRESS/EGRESS

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the PERIOD OF LIABILITY due to the necessary interruption of the
                  Insured’s business due to partial or total physical prevention of ingress to or egress from an
                  insured location, whether or not the premises or property of the Insured is damaged,
                  provided that such prevention is a direct result of physical damage of the type insured to
                  property of the type insured.

                  INGRESS/EGRESS Exclusions: As respects INGRESS/EGRESS, the following additional
                  exclusions apply:

                  This Policy does not insure loss resulting from:

                  1) lack of incoming or outgoing service consisting of electric, fuel, gas, water, steam,
                     refrigerant, sewerage and voice, data or video.

                  2) picketing or other action by strikers except for physical damage not excluded by this
                     Policy.

                  3) physical loss or damage caused by or resulting from terrorism, regardless of any other
                     cause or event, whether or not insured under this Policy, contributing concurrently or in
                     any other sequence to the loss.

                  The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                  be:

                  The period of time:

                  1) starting at the time of such physical damage; and

                  2) ending not later than the number of consecutive days shown in the LIMITS OF
                     LIABILITY clause in the DECLARATIONS section,

                  this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                  any coverage provided in the TIME ELEMENT section.




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         D.       LOGISTICS EXTRA COST

                  This Policy covers the extra cost incurred by the Insured during the PERIOD OF
                  LIABILITY due to the disruption of the normal movement of goods or materials:

                  1) directly between insured locations; or

                  2) directly between an insured location and a location of a direct customer, supplier,
                     contract manufacturer or contract service provider to the Insured,

                  provided that such disruption is a direct result of physical loss or damage of the type insured
                  to property of the type insured located within the TERRITORY of this Policy.

                  Measurement of Loss:

                  The recoverable extra cost loss will be the reasonable and necessary extra costs incurred by
                  the Insured of the following:

                  1) extra costs to temporarily continue as nearly normal as practicable the movement of
                     goods or materials.

                  This Extension will apply when the PERIOD OF LIABILITY is in excess of 48 hours except
                  168 hours applies for earth movement and/or flood and/or wind.

                  LOGISTICS EXTRA COST Exclusions: As respects LOGISTICS EXTRA COST, the
                  following additional exclusions apply:

                  This Policy does not insure:

                  1) any loss resulting from disruption in the movement of goods or materials between
                     contingent time element locations.

                  2) any loss resulting from disruption of incoming or outgoing services consisting of
                     electricity, gas, fuel, steam, water, refrigeration, sewerage and voice, data or video.

                  3) any loss of income.

                  4) costs that usually would have been incurred in conducting the business during the same
                     period had there been no disruption of normal movement of goods or materials.

                  5) costs of permanent repair or replacement of property that has been damaged or
                     destroyed.

                  6) any expense recoverable elsewhere in this Policy.

                  7) any loss resulting from disruption caused by or resulting from terrorism, regardless of
                     any other cause or event, whether or not insured under this Policy, contributing
                     concurrently or in any other sequence to the loss.



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                  8) any loss resulting from disruption caused by loss or damage from earth movement in
                     California, in the New Madrid Seismic Zone or in the Pacific Northwest Seismic
                     Zone.

                  9) any loss resulting from disruption caused by physical loss or damage to personal
                     property of the Insured while in transit.

                  The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                  be:

                  The period of time:

                  1) starting at the time of physical loss or damage causing the disruption of the normal
                     movement of goods or materials directly between insured locations; or directly between
                     the insured location and the location of the direct customer, supplier, contract
                     manufacturer or contract service provider to the Insured, and

                  2) ending not later than:

                       a) when with due diligence and dispatch the normal movement of goods or materials
                          directly between insured locations; or directly between the insured location and the
                          location of the direct customer, supplier, contract manufacturer or contract service
                          provider to the Insured could be resumed; or

                       b) the number of consecutive days shown in the LIMITS OF LIABILITY clause of the
                          DECLARATIONS section.

         E.       SERVICE INTERRUPTION TIME ELEMENT

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the period of service interruption at an insured location when the loss is
                  caused by the interruption of incoming services consisting of electricity, gas, fuel, steam,
                  water, refrigeration or from the lack of outgoing sewerage service by reason of any
                  accidental event at the facilities of the supplier of such service located within this Policy’s
                  TERRITORY, that immediately prevents in whole or in part the delivery of such usable
                  services.

                  This Extension will apply when the period of service interruption is in excess of 12 hours.

                  Additional General Provisions:

                  1) The Insured will immediately notify the suppliers of services of any interruption of such
                     services.

                  2) The Company will not be liable if the interruption of such services is caused directly or
                     indirectly by the failure of the Insured to comply with the terms and conditions of any
                     contracts the Insured has for the supply of such specified services.




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                  SERVICE INTERRUPTION TIME ELEMENT Exclusions: As respects SERVICE
                  INTERRUPTION TIME ELEMENT, the following applies:

                  1) The exclusions in the EXCLUSIONS clause in the PROPERTY DAMAGE section do
                     not apply except for:

                       a) A1, A2, A3, A6, B1, B2, and

                       b) B4 with respect to incoming or outgoing voice, data or video, and

                       c) D1 except with respect to fungus, mold or mildew.

                  2) The following additional exclusions apply:

                       This Policy excludes loss or damage directly or indirectly caused by or resulting from
                       the following regardless of any other cause or event, whether or not insured under this
                       Policy, contributing concurrently or in any other sequence to the loss:

                       a) earth movement for property located in California, in the New Madrid Seismic
                          Zone or in the Pacific Northwest Seismic Zone.

                       b) terrorism.

                  As used above, the period of service interruption:

                  1) is the period starting with the time when an interruption of specified services happens;
                     and ending when with due diligence and dispatch the service could be wholly restored
                     and the location receiving the service could or would have resumed normal operations
                     following the restorations of service under the same or equivalent physical and operating
                     conditions as provided by the PERIOD OF LIABILITY clause in this section.

                  2) is limited to only those hours during which the Insured would or could have used
                     service(s) if it had been available.

                  3) does not extend to include the interruption of operations caused by any reason other than
                     interruption of the specified service(s).

         ADDITIONAL TIME ELEMENT COVERAGE EXTENSIONS

         A.       ATTRACTION PROPERTY

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                  of the type insured to property of the type insured that attracts business to an insured
                  location and is within 1 statute mile/1.6 kilometres of the insured location.




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                  ATTRACTION PROPERTY Exclusions: As respects ATTRACTION PROPERTY, the
                  following additional exclusion applies:

                  This Policy does not insure loss resulting from:

                  1) physical loss or damage caused by or resulting from terrorism, regardless of any other
                     cause or event, whether or not insured under this Policy, contributing concurrently or in
                     any other sequence to the loss.

                  The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                  be:

                  The period of time:

                  1) starting at the time of such physical damage; and

                  2) ending not later than the number of consecutive days shown in the LIMITS OF
                     LIABILITY clause in the DECLARATIONS section.

         B.       CRISIS MANAGEMENT

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the PERIOD OF LIABILITY if an order of civil or military authority limits,
                  restricts or prohibits partial or total access to an insured location, provided such order is a
                  direct result of:

                  1) a violent crime, suicide, attempted suicide, or armed robbery; or

                  2) a death or bodily injury caused by a workplace accident;

                  at such insured location.

                  For the purposes of this Extension only, a workplace accident shall be considered a sudden,
                  fortuitous event that happens during working hours and arises out of work performed in the
                  course and the scope of employment.

                  This Extension of coverage will apply when the PERIOD OF LIABILITY is in excess of 4
                  hours.

                  CRISIS MANAGEMENT Exclusions: As respects CRISIS MANAGEMENT, the following
                  additional exclusion applies:

                  This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                  following regardless of any other cause or event, whether or not insured under this Policy,
                  contributing concurrently or in any other sequence to the loss:

                  1) terrorism.




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                  The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                  be:

                  The period of time:

                  1) starting with the time the civil or military authority prohibits access; and

                  2) ending not later than the number of consecutive days shown in the LIMITS OF
                     LIABILITY clause in the DECLARATIONS section.

         C.       DELAY IN STARTUP

                  GROSS EARNINGS or GROSS PROFIT and EXTRA EXPENSE are extended to cover the
                  Actual Loss Sustained incurred by the Insured during the PERIOD OF LIABILITY due to
                  the reasonable and necessary delay in startup of business operations directly resulting from
                  physical loss or damage of the type insured to insured property under construction at an
                  insured location.

         D.       EXTENDED PERIOD OF LIABILITY

                  The GROSS EARNINGS coverage is extended to cover the reduction in sales resulting
                  from:

                  1) the interruption of business as covered by GROSS EARNINGS;

                  2) for such additional length of time as would be required with the exercise of due
                     diligence and dispatch to restore the Insured’s business to the condition that would have
                     existed had no loss happened; and

                  3) commencing with the date on which the liability of the Company for loss resulting from
                     interruption of business would terminate if this Extension had not been included in this
                     Policy.

                  However, this Extension does not apply to GROSS EARNINGS loss resulting from physical
                  loss or damage caused by or resulting from terrorism.

                  EXTENDED PERIOD OF LIABILITY Exclusions: As respects EXTENDED PERIOD OF
                  LIABILITY, the TIME ELEMENT EXCLUSIONS B of this section does not apply and the
                  following applies instead:

                  This Policy does not insure against any increase in loss due to damages for breach of
                  contract or for late or noncompletion of orders, or fines or penalties of any nature except
                  fines or penalties for breach of contract or for late or noncompletion of orders.

                  Coverage under this Extension for the reduction in sales due to contract cancellation will
                  include only those sales that would have been earned under the contract during the extended
                  period of liability.




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                  Coverage under this Extension does not apply for more than the number of consecutive days
                  shown in the LIMITS OF LIABILITY clause of the DECLARATIONS section.

         E.       INTERRUPTION BY COMMUNICABLE DISEASE

                  If a location owned, leased or rented by the Insured has the actual not suspected presence of
                  communicable disease and access to such location is limited, restricted or prohibited by:

                  1) an order of an authorized governmental agency regulating the actual not suspected
                     presence of communicable disease; or

                  2) a decision of an Officer of the Insured as a result of the actual not suspected presence of
                     communicable disease,

                  this Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the Insured
                  during the PERIOD OF LIABILITY at such location with the actual not suspected presence
                  of communicable disease.

                  This Extension will apply when access to such location is limited, restricted, or prohibited in
                  excess of 48 hours.

                  INTERRUPTION BY COMMUNICABLE DISEASE Exclusions: As respects
                  INTERRUPTION BY COMMUNICABLE DISEASE, the following additional exclusions
                  apply:

                  This Policy does not insure loss resulting from:

                  1) the enforcement of any law or ordinance with which the Insured was legally obligated to
                     comply prior to the time of the actual spread of communicable disease.

                  2) loss or damage caused by or resulting from terrorism, regardless of any other cause or
                     event, whether or not insured under this Policy, contributing concurrently or in any
                     sequence of loss.

                  The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                  be:

                  The period of time:

                  1) starting at the time of the order of the authorized governmental agency or the Officer of
                     the Insured; and

                  2) ending not later than the number of consecutive days shown in the LIMITS OF
                     LIABILITY clause in the DECLARATIONS section,

                  this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                  any coverage provided in the TIME ELEMENT section.




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         F.       ON PREMISES SERVICES

                  This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                  Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                  of the type insured to the following property located within 1,000 feet/300 metres of the
                  insured location:

                  1) Electrical equipment and equipment used for the transmission of voice, data or video.

                  2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video
                     transmission lines.

         G.       PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

                  This Policy covers the Actual Loss Sustained by the Insured for a period of time not to
                  exceed 48 hours prior to and 48 hours after the Insured first taking reasonable action for the
                  temporary protection and preservation of property insured by this Policy provided such
                  action is necessary to prevent immediately impending insured physical loss or damage to
                  such insured property.

                  This Extension does not cover the Actual Loss Sustained by the Insured to temporarily
                  protect or preserve insured property from actual, or to prevent immediately impending,
                  physical loss or damage covered by TERRORISM coverage as provided in the PROPERTY
                  DAMAGE section.

                  This Extension is subject to the deductible provisions that would have applied had the
                  physical loss or damage happened.

         H.       RELATED REPORTED VALUES

                  If reported TIME ELEMENT values include:

                  1) locations used by the Insured (such as branch stores, sales outlets and other plants) but
                     not listed on a schedule under this Policy; and

                  2) a TIME ELEMENT loss would result at such locations,

                  3) from insured physical loss or damage at an insured location,

                  then this Policy provides coverage for such resulting TIME ELEMENT loss in accordance
                  with the coverage applicable at such insured location.

         I.       RESEARCH AND DEVELOPMENT

                  The GROSS EARNINGS and GROSS PROFIT coverages are extended to insure the Actual
                  Loss Sustained by the Insured of continuing fixed charges and ordinary payroll directly
                  attributable to the interruption of research and development activities that in themselves
                  would not have produced income during the PERIOD OF LIABILITY.



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                  The PERIOD OF LIABILITY for this Extension will be the period from the time of direct
                  physical loss or damage of the type insured to the time when the property could be repaired
                  or replaced and made ready for operations, but not to be limited by the date of expiration of
                  this Policy.

         J.       SOFT COSTS

                  This Policy covers the Actual Loss Sustained incurred by the Insured of soft costs during the
                  PERIOD OF LIABILITY arising out of the delay of completion of buildings and additions
                  under construction directly resulting from physical loss or damage of the type insured to
                  insured property under construction at an insured location.




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                                    LOSS ADJUSTMENT AND SETTLEMENT

 1.      REQUIREMENTS IN CASE OF LOSS

         The Insured will:

         1)       give immediate written notice to the Company of any loss.

         2)       protect the property from further loss or damage.

         3)       promptly separate the damaged and undamaged property; put it in the best possible order;
                  and furnish a complete inventory of the lost, destroyed, damaged and undamaged property
                  showing in detail the quantities, costs, actual cash value, replacement value and amount of
                  loss claimed.

         4)       give a signed and sworn proof of loss to the Company within 90 days after the loss, unless
                  that time is extended in writing by the Company. The proof of loss must state the
                  knowledge and belief of the Insured as to:

                  a) the time and origin of the loss.

                  b) the Insured’s interest and that of all others in the property.

                  c) the actual cash value and replacement value of each item and the amount of loss to each
                     item; all encumbrances; and all other contracts of insurance, whether valid or not,
                     covering any of the property.

                  d) any changes in the title, use, occupation, location, possession or exposures of the
                     property since the effective date of this Policy.

                  e) by whom and for what purpose any location insured by this Policy was occupied on the
                     date of loss, and whether or not it then stood on leased ground.

         5)       include a copy of all the descriptions and schedules in all policies and, if required, provide
                  verified plans and specifications of any buildings, fixtures, machinery or equipment
                  destroyed or damaged.

         6)       further, the Insured, will as often as may be reasonably required:

                  a) exhibit to any person designated by the Company all that remains of any property;

                  b) submit to examination under oath by any person designated by the Company and sign
                     the written records of examinations; and

                  c) produce for examination at the request of the Company:

                       (i) all books of accounts, business records, bills, invoices and other vouchers; or

                       (ii) certified copies if originals are lost,


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                  at such reasonable times and places that may be designated by the Company or its
                  representative and permit extracts and machine copies to be made.

 2.      CURRENCY FOR LOSS PAYMENT

         Losses will be adjusted and paid in the currency of the United States of America, except in Canada
         where losses will be paid in Canadian currency, unless directed otherwise by the Insured.

         In the event of a loss adjustment involving currency conversion, the exchange selling rate will be
         calculated as follows:

         A.       As respects the calculation of deductibles and limits of liability, the rate of exchange
                  published in The Wall Street Journal on the date of loss.

         B.       As respects loss or damage to insured real and personal property:

                  1) the cost to repair or replace such property will be converted at the time the cost of repair
                     or replacement is incurred based on the rate of exchange published in The Wall Street
                     Journal.

                  2) if such property is not replaced or repaired, the conversion will be based on the rate of
                     exchange published in The Wall Street Journal as of the date of loss.

         C.       As respects TIME ELEMENT loss the conversion will be based on the average of the rate of
                  exchange published in The Wall Street Journal on the date of loss and the rate of exchange
                  published in The Wall Street Journal on the last day of the Period of Liability.

         If The Wall Street Journal was not published on the stipulated date, the rate of exchange will be as
         published on the next business day.

 3.      PARTIAL PAYMENT OF LOSS SETTLEMENT

         In the event of insured physical loss or damage determined by the Company’s representatives to be
         in excess of the applicable Policy deductible, the Company will advance mutually agreed upon
         partial payment(s), subject to the Policy’s provisions. To obtain such partial payments, the Insured
         will submit a signed and sworn Proof of Loss as described in this Policy, with adequate supporting
         documentation.

 4.      COLLECTION FROM OTHERS

         The Company will not be liable for any loss to the extent that the Insured has collected for such
         loss from others.

 5.      SUBROGATION

         The Insured is required to cooperate in any subrogation proceedings. The Company may require
         from the Insured an assignment or other transfer of all rights of recovery against any party for loss
         to the extent of the Company’s payment.


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         The Company will not acquire any rights of recovery that the Insured has expressly waived prior to
         a loss, nor will such waiver affect the Insured’s rights under this Policy.

         Any recovery from subrogation proceedings, less costs incurred by the Company in such
         proceedings, will be payable to the Insured in the proportion that the amount of:

         1)      any applicable deductible; and/or

         2)      any provable uninsured loss,

         bears to the entire provable loss amount.

 6.      COMPANY OPTION

         The Company has the option to take all or any part of damaged property at the agreed or appraised
         value. The Company must give notice to the Insured of its intention to do so within 30 days after
         receipt of Proof of Loss.

 7.      ABANDONMENT

         There may be no abandonment of any property to the Company.

 8.      APPRAISAL

         If the Insured and the Company fail to agree on the amount of loss, each will, on the written
         demand of either, select a competent and disinterested appraiser after:

         1)       the Insured has fully complied with all provisions of this Policy, including
                  REQUIREMENTS IN CASE OF LOSS; and

         2)       the Company has received a signed and sworn Proof of Loss from the Insured.

         Each will notify the other of the appraiser selected within 20 days of such demand.

         The appraisers will first select a competent and disinterested umpire. If the appraisers fail to agree
         upon an umpire within 30 days then, on the request of the Insured or the Company, the umpire will
         be selected by a judge of a court of record in the jurisdiction in which the appraisal is pending. The
         appraisers will then appraise the amount of loss, stating separately the actual cash value and
         replacement cost value as of the date of loss and the amount of loss, for each item of physical loss
         or damage or if, for TIME ELEMENT loss, the amount of loss for each TIME ELEMENT
         coverage of this Policy.

         If the appraisers fail to agree, they will submit their differences to the umpire. An award agreed to
         in writing by any two will determine the amount of loss.

         The Insured and the Company will each:

         1)       pay its chosen appraiser; and


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         2)       bear equally the other expenses of the appraisal and umpire.

         A demand for APPRAISAL shall not relieve the Insured of its continuing obligation to comply
         with the terms and conditions of this Policy, including as provided under REQUIREMENTS IN
         CASE OF LOSS.

         The Company will not be held to have waived any of its rights by any act relating to appraisal.

 9.      SUIT AGAINST THE COMPANY

         No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or
         equity unless:

         1)       the Insured has fully complied with all the provisions of this Policy; and

         2)       legal action is started within twelve months after inception of the loss.

         If under the insurance laws of the jurisdiction in which the property is located, such twelve months’
         limitation is invalid, then any such legal action must be started within the shortest limit of time
         permitted by such laws.

 10.     SETTLEMENT OF CLAIMS

         The amount of loss for which the Company may be liable will be paid within 30 days after:

         A.       proof of loss as described in this Policy is received by the Company; and

         B.       when a resolution of the amount of loss is made either by:

                  1) written agreement between the Insured and the Company; or

                  2) the filing with the Company of an award as provided in the APPRAISAL clause of this
                     section.




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                                                  GENERAL PROVISIONS

  1.      CANCELLATION/NON-RENEWAL

          This Policy may be:

          A.       cancelled at any time at the request of the Insured by surrendering this Policy to the
                   Company or by giving written notice to the Company stating when such cancellation will
                   take effect; or

          B.       cancelled by the Company by giving the Insured not less than:

                   1) 90 days’ written notice of cancellation; or

                   2) 10 days’ written notice of cancellation if the Insured fails to remit, when due, payment
                      of premium for this Policy; or

          C.       non-renewed by the Company by giving the Insured not less than 60 days’ written notice of
                   non-renewal.

          Return of any unearned premium will be calculated on the customary short rate basis if the Insured
          cancels and on a pro-rata basis if the Company cancels this Policy. Return of any unearned
          premium will be made by the Company as soon as practicable.

  2.      INSPECTIONS

          The Company, at all reasonable times, will be permitted, but will not have the duty, to inspect
          insured property. The Company does not address life, safety or health issues.

          The Company’s:

          A.       right to make inspections;

          B.       making of inspections; or

          C.       providing recommendations or other information in connection with any inspections,

          will not constitute an undertaking, on behalf of or for the benefit of the Insured or others. The
          Company will have no liability to the Insured or any other person because of any inspection or
          failure to inspect.

          When the Company is not providing jurisdictional inspections, the Owner/Operator has the
          responsibility to assure that jurisdictional inspections are performed as required, and to assure that
          required jurisdictional Operating Certificates are current for their pressure equipment.




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  3.      PROVISIONS APPLICABLE TO SPECIFIC JURISDICTIONS

          A.       If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy
                   applies, and if certain provisions are required by law to be stated in this Policy, this Policy
                   will be read so as to eliminate such conflict or deemed to include such provisions for insured
                   locations within such jurisdictions.

          B.       The Company will provide to the Insured copies of endorsements mandated for use by the
                   laws of provinces in Canada. The endorsements modify this Policy with respect to any
                   insured property located in the province in which the endorsement applies.

          C.       The Company will provide to the Insured copies of endorsements mandated for use by the
                   laws of states in the United States of America. The endorsements modify this Policy with
                   respect to any insured property located in the state in which the endorsement applies.

          D.       In respect of any insured property located in Australia, the definition of terrorism is
                   declared null and void and it is agreed that a Declared Terrorist Incident under the Terrorism
                   Insurance Act 2003 shall be considered an act of terrorism within the terms of this Policy.
                   Coverage recoverable under the Terrorism Insurance Act 2003 is excluded from coverage
                   under this Policy. Any difference in limit between loss recoverable under the Terrorism
                   Insurance Act 2003 and this Policy is not recoverable under this Policy.

          E.       In respect of any insured property located in Belgium, the definition of terrorism is declared
                   null and void and it is agreed that any event defined as terrorism in accordance with the Law
                   of 1 April 2007 shall be considered an act of terrorism within the terms of this Policy.
                   Coverage provided, in accordance with the terms and conditions of the Terrorism
                   Reinsurance and Insurance Pool Statute, under the European policy issued by FM Insurance
                   Europe S.A. is excluded from coverage under this Policy. Any difference in limit between
                   loss recoverable from Terrorism Reinsurance and Insurance Pool and this Policy is not
                   recoverable under this Policy.

          F.       In respect of any insured property located in France or in French territories, the definition of
                   terrorism is declared null and void and it is agreed that any event certified to be an act of
                   terrorism in accordance with articles L126-2, R126-1 and R126-2 of the Insurance Code and
                   decree 2001-1337 dated 28 December 2001 shall be considered an act of terrorism within
                   the terms of this Policy. Terrorism coverage is mandatory and is provided to the Insured
                   under the European/local policy issued by FM Insurance Europe S.A. Coverage provided
                   under this Policy shall not extend the coverage for terrorism provided under such
                   European/local policy. Any difference in limit between loss recoverable for terrorism under
                   the European/local policy and this Policy is not recoverable under this Policy.

          G.       In respect of any insured property located in Great Britain, the definition of terrorism is
                   declared null and void and it is agreed that an act of terrorism shall mean an event certified
                   by Her Majesty’s Treasury to be an act of terrorism or determined to be such by an
                   appropriately designated tribunal. Coverage provided by the TERRORISM CERTIFICATE
                   under the United Kingdom policy issued by FM Insurance Company Limited is excluded
                   from coverage under this Policy.




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          H.       In respect of any insured property located in the Netherlands, the definition of terrorism is
                   declared null and void and it is agreed that any event defined as terrorism in accordance with
                   Dutch Terrorism Risk Reinsurance Company’s terms and conditions shall be considered an
                   act of terrorism within the terms of this Policy. Coverage provided in accordance with the
                   Dutch Terrorism Risk Reinsurance Company’s terms and conditions under the European
                   policy issued by FM Insurance Europe S.A. is excluded from coverage under this Policy.
                   Any difference in limit between loss recoverable from Dutch Terrorism Risk Reinsurance
                   Company (NHT) and this Policy is not recoverable under this Policy.

          I.       Coverage is provided for physical loss or damage and any resulting TIME ELEMENT loss
                   as provided in the TIME ELEMENT section of this Policy to insured property in Northern
                   Ireland occasioned by or happening through or in consequence directly or indirectly of:

                   1) riot, civil commotion and (except in respect of loss or damage and resulting TIME
                      ELEMENT loss by fire or explosion) strikers, locked-out workers or persons taking part
                      in labor disturbances or malicious persons; and

                   2) terrorism,

                   subject to liability of the Company only to be for the extent of the loss not recoverable by the
                   Insured under the "Criminal Damage (Compensation) (Northern Ireland) Order 1977" or
                   subsequent legislation; and to all other terms, conditions and limits of this Policy.

          J.       For any insured property located in Norway, this Policy insures against loss or damage to
                   insured property resulting from Natural Catastrophe perils as designated in the Act of
                   Natural Perils of June 16th, 1989.

          K.       With respect to any insured property in South Africa, the following conditions additionally
                   apply:

                   Notwithstanding anything contained herein to the contrary:

                   1) This Policy does not cover loss of or damage directly or indirectly to property related to
                      or caused by:

                        a) civil commotion, labor disturbances, riot, strike, lockout or public disorder or any
                           act or activity which is calculated or directed to bring about any of the above;

                        b) war, invasion, act of foreign enemy, hostilities or warlike operations (whether war
                           be declared or not) or civil war;

                        c) (i) mutiny, military rising, military or usurped power, martial law or state of siege,
                               or any other event or cause which determines the proclamation or maintenance
                               of martial law or siege;

                             (ii) insurrection, rebellion or revolution.

                        d) any act (whether on behalf of any organization, body or person, or group of persons)
                           calculated or directed to overthrow or influence any state or government, or any


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                             provincial, local or tribal authority with force, or by means of fear, terrorism or
                             violence;

                        e) any act which is calculated or directed to bring about loss or damage in order to
                           further any political aim, objective or cause or to bring about any social or economic
                           change, or in protest against any state or government, or any provincial, local or
                           tribal authority, or for the purpose of inspiring fear in the public, or any section
                           thereof;

                        f) any attempt to perform any act referred to in clause d or e above;

                        g) The act of any lawfully established authority in controlling, preventing, suppressing
                           or in any other way dealing with any event referred to in clause a, b, c, d, e or f
                           above.

                        If the Insurers allege that by reason of clauses a, b, c, d, e, f, or g of this exclusion, loss
                        or damage is not covered by this Policy, the burden of proving the contrary will rest on
                        the Insured.

                   2) This Policy does not cover loss or damage caused directly or indirectly by or through or
                      in consequence of any event for which a fund has been established in terms of the War
                      Damage Insurance and Compensation Act 1976 (No. 85 of 1976) or any similar Act
                      operative in any of the territories to which this Policy applies.

          L.       In respect of any insured property located in Spain and as applies to Physical Damage
                   coverage and any resulting TIME ELEMENT loss as provided by the TIME ELEMENT
                   section of this Policy, this Policy does not insure against physical loss or damage caused by:

                   1) events separately insured by the Consorcio de Compensacion de Seguros, or events
                      classified by the Public Authorities in Spain as an “extraordinary circumstance.”

                   2) all losses where, despite being of an extraordinary and catastrophic nature, the
                      Consorcio de Compensacion de Seguros does not acknowledge the rights of the Insured
                      on account of the Insured’s failure to comply with any of the conditions and stipulations
                      contained in the Reglamento y Disposiciones Complementarias in force at the time of
                      the loss as well as those occurring within the payment free period specified by the
                      aforementioned authority. The Consorcio de Compensacion de Seguros will indemnify
                      claims of an extraordinary nature, within the terms of the various laws and/or Royal
                      Decrees and/or Regulations of Spain which govern Consorcio de Seguros.

                   In respect of any insured property in Spain, the definition of terrorism is declared null and
                   void and it is agreed that any event defined as terrorism by Consorcio de Compensacion de
                   Seguros shall be considered an act of terrorism within the terms of this Policy.

          M.       As respects the United States, its territories and possessions and the Commonwealth of
                   Puerto Rico, the definition of terrorism is declared null and void and it is agreed that an
                   event defined as a Certified Act of Terrorism under the terms of the SUPPLEMENTAL
                   UNITED STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT(S) attached to
                   this Policy shall be considered an act of terrorism within the terms of this Policy. Coverage


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                   recoverable under the SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF
                   TERRORISM ENDORSEMENT(S) is excluded from any other coverage under this Policy.
                   Any difference in limit between loss recoverable under the SUPPLEMENTAL UNITED
                   STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT(S) and this Policy is not
                   recoverable under this Policy.

  4.      LIBERALIZATION

          If during the period that insurance is in force under this Policy, any filed rules or regulations
          affecting the same are revised by statute so as to broaden the insurance without additional premium
          charge, such extended or broadened insurance will inure to the benefit of the Insured within such
          jurisdiction, effective the date of the change specified in such statute.

  5.      MISREPRESENTATION AND FRAUD

           This entire Policy will be void if, whether before or after a loss, an Insured has:

           A.      willfully concealed or misrepresented any material fact or circumstance concerning this
                   insurance, the subject thereof, any insurance claim, or the interest of an Insured.

           B.      made any attempt to defraud the Company.

           C.      made any false swearing.

  6.      LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

          A.       The Company will pay for loss to specified property insured under this Policy to each
                   specified Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear,
                   and to each specified Mortgagee as its interest may appear, under all present or future
                   mortgages upon such property, in order of precedence of the mortgages.

          B.       The interest of the Lender or Mortgagee (as the case may be) in property insured under this
                   Policy will not be invalidated by:

                   1) any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the
                      property.

                   2) foreclosure, notice of sale, or similar proceedings with respect to the property.

                   3) change in the title or ownership of the property.

                   4) change to a more hazardous occupancy.

                   The Lender or Mortgagee will notify the Company of any known change in ownership,
                   occupancy, or hazard and, within 10 days of written request by the Company, may pay the
                   increased premium associated with such known change. If the Lender or Mortgagee fails to
                   pay the increased premium, all coverage under this Policy will cease.




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          C.       If this Policy is cancelled at the request of the Insured or its agent, the coverage for the
                   interest of the Lender or Mortgagee will terminate 10 days after the Company sends to the
                   Lender or Mortgagee written notice of cancellation, unless:

                   1) sooner terminated by authorization, consent, approval, acceptance, or ratification of the
                      Insured's action by the Lender or Mortgagee, or its agent.

                   2) this Policy is replaced by the Insured, with a policy providing coverage for the interest
                      of the Lender or Mortgagee, in which event coverage under this Policy with respect to
                      such interest will terminate as of the effective date of the replacement policy,
                      notwithstanding any other provision of this Policy.

          D.       The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under
                   this Policy, by giving the Lender or Mortgagee written notice 60 days prior to the effective
                   date of cancellation, if cancellation is for any reason other than non-payment. If the debtor,
                   mortgagor, or owner has failed to pay any premium due under this Policy, the Company may
                   cancel this Policy for such non-payment, but will give the Lender or Mortgagee written
                   notice 10 days prior to the effective date of cancellation. If the Lender or Mortgagee fails to
                   pay the premium due by the specified cancellation date, all coverage under this Policy will
                   cease.

          E.       The Company has the right to invoke this Policy's SUSPENSION clause. The suspension of
                   insurance will apply to the interest of the Lender or Mortgagee in any machine, vessel, or
                   part of any machine or vessel, subject to the suspension. The Company will provide the
                   Lender or Mortgagee at the last known address a copy of the suspension notice.

          F.       If the Company pays the Lender or Mortgagee for any loss, and denies payment to the
                   debtor, mortgagor or owner, the Company will, to the extent of the payment made to the
                   Lender or Mortgagee be subrogated to the rights of the Lender or Mortgagee under all
                   securities held as collateral to the debt or mortgage. No subrogation will impair the right of
                   the Lender or Mortgagee to sue or recover the full amount of its claim. At its option, the
                   Company may pay to the Lender or Mortgagee the whole principal due on the debt or
                   mortgage plus any accrued interest. In this event, all rights and securities will be assigned
                   and transferred from the Lender or Mortgagee to the Company, and the remaining debt or
                   mortgage will be paid to the Company.

          G.       If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the
                   Insured's failure to do so, will render proof of loss within 60 days of notice and will be
                   subject to the provisions of this Policy relating to APPRAISAL, SETTLEMENT OF
                   CLAIMS, and SUIT AGAINST THE COMPANY.

          H.       Other provisions relating to the interests and obligations of the Lender or Mortgagee may be
                   added to this Policy by agreement in writing.




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  7.      OTHER INSURANCE

          A.       If there is any other insurance that would apply in the absence of this Policy, this Policy will
                   apply only after such insurance whether collectible or not.

          B.       In no event will this Policy apply as contributing insurance.

          C.       The Insured is permitted to have other insurance over any limits or sublimits of liability
                   specified elsewhere in this Policy without prejudice to this Policy. The existence of any
                   such insurance will not reduce any limit or sublimit of liability in this Policy. Any other
                   insurance that would have provided primary coverage in the absence of this Policy will not
                   be considered excess.

          D.       The Insured is permitted to have other insurance for all, or any part, of any deductible in this
                   Policy. The existence of such other insurance will not prejudice recovery under this Policy.
                   If the limits of liability of such other insurance are greater than this Policy’s applicable
                   deductible, this Policy’s insurance will apply only after such other insurance has been
                   exhausted.

          E.       If this Policy is deemed to contribute with other insurance, the limit of liability applicable at
                   each location, for the purposes of such contribution with other insurers, will be the latest
                   amount described in this Policy or the latest location value on file with the Company.

  8.      POLICY MODIFICATION

           This Policy contains all of the agreements between the Insured and the Company concerning this
           insurance. The Insured and the Company may request changes to this Policy. This Policy can be
           changed only by endorsements issued by the Company and made a part of this Policy.

           Notice to any agent or knowledge possessed by any agent or by any other person will not:

           A.      create a waiver, or change any part of this Policy; or

           B.      prevent the Company from asserting any rights under the provisions of this Policy.

  9.      REDUCTION BY LOSS

          Claims paid under this Policy will not reduce its limit of liability, except claims paid will reduce
          any annual aggregate limit.

  10.     SUSPENSION

          On discovery of a dangerous condition, the Company may immediately suspend this insurance on
          any machine, vessel or part thereof by giving written notice to the Insured. The suspended
          insurance may be reinstated by the Company. Any unearned premium resulting from such
          suspension will be returned by the Company.




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  11.     TITLES

          The titles in this Policy are only for reference. The titles do not in any way affect the provisions of
          this Policy.

  12.     ASSIGNMENT

          Assignment of this Policy will not be valid except with the written consent of the Company.

  13.     DEFINITIONS

          The following terms when appearing in boldface in this Policy mean:

          actual cash value:
          the amount it would cost to repair or replace insured property, on the date of loss, with material of
          like kind and quality, with proper deduction for obsolescence and physical depreciation.

          annual aggregate:
          the Company’s maximum amount payable during any policy year.

          communicable disease:
          disease which is:

          A.       transmissible from human to human by direct or indirect contact with an affected individual
                   or the individual’s discharges, or

          B.       Legionellosis.

          contaminant:
          anything that causes contamination.

          contamination:
          any condition of property due to the actual or suspected presence of any foreign substance,
          impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism, bacteria,
          virus, disease causing or illness causing agent, fungus, mold or mildew.

          contingent time element location:
          A.    any location:

                   1) of a direct customer, supplier, contract manufacturer or contract service provider to the
                      Insured;

                   2) of any company under a royalty, licensing fee or commission agreement with the
                      Insured;

          B.       any location of a company that is a direct or indirect customer, supplier, contract
                   manufacturer or contract service provider to a location described in A1 above,




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          not including locations of any company directly or indirectly supplying to, or receiving from, the
          Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

          cyber event:
          any act involving the malicious or unauthorized access to, operation of, or use of electronic data
          processing equipment or media, regardless of any other cause or event contributing concurrently
          or in any other sequence of loss. However, physical loss or damage by fire, explosion or sprinkler
          leakage resulting from cyber event will not be considered to be loss by cyber event within the
          terms and conditions of this Policy.

          date or time recognition:
          the recognition, interpretation, calculation, comparison, differentiation, sequencing, accessing or
          processing of data involving one or more dates or times, including the Year 2000.

          earth movement:
          any natural or man-made earth movement including, but not limited to earthquake or landslide,
          regardless of any other cause or event contributing concurrently or in any other sequence of loss.
          However, physical loss or damage by fire, explosion, sprinkler leakage, or flood resulting from
          earth movement will not be considered to be loss by earth movement within the terms and
          conditions of this Policy.

          electronic data processing equipment or media:
          any computer, computer system or component, hardware, network, microprocessor, microchip,
          integrated circuit or similar devices or components in computer or non-computer equipment,
          operating systems, data, programs or other software stored on electronic, electro-mechanical,
          electro-magnetic data processing or production equipment, whether the property of the Insured or
          not.

          fine arts:
          paintings; etchings; pictures; tapestries; rare or art glass; art glass windows; valuable rugs; statuary;
          sculptures; antique furniture; antique jewelry; bric-a-brac; porcelains; and similar property of
          rarity, historical value, or artistic merit excluding automobiles, coins, stamps, furs, jewelry,
          precious stones, precious metals, watercraft, aircraft, money, securities.

          flood:
          flood; surface waters; rising waters; storm surge, sea surge, wave wash; waves; tsunami; tide or
          tidal water; the release of water, the rising, overflowing or breaking of boundaries of natural or
          man-made bodies of water; or the spray therefrom; all whether driven by wind or not; or sewer
          back-up resulting from any of the foregoing; regardless of any other cause or event, whether
          natural or man-made, contributing concurrently or in any other sequence of loss. Physical loss or
          damage from flood associated with a storm or weather disturbance whether or not identified by
          name by any meteorological authority, is considered to be flood within the terms of this Policy.
          However, physical loss or damage by fire, explosion or sprinkler leakage resulting from flood is
          not considered to be loss by flood within the terms and conditions of this Policy.

          Great Britain:
          England and Wales and Scotland but not the territorial seas adjacent thereto as defined by the
          Territorial Sea Act 1987 nor the Isle of Man nor the Channel Islands.



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          irreplaceable:
          an item which cannot be replaced with other of like kind and quality.

          location:
          A.     as specified in the Schedule of Locations, or

          B.       if not so specified in the Schedule of Locations:

                   1) a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing),

                        a) bounded on all sides by public streets, clear land space or open waterways, each not
                           less than 50 feet/15 metres wide. Any bridge or tunnel crossing such street, space or
                           waterway will render such separation inoperative for the purpose of this definition.

          New Madrid Seismic Zone:
          Arkansas, United States of America, counties of:
          Arkansas, Clay, Craighead, Crittenden, Cross, Fulton, Greene, Independence, Izard, Jackson,
          Lawrence, Lee, Lonoke, Mississippi, Monroe, Phillips, Poinsett, Prairie, Randolph, Sharp, St.
          Francis, White, Woodruff

          Illinois, United States of America, counties of:
          Alexander, Bond, Clay, Clinton, Crawford, Edwards, Effingham, Fayette, Franklin, Gallatin,
          Hamilton, Hardin, Jackson, Jasper, Jefferson, Johnson, Lawrence, Madison, Marion, Massac,
          Monroe, Perry, Pope, Pulaski, Randolph, Richland, Saline, St. Clair, Union, Wabash, Washington,
          Wayne, White, Williamson

          Indiana, United States of America, counties of:
          Gibson, Knox, Pike, Posey, Spencer, Vanderburgh, Warrick

          Kentucky, United States of America, counties of:
          Ballard, Caldwell, Calloway, Carlisle, Christian, Crittenden, Daviess, Fulton, Graves, Henderson,
          Hickman, Hopkins, Livingston, Lyon, Marshall, McCracken, McLean, Muhlenberg, Todd, Trigg,
          Union, Webster

          Mississippi, United States of America, counties of:
          Alcorn, Benton, Coahoma, De Soto, Lafayette, Marshall, Panola, Quitman, Tate, Tippah, Tunica

          Missouri, United States of America, counties of:
          Bollinger, Butler, Cape Girardeau, Carter, Dunklin, Iron, Jefferson, Madison, Mississippi, New
          Madrid, Oregon, Pemiscot, Perry, Reynolds, Ripley, Scott, Shannon, St. Francois, St. Louis, City
          of St. Louis, Ste. Genevieve, Stoddard, Washington, Wayne

          Tennessee, United States of America, counties of:
          Benton, Carroll, Chester, Crockett, Decatur, Dyer, Fayette, Gibson, Hardeman, Hardin, Haywood,
          Henderson, Henry, Houston, Humphreys, Lake, Lauderdale, Madison, McNairy, Montgomery,
          Obion, Perry, Shelby, Stewart, Tipton, Weakley

          normal:
          the condition that would have existed had no physical loss or damage happened.


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          normal cost:
          the cost associated with the movement of goods or materials suffering the disruption that the
          Insured would have incurred had no physical loss or damage causing disruption happened.

          occurrence:
          the sum total of all loss or damage of the type insured, including any insured TIME ELEMENT
          loss, arising out of or caused by one discrete event of physical loss or damage, except as respects
          the following:

          A.       terrorism: occurrence shall mean the sum total of all loss or damage of the type insured,
                   including any insured TIME ELEMENT loss, arising out of or caused by all acts of
                   terrorism during a continuous period of seventy-two (72) hours.

          B.       earth movement: occurrence shall mean the sum total of all loss or damage of the type
                   insured, including any insured TIME ELEMENT loss, arising out of or caused by all earth
                   movement(s) during a continuous period of seventy-two (72) hours.

          off-premises data processing or data transmission services:
          the storage or processing of data performed off-premises of the Insured’s property, including the
          transmission of voice, data or video over a single, or combination of, computer or communication
          networks.

          Pacific Northwest Seismic Zone:
          Oregon, United States of America, counties of:
          Benton, Clackamas, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson, Josephine,
          Klamath, Lane, Lincoln, Linn, Marion, Multnomah, Polk, Tillamook, Washington, Yamhill

          Washington, United States of America, counties of:
          Chelan, Clallam, Clark, Cowlitz, Grays Harbor, Island, Jefferson, King, Kitsap, Kittitas, Lewis,
          Mason, Pacific, Pierce, San Juan, Skagit, Skamania, Snohomish, Thurston, Wahkiakum, Whatcom

          British Columbia (includes Vancouver Island), Canada:
          South of 50° N latitude and west of 120° W longitude

          period of operational testing:
          the period of time beginning 24 hours prior to the earlier of the following:

          A.       introduction, into a system, of feedstock or other materials for processing or handling;

          B.       commencement of fuel or energy supply to a system,

          and ending with the earlier of the following:

          A.       the expiration date or cancellation date of this Policy.

          B.       if specified, the number of consecutive days shown in the LIMITS OF LIABILITY clause in
                   the DECLARATIONS section.



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          physical loss or damage to electronic data, programs or software:
          the destruction, distortion or corruption of electronic data, programs or software.

          representative company(ies):
          Factory Mutual Insurance Company, FM Insurance Company Limited or FM Insurance Europe
          S.A.; Affiliated FM Insurance Company; Appalachian Insurance Company or any other company
          issuing a local policy at the direction of the Company.

          soft costs:
          costs over and above those that are normal at an insured location undergoing renovation or in the
          course of construction, limited to the following:

          A.       construction loan fees - the additional cost incurred to rearrange loans necessary for the
                   completion of construction, repairs or reconstruction including; the cost to arrange
                   refinancing, accounting work necessary to restructure financing, legal work necessary to
                   prepare new documents, charges by the lenders for the extension or renewal of loans
                   necessary.

          B.       commitment fees, leasing and marketing expenses - the cost of returning any commitment
                   fees received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing
                   due to loss of tenant(s) or purchaser(s).

          C.       additional fees for architects, engineers, consultants, attorneys and accountants needed for
                   the completion of construction, repairs or reconstruction.

          D.       property taxes, building permits, additional interest on loans, realty taxes and insurance
                   premiums.

          terrorism:
          any act, involving the use or threat of: force, violence, dangerous conduct, interference with the
          operations of any business, government or other organization or institution, or any similar act,

          when the effect or apparent purpose is:

          A.       to influence or instill fear in any government (de jure or de facto) or the public, or any
                   segment of either; or

          B.       to further or to express support for, or opposition to, any political, religious, social,
                   ideological or similar type of objective or position.

          transmission and distribution systems:
          transmission and distribution systems including but not limited to electricity, gas, fuel, steam,
          water, refrigeration, sewerage, voice, data, and video. Such systems shall include poles, towers and
          fixtures, overhead conductors and devices, underground and underwater conduit, underground and
          underwater conductors and devices, line transformers, service meters, street lighting and signal
          systems.




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          valuable papers and records:
          written, printed or otherwise inscribed documents and records, including books, maps, films,
          drawings, abstracts, deeds, mortgages and manuscripts, all of which must be of value to the
          Insured.

          wind:
          direct action of wind including substance driven by wind. Wind does not mean or include
          anything defined as flood in this Policy.




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                                                                                    SCHEDULE OF LOCATIONS, APPENDIX A



Location No.   Index No.   Org Unit                  Name                               Street                            City                County           State/Prov      Postal Code   Country

002            001486.37   Samsonite Corporation     Division 7                         10480 Yeager Road                 Jacksonville        Duval            Florida         32218-5643    United States of America
004            014735.05   Samsonite Corporation     Corporate Office                   575 West Street                   Mansfield           Bristol          Massachusetts   02048-1152    United States of America
007            084420.45   Samsonite Corporation     Bulk Warehouse                     10089 North Main Street           Jacksonville        Duval            Florida         32218-5771    United States of America
009            076555.75   Speck Holdings, LLC       Corporate Office                   177 Bovet Road Suite 200          San Mateo           San Mateo        California      94402-3118    United States of America
014                        Tumi                                                         261 5th Avenue Room 2003,         New York            New York         New York        10016-7701    United States of America
                                                                                        2005, 2106, 2108
015            001095.96   Tumi                      Tumi US Warehouse                  2501 Mathews Industrial Circle    Vidalia             Toombs           Georgia         30474-9243    United States of America
                                                                                        Suite 1
016            003273.13   Tumi                                                         146 HD Wright Road                Lyons               Toombs           Georgia         30436-5639    United States of America
017                        Tumi                                                         2611 East 1st Street              Vidalia             Toombs           Georgia         30474-8815    United States of America
018                        Tumi                      Consignment - Outside              3500 Peachtree Road Northeast     Atlanta             Fulton           Georgia         30326-1201    United States of America
                                                     Operator/No Lease/Own              Suite 2051
                                                     Inventory
019                        Tumi                      Keahler                            225 Larkin Drive                  Wheeling            Cook             Illinois        60090-7209    United States of America
020                        Tumi                      Storage                            50 Rockefeller Plaza              New York            New York         New York        10020-1605    United States of America
021                        Tumi                      Month to Month Storage             406 North Street East             Vidalia             Toombs           Georgia         30474-3860    United States of America
022            001297.59   Samsonite Corporation     Dean Warehouse                     5685 Industrial Parkway           San Bernardino      San Bernardino   California      92407-1885    United States of America
024                        eBags, Inc.               Corporate Office                   5500 Greenwood Plaza              Greenwood Village   Arapahoe         Colorado        80111-2105    United States of America
                                                                                        Boulevard Suite 160
026                        eBags, Inc.               Dean Warehouse Services            2151 Proforma Avenue              Ontario             San Bernardino   California      91761-8519    United States of America
029                        eBags, Inc.               Sunguard                           3431 North Windsor Drive          Aurora              Adams            Colorado        80011-8116    United States of America
030                        eBags, Inc.               ViaWest                            8636 South Peoria Street          Englewood           Douglas          Colorado        80112-4480    United States of America
032            031710.97   Tumi                      Tumi Corporate Headquarters        499 Thornall Street Floor 10      Edison              Middlesex        New Jersey      08837-2210    United States of America
033            084420.45   Samsonite Corporation     One Imeson Center                  1 Imeson Park Boulevard           Jacksonville        Duval            Florida         32218-5605    United States of America
034                        Gregory                   Gregory Mountain Products          4640 Holliday Village Plaza       Salt Lake City      Salt Lake        Utah            84117-5289    United States of America
                                                                                        Suite 201
035                        Speck Holdings, LLC       Genco                              13500 Independence Parkway        Fort Worth          Tarrant          Texas           76177-4010    United States of America
036                        Samsonite Company Store   Hellman                            9565 Heinrich Hertz Drive Suite   San Diego           San Diego        California      92154-7920    United States of America
                                                                                        7
037            001527.19   eBags, Inc.               Geodis                             2425 East Perry Road              Plainfield          Hendricks        Indiana         46168-7620    United States of America
S001                       Samsonite Company Store   Scheels All Sports, Inc.           4550 15th Avenue South            Fargo               Cass             North Dakota    58103-8959    United States of America
S004           001759.71   Samsonite Company Store   Orlando Crossing                   5451 International Drive          Orlando             Orange           Florida         32819-8567    United States of America
S019                       Samsonite Company Store   Birch Run Premium Outlets          12150 South Beyer Road Suite      Birch Run           Saginaw          Michigan        48415-7912    United States of America
                                                                                        F030
S034                       Samsonite Company Store   Aurora Farms Premium Outlets       549 South Chillicothe Road        Aurora              Portage          Ohio            44202-8843    United States of America
                                                                                        Suite 280
S036                       Samsonite Company Store   Vacaville Premium Outlets, East    326 Nut Tree Road                 Vacaville           Solano           California      95687-3200    United States of America
                                                     Plaza
S048                       Samsonite Company Store   Outlets at Silverthorne            135C Stephens Way            Silverthorne             Summit           Colorado        80498-7500    United States of America
S049                       Samsonite Company Store   Pleasant Prairie Premium Outlets   11211 120th Avenue Space C59 Pleasant Prairie         Kenosha          Wisconsin       53158-1707    United States of America

S052                       Samsonite Company Store   Tanger Outlet Center               36474 Seaside Outlet Drive Unit   Rehoboth Beach      Sussex           Delaware        19971-1214    United States of America
                                                                                        1540
S063                       Samsonite Company Store   Edinburgh Premium Outlets          11885 Northeast Executive         Edinburgh           Bartholomew      Indiana         46124-9138    United States of America
                                                                                        Drive Suite H060
S071                       Samsonite Company Store   Folsom Premium Outlets             13000 Folsom Boulevard Space      Folsom              Sacramento       California      95630-8001    United States of America
                                                                                        306
S080                       Samsonite Company Store   Potomac Mills                      2700 Potomac Mills Circle Suite   Woodbridge          Prince William   Virginia        22192-4673    United States of America
                                                                                        749
S087                       Samsonite Company Store   San Marcos Premium Outlets         3939 South Interstate 35 Suite    San Marcos          Hays             Texas           78666-5969    United States of America
                                                                                        308A
S088                       Samsonite Company Store   Sawgrass Mills Mall                12801 West Sunrise Boulevard      Sunrise             Broward          Florida         33323-4022    United States of America
                                                                                        Suite 665
S089                       Samsonite Company Store   St. Augustine Premium Outlets      2700 State Road 16 Suite 306      Saint Augustine     Saint Johns      Florida         32092-0760    United States of America
                                                                                                                                                                                                                                                                                                              UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 90 of 173 Trans ID: LCV2021133181




S099                       Samsonite Company Store   Tanger Outlet Center               6699 North Landmark Drive         Park City           Summit           Utah            84098-4518    United States of America
                                                                                        Suite C140
S110           072533.23   Samsonite Company Store   Outlets at Castle Rock             5050 Factory Shops Boulevard      Castle Rock         Douglas          Colorado        80108-1965    United States of America
                                                                                        Suite 435
S112                       Samsonite Company Store   Tanger Factory Outlet Center       2410 Tanger Boulevard Suite       Gonzales            Ascension        Louisiana       70737-5744    United States of America
                                                                                        365
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S113                       Samsonite Company Store   Sanibel Factory Stores             20350 Summerlin Road Suite        Fort Myers          Lee              Florida         33908-3742    United States of America
                                                                                        2115
S120                       Samsonite Company Store   Queenstown Premium Outlets         407 Outlet Center Drive           Queenstown          Queen Anne's     Maryland        21658-1610    United States of America
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                                                                                    SCHEDULE OF LOCATIONS, APPENDIX A



Location No.   Index No.   Org Unit                  Name                             Street                           City             County           State/Prov       Postal Code   Country

S121                       Samsonite Company Store   Florida Keys Outlet Center      250 East Palm Drive Unit 370      Homestead        Miami-Dade       Florida          33034-3514    United States of America
S123           089568.83   Samsonite Company Store   Outlets at Barstow              2796 Tanger Way Suite 340         Barstow          San Bernardino   California       92311-9475    United States of America
S125                       Samsonite Company Store   Grove City Premium Outlets      1911 Leesburg Grove City Road     Grove City       Mercer           Pennsylvania     16127-3356    United States of America
                                                                                     Unit 820
S136                       Samsonite Company Store   Tanger Outlet Center            4620 Factory Stores Boulevard     Myrtle Beach     Horry            South Carolina   29579-6215    United States of America
                                                                                     Unit C120
S138                       Samsonite Company Store   Waterloo Premium Outlets        655 State Route 318 Suite 53      Waterloo         Seneca           New York         13165-5517    United States of America
S139                       Samsonite Company Store   Vero Beach Outlets              1783 94th Drive Space # D-105     Vero Beach       Indian River     Florida          32966-3617    United States of America
S142                       Samsonite Company Store   Williamsburg Premium Outlets    5715 Richmond Road Suite 20,      Williamsburg     James City       Virginia         23188-1998    United States of America
                                                                                     61A
S149                       Samsonite Company Store   North Georgia Premium Outlets, 800 Highway 400 South Suite        Dawsonville      Dawson           Georgia          30534-8016    United States of America
                                                     Dogwood Street                  225
S152                       Samsonite Company Store   Lake Buena Vista Factory Stores 15757 State Road 535              Orlando          Orange           Florida          32821-5605    United States of America

S153                       Samsonite Company Store   Las Vegas Premium Outlets -      7400 Las Vegas Boulevard         Las Vegas        Clark            Nevada           89123-1041    United States of America
                                                     South                            South Suite 211
S156                       Samsonite Company Store   Carolina Premium Outlets         1025 Outlet Center Drive Suite   Smithfield       Johnston         North Carolina   27577-6041    United States of America
                                                                                      1257
S158                       Samsonite Company Store   Tanger Outlets at Kensington     1475 North Burkhart Road Suite   Howell           Livingston       Michigan         48855-7238    United States of America
                                                                                      G290
S162           074628.98   Samsonite Company Store   Tanger Factory Outlet Center     4015 South Interstate 35 Suite   San Marcos       Hays             Texas            78666-5952    United States of America
                                                                                      213A
S177                       Samsonite Company Store   Gilroy Premium Outlets           8300 Arroyo Circle Suite B120    Gilroy           Santa Clara      California       95020-7327    United States of America
S183                       Samsonite Company Store   Tanger Factory Outlet Center     800 Steven B Tanger Boulevard    Commerce         Jackson          Georgia          30529-3554    United States of America
                                                                                      Suite 307
S187           013315.18   Samsonite Company Store   Wrentham Village Premium         1 Premium Outlet Boulevard       Wrentham         Norfolk          Massachusetts    02093-1572    United States of America
                                                     Outlet, Heritage Court           Suite 315
S190           074230.64   Samsonite Company Store   Grapevine Mills                  3000 Grapevine Mills Parkway     Grapevine        Tarrant          Texas            76051-2016    United States of America
                                                                                      Suite 344
S192           089785.64   Samsonite Company Store   Camarillo Premium Outlets,       950 Camarillo Center Drive       Camarillo        Ventura          California       93010-7795    United States of America
                                                     Fashion Court                    Suite 964
S203                       Samsonite Company Store   Citadel Outlets, Building 18     100 Citadel Drive Suite 658      Commerce         Los Angeles      California       90040-1599    United States of America
S206                       Samsonite Company Store   Miromar Outlets                  10801 Corkscrew Road Suite       Estero           Lee              Florida          33928-9435    United States of America
                                                                                      135
S207           088320.06   Samsonite Company Store   Ellenton Premium Outlets         5169 Factory Shops Boulevard     Ellenton         Manatee          Florida          34222-4122    United States of America
                                                                                      Suite 630
S214                       Samsonite Company Store   The Mills at Jersey Gardens      651 Kapkowski Road Space         Elizabeth        Union            New Jersey       07201-4946    United States of America
                                                                                      1034
S216                       Samsonite Company Store   Woodbury Common Premium          642 Bluebird Court               Central Valley   Orange           New York         10917-6802    United States of America
                                                     Outlets
S221           000413.84   Samsonite Company Store   Orlando Premium Outlets, Plaza   8200 Vineland Avenue Suite 760 Orlando            Orange           Florida          32821-6834    United States of America
                                                     del Sol
S226                       Samsonite Company Store   Allen Premium Outlets            820 West Stacy Road Suite 460 Allen               Collin           Texas            75013-4808    United States of America

S231           095106.98   Samsonite Company Store   Waikele Premium Outlets          94-798 Lumiaina Street Suite     Waipahu          Honolulu         Hawaii           96797-5045    United States of America
                                                                                      414
S232                       Samsonite Company Store   Silver Sands Factory Stores      10406 Emerald Coast Parkway      Miramar Beach    Walton           Florida          32550-4999    United States of America
                                                                                      West Suite 47
S235           076819.58   Samsonite Company Store   Las Americas Premium Outlets,    4345 Camino de la Plaza Suite    San Ysidro       San Diego        California       92173-3059    United States of America
                                                     Plaza Catalonia                  282A
S236                       Samsonite Company Store   Colorado Mills                   14500 West Colfax Avenue         Lakewood         Jefferson        Colorado         80401-3203    United States of America
                                                                                      Suite 287
S249                       Samsonite Company Store   Seattle Premium Outlets, Sun     10600 Quil Ceda Boulevard        Tulalip          Snohomish        Washington       98271-8095    United States of America
                                                     Court                            Suite 623
                                                                                                                                                                                                                                                                                                         UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 91 of 173 Trans ID: LCV2021133181




S251                       Samsonite Company Store   Round Rock Premium Outlets,      4401 North Interstate 35 Suite   Round Rock       Williamson       Texas            78664-2684    United States of America
                                                     Longhorn Court                   858
S255                       Samsonite Company Store   Rio Grande Valley Premium        5001 East Expressway 83 Suite    Mercedes         Hidalgo          Texas            78570-4577    United States of America
                                                     Outlets, Palm Court              328
S258                       Samsonite Company Store   Orlando Premium Outlets          4973 International Drive Suite   Orlando          Orange           Florida          32819-6221    United States of America
                                                                                      59
                                                                                                                                                                                                                          Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 114 of 239 PageID: 121




S264                       Samsonite Company Store   Houston Premium Outlets,         29300 Hempstead Road Suite       Cypress          Harris           Texas            77433-4248    United States of America
                                                     Outfitter Court                  116

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Location No.   Index No.   Org Unit                  Name                             Street                            City              County            State/Prov       Postal Code   Country

S271                       Samsonite Company Store   Cincinnati Premium Outlets,      416 Premium Outlets Drive         Monroe            Warren            Ohio             45050-1832    United States of America
                                                     Gardenway Court
S272                       Samsonite Company Store   Grand Prairie Premium Outlets    2950 West Interstate 20 Suite     Grand Prairie     Tarrant           Texas            75052-8040    United States of America
                                                                                      610
S273                       Samsonite Company Store   San Francisco Premium Outlets    2736 Livermore Outlets Drive      Livermore         Alameda           California       94551-4204    United States of America
S274                       Samsonite Company Store   Tanger Outlet Center             6800 North 95th Avenue Suite      Glendale          Maricopa          Arizona          85305-6808    United States of America
                                                                                      342
S275                       Samsonite Company Store   Outlets at Traverse Mountain     3700 Cabelas Boulevard Suite      Lehi              Utah              Utah             84043-3875    United States of America
                                                                                      418
S277                       Samsonite Company Store   San Francisco Centre             865 Market Street Space 210       San Francisco     San Francisco     California       94103-1900    United States of America
S278                       Samsonite Company Store   Phoenix Premium Outlets, Palo    4976 Premium Outlets Way          Chandler          Maricopa          Arizona          85226-5506    United States of America
                                                     Verde Court                      Suite 410
S279                       Samsonite Company Store   The Outlet Shoppes at Atlanta    915 Ridgewalk Parkway Suite       Woodstock         Cherokee          Georgia          30188-0028    United States of America
                                                                                      568
S284                       Samsonite Company Store   Lebanon Premium Outlets          135 Outlet Village Boulevard      Lebanon           Wilson            Tennessee        37090-0797    United States of America
S285                       Samsonite Company Store   Hagerstown Premium Outlets       230 Premium Outlets Boulevard     Hagerstown        Washington        Maryland         21740-9552    United States of America

S286                       Samsonite Company Store   Great Lakes Crossing Outlets   4576 Baldwin Road Suite 812         Auburn Hills      Oakland           Michigan         48326-1280    United States of America
S287                       Samsonite Company Store   Jersey Shore Premium Outlets,  1 Premium Outlet Boulevard          Tinton Falls      Monmouth          New Jersey       07753-7485    United States of America
                                                     Sailboat Court                 Suite 825
S288                       Samsonite Company Store   Chicago Premium Outlets,       1650 Premium Outlet Boulevard       Aurora            Kane              Illinois         60502-2910    United States of America
                                                     Northside                      Suite 1229
S289                       Samsonite Company Store   Great Mall                     186 Great Mall Drive                Milpitas          Santa Clara       California       95035-8039    United States of America
S290                       Samsonite Company Store   Desert Hills Premium Outlet,   48400 Seminole Drive Suite          Cabazon           Riverside         California       92230-2125    United States of America
                                                     West Wing                      C324
S292                       Samsonite Company Store   Outlets at Loveland            5829 McWhinney Boulevard            Loveland          Larimer           Colorado         80538-8829    United States of America
                                                                                    Suite B20
S293                       Samsonite Company Store   Columbia Gorge Premium Outlets 450 Northwest 257th Avenue          Troutdale         Multnomah         Oregon           97060-8504    United States of America
                                                                                    Suite 414
S294                       Samsonite Company Store   Lighthouse Place Premium       611 Lighthouse Place                Michigan City     LaPorte           Indiana          46360-3473    United States of America
                                                     Outlets
S296                       Samsonite Company Store   Woodburn Premium Outlets       1001 North Arney Road Suite         Woodburn          Marion            Oregon           97071-8456    United States of America
                                                                                    615
S297                       Samsonite Company Store   Merrimack Premium Outlets      80 Premium Outlets Boulevard        Merrimack         Hillsborough      New Hampshire    03054-4775    United States of America
                                                                                    Suite 381
S298                       Samsonite Company Store   Faneuil Hall Marketplace       8 North Market Street Building      Boston            Suffolk           Massachusetts    02109-6200    United States of America
S299                       Samsonite Company Store   Tanger Outlet                  5885 Gulf Freeway Suite 745         Texas City        Galveston         Texas            77591-7057    United States of America
S308           088507.18   Samsonite Company Store   Oasis at Sawgrass Mills        2612 Sawgrass Mills Circle Suite    Sunrise           Broward           Florida          33323-3919    United States of America
                                                                                    1525
S313                       Samsonite Company Store   Katy Mills Mall                5000 Katy Mills Circle Suite 406    Katy              Fort Bend         Texas            77494-4406    United States of America

S317                       Samsonite Company Store   Arundel Mills                    7000 Arundel Mills Circle Space   Hanover           Anne Arundel      Maryland         21076-1282    United States of America
                                                                                      461
S352                       Samsonite Company Store   Fashion Outlets of Chicago       5220 Fashion Outlets Way Suite    Rosemont          Cook              Illinois         60018-5323    United States of America
                                                                                      1285
S353                       Samsonite Company Store   St. Louis Premium Outlets        18505 Outlet Boulevard Suite      Chesterfield      Saint Louis       Missouri         63005-0010    United States of America
                                                                                      406
S354                       Samsonite Company Store   Tanger Outlet Center             6800 Oxon Hill Road Suite 863     Oxon Hill         Prince George's   Maryland         20745-4729    United States of America
S357                       Samsonite Company Store   Palm Beach Outlets               1781 Palm Beach Lakes             West Palm Beach   Palm Beach        Florida          33401-2052    United States of America
                                                                                      Boulevard Unit W209
S358                       Samsonite Company Store   The Outlet Collection at         500 Port of New Orleans Place     New Orleans       Orleans           Louisiana        70130-1678    United States of America
                                                     Riverwalk                        Suite 118
S359                       Samsonite Company Store   Charlotte Premium Outlets        5512 New Fashion Way Suite        Charlotte         Mecklenburg       North Carolina   28278-5201    United States of America
                                                                                      974
                                                                                                                                                                                                                                                                                                            UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 92 of 173 Trans ID: LCV2021133181




S360                       Samsonite Company Store   Twin Cities Premium Outlets      3925 Eagan Outlets Parkway        Saint Paul        Dakota            Minnesota        55122-4414    United States of America
                                                                                      Suite 940
S361                       Samsonite Company Store   Tanger Outlets                   1645 Parkway Suite 710            Sevierville       Sevier            Tennessee        37862-6822    United States of America
S362                       Samsonite Company Store   Tanger Outlets                   455 Trolley Line Boulevard        Mashantucket      New London        Connecticut      06338-3830    United States of America
                                                                                      Suite 700
S363                       Samsonite Company Store   Concord Mills                    8111 Concord Mills Boulevard      Concord           Cabarrus          North Carolina   28027-6462    United States of America
                                                                                                                                                                                                                             Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 115 of 239 PageID: 122




S364                       Samsonite Company Store   Gloucester Premium Outlets       100 Premium Outlet Drive Suite    Blackwood         Camden            New Jersey       08012-3871    United States of America
                                                                                      787

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S365                       Samsonite Company Store   Sugarloaf Mills                   5900 Sugarloaf Parkway Suite      Lawrenceville     Gwinnett         Georgia          30043-7845    United States of America
                                                                                       314
S367                       Samsonite Company Store   Tampa Premium Outlets             2382 Grand Cypress Drive          Lutz              Pasco            Florida          33559-6822    United States of America
                                                                                       Space 920
S368                       Samsonite Company Store   Tanger Outlets                    350 84th Street Southwest Suite   Byron Center      Kent             Michigan         49315-7002    United States of America
                                                                                       930
S369                       Samsonite Company Store   Tucson Premium Outlets            6401 West Marana Center           Tucson            Pima             Arizona          85742-8563    United States of America
                                                                                       Boulevard Suite 908
S371                       Samsonite Company Store   Tanger Outlets Southaven          5205 Airways Boulevard Suite      Southaven         DeSoto           Mississippi      38671-5859    United States of America
                                                                                       1035
S373                       Samsonite Company Store   Lee Premium Outlets               17 Premium Outlets Boulevard      Lee               Berkshire        Massachusetts    01238-8500    United States of America
                                                                                       Suite 3450
S374                       Samsonite Company Store   Ontario Mills                     1 Mills Circle Suite 1010A        Ontario           San Bernardino   California       91764-5213    United States of America
S375                       Samsonite Company Store   Tanger Outlets                    1100 Cornerstone Boulevard        Daytona Beach     Volusia          Florida          32117-7103    United States of America
                                                                                       Suite 420
S376                       Samsonite Company Store   Tanger Outlets                    400 South Wilson Road Suite       Sunbury           Delaware         Ohio             43074-7509    United States of America
                                                                                       240
S377                       Samsonite Company Store   Clarksburg Premium Outlets        22705 Clarksburg Road Suite       Clarksburg        Montgomery       Maryland         20871-6382    United States of America
                                                                                       418
S378                       Samsonite Company Store   The Outlet Shoppes at Laredo      1600 Water Street Suite B565      Laredo            Webb             Texas            78040-5964    United States of America
S379                       Samsonite Company Store   Fashion Outlets of Las Vegas      32100 Las Vegas Boulevard         Jean              Clark            Nevada           89019-7007    United States of America
                                                                                       South Suite 130
S381                       Samsonite Company Store   Tanger Outlets                    15853 North Freeway Suite         Fort Worth        Denton           Texas            76177-3316    United States of America
                                                                                       1025
S382                       Samsonite Company Store   Tanger Outlets                    1217 Stanley K Tanger             Lancaster         Lancaster        Pennsylvania     17602-6211    United States of America
                                                                                       Boulevard
S383                       Samsonite Company Store   Tanger Outlet Center              4000 Arrowhead Boulevard          Mebane            Alamance         North Carolina   27302-7652    United States of America
                                                                                       Suite 766
S384                       Samsonite Company Store   Empire Outlets                    1 Richmond Terrace Space          Staten Island     Richmond         New York         10301-1950    United States of America
                                                                                       313A, 313B Level 2
S386                       Samsonite Company Store   Fashion Outlets of Philadelphia   901 Market Street Unit 2130       Philadelphia      Philadelphia     Pennsylvania     19107-3133    United States of America
S428                       Samsonite Company Store   Napa Premium Outlets              825 Factory Stores Drive          Napa              Napa             California       94558-5660    United States of America
S470                       Hartmann Factory Store                                      1303 West Baddour Parkway         Lebanon           Wilson           Tennessee        37087-2511    United States of America
S520                       Samsonite Company Store                                     520 Madison Avenue                New York          New York         New York         10022-4213    United States of America
S521                       House of Samsonite        SouthPark Mall                    4400 Sharon Road Space N12A       Charlotte         Mecklenburg      North Carolina   28211-3531    United States of America

S522                       House of Samsonite        King of Prussia Mall              160 North Gulph Road Space        King of Prussia   Montgomery       Pennsylvania     19406-2941    United States of America
                                                                                       2076
S523                       House of Samsonite        Beverly Center                    8500 Beverly Boulevard Suite      Los Angeles       Los Angeles      California       90048-6293    United States of America
                                                                                       712
S600                       Rolling Luggage           Dolphin Mall                      11401 Northwest 12th Street       Miami             Miami-Dade       Florida          33172-6904    United States of America
                                                                                       Suite E400
S643                       Samsonite Company Store   Fashion Outlets of Niagara        1955 Fashion Outlet Boulevard     Niagara Falls     Niagara          New York         14304-1765    United States of America
                                                                                       Space 346
S721                       House of Samsonite        The Mall at University Town       140 University Town Center        Sarasota          Sarasota         Florida          34243-4179    United States of America
                                                     Center                            Drive Unit 291
S722                       House of Samsonite        Mall of America                   158 West Market Space W158        Minneapolis       Hennepin         Minnesota        55425-5521    United States of America
S723                       House of Samsonite        South Shore Plaza                 250 Granite Street Suite 2051     Braintree         Norfolk          Massachusetts    02184-2804    United States of America
S730                       House of Samsonite        Pioneer Place                     700 Southwest 5th Avenue          Portland          Multnomah        Oregon           97204-2000    United States of America
S731                       House of Samsonite        World Trade Center                185 Greenwich Street Space        New York          New York         New York         10007-2344    United States of America
                                                                                       LL4420
S732                       House of Samsonite        Brickell City Centre              701 South Miami Avenue Space      Miami             Miami-Dade       Florida          33130-1946    United States of America
                                                                                       267
S733                       House of Samsonite        Ala Moana Center                  1450 Ala Moana Boulevard          Honolulu          Honolulu         Hawaii           96814-4604    United States of America
                                                                                                                                                                                                                                                                                                            UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 93 of 173 Trans ID: LCV2021133181




                                                                                       Suite 2248
S734                       House of Samsonite        International Market Place        2330 Kalakaua Avenue Suite        Honolulu          Honolulu         Hawaii           96815-2953    United States of America
                                                                                       144
S735                       House of Samsonite        Copley Place                      100 Huntington Avenue             Boston            Suffolk          Massachusetts    02116-6506    United States of America
S736                       House of Samsonite        The Shops at North Bridge         520 North Michigan Avenue         Chicago           Cook             Illinois         60611-6985    United States of America
                                                                                       Suite 128
                                                                                                                                                                                                                             Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 116 of 239 PageID: 123




S737                       House of Samsonite        Houston Galleria                  5085 Westheimer Road Suite        Houston           Harris           Texas            77056-8618    United States of America
                                                                                       B3810
S738                       Samsonite Company Store   Tysons Corner Center              7979L Tysons Corner Center        McLean            Fairfax          Virginia         22102-4503    United States of America
                                                                                                                                                                                                  Samsonite 000092
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S739                       Samsonite Company Store   The Bellevue Collection          239 Bellevue Square               Bellevue          King             Washington      98004-5020    United States of America
S740                       Samsonite Company Store   Century City                     10250 Santa Monica Boulevard      Los Angeles       Los Angeles      California      90067-6637    United States of America
                                                                                      Suite 1150
S741                       Samsonite Company Store   The Fashion Show                 3200 Las Vegas Boulevard          Las Vegas         Clark            Nevada          89109-0706    United States of America
                                                                                      South Suite 2350
S742                       Samsonite Company Store   Florida Mall                     8001 South Orange Blossom         Orlando           Orange           Florida         32809-7680    United States of America
                                                                                      Trail Suite 1272
S743                       Samsonite Company Store   Fashion Valley Mall              7007 Friars Rd Ste 651            San Diego         San Diego        California      92108-5103    United States of America
S744                       Samsonite Company Store   Westfield Valley Fair            2855 Stevens Creek Boulevard      Santa Clara       Santa Clara      California      95050-6709    United States of America
                                                                                      Store No. A130
S745                       Samsonite Company Store   The Mall at Short Hills          1200 Morris Turnpike, Suite       Short Hills       Essex            New Jersey      07078-2751    United States of America
                                                                                      D205
S746                       Samsonite Company Store   Westfield Topanga                6600 Topanga Canyon               Canoga Park       Los Angeles      California      91303-4648    United States of America
                                                                                      Boulevard Unit 12
S747                       Samsonite Company Store   Aventura Mall                    19501 Biscayne Boulevard Suite    Miami             Miami-Dade       Florida         33180-2342    United States of America
                                                                                      715
S748                       Samsonite Company Store   American Dream Mall              100 Meadowlands Parkway           East Rutherford   Bergen           New Jersey      07073         United States of America
                                                                                      Suite D141
S831                       Samsonite Company Store   Hawaii Warehouse, Waipio         94-1388 Moaniani Street Suite     Waipahu           Honolulu         Hawaii          96797-6605    United States of America
                                                     Business Center                  224
S864                       Samsonite Company Store   Tanger Factory Outlet Center     307 Tanger Mall Drive             Riverhead         Suffolk          New York        11901-6403    United States of America
S885                       Samsonite Company Store   Assembly Row                     370 Artisan Way Suite 112         Somerville        Middlesex        Massachusetts   02145-1228    United States of America
T0004                      Tumi                      Downtown Seattle                 515 Pine Street                   Seattle           King             Washington      98101-1709    United States of America
T0006                      Tumi                      Philadelphia Premium Outlets     18 West Lightcap Road Suite       Pottstown         Montgomery       Pennsylvania    19464-7809    United States of America
                                                                                      385
T0007                      Tumi                      Las Vegas Premium Outlet -       7400 Las Vegas Boulevard          Las Vegas         Clark            Nevada          89123-1005    United States of America
                                                     South                            South Suite 414
T0008                      Tumi                      Shops at Columbus Circle         10 Columbus Circle Suite 108      New York          New York         New York        10019-1231    United States of America
T0009                      Tumi                      Shops at Merrick Park            358 San Lorenzo Avenue Space      Coral Gables      Miami-Dade       Florida         33146-1860    United States of America
                                                                                      1502, W151
T0010                      Tumi                      Natick Mall                      1245 Worcester Street Suite       Natick            Middlesex        Massachusetts   01760-1544    United States of America
                                                                                      1192, 2204A, 2204B
T0011                      Tumi                      Galleria at Roseville            1151 Galleria Blvd. Suite 1057    Roseville         Placer           California      95678-3554    United States of America
T0012                      Tumi                      Hudson Yards                     20 Hudson Yards Suite 105         New York          New York         New York        10001-2151    United States of America
T0013                      Tumi                      Tanger Outlets Deer Park         1361 The Arches Circle            Deer Park         Suffolk          New York        11729-7069    United States of America
T0014                      Tumi                      Westfarms Mall                   500 Westfarms Mall Space C-       Farmington        Hartford         Connecticut     06032-2607    United States of America
                                                                                      227
T0015                      Tumi                      St. Johns Town Center            4812 River City Drive Space 106   Jacksonville      Duval            Florida         32246-7429    United States of America

T0016                      Tumi                      Park Meadows Mall                 8505 Park Meadows Center         Lone Tree         Douglas          Colorado        80124-5067    United States of America
                                                                                       Drive Space 2587
T0017                      Tumi                      Denver Premium Outlets            13801 Grant Street Unit 220      Thornton          Adams            Colorado        80023-6626    United States of America
T0018                      Tumi                      Grand Central Terminal            89 E 42nd Street Space MC-80     New York          New York         New York        10017-5503    United States of America
T0019                      Tumi                      American Dream                    1 American Dream Way Suite       East Rutherford   Bergen           New Jersey      07073         United States of America
                                                                                       D205
T0020                      Tumi                      Waikiki International Marketplace 2330 Kalakaua Avenue Suite       Honolulu          Honolulu         Hawaii          96815-5001    United States of America
                                                                                       112
T0021                      Tumi                      Phoenix Premium Outlets           4976 Premium Outlets Way         Chandler          Maricopa         Arizona         85226-5504    United States of America
                                                                                       Suite 440
T0022                      Tumi                      Sawgrass Reno                     1800 Sawgrass Mills Circle       Sunrise           Broward          Florida         33323-3921    United States of America
T0023                      Tumi                      Dean Warehouse - Tumi             2151 Proforma Avenue             Ontario           San Bernardino   California      91761-8564    United States of America
T0024                      Tumi                      Dean Warehouse - Lipault          5685 Industrial Parkway          San Bernardino    San Bernardino   California      92407-1885    United States of America
T1000                      Tumi                                                        30 Rockefeller Plaza 53 West     New York          New York         New York        10112-0015    United States of America
                                                                                       49th Street
                                                                                                                                                                                                                                                                                                          UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 94 of 173 Trans ID: LCV2021133181




T1002                      Tumi                      The Mall at Short Hills           1200 Morris Turnpike Suite       Short Hills       Essex            New Jersey      07078-0435    United States of America
                                                                                       B250
T1004                      Tumi                      Beverly Center                    131 North la Cienega Boulevard   Los Angeles       Los Angeles      California      90048-3309    United States of America
                                                                                       Suite 727
T1005                      Tumi                      NorthPark Center                  8687 North Central Expressway    Dallas            Dallas           Texas           75225-4427    United States of America
                                                                                       Suite B2-219
                                                                                                                                                                                                                           Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 117 of 239 PageID: 124




T1006                      Tumi                      The Somerset Collection           2801 West Big Beaver Road        Troy              Oakland          Michigan        48084-3245    United States of America
                                                                                       Suite E152

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T1007                      Tumi                      International Plaza             2223 North West Shore               Tampa               Hillsborough    Florida                33607-7226    United States of America
                                                                                     Boulevard Suite 236A
T1011                      Tumi                      Fashion Show Mall               3200 Las Vegas Boulevard            Las Vegas           Clark           Nevada                 89109-0710    United States of America
                                                                                     South Suite 2340
T1012                      Tumi                      San Francisco Centre            865 Market Street Suite 122         San Francisco       San Francisco   California             94103-1942    United States of America
T1013                      Tumi                                                      51 Grant Avenue                     San Francisco       San Francisco   California             94108-5801    United States of America
T1014          023304.02   Tumi                      Woodbury Common                 405 Evergreen Court                 Central Valley      Orange          New York               10917-6715    United States of America
T1016                      Tumi                      Tanger Outlet Center            1770 West Main Street Suite         Riverhead           Suffolk         New York               11901-3184    United States of America
                                                                                     502
T1018                      Tumi                      Kittery Factory Outlet          375 US Route 1 Suite T-150          Kittery             York            Maine                  03904-5582    United States of America
T1019                      Tumi                      Walker Brick Building           467 Depot Street Historic           Manchester Center   Bennington      Vermont                05255-9710    United States of America
                                                                                     Manchester Center
T1024                      Tumi                      Scottsdale Fashion Square       7014 East Camelback Road            Scottsdale          Maricopa        Arizona                85251-1235    United States of America
                                                                                     Suite 1104
T1032                      Tumi                      University Towne Center         4525 La Jolla Village Drive Suite   San Diego           San Diego       California             92122-1217    United States of America
                                                                                     D-23
T1033                      Tumi                      Roosevelt Field Mall            630 Old Country Road Unit           Garden City         Nassau          New York               11530-3702    United States of America
                                                                                     3054
T1034                      Tumi                      The Gardens of the Palm Beaches 3101 Pga Boulevard Suite M205       Palm Beach Gardens Palm Beach       Florida                33410-2816    United States of America

T1036                      Tumi                      Soho                              102 Prince Street                 New York            New York        New York               10012-5416    United States of America
T1041                      Tumi                      The Westchester                   125 Westchester Avenue Suite      White Plains        Westchester     New York               10601-4530    United States of America
                                                                                       1200
T1043                      Tumi                      Seattle Premium Outlets           10600 Quil Ceda Boulevard         Quil Ceda Village   Snohomish       Washington             98271-8095    United States of America
                                                                                       Suite 627
T1044                      Tumi                      The Shops at La Cantera           15900 La Cantera Parkway Suite    San Antonio         Bexar           Texas                  78256-2427    United States of America
                                                                                       5490
T1045                      Tumi                      Waterside Shops at Pelican Bay    5475 Tamiami Trail North Suite    Naples              Collier         Florida                34108-2859    United States of America
                                                                                       A-17
T1046          095106.98   Tumi                      Waikele Premium Outlets           94-792 Lumiaina Street Suite      Waipahu             Honolulu        Hawaii                 96797-5043    United States of America
                                                                                       209 Building 2
T1048          089586.01   Tumi                      Desert Hills Premium Outlet       48650 Seminole Drive Suite 150    Cabazon             Riverside       California             92230-2131    United States of America

T1050                      Tumi                      Bellevue Square                 225 Bellevue Square                 Bellevue            King            Washington             98004-5020    United States of America
T1051                      Tumi                      San Marcos Premium Outlets      3939 South Interstate 35 Suite      San Marcos          Hays            Texas                  78666-5858    United States of America
                                                                                     1280
T1052                      Tumi                      Georgetown                      1246 Wisconsin Avenue               Washington          District of     District of Columbia   20007-3238    United States of America
                                                                                     Northwest                                               Columbia
T1053                      Tumi                                                      289 Greenwich Avenue                Greenwich           Fairfield       Connecticut            06830-6542    United States of America
T1056          044451.15   Samsonite Company Store   Leesburg Corner Premium Outlets 241 Fort Evans Road Northeast       Leesburg            Loudoun         Virginia               20176-4040    United States of America
                                                                                     Suite 431
               044451.15   Tumi                      Leesburg Corner Premium Outlet 241 Fort Evans Road Northeast        Leesburg            Loudoun         Virginia               20176-4043    United States of America
                                                                                     Suite 1313
T1057                      Tumi                      The Forum Shops at Caesars      3500 Las Vegas Boulevard            Las Vegas           Clark           Nevada                 89109-8920    United States of America
                                                     Palace                          South Suite F17
T1058                      Tumi                      Water Tower Place               835 North Michigan Avenue           Chicago             Cook            Illinois               60611-2203    United States of America
T1059                      Tumi                      Northbrook Court                1252 Northbrook Court               Northbrook          Cook            Illinois               60062-1409    United States of America
T1060                      Tumi                                                      390 Hackensack Avenue 1             Hackensack          Bergen          New Jersey             07601-6310    United States of America
                                                                                     Riverside Square Mall Space 140

T1061                      Tumi                      The Plaza at King of Prussia Mall 160 North Gulph Road Suite        King of Prussia     Montgomery      Pennsylvania           19406-2961    United States of America
                                                                                       1360
T1063                      Tumi                      The Domain                        11506 Century Oaks Terrace        Austin              Travis          Texas                  78758-8691    United States of America
                                                                                       Suite 116
                                                                                                                                                                                                                                                                                                                   UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 95 of 173 Trans ID: LCV2021133181




T1065                      Tumi                      Westfield Topanga Plaza           6600 Topanga Canyon               Canoga Park         Los Angeles     California             91303-2699    United States of America
                                                                                       Boulevard Unit 46B
T1066                      Tumi                      Galleria Shops                    3590 Galleria West 70th Street    Minneapolis         Hennepin        Minnesota              55435-2519    United States of America
T1068                      Tumi                      Orlando International Prime       4963 International Drive Suite    Orlando             Orange          Florida                32819-6208    United States of America
                                                                                       2C17
T1069                      Tumi                      Mall of America                   140 West Market                   Minneapolis         Hennepin        Minnesota              55425-5521    United States of America
                                                                                                                                                                                                                                    Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 118 of 239 PageID: 125




T1070                      Tumi                                                        8701 Keystone Crossing Suite      Indianapolis        Marion          Indiana                46240-4626    United States of America
                                                                                       29A
T1071                      Tumi                                                        1100 Madison Avenue               New York            New York        New York               10028-0327    United States of America
                                                                                                                                                                                                         Samsonite 000094
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T1072                      Tumi                      Country Club Plaza                4720 Broadway                  Kansas City          Jackson          Missouri        64112-1907    United States of America
T1074                      Tumi                      The Mall at Chestnut Hill         199 Boylston Street Suite N107 Chestnut Hill        Middlesex        Massachusetts   02467-1696    United States of America

T1075                      Tumi                      Garden State Plaza                1 Garden State Plaza Suite 1148 Paramus             Bergen           New Jersey      07652-2404    United States of America

T1076                      Tumi                      Dadeland Mall                     7573 SW 88th St.                   Miami            Miami-Dade       Florida         33156-7726    United States of America
T1077                      Tumi                      Boca Town Center                  6000 Glades Road Suite 1104        Boca Raton       Palm Beach       Florida         33431-7253    United States of America
T1078                      Tumi                                                        1733 Walnut Street                 Philadelphia     Philadelphia     Pennsylvania    19103-5204    United States of America
T1080                      Tumi                                                        1818 Redwood Highway               Corte Madera     Marin            California      94925-1235    United States of America
T1081                      Tumi                                                        645 North Michigan Avenue          Chicago          Cook             Illinois        60611-2826    United States of America
T1082                      Tumi                                                        26300 Cedar Road Suite 1315        Beachwood        Cuyahoga         Ohio            44122-1160    United States of America
T1085          013315.18   Tumi                      Wrentham Village Premium          1 Premium Outlet Boulevard         Wrentham         Norfolk          Massachusetts   02093-1570    United States of America
                                                     Outlets                           Suite B265A
T1086                      Tumi                                                        1800 Sawgrass Mills Circle Suite   Sunrise          Broward          Florida         33323-3959    United States of America
                                                                                       2950
T1087          000413.84   Tumi                                                        8200 Vineland Avenue Suite         Orlando          Orange           Florida         32821-6826    United States of America
                                                                                       1163
T1088                      Tumi                      Cherry Creek Shopping Center      3000 East 1st Avenue Suite 258     Denver           Denver           Colorado        80206-5648    United States of America

T1089                      Tumi                      Houston Premium Outlet             29300 Highway 290 Suite 1114      Cypress          Harris           Texas           77433-4396    United States of America
T1090                      Tumi                      Fashion Valley                     7007 Friars Road Suite 566        San Diego        San Diego        California      92108-1142    United States of America
T1091                      Tumi                      Fashion Square                     14006 Riverside Drive Suite 64    Sherman Oaks     Los Angeles      California      91423-6315    United States of America
T1092                      Tumi                                                         135 Oakbrook Center               Oak Brook        DuPage           Illinois        60523-1807    United States of America
T1093                      Tumi                      Ross Park Mall                     1000 Ross Park Mall Drive         Pittsburgh       Allegheny        Pennsylvania    15237-3875    United States of America
T1094                      Tumi                      Vacaville Premium Outlet           342 Nut Tree Road                 Vacaville        Solano           California      95687-3236    United States of America
T1095                      Tumi                      Plaza Frontenac                    86 Plaza Frontenac Street         Saint Louis      Saint Louis      Missouri        63131-3510    United States of America
T1096                      Tumi                      Camarillo Premium Outlets          850 Ventura Boulevard Suite       Camarillo        Ventura          California      93010-6090    United States of America
                                                                                        712
T1097                      Tumi                      Silver Sands Factory Store         10562 US Highway 98 West          Miramar Beach    Walton           Florida         32550-7101    United States of America
                                                                                        Suite 105
T1099          000968.75   Samsonite Company Store   Las Vegas Premium Outlets          775 South Grand Central           Las Vegas        Clark            Nevada          89106-4529    United States of America
                                                     North, Water Court                 Parkway Suite 1332
               000968.75   Tumi                      Las Vegas Premium Outlet -         785 South Grand Central           Las Vegas        Clark            Nevada          89106-4558    United States of America
                                                     North                              Parkway Suite 2193
T1100                      Tumi                      Westfield Montgomery Mall          7101 Democracy Boulevard          Bethesda         Montgomery       Maryland        20817-1039    United States of America
                                                                                        Space 2490
T1101                      Tumi                                                         4999 Old Orchard Center Suite     Skokie           Cook             Illinois        60077-4728    United States of America
                                                                                        B27
T1102                      Tumi                      Potomac Mills                      2700 Potomac Mills Circle Suite   Woodbridge       Prince William   Virginia        22192-4663    United States of America
                                                                                        904
T1103                      Tumi                                                         2205 Broadway Upper West          New York         New York         New York        10024-6203    United States of America
                                                                                        Side
T1104                      Tumi                      Waikiki Shopping Plaza             2270 Kalakaua Avenue Suite        Honolulu         Honolulu         Hawaii          96815-2565    United States of America
                                                                                        103
T1106                      Tumi                                                         125 5th Avenue Flatiron           New York         New York         New York        10003-1030    United States of America
T1107                      Tumi                      Philadelphia International Airport 8500 Essington Avenue Suite       Philadelphia     Philadelphia     Pennsylvania    19153-7037    United States of America
                                                                                        BC20
T1108                      Tumi                      Pioneer Place                      700 Southwest 5th Avenue Suite    Portland         Multnomah        Oregon          97204-2050    United States of America
                                                                                        2035
T1109                      Tumi                      City Creek Center                  50 South Main Street Suite        Salt Lake City   Salt Lake        Utah            84101-4510    United States of America
                                                                                        116A
T1110                      Tumi                      Twelve Oaks                        27348 Novi Road                   Novi             Oakland          Michigan        48377-3414    United States of America
T1112                      Tumi                      Fashion Centre at Pentagon City 1100 South Hayes Street Space        Arlington        Arlington        Virginia        22202-4903    United States of America
                                                                                        R11-C
                                                                                                                                                                                                                                                                                                           UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 96 of 173 Trans ID: LCV2021133181




T1113                      Tumi                      Woodfield Mall                     F336 Woodfield Mall               Schaumburg       Cook             Illinois        60173-5849    United States of America
T1114                      Tumi                      Merrimack Premium Outlets          80 Premium Outlets Boulevard      Merrimack        Hillsborough     New Hampshire   03054-4777    United States of America
                                                                                        Suite 187
T1115                      Tumi                      Kenwood Towne Center               7875 Montgomery Road Space        Cincinnati       Hamilton         Ohio            45236-4601    United States of America
                                                                                        RO14
T1116                      Tumi                                                         120 Terminal C Newark Liberty     Newark           Essex            New Jersey      07114         United States of America
                                                                                                                                                                                                                            Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 119 of 239 PageID: 126




                                                                                        Airport
T1117                      Tumi                                                         430 North Rodeo Drive             Beverly Hills    Los Angeles      California      90210-4502    United States of America

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T1118                      Tumi                      Grand Prairie Premium Outlets     2950 West Interstate 20 Suite    Grand Prairie   Tarrant            Texas                  75052-8033    United States of America
                                                                                       470
T1119                      Tumi                      Mall at Millenia                  4200 Conroy Road Suite 134       Orlando         Orange             Florida                32839-2447    United States of America
T1120                      Tumi                      San Francisco Premium Outlets     2796 Livermore Outlets Drive     Livermore       Alameda            California             94551-4204    United States of America
T1121                      Tumi                                                        777 Americana Way                Glendale        Los Angeles        California             91210-1507    United States of America
T1122                      Tumi                                                        1600 Walt Whitman Road Suite     Melville        Suffolk            New York               11747-3088    United States of America
                                                                                       1033C
T1123                      Tumi                      Towson Town Center                825 Dulaney Valley Road Space    Towson          Baltimore          Maryland               21204-1010    United States of America
                                                                                       2173
T1124                      Tumi                      Miromar Outlets                   10801 Corkscrew Road Suite       Estero          Lee                Florida                33928-9444    United States of America
                                                                                       328
T1125                      Tumi                      Easton Town Center                4229 The Strand                  Columbus        Franklin           Ohio                   43219-6120    United States of America
T1126                      Tumi                      Clinton Crossing                  20-A Killingworth Turnpike       Clinton         Middlesex          Connecticut            06413-1378    United States of America
                                                                                       Suite 226
T1127                      Tumi                      In Market Street at the           9595 Six Pines Drive Suite 685   Spring          Montgomery         Texas                  77380-1549    United States of America
                                                     Woodlands Mall
T1128                      Tumi                      Lenox Square                      3393 Peachtree Road Northeast    Atlanta         Fulton             Georgia                30326-1133    United States of America
                                                                                       Suite 4019A
T1129                      Tumi                                                        1 Mills Circle Space 1010A       Ontario         San Bernardino     California             91764-5207    United States of America
T1130                      Tumi                      Biltmore Fashion Park             2502 East Camelback Road         Phoenix         Maricopa           Arizona                85016-9317    United States of America
                                                                                       Suite 180
T1131                      Tumi                                                        610 Madison Avenue               New York        New York           New York               10022-1620    United States of America
T1134                      Tumi                      Baltimore Washington Airport      Baltimore Washington Airport     Baltimore       Baltimore (City)   Maryland               21240         United States of America
                                                                                       Concourse BC Connector, Space
                                                                                       110
T1135                      Tumi                      City Center                       1051 H Street Northwest Suite    Washington      District of        District of Columbia   20001-4519    United States of America
                                                                                       208                                              Columbia
T1136                      Tumi                      The Mall at Green Hills           2126 Abbott Martin Road Suite    Nashville       Davidson           Tennessee              37215-2626    United States of America
                                                                                       223
T1137                      Tumi                      North Georgia Premium Outlets     800 Highway 400 South Suite      Dawsonville     Dawson             Georgia                30534-8017    United States of America
                                                                                       350
T1138                      Tumi                      The Summit                        225 Summit Boulevard Space 99    Vestavia        Jefferson          Alabama                35243-3189    United States of America

T1139                      Tumi                      Citadel Outlets                   100 Citadel Drive Space 0444    Commerce         Los Angeles        California             90040-1580    United States of America
T1140                      Tumi                                                        140 University Town Center      Sarasota         Sarasota           Florida                34243-4178    United States of America
                                                                                       Drive Unit 269
T1141                      Tumi                      Washington Dulles International   Washington Dulles International Sterling         Loudoun            Virginia               20166         United States of America
                                                     Airport                           Airport Concourse B, Gate B51

T1142                      Tumi                                                        1850 Annapolis Mall              Annapolis       Anne Arundel       Maryland               21401-3117    United States of America
T1143          000263.63   Samsonite Company Store   Carlsbad Premium Outlets          5630 Paseo del Norte Suite       Carlsbad        San Diego          California             92008-4458    United States of America
                                                                                       145D
               000263.63   Tumi                      Carlsbad Premium Outlets          5600 Paseo del Norte Suite       Carlsbad        San Diego          California             92008-4439    United States of America
                                                                                       127A
T1144                      Tumi                      Jersey Shore Premium Outlets      1 Premium Outlet Boulevard       Tinton Falls    Monmouth           New Jersey             07753-7469    United States of America
                                                                                       Suite 761
T1145                      Tumi                                                        1689 Arden Way Suite 1310        Sacramento      Sacramento         California             95815-4033    United States of America
T1146                      Tumi                      Woodburn Premium Outlets          1001 North Arney Road Suite      Woodburn        Marion             Oregon                 97071-8447    United States of America
                                                                                       218
T1147                      Tumi                      East View                         528 Eastview Mall                Victor          Ontario            New York               14564-1043    United States of America
T1148                      Tumi                      Avalon                            5175 Avalon Boulevard            Alpharetta      Fulton             Georgia                30009-2278    United States of America
T1149                      Tumi                      Allen Premium Outlets             820 West Stacy Road Suite 172    Allen           Collin             Texas                  75013-4806    United States of America

T1150                      Tumi                      Short Pump                        11800 West Broad Street Suite Henrico            Henrico            Virginia               23233-7927    United States of America
                                                                                                                                                                                                                                                                                                                 UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 97 of 173 Trans ID: LCV2021133181




                                                                                       1137
T1153                      Tumi                      Oxmoor Center                     7900 Shelbyville Road Suite B04 Louisville       Jefferson          Kentucky               40222-5461    United States of America

T1154                      Tumi                      North Star Mall                   7400 San Pedro Avenue Suite   San Antonio        Bexar              Texas                  78216-8310    United States of America
                                                                                       362
T1155                      Tumi                      Chicago Premium Outlets           1650 Premium Outlet Boulevard Aurora             Kane               Illinois               60502-2948    United States of America
                                                                                                                                                                                                                                  Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 120 of 239 PageID: 127




                                                                                       Suite 559



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T1156                      Tumi                                         8500 Essington Avenue            Philadelphia       Philadelphia      Pennsylvania           19153-3755    United States of America
                                                                        Philadelphia Airport D/E
                                                                        Terminal
T1157                      Tumi       El Paseo                          73445 El Paseo Suite 100         Palm Desert        Riverside         California             92260-4239    United States of America
T1158                      Tumi       Reagan National Airport           1 Aviation Circle NH-46          Washington         District of       District of Columbia   20001-6000    United States of America
                                                                                                                            Columbia
T1159                      Tumi       Perimeter Mall                    4400 Ashford Dunwoody Road       Atlanta            DeKalb            Georgia                30346-1587    United States of America
                                                                        Northeast Suite 2390
T1160                      Tumi       Bridgewater Commons               400 Commons Way Suite 2435       Bridgewater        Somerset          New Jersey             08807-2800    United States of America
T1161                      Tumi       Mayfair Mall                      2500 North Mayfair Road          Milwaukee          Milwaukee         Wisconsin              53226-1409    United States of America
T1162                      Tumi       Tanger Outlets - Savannah         200 Tanger Outlets Boulevard     Pooler             Chatham           Georgia                31322-3500    United States of America
                                                                        Suite 399
T1163                      Tumi                                         2000 Route 38 Suite 1734         Cherry Hill        Camden            New Jersey             08002-2186    United States of America
T1164                      Tumi       Century City Mall                 10250 Santa Monica Boulevard     Los Angeles        Los Angeles       California             90067-6437    United States of America
                                                                        Suite 1230
T1165                      Tumi       LAX Terminal 6                    600 World Way Space 650          Los Angeles        Los Angeles       California             90045-5816    United States of America
T1166                      Tumi       Lynnfield Market Street           687 Market Street                Lynnfield          Essex             Massachusetts          01940-4000    United States of America
T1167                      Tumi                                         832 Lincoln Road                 Miami Beach        Miami-Dade        Florida                33139-2880    United States of America
T1168                      Tumi       Ridgedale Center                  12401 Wayzata Boulevard Suite    Hopkins            Hennepin          Minnesota              55305-1974    United States of America
                                                                        2140
T1169                      Tumi       Del Amo Mall                      21540 Hawthorne Boulevard        Torrance           Los Angeles       California             90503-5734    United States of America
                                                                        Suite 414C
T1170                      Tumi       World Trade Center                185 Greenwich Street Space       New York           New York          New York               10007-2344    United States of America
                                                                        LL4315
T1171                      Tumi       Tampa Premium Outlets             2364 Grand Cypress Drive Suite   Lutz               Pasco             Florida                33559-6829    United States of America
                                                                        201
T1172                      Tumi                                         34986 Midway Outlet Drive Unit   Rehoboth Beach     Sussex            Delaware               19971-8587    United States of America
                                                                        110
T1173                      Tumi       Mall of San Juan                  1000 Mall of San Juan            San Juan           San Juan          Puerto Rico            00924-4098    United States of America
                                                                        Boulevard Suite 259
T1174                      Tumi       George Bush Intercontinental      3701 North Terminal Road         Houston            Harris            Texas                  77032-5576    United States of America
                                      Airport                           Terminal D, Space TDR-2, Level
                                                                        3
T1175                      Tumi       Streets at Southpoint             6910 Fayetteville Road Suite     Durham             Durham            North Carolina         27713-8283    United States of America
                                                                        168
T1176                      Tumi       Pleasant Prairie Premium Outlet   11211 120th Avenue Suite A014    Pleasant Prairie   Kenosha           Wisconsin              53158-1703    United States of America

T1177                      Tumi       Copley Place                      100 Huntington Avenue Suite D-   Boston             Suffolk           Massachusetts          02116-6506    United States of America
                                                                        010A
T1178                      Tumi       Ala Moana Center                  1450 Ala Moana Boulevard         Honolulu           Honolulu          Hawaii                 96814-4616    United States of America
                                                                        Suite 2032
T1179          089568.83   Tumi                                         2796 Tanger Way Suite 203        Barstow            San Bernardino    California             92311-9414    United States of America
T1180                      Tumi       Houston Galleria II               5085 Westheimer Road Suite       Houston            Harris            Texas                  77056-5669    United States of America
                                                                        C2557
T1182                      Tumi                                         75 Middlesex Turnpike Suite      Burlington         Middlesex         Massachusetts          01803-5310    United States of America
                                                                        1098
T1183                      Tumi       Disney Springs                    1668 East Buena Vista Drive      Orlando            Orange            Florida                32830         United States of America
                                                                        Suite 1G
T1184                      Tumi       Jersey Gardens                    651 Kapkowski Road Suite         Elizabeth          Union             New Jersey             07201-4913    United States of America
                                                                        1078A
T1185                      Tumi       Clarksburg Premium Outlets        22705 Clarksburg Road Suite      Clarksburg         Montgomery        Maryland               20871-6379    United States of America
                                                                        222
T1186                      Tumi       Faneuil Hall Market Place         4 South Market Street Floor 1    Boston             Suffolk           Massachusetts          02109-6201    United States of America
                                                                        Space 2025B, Bay 28
                                                                                                                                                                                                                                                                                                    UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 98 of 173 Trans ID: LCV2021133181




T1188                      Tumi       Legacy West                       7600 Windrose Avenue Suite       Plano              Collin            Texas                  75024-0108    United States of America
                                                                        G135
T1189                      Tumi       Great Mall of the Bay Area        244 Great Mall Drive             Milpitas           Santa Clara       California             95035-8026    United States of America
T1191                      Tumi       Tysons Galleria                   1801G Galleria at Tysons II      McLean             Fairfax           Virginia               22102-4603    United States of America
T1192                      Tumi       Southpark Mall                    4400 Sharon Road Suite G07       Charlotte          Mecklenburg       North Carolina         28211-3677    United States of America
T1193                      Tumi       Memorial City Mall, Tumi Store    303 Memorial City Suite 802      Houston            Harris            Texas                  77024-2685    United States of America
                                                                                                                                                                                                                     Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 121 of 239 PageID: 128




T1194                      Tumi       National Harbor                   6800 Oxon Hill Road Suite 840    Oxon Hill          Prince George's   Maryland               20745-4700    United States of America
T1195                      Tumi       Santana Row                       333 Santana Row Suite 1010       San Jose           Santa Clara       California             95128-2027    United States of America

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T1196                      Tumi               Minneapolis/Saint Paul Airport    4300 Glumack Drive Space LT-     Saint Paul     Hennepin      Minnesota        55111-3058    United States of America
                                                                                2341
T1198                      Tumi               Clearfork                         5248 Monahans Avenue             Fort Worth     Tarrant       Texas            76109-1574    United States of America
T1199                      Tumi               Pittsburgh Airport                1000 Pittsburgh Airport Space    Pittsburgh     Allegheny     Pennsylvania     15231-1001    United States of America
                                                                                AC-23
T1200                      Tumi               Washington Square                 9504 Southwest Washington        Portland       Washington    Oregon           97223-4449    United States of America
                                                                                Square Road
T1201                      Tumi               South Coast Plaza                 3333 Bristol Street Suite 2636   Costa Mesa     Orange        California       92626-1827    United States of America
T1203                      Tumi               Phoenix Sky Harbor Airport        3800 East Sky Harbor             Phoenix        Maricopa      Arizona          85034-3712    United States of America
                                                                                Boulevard Space S3-R34
T1204                      Tumi               Aventura Mall                     19501 Biscayne Boulevard Suite   Miami          Miami-Dade    Florida          33180-2342    United States of America
                                                                                1901
T1205                      Tumi               Charlotte Douglas International   5501 Josh Birmingham Parkway     Charlotte      Mecklenburg   North Carolina   28208-5751    United States of America
                                              Airport                           Unit 21A
T1206                      Tumi               Great Lakes Crossing Outlets      4762 Baldwin Road Space 127      Auburn Hills   Oakland       Michigan         48326-1285    United States of America
AA01           AA1021.00   Samsonite GesmbH   Gerngross, Luggage Dept.          Mariahilfer Str. 42-48           Wien                         Wien             1070          Austria
AA02           AA0965.00   Samsonite GesmbH   McArthur Glen Designer Outlet     Desinger Outlet Straße 1 Unit    Parndorf                     Burgenland       7111          Austria
                                              Parndorf: Samsonite Store         SU 58-59 Industrie-und
                                                                                Gewerbezentrum
                           Samsonite GesmbH   Tumi Austria Ges.m.b.H. Tumi      Desinger Outlet Straße 1 Top     Parndorf                     Burgenland       7111          Austria
                                              Store Parndorf                    139
                           Samsonite GesmbH   McArthur Glen Designer Outlet     Desinger Outlet Straße 1 Unit    Parndorf                     Burgenland       7111          Austria
                                              Parndorf: Rolling Luggage Store   508/509 Industrie-und
                                                                                Gewerbezentrum
AA03                       Samsonite GesmbH                                     Modecenterstrasse 22 Top B42,    Wien                         Wien             1030          Austria
                                                                                Level B & Top MLB38, Level B

AA04                       Samsonite GesmbH                                     Neuer Markt 9 Geschaeftslokal    Wien                         Wien             1010          Austria
                                                                                Top 1
                           Samsonite GesmbH   Tumi Store Conc. Vienna           Neuer Markt 9                    Wien                         Wien             1010          Austria
                                                                                                                                                                                                                                                                                               UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 99 of 173 Trans ID: LCV2021133181
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Location No.   Index No.   Org Unit                       Name                              Street                             City                County   State/Prov           Postal Code   Country

AA06                       Samsonite GesmbH                                                Linzer Gasse 28 Ground Floor        Salzburg                     Salzburg             5020          Austria
                                                                                           Shop, 1st Floor Stockroom
AA08                       Samsonite GesmbH               Shopping City Süd                EKZ SCS Kaufhaus A                  Vösendorf                    Niederösterreich     2334          Austria
                                                                                           Geschaeftslokal Top EG 020
AA09                       Samsonite GesmbH               Airport Store Vienna             Wien-Schwechat Airport Airside      Schwechat                    Niederösterreich     1300          Austria
                                                                                           Terminal 1, Gate F
                           Samsonite GesmbH               Airport Store Vienna             Wien-Schwechat Airport              Schwechat                    Niederösterreich     1300          Austria
                                                                                           Landside T1
AA10                       Samsonite GesmbH               Designer Outlet Center Salzburg Kasernenstrasse 1 SU 01.160,         Himmelreich                  Salzburg             5071          Austria
                                                                                           Stockroom 01.L07_50
AA11                       Samsonite GesmbH               Tumi Store Vienna                Wallnerstraße 1A                    Wien                         Wien                 1010          Austria
AU01           AUK038.00   Samsonite Australia Pty Ltd.   Melbourne Warehouse              23A Smith Road                      Springvale                   Victoria             3171          Australia
AU04                       Samsonite Australia Pty Ltd.   Melbourne Office                 5 Anzed Court                       Mulgrave                     Victoria             3170          Australia
AU06           AUR215.00   Samsonite Australia Pty Ltd.   Sydney Warehouse (3PL)           12 Kangaroo Avenue                  Eastern Creek                New South Wales      2766          Australia
AU07                       Samsonite Australia Pty Ltd.   Rolling Luggage - Sydney Land Sydney Airport Site 2-1566 T1          Mascot                       New South Wales      2020          Australia
                                                          Side                             International Terminal Sydney
AU08                       Samsonite Australia Pty Ltd.   Rolling Luggage - Melbourne      Melbourne International Airport     Melbourne Airport            Victoria             3045          Australia
                                                          Land Side                        T2 Land Side
                           Samsonite Australia Pty Ltd.   Rolling Luggage - Melbourne Air Melbourne International Airport      Melbourne Airport            Victoria             3045          Australia
                                                          Side                             T2E Air Side
AU09                       Samsonite Australia Pty Ltd.   Sydney Office                    4F Huntley Street Shed 72           Alexandria                   New South Wales      2015          Australia
AU10                       Samsonite Australia Pty Ltd.   Rolling Luggage - Perth          Airport Drive T1, SH76 Ground       Perth Airport                Western Australia    6105          Australia
                                                          International Airport            Floor
                           Samsonite Australia Pty Ltd.   Rolling Luggage - Perth Domestic Miller Road Tenancy 28, T4          Perth Airport                Western Australia    6105          Australia
                                                          Terminal                         Domestic Terminal
                           Samsonite Australia Pty Ltd.   Rolling Luggage Perth Domestic Miller Road Unit DGLC34               Perth Airport                Western Australia    6105          Australia
                                                          Terminal                         (storage), Terminal 3
                           Samsonite Australia Pty Ltd.                                    Perth International Airport         Perth Airport                Western Australia    6105          Australia
                                                                                           Drive~1.L.54, Terminal 1
                           Samsonite Australia Pty Ltd.   Rolling Luggage - Perth                                              Perth Airport                Western Australia    6105          Australia
                                                                                           Perth International Airport Drive
AU14                       Samsonite Australia Pty Ltd.   Rolling Luggage - Brisbane        Brisbane Airport                 Brisbane Airport               Queensland           4008          Australia
AU16                       Samsonite Australia Pty Ltd.   Melbourne Warehouse (3PL)         448 Boundary Road                Derrimut                       Victoria             3026          Australia
BE01           BE2395.00   Samsonite Europe N.V.                                            Westerring 17                    Oudenaarde                     Oost-Vlaanderen      9700          Belgium
BE02                       Samsonite Europe N.V.                                            Westerring 27                    Oudenaarde                     Oost-Vlaanderen      9700          Belgium
BE09                       Samsonite Europe N.V.          Interxion                         Wezembeekstraat 2 Bus 1          Zaventem                       Vlaams-Brabant       1930          Belgium
BE10           BE2461.00   Samsonite Europe N.V.          Trade Mart                        square de l'Atomium 1 Unit B 23- Bruxelles                      Bruxelles-Capitale   1020          Belgium
                                                                                            24, B 473a-472b Bern 374a,
                                                                                            374b
BE11           BE2517.00   Samsonite Europe N.V.          Easy World                        boulevard de Waterloo 9          Bruxelles                      Bruxelles-Capitale   1000          Belgium
BE12           BE2155.00   Samsonite Europe N.V.          Maasmechelen Shopping Village     Zetellaan 100 Unit 110           Maasmechelen                   Limburg              3630          Belgium

BE13                       Samsonite Europe N.V.                                            Brussels Airport Terminal A, 2F,   Zaventem                     Vlaams-Brabant       1930          Belgium
                                                                                            Unit 2, Stock II
                           Samsonite Europe N.V.                                            Brussels Airport Airport           Zaventem                     Vlaams-Brabant       1930          Belgium
                                                                                            Terminal, Vertrekhal 1
                           Samsonite Europe N.V.                                            Brussels Airport Terminal B,       Zaventem                     Vlaams-Brabant       1930          Belgium
                                                                                            BV94284, BV94285, Unit 1
BE15           BE3225.00   Samsonite Europe N.V.                                            Industriepark De Bruwaan 32        Oudenaarde                   Oost-Vlaanderen      9700          Belgium
BE20           BE3533.00   Samsonite Europe N.V.          Santens Warehouse                 Galgestraat 157                    Oudenaarde                   Oost-Vlaanderen      9700          Belgium
BE23                       Samsonite Europe N.V.                                            Huidevettersstraat 10              Antwerpen                    Antwerpen            2000          Belgium
BE24           BE3778.00   Samsonite Europe N.V.          Katoen Natie                      Skaldenstraat 102 Desteldonk       Oostakker                    Oost-Vlaanderen      9042          Belgium
BE25                       Speck Holdings, LLC            Frucon                            Pittemsestraat 58D                 Ardooie                      West-Vlaanderen      8850          Belgium
BE26                       Tumi                           Tumi Store                        Schuttershofstraat 14              Antwerpen                    Antwerpen            2000          Belgium
                                                                                                                                                                                                                                                                                                                 UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 100 of 173 Trans ID: LCV2021133181




BE27                       Samsonite Europe N.V.                                            Sint-Amandsstraat 46               Brugge                       West-Vlaanderen      8000          Belgium
CC02                       Samsonite Corporation          High Sierra                       336 Longjiang Road 8/F             Fuqing, Fuzhou               Fujian               350300        China
CC03           CC6205.00   Speck Holdings, LLC            RR Donnelly Global Turnkey        1-3 Taohua Road 5F Top Ascent      Futian, Shenzhen             Guangdong            518048        China
                                                          Solutions                         Logistics Building Futian Free
                                                                                            Trade Zone
                                                                                                                                                                                                                                  Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 123 of 239 PageID: 130




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CC09           CCA093.00   Samsonite Asia Ltd.     DongGuan QuanGangChang        5 Xingmin Road, Xinmin                Dongguan                         Guangdong          523879        China
                                                   Warehouse Co., Ltd. Patsville Community, Chang'an Town
CC15           CCA494.00   Samsonite Asia Ltd.     Samsonite ADC Warehouse - FG 15 Mingzhu Road ZhongTong              Yantian, Shenzhen                Guangdong          518083        China
                                                                                 Modern Logistic Yantian Port
                                                                                 Bonded Logistics Park - North
                                                                                 Basement
                           Tumi Asia Ltd.          Gothenburg-Landvetter Airport 15 Mingzhu Road ZhongTong             Yantian, Shenzhen                Guangdong          518083        China
                                                                                 Modern Logistic Yantian Port
                                                                                 Bonded Logistics Park - North
                                                                                 2nd Floor Chamber A2a & A2b,
                                                                                 3rd Floor Chamber B3a
CC16                       Speck Holdings, LLC     T-Mall Export Now             228 Meiyuan Yoad Room 610             Zhabei                           Shanghai           200070        China
CC17                       Samsonite Asia Ltd.     Spare Parts                   65 Anchang Road Damco                 Longgang, Shenzhen               Guangdong          518115        China
                                                                                 Warehouse, Henggang Street
                           Tumi Asia Ltd.          Damco China Limited           65 Anchang Road Damco                 Longgang, Shenzhen               Guangdong          518115        China
                                                                                 Warehouse, Henggang Street
CC18                       Samsonite Asia Ltd.     Patsville                     2 Zhongnan Road, Chang'an             Dongguan                         Guangdong          523068        China
                                                                                 Town Building 5, Kegu
                                                                                 Industrial Park
CD01           003443.63   Samsonite Canada Inc.   Re-Pack Center                89 Lorne Avenue Suite 1               Stratford                        Ontario            N5A 6S4       Canada
CD02                       Samsonite Canada Inc.   Warehouse - High Sierra       72 Lorne Avenue Suite 2               Stratford                        Ontario            N5A 6S4       Canada
CD06                       eBags, Inc.             Amazon                        7995 Winston Churchill                Brampton                         Ontario            L6Y 5Z4       Canada
                                                                                 Boulevard
CD07                       Samsonite Corporation   Damco                         8400 River Road                       Delta                            British Columbia   V4G 1B5       Canada
CD08           003292.68   Samsonite Canada Inc.   Main DC, Stratford, Canada    305 C H Meier Boulevard               Stratford                        Ontario            N5A 0H4       Canada
CD09                       Samsonite Canada Inc.   Premium Outlet Collection EIA 1 Outlet Collection Way Suite         Edmonton                         Alberta            T9E 1J5       Canada
                                                                                 602                                   International Airport

CD10                       Samsonite Canada Inc.   Dartmouth Crossing                 85 Hector Gate                   Dartmouth                        Nova Scotia        B3B 0B8       Canada
CD11                       Tumi                    Canada Warehouse REMCO             5101 Orbitor Drive               Mississauga                      Ontario            L4W 5R8       Canada
                                                   Forwarding Ltd.
S400                       Samsonite Canada Inc.   McArthurGlen Designer Outlets -    7899 Templeton Station Road      Richmond                         British Columbia   V7B 0B7       Canada
                                                   Lipault Store                      Suite 18
S451           003451.71   Samsonite Canada Inc.   Retail Store                       753 Ontario Street               Stratford                        Ontario            N5A 6V1       Canada
S452           000677.95   Samsonite Canada Inc.   Cookstown Manufacturer's Outlet    3311 County Road 89 Unit C15,    Cookstown                        Ontario            L0L 1L0       Canada
                                                   Mall                               C16
S453           000305.00   Samsonite Canada Inc.   Canada One Factory Outlets         7500 Lundy's Lane Unit A11       Niagara Falls                    Ontario            L2H 1G8       Canada
S454                       Samsonite Canada Inc.   Windsor Crossing Premium           1555 Talbot Road Unit 640        Windsor                          Ontario            N9H 2N2       Canada
                                                   Outlets
S456                       Samsonite Canada Inc.   St. Jacobs Outlet Mall             25 Benjamin Road                 Waterloo                         Ontario            N2V 2G8       Canada
S459                       Samsonite Canada Inc.   Crossiron Mills Iron Mall          261055 Crossiron Boulevard       Rocky View County                Alberta            T4A 0G3       Canada
                                                                                      Suite 257A
                           Tumi                    Crossiron Mills                    261055 Crossiron Boulevard       Rocky View County                Alberta            T4A 0G3       Canada
                                                                                      Space PA-AC-221
S460                       Samsonite Canada Inc.   Toronto Premium Outlets            13850 Steeles Avenue Suite 519   Georgetown                       Ontario            L7G 0J1       Canada

S461                       Samsonite Canada Inc.   The Outlet Collection at Niagara   300 Taylor Road Suite 421        Niagara on the Lake              Ontario            L0S 1J0       Canada

S462                       Samsonite Canada Inc.   Tanger Outlet Center at Ottawa     8555 Campeau Drive Suite 975 Kanata                               Ontario            K2T 0K5       Canada
S463                       Samsonite Canada Inc.   Premium Outlets Montreal           19001 chemin Notre-Dame Suite Mirabel                             Quebec             J7J 0T1       Canada
                                                                                      330
S464                       Samsonite Canada Inc.   McArthurGlen Designer Outlets      7998 Grauer Road CRU 018      Richmond                            British Columbia   V7B 1N4       Canada

S465                       Samsonite Canada Inc.   Tsawwassen Mills                   5000 Canoe Pass Way Unit 101     Tsawwassen                       British Columbia   V4M 0B3       Canada
                                                                                                                                                                                                                                                                                                         UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 101 of 173 Trans ID: LCV2021133181




S466                       Samsonite Canada Inc.   Outlet Collection Winnipeg         555 Sterling Lyon Parkway Suite Winnipeg                          Manitoba           R3P 2T3       Canada
                                                                                      105
T8000                      Tumi                    Yorkdale Shopping Centre           3401 Dufferin Street Space      North York                        Ontario            M6A 2T9       Canada
                                                                                      CRU221
                                                                                                                                                                                                                          Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 124 of 239 PageID: 131




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T8001                      Tumi                    West Edmonton Mall                 8882 170 Street Northwest Suite   Edmonton                       Alberta              T5T 4M2       Canada
                                                                                      2340
T8002                      Tumi                    Chinook Centre                     6455 Macleod Trail Southwest      Calgary                        Alberta              T2H 0K8       Canada
                                                                                      Suite 0149C
T8003                      Tumi                    Square One                         100 City Centre Drive             Mississauga                    Ontario              L5B 2C9       Canada
T8004                      Tumi                    Royal Bank Plaza                   200 Bay Street Unit 105           Toronto                        Ontario              M5J 2J4       Canada
T8005                      Tumi                    Vaughan Mills                      1 Bass Pro Mills Drive Unit 611   Concord                        Ontario              L4K 5W4       Canada

T8006                      Tumi                    McArthurGlen Designer Outlets      7899 Templeton Station Road       Richmond                       British Columbia     V7B 0B7       Canada
                                                                                      Suite CRU-039
T8007                      Tumi                    Pacific Centre                     701 West Georgia Street R106      Vancouver                      British Columbia     V7Y 1L2       Canada
T8008                      Tumi                    Sherway Gardens                    25 The West Mall Unit 1380A       Etobicoke                      Ontario              M9C 1B8       Canada
T8009                      Tumi                    Outlet Collection at Niagara       300 Taylor Road Suite CRU-729     Niagara on the Lake            Ontario              L0S 1J0       Canada

T8010                      Tumi                    Eaton Town Center                  220 Yonge Street Unit B222A Toronto                              Ontario              M5B 2H1       Canada
T8011                      Tumi                    Toronto Premium Outlets            13850 Steeles Avenue Suite 526 Georgetown                        Ontario              L7G 0J1       Canada

T8012                      Tumi                    Rideau Centre                      50 Rideau Street Unit 375B   Ottawa                              Ontario              K1N 9J7       Canada
CH01                       Tumi Asia Ltd.          Taiwan Branch                      495 Guang Fu South Road 8F-4 Xinyi District                      Taipei               110           Taiwan

CH02                       Tumi Asia Ltd.          Taiwan Branch                      24 Koun 1 Road Gi Nan Lee      Ta-chia District                  Taichung             437           Taiwan
CQ01           CZ0425.00   Samsonite Europe N.V.                                      Oldrichovska 1437              Tachov                            Plzenský kraj        347 29        Czech Republic
DN02                       Samsonite AS            Store Ostergade                    Ny Østergade 2-4 Shop on GF & København K                        København            1101          Denmark
                                                                                      Part of 1F, 2nd Part of 1F
DN03                       Samsonite AS            Ringsted Outlet Center             Klosterparks Alle 1 Shop 2     Ringsted                          Sjaelland            4100          Denmark
DN04                       Samsonite AS            Rolling Luggage                    Copenhagen Airport Shop T2-01- Kastrup                                                2770          Denmark
                                                                                      289
DN05                       Samsonite AS            SAS Copenhagen                     Lufthavnsboulevarden 6         Kastrup                                                2770          Denmark
EI01                       Samsonite Ireland       Rolling Luggage                    Dublin Airport Unit 504,       Dublin                            Dublin                             Ireland
                                                                                      Terminal 1
EI02                       Tumi                    Tumi Ireland Limited               Unit 61a, Kildare Village,     Kildare                           Kildare                            Ireland
                                                                                      Nurney Road
FI01                       Samsonite Finland Oy    Store Iso Omena                    Piispansilta 9A F1-33B, Big    Espoo                             Etelä-Suomen lääni   02230         Finland
                                                                                      Apple Top Oy
                           Samsonite Finland Oy    Belizia Store Iso Omena            Piispansilta 9A Premises       Espoo                             Etelä-Suomen lääni   02230         Finland
                                                                                      t0027624, Agreement 1-R-5999-
                                                                                      15 Stock t0036056
FI02                       Samsonite Finland Oy    Stockmann Concession Helsinki      Aleksanterinkatu 52            Helsinki                          Etelä-Suomen lääni   00100         Finland

FI03                       Samsonite Finland Oy    Stockmann Concession Tapiola       Länsituulentie 5                  Espoo                          Etelä-Suomen lääni   02100         Finland
FI04                       Samsonite Finland Oy    Stockmann Concession Jumbo         Vantaanportinkatu 3               Vantaa                         Etelä-Suomen lääni   01510         Finland
                           Samsonite Finland Oy    Belizia Store Jumbo                Vantaanportinkatu 3 Premises 1-   Vantaa                         Etelä-Suomen lääni   01510         Finland
                                                                                      02-206
FI05                       Samsonite Finland Oy    Stockmann Concession Itis          Itäkatu 1                         Helsinki                       Etelä-Suomen lääni   00930         Finland
FI06                       Samsonite Finland Oy    Stockmann Concession Turku         Yliopistonkatu 22                 Turku                          Länsi-Suomen lääni   20100         Finland
FI07                       Samsonite Finland Oy    Stockmann Concession Tampere       Hämeenkatu 4                      Tampere                        Länsi-Suomen lääni   33100         Finland

FI08                       Samsonite Finland Oy    Belizia Store Itis                Itäkatu 7 H4 Ref. 10047586-003     Helsinki                       Etelä-Suomen lääni   00930         Finland
FI09                       Samsonite Finland Oy    Belizia Store Sello               Leppävaarankatu 3-9 Premises       Espoo                          Etelä-Suomen lääni   02600         Finland
                                                                                     01N-121/Stock P2L-100/6
FI10                       Samsonite Finland Oy    Belizia Store Turku               Yliopistonkatu 20 Hansa,           Turku                          Länsi-Suomen lääni   20100         Finland
                                                                                     Premises L107
FI11                       Samsonite Finland Oy                                      Linnanherrankuja 5B Online         Helsinki                       Etelä-Suomen lääni   00950         Finland
                                                                                     Shop
                                                                                                                                                                                                                                                                                                            UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 102 of 173 Trans ID: LCV2021133181




FI12                       Samsonite Finland Oy    Esplanadi                         Pohjoisesplanadi 25                Helsinki                       Etelä-Suomen lääni   00100         Finland
FR03           FRA772.00   Samsonite S.A.S.        La Vallee Outlet Shopping Village 3 cours de la Garonne Unit 23      Serris                         Seine-et-Marne       77700         France

                           Tumi                    Tumi S.a.r.l La Vallee Village     3 cours de la Garonne             Serris                         Seine-et-Marne       77700         France
FR04           FR4247.00   Samsonite S.A.S.        Centre McArthur Glen               36 voie du Bois Unit 59           Pont Ste Marie                 Aube                 10150         France
FR07                       Samsonite S.A.S.        Nailloux Fashion Village           Lieu-dit Le Gril Unit 42          Nailloux                       Haute-Garonne        31560         France
                                                                                                                                                                                                                             Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 125 of 239 PageID: 132




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FR09                       Samsonite S.A.S.   Roppenheim The Style Outlets     1 route de l Europe L.D.          Roppenheim                   Bas-Rhin              67480         France
                                                                               Beinhemfeld, RD 4, F., Shop
                                                                               C11
FR10                       Samsonite S.A.S.   Centre Commercial One Nation     1 avenue du President Kennedy     Les Clayes Sous              Yvelines              78340         France
                                              Paris                            One Nation Paris Unit 8           Bois

FR13                       Samsonite S.A.S.   Samsonite Company Store          12 boulevard des Capucines        Paris                        Paris                 75009         France
FR14                       Samsonite S.A.S.   Lipault Company Store            8 boulevard de la Madeleine       Paris                        Paris                 75009         France
FR15                       Samsonite S.A.S.   Lipault Company Store            1 rue des Francs Bourgeois 9      Strasbourg                   Bas-Rhin              67000         France
                                                                               place Kleber
FR16                       Samsonite S.A.S.   Lipault Company Store            3 avenue Mozart                   Paris                        Paris                 75016         France
FR17                       Samsonite S.A.S.   Lipault Company Store            123 rue de Rennes                 Paris                        Paris                 75006         France
FR19                       Samsonite S.A.S.   Lipault Store Le Marais          25 rue des Archives 2 rue du      Paris                        Paris                 75004         France
                                                                               Platre Lot 1, 2, 21, 28
FR21                       Samsonite S.A.S.   Lipault Store La Defense, Centre 15 parvis de la Defense Puteaux   Paris la Defense             Hauts-de-Seine        92092         France
                                              Les Quatre Temps                 Shop 664, Stockroom 626           Cedex

FR26                       Tumi               Tumi S.a.r.l Printemps de la     115 rue de Provence               Paris                        Paris                 75009         France
                                              Maison
FR30                       Tumi               Tumi S.a.r.l                     243-245 rue Saint Honore          Paris                        Paris                 75001         France
FR33                       Samsonite S.A.S.   Samsonite Store                  102 avenue Victor Hugo            Paris                        Paris                 75116         France
FR34                       Samsonite S.A.S.   Samsonite Store                  121 boulevard Saint Germain       Paris                        Paris                 75006         France
FR36                       Samsonite S.A.S.   Samsonite Company Store          Mas de la Peronne Local 114       Miramas                      Bouches-du-Rhône      13140         France
FR37                       Samsonite S.A.S.   Centre McArthur Glen             52 mail de Lannoy Unit 21         Roubaix                      Nord                  59100         France
FR38                       Tumi               Tumi Store Champs Elysées        63 avenue des Champs Elysees      Paris                        Paris                 75008         France

FR39                       Samsonite S.A.S.   Lipault Store                    117 rue Saint Dominique           Paris                        Paris                 75007         France
FR40                       Tumi               Tumi Store St. Germain           17 rue du Vieux Colombier         Paris                        Paris                 75006         France
FR41                       Samsonite S.A.S.   Gare St. Lazare                  13 rue d Amsterdam                Paris                        Paris                 75008         France
FR42                       Samsonite S.A.S.   Samsonite Store                  18 avenue de Wagram               Paris                        Paris                 75008         France
FR43                       Samsonite S.A.S.   Samsonite Store                  23 rue du Dome                    Strasbourg                   Bas-Rhin              67000         France
FR44                       Samsonite S.A.S.   The Village Outlet               avenue Steve Biko                 Villefontaine                Isere                 38090         France
FR45                       Samsonite S.A.S.   Sales Office                     7-11 boulevard Haussmann          Paris                        Paris                 75008         France
FR46                       Samsonite S.A.S.   Tumi S.a.r.l                     Boutiques du Palais de Congres    Paris                        Paris                 75017         France

CTGE           GE0190.00   Samsonite GmbH     Propex Fabrics GmbH              Düppelstr. 16                     Gronau                       Nordrhein-Westfalen   48599         Germany
GE01                       Samsonite GmbH     Messe Offenbach                  Kaiserstr. 108-112                Offenbach am Main            Hessen                63065         Germany
GE02           GE9867.00   Samsonite GmbH                                      Subbelrather Str. 15A             Köln                         Nordrhein-Westfalen   50823         Germany
GE03           GE8614.00   Samsonite GmbH     Ingolstadt Village               Otto-Hahn-Str. 1 Unit 37          Ingolstadt                   Bayern                85055         Germany
               GE8614.00   Tumi               Tumi D2C GmbH                    Otto-Hahn-Str. 1 Unit 44          Ingolstadt                   Bayern                85055         Germany
GE04           GE6940.00   Samsonite GmbH     Value Retail                     Almosenberg 1 Unit 102            Wertheim                     Baden-Württemberg     97877         Germany
               GE6940.00   Tumi               Wertheim Village                 Almosenberg Unit 14               Wertheim                     Baden-Württemberg     97877         Germany
GE05                       Samsonite GmbH                                      Reutlinger Str. 56                Metzingen                    Baden-Württemberg     72555         Germany
GE06                       Samsonite GmbH     McArthur Glen Designer Outlet    Alter Spandauer Weg 1 Shop        Wustermark                   Brandenburg           14641         Germany
                                              Center                           Unit 106B
GE07                       Samsonite GmbH     Zweibruecken The Style Outlets   Londoner Bogen 10-90 Unit 81      Zweibrücken                  Rheinland-Pfalz       66482         Germany

GE10                       Samsonite GmbH     Designer Outlet Soltau           Rahrsberg 7 Unit EG-0.34          Soltau                       Niedersachsen         29614         Germany
GE11                       Samsonite GmbH     Designer Outlet Centre           Oderstr. 11 Unit 132              Neumünster                   Schleswig-Holstein    24539         Germany
                                              Neumuenster
GE12                       Samsonite GmbH     Factory Outlet Centers           Laurenzstr. 51-55 Unit G20        Ochtrup                      Nordrhein-Westfalen   48607         Germany
                                                                                                                                                                                                                                                                                                   UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 103 of 173 Trans ID: LCV2021133181
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GE15                       Tumi                  TUMI/Longchamp                  Frankfurt-Main Airport Terminal Frankfurt am Main              Hessen                60549         Germany
                                                                                 1, Level 2, A-Schengen Atrium
                                                                                 Gebaude 222, Raumnummer
                                                                                 2570
                           Samsonite GmbH        The Collection at Frankfurt     Frankfurt-Main Airport Terminal Frankfurt am Main              Hessen                60549         Germany
                                                                                 1, Level 3, A-Non Schengen
                                                                                 Gebaude 208, Raumnummer
                                                                                 3352
                           Samsonite GmbH        Tie Rack                        Frankfurt-Main Airport Terminal Frankfurt am Main              Hessen                60549         Germany
                                                                                 1, Level 2, A-Schengen Pier
                                                                                 Gebaude 223, Raumnumer 2392

                           Samsonite GmbH                                        Frankfurt Flughafen Terminal 1,   Frankfurt am Main            Hessen                60549         Germany
                                                                                 Ebene 2 Gebaude 208,
                                                                                 Raumnummer 2058
                           Tumi                  TUMI/Longchamp                  Frankfurt-Main Airport Terminal   Frankfurt am Main            Hessen                60549         Germany
                                                                                 2, Ebene 3, Abflug D Gebaude
                                                                                 151, Airside
GE16                       Samsonite GmbH        Tie Rack                        Glockengießerwall 8-10            Hamburg                      Hamburg               20095         Germany
                                                                                 Wandelhalle H.H., Hamburg
                                                                                 Station
GE17                       Samsonite GmbH        Designer Outlets OCI Wolfburg   An der Vorburg 1 Unit 68b         Wolfsburg                    Niedersachsen         38440         Germany

GE18           GEF137.00   Tumi                  Tumi Unna Warehouse             Hans-Böckler-Str. 6               Unna                         Nordrhein-Westfalen   59423         Germany
GE19                       Tumi                  Tumi D2C GmbH                   Kurfürstendamm 45                 Berlin                       Berlin                10719         Germany
GE20                       Tumi                  Tumi D2C GmbH                   Goethestr. 29                     Frankfurt am Main            Hessen                60313         Germany
GE21                       Tumi                  Tumi D2C GmbH                   Neuer Wall 13 Alsterarkaden 11    Hamburg                      Hamburg               20354         Germany

GE22                       Tumi                  Tumi D2C GmbH                 Theatinerstr. 44 Perusastr.         München                      Bayern                80333         Germany
GE23                       Tumi                  Tumi D2C GmbH                 Königsallee 60d                     Düsseldorf                   Nordrhein-Westfalen   40212         Germany
GE24                       Tumi                  Tumi D2C GmbH                 München Flughafen Terminal 2,       München-Flughafen            Bayern                85356         Germany
                                                                               112.35 04 7192
GE25                       Tumi                  Tumi D2C GmbH, E. Breuninger Marktstr. 1-3                        Stuttgart                    Baden-Württemberg     70173         Germany
                                                 GmbH & Co.
GE26                       Tumi                  Tumi D2C GmbHKaDeWe           Tauentzienstr. 21-24                Berlin                       Berlin                10789         Germany
GE27                       Samsonite GmbH        Factory Outlet Centers Ochtum Bremer Str. 117 Shop NV A3          Stuhr                        Niedersachsen         28816         Germany
                                                 Park
GE28                       Samsonite GmbH        Fashion Outlet Leipzig        Thiemendorfer Mark 1 Unit 34        Brehna                       Sachsen-Anhalt        06796         Germany
GE29                       Samsonite GmbH        Showroom                      Rather Str. 49E                     Düsseldorf                   Nordrhein-Westfalen   40476         Germany
GE30                       Samsonite GmbH        Factory Outlet                Schützenstr. 5 Shop 44/01.11.00     Radolfzell                   Baden-Württemberg     78315         Germany

GE31                       Samsonite GmbH        Factory Outlet Montabaur        Bahnallee 9 Shop 07               Montabaur                    Rheinland-Pfalz       56410         Germany
GE32                       Tumi                  Tumi D2C GmbH Hotel Adlon       Unter den Linden 77               Berlin                       Berlin                10117         Germany
GE33                       Tumi                  Tumi D2C GmbH                   Küntroper Str. 172                Neuenrade                    Nordrhein-Westfalen   58809         Germany
GE34                       Samsonite GmbH                                        Tal 4                             München                      Bayern                80331         Germany
GE35                       Samsonite GmbH                                        Neuer Wall 72                     Hamburg                      Hamburg               20354         Germany
GE36                       Samsonite GmbH                                        Rosenthaler Str. 34-35            Berlin                       Berlin                10178         Germany
GE37                       Samsonite GmbH                                        Flughafenstr. 1-3                 Hamburg                      Hamburg               22335         Germany
GE38                       Samsonite GmbH                                        Friedrichstr. 172                 Berlin                       Berlin                10117         Germany
GE39                       Tumi                  Tumi D2C GmbH                   Reutlinger Str. 46-54             Metzingen                    Baden-Württemberg     72555         Germany
GE40                       Tumi                  Tumi D2C GmbH                   Königsallee 2 Kö-bogen            Düsseldorf                   Nordrhein-Westfalen   40212         Germany
GE41                       Tumi                  Tumi D2C GmbH                   Oderstr. 10                       Neumünster                   Schleswig-Holstein    24539         Germany
GE42                       Tumi                  Tumi D2C GmbH                   Sophienstr. 16                    Baden-Baden                  Baden-Württemberg     76530         Germany
HK01           HK0261.00   Samsonite Asia Ltd.   The Gateway, Harbour City -     25 Canton Road 25F, Tower 2       Tsim Sha Tsui                Kowloon                             Hong Kong
                                                                                                                                                                                                                                                                                                     UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 104 of 173 Trans ID: LCV2021133181




                                                 Office
                           Samsonite Asia Ltd.   Samsonite HK, Tumi HK, Tumi     25 Canton Road 5F, Tower 2        Tsim Sha Tsui                Kowloon                             Hong Kong
                                                 Asia
                           Samsonite Asia Ltd.                                   25 Canton Road 2312, Tower 2, Tsim Sha Tsui                    Kowloon                             Hong Kong
                                                                                 The Gateway, Harbour City
                                                                                                                                                                                                                      Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 127 of 239 PageID: 134




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Location No.   Index No.   Org Unit              Name                              Street                           City            County   State/Prov         Postal Code   Country

HK04                       Samsonite Asia Ltd.   Times Square                      1 Matheson Street Shop 817       Causeway Bay             Hong Kong Island                 Hong Kong
                           Samsonite Asia Ltd.   Times Square                      1 Matheson Street Shop 713       Causeway Bay             Hong Kong Island                 Hong Kong
                           Tumi Asia Ltd.        Lane Crawford, Times Square       1 Matheson Street                Causeway Bay             Hong Kong Island                 Hong Kong
HK05                       Samsonite Asia Ltd.   IFC Mall                          8 Finance Street Shop 2013, 2F   Central                  Hong Kong Island                 Hong Kong
HK09                       Samsonite Asia Ltd.   Elements                          1 Austin Road West Shop          West Kowloon             Kowloon                          Hong Kong
                                                                                   1102B, Level 1
                           Tumi Asia Ltd.        Elements                          1 Austin Road West Shop 2127,    West Kowloon             Kowloon                          Hong Kong
                                                                                   Level 2
HK10                       Samsonite Asia Ltd.   Harbour City                      Canton Road Shop OT266-267,      Tsim Sha Tsui            Kowloon                          Hong Kong
                                                                                   2F, Ocean Terminal
                           Tumi Asia Ltd.        Harbour City                      Canton Road Shop 323B, Level     Tsim Sha Tsui            Kowloon                          Hong Kong
                                                                                   3, Ocean Centre
HK11                       Samsonite Asia Ltd.   Telford Plaza 1                   33 Wai Yip Street Shop F13       Kowloon Bay              Kowloon                          Hong Kong
HK12                       Samsonite Asia Ltd.   K11 Art Mall                      18 Hanoi Road Shop 204, 2F       Tsim Sha Tsui            Kowloon                          Hong Kong
HK14                       Samsonite Asia Ltd.   China Hong Kong City              33 Canton Road Shop 8-10, GF     Tsim Sha Tsui            Kowloon                          Hong Kong
                           Samsonite Asia Ltd.   RL China HK City                  33 Canton Road Shop 92, Upper    Tsim Sha Tsui            Kowloon                          Hong Kong
                                                                                   GF, China Hong Kong City

HK15                       Samsonite Asia Ltd.   Festival Walk                     80 Tat Chee Avenue Shop 23,      Kowloon Tong             Kowloon                          Hong Kong
                                                                                   Level 1
                           Tumi Asia Ltd.        Festival Walk                     80 Tat Chee Avenue Unit G-30     Kowloon Tong             Kowloon                          Hong Kong
HK16           HK1474.00   Samsonite Asia Ltd.   Citygate Outlet Shopping Center   20 Tat Tung Road Shop 105-       Tung Chung               New Territories                  Hong Kong
                                                                                   106, Level 1
                           Tumi Asia Ltd.        Citygate Outlet Shopping Center   20 Tat Tung Road Shop 228,       Tung Chung               New Territories                  Hong Kong
                                                                                   2/F
HK17                       Samsonite Asia Ltd.   New Town Plaza Phase 1            Sha Tin Centre Street New        Sha Tin                  New Territories                  Hong Kong
                                                                                   Town Plaza Phase 1, Shop 540,
                                                                                   5F
HK18                       Samsonite Asia Ltd.   Tuen Mun Town Plaza Phase 1       1 Tuen Shing Street Shop 1212-   Tuen Mun                 New Territories                  Hong Kong
                                                                                   1213, 1F
HK19                       Samsonite Asia Ltd.   Sogo Department Store             545-563 Hennessy Road 9F,        Causeway Bay             Hong Kong Island                 Hong Kong
                                                                                   Shop No. 9-05
                           Samsonite Asia Ltd.   Sogo Department Store             545-563 Hennessy Road 9F,        Causeway Bay             Hong Kong Island                 Hong Kong
                                                                                   Shop No. 9-07
                           Tumi Asia Ltd.        CWB - Sogo Department Store       555 Hennessy Road Shop No. 5-    Causeway Bay             Hong Kong Island                 Hong Kong
                                                                                   20C, 5/F
                           Samsonite Asia Ltd.   Sogo Department Store             545-563 Hennessy Road 9F,        Causeway Bay             Hong Kong Island                 Hong Kong
                                                                                   Shop No. 9-07G
HK21                       Samsonite Asia Ltd.   The Wing On Department Store      211 Des Voeux Road Central 2F    Sheung Wan               Hong Kong Island                 Hong Kong

HK22                       Samsonite Asia Ltd.   Luggage Dept. Wing On Plus        345 Nathan Road 2F               Yau Ma Tei               Kowloon                          Hong Kong
                           Samsonite Asia Ltd.   Wing On Kowloon Centre, Wing      345 Nathan Road 2F               Yau Ma Tei               Kowloon                          Hong Kong
                                                 On Plus
HK23                       Samsonite Asia Ltd.   Cityplaza 2 - Uny                 18 Taikoo Shing Road G/F,        Quarry Bay               Hong Kong Island                 Hong Kong
                                                                                   Luggage Department of Apita
                           Samsonite Asia Ltd.   Cityplaza                         18 Taikoo Shing Road Shop        Quarry Bay               Hong Kong Island                 Hong Kong
                                                                                   075, G/F
                           Samsonite Asia Ltd.   Cityplaza - Lipault               18 Taikoo Shing Road Shop        Quarry Bay               Hong Kong Island                 Hong Kong
                                                                                   132, 1/F
HK24                       Samsonite Asia Ltd.   Wing On Plaza                     62 Mody Road LGF                 Tsim Sha Tsui            Kowloon                          Hong Kong
HK27                       Samsonite Asia Ltd.   Citywalk 2                        19 Yeung Uk Road Shop G18,       Tsuen Wan                New Territories                  Hong Kong
                                                                                   GF
                                                                                                                                                                                                                                                                                               UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 105 of 173 Trans ID: LCV2021133181
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HK28                       Samsonite Asia Ltd.   Dragon Centre                     37K Yen Chow Street L1-3           Sham Shui Po             Kowloon                          Hong Kong
HK30                       Samsonite Asia Ltd.   Bags Department, Kornhill Plaza   2 Kornhill Road 2F, L203           Quarry Bay               Hong Kong Island                 Hong Kong
                                                 (South)
HK31                       Samsonite Asia Ltd.   Tuen Mun Town Plaza Phase 1       1 Tuen Shun Street 1F, L302        Tuen Mun                 New Territories                  Hong Kong
HK32                       Samsonite Asia Ltd.   Aeon Whampoa Store                Shung King Street Shop G-02,       Hung Hom                 Kowloon                          Hong Kong
                                                                                   G/F, Whampoa Garden Site 5 &
                                                                                   6
HK33                       Samsonite Asia Ltd.   Yata - Tsuen Wan Plaza            4-30 Tai Pa Street Level 3, 3/F,   Tsuen Wan                New Territories                  Hong Kong
                                                                                   Luggage Department
HK34                       Samsonite Asia Ltd.   Jusco Kln Bay Store, Megabox,     38 Wang Chiu Road Shop L107,       Kowloon Bay              Kowloon                          Hong Kong
                                                 Enterprises Square 5              1F
HK37                       Samsonite Asia Ltd.   Jusco Kowloon City Store          128 Carpenter Road Shop L202,      Kowloon City             Kowloon                          Hong Kong
                                                                                   2F
HK41                       Samsonite Asia Ltd.   Metropole Building                416-428 King's Road Stand 224,     North Point              Hong Kong Island                 Hong Kong
                                                                                   231, 1F
HK43                       Samsonite Asia Ltd.   Tai Po Mega Mall Zone B           8, 10 On Pong Road 1F, 2F          Tai Po                   New Territories                  Hong Kong
HK46                       Samsonite Asia Ltd.   RL Airport T2                     Hong Kong International Airport    Chek Lap Kok             New Territories                  Hong Kong
                                                                                   Unit 5P032, Sky Plaza, Terminal
                                                                                   2
                           Tumi Asia Ltd.        HKIA Warehouse                    Hong Kong International Airport    Chek Lap Kok             New Territories                  Hong Kong
                                                                                   4W552, Level 4, Terminal 1
                                                                                   Restricted Area
                           Tumi Asia Ltd.        HKIA                              Hong Kong International Airport    Chek Lap Kok             New Territories                  Hong Kong
                                                                                   Unit 6E154A, Terminal 1

                           Samsonite Asia Ltd.                                     Hong Kong International Airport    Chek Lap Kok             New Territories                  Hong Kong
                                                                                   Cheong Hong Road Unit 7T043,
                                                                                   Level 7, Passenger Terminal
                                                                                   Building 1
HK47                       Samsonite Asia Ltd.   Miramar Shopping Centre           132 Nathan Road B1F, Shop          Tsim Sha Tsui            Kowloon                          Hong Kong
                                                                                   B1014-B1015
HK49                       Tumi Asia Ltd.        Pacific Place                     88 Queensway Shop 142, Level       Admiralty                Hong Kong Island                 Hong Kong
                                                                                   1
HK53                       Samsonite Asia Ltd.   MOKO                              193 Prince Edward Road West        Mong Kok                 Kowloon                          Hong Kong
                                                                                   Shop M41, MTR Floor MOKO
HK56                       Samsonite Asia Ltd.   Sogo Tsim Sha Tsui Store          20 Nathan Road Shop 13, 42 &       Tsim Sha Tsui            Kowloon                          Hong Kong
                                                                                   43, 1F
HK59                       Samsonite Asia Ltd.                                     9 Long Yat Road Shop 2055,         Yuen Long                New Territories                  Hong Kong
                                                                                   Level 2
HK60                       Samsonite Asia Ltd.   Citistore - Tsuen Wan II          67-95 Tsuen Wan Market Street      Tsuen Wan                New Territories                  Hong Kong
                                                                                   No. 1-21, 1/F Citistore Kolour,
                                                                                   TWTL 301
HK62           HK1823.00   Tumi Asia Ltd.        Main Warehouse                    16-24 Ta Chuen Ping Street Unit    Kwai Chung               New Territories                  Hong Kong
                                                                                   A, B, C, 2/F Mercantile Ind.
                                                                                   Bldg.
HK63                       Tumi Asia Ltd.        Harbour City                      Canton Road Suite 514, 5th         Tsim Sha Tsui            Kowloon                          Hong Kong
                                                                                   Floor, North Tower World
                                                                                   Finance Centre
HK64                       Tumi Asia Ltd.        IFC Mall                          1 Harbour View Street Shop No.     Central                  Hong Kong Island                 Hong Kong
                                                                                   2010, Podium Level 2
HK65                       Tumi Asia Ltd.        The Landmark                      15 Queen's Road Central Shop       Central                  Hong Kong Island                 Hong Kong
                                                                                   B6-7, Basement
                                                                                                                                                                                                                                                                                                 UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 106 of 173 Trans ID: LCV2021133181
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HK66                       Tumi Asia Ltd.           Pacific Place - Admiralty Centre   18 Harcourt Road Unit 504A,      Admiralty                    Hong Kong Island                 Hong Kong
                                                    Tower II                           5th Floor
HK67                       Samsonite Asia Ltd.      Patsville                          2 San Ping Circuit Block E, G/F, Tuen Mun                     New Territories                  Hong Kong
                                                                                       Tuen Mun Industrial Centre

HK69                       Samsonite Asia Ltd.      Citistore - Tuen Mun               2 Tuen Lung Street No. LC3,     Tuen Mun                      New Territories                  Hong Kong
                                                                                       Luggage Section, L3 North
                                                                                       Wing, Trend Plaza
HK70                       Samsonite Asia Ltd.      Citistore - Yuen Long              1 Kau Yuk Road No. C-LU03, Yuen Long                          New Territories                  Hong Kong
                                                                                       Luggage Section, 4/F, Kolour
                                                                                       Yuen Long YLTL 464
HK72                       Samsonite Asia Ltd.                                         514 Lockhart Road G/F           Causeway Bay                  Hong Kong Island                 Hong Kong
HK73                       Samsonite Asia Ltd.      Landmark North                     39 Lung Sum Avenue Shop         Sheung Shui                   New Territories                  Hong Kong
                                                                                       303A, Level 3
HK74                       Tumi Asia Ltd.           IFC Warehouse, New World           16-18 Queen's Road Central      Central                       Hong Kong Island                 Hong Kong
                                                    Tower                              Room 1010, 10th Floor
HK75                       Tumi Asia Ltd.           TS - Lane Crawford                 4/F, Times Square Causeway      Causeway Bay                  Hong Kong Island                 Hong Kong
                                                                                       Bay Shop 405
HK76                       Samsonite Asia Ltd.                                         18 Salisbury Road Shop No.      Tsim Sha Tsui                 Kowloon                          Hong Kong
                                                                                       403A, Level 4 of K11 Musea,
                                                                                       Victoria Dockside
HK77                       Samsonite Asia Ltd.                                         63 Wing Hong Street Unit 4,     Cheung Sha Wan                Kowloon                          Hong Kong
                                                                                       23/F, Global Gateway Tower
HU01           HU0629.00   Samsonite Hungaria KFT   Imobilia/Plant                     Keselyusi ut 5                  Szekszard                     Tolna              7100          Hungary
HU04                       Samsonite Hungaria KFT   Arkad                              Ors vezer tere Shop Unit 0.39   Budapest X                    Budapest           1106          Hungary
                           Samsonite Hungaria KFT   Arkad                              Ors vezer tere District X, Shop Budapest X                    Budapest           1106          Hungary
                                                                                       Unit 00.SH.017
HU05                       Samsonite Hungaria KFT   Allee Retail Centre (T&C)          Oktober huszonharmadika utca 8- Budapest XI                   Budapest           1117          Hungary
                                                                                       10 Unit F044
                           Samsonite Hungaria KFT   Allee Retail Centre (Samsonite)    Oktober huszonharmadika utca 8- Budapest XI                   Budapest           1117          Hungary
                                                                                       10 Unit F010, 11th District

HU06                       Samsonite Hungaria KFT   Premier Outlets Center             Budaorsi ut 4 Unit 11           Biatorbagy                    Pest               2051          Hungary
                                                    (Samsonite)
                           Samsonite Hungaria KFT   Premier Outlets Center (T&C)    Budaorsi ut 4 Unit 25              Biatorbagy                    Pest               2051          Hungary
HU07                       Samsonite Hungaria KFT   Westend City Center             Vaci ut 1-3 Shopping and           Budapest VI                   Budapest           1062          Hungary
                                                                                    Entertainment Centre Store
                                                                                    III.B.033-III.B.035
                           Samsonite Hungaria KFT   Westend City Center (Samsonite) Vaci ut 1-3 Shopping and           Budapest VI                   Budapest           1062          Hungary
                                                                                    Entertainment Centre Store
                                                                                    III.B.047
HU08                       Samsonite Hungaria KFT   Polus Shopping and              Szentmihalyi ut 131 Store          Budapest XV                   Budapest           1152          Hungary
                                                    Entertainment Center            GP08701, GP08702, GP08800
HU09                       Samsonite Hungaria KFT   M3 Outlet Center                Hajdu ut 52 Unit B4                Polgar                        Hajdú-Bihar        4090          Hungary
HU10                       Samsonite Hungaria KFT   Arena Plaza Mall Shopping and   Kerepesi ut 9 Unit F079            Budapest VIII                 Budapest           1087          Hungary
                                                    Entertainment Center
HU11                       Samsonite Hungaria KFT                                   Bajcsy-Zsilinszky ut 12 Office     Budapest V                    Budapest           1051          Hungary
                                                                                    Building, 2 Parking Places
HU12           HU0906.00   Samsonite Hungaria KFT   Plant                           Keselyusi ut 2/10                  Szekszard                     Tolna              7100          Hungary
HU13                       Samsonite Hungaria KFT   High Street Store Andrasyy      Andrássy út 13                     Budapest                      Budapest           1061          Hungary
IT01                       Samsonite S.p.A                                          Via Sant'Andrea 7                  Milano                        Milano             20121         Italy
IT02                       Samsonite S.p.A                                          Via Giotto 3 Via Belfiore          Milano                        Milano             20145         Italy
IT03                       Samsonite S.p.A                                          Via San Pietro all'Orto 11         Milano                        Milano             20121         Italy
IT04                       Samsonite S.p.A                                          Via Felice Mina 4 Frazione         Cantello                      Varese             21050         Italy
                                                                                                                                                                                                                                                                                                       UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 107 of 173 Trans ID: LCV2021133181




                                                                                    Gaggiolo
IT05                       Samsonite S.p.A                                          Strada Statale 35bis dei Giovi     Serravalle Scrivia            Alessandria        15069         Italy
IT06                       Samsonite S.p.A          Fidenza Village                 Via San Michele Campagna           Fidenza                       Parma              43036         Italy
                                                                                    Frazione Chiusa Ferranda
IT07                       Samsonite S.p.A                                          Via del Ponte di Piscina Cupa 89   Roma                          Roma               00128         Italy
                                                                                    Castel Romano
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IT08           IT5294.00   Samsonite S.p.A                                      Via San Martino di Zusiagna         Vicolungo                       Novara         28060         Italy
IT09           IT5839.00   Samsonite S.p.A                                      Via Molino dell'Oglio 33            Saltrio                         Varese         21050         Italy
IT10                       Samsonite S.p.A                                      Via della Pace snc Localita         Valmontone                      Roma           00038         Italy
                                                                                Pascolaro Unit 57
IT12                       Samsonite S.p.A                                      Viale Dell'Industria 5              Corsico                         Milano         20094         Italy
IT13                       Samsonite S.p.A   Chic Accent Store Il Porto         Piazzale Rovigno 1, 39              Adria                           Rovigo         45011         Italy
IT14                       Samsonite S.p.A   Chic Accent Store Milano Fiori     Viale Milano Fiori Int. 78          Assago                          Milano         20090         Italy
IT15                       Samsonite S.p.A                                      Via Antonio Meucci SNC              Barberino di Mugello            Firenze        50031         Italy

IT16                       Samsonite S.p.A   Chic Accent Store Il Grifone       Via Capitelvecchio 88 Unita 11      Bassano del Grappa              Vicenza        36061         Italy

IT17                       Samsonite S.p.A   Chic Accent Store Emisfero         Via Alcide de Gasperi 80, 82 Int.   Bassano del Grappa              Vicenza        36061         Italy
                                                                                23
IT18                       Samsonite S.p.A   Chic Accent Store La Fattoria      Strada Statale 16 Adriiatica 42,    Borsea                          Rovigo         45100         Italy
                                                                                43
IT19                       Samsonite S.p.A   Chic Accent Store I Gigli          Via San Quirico 165 Int. 42         Campi Bisenzio                  Firenze        50013         Italy
IT20                       Samsonite S.p.A   Chic Accent Carosello              Strada Provinciale 108 Km. 2,       Carugate                        Milano         20061         Italy
                                                                                Int. 6+6A
IT21                       Samsonite S.p.A                                      Via del Commercio 6 M               Castel Guelfo di                Bologna        40023         Italy
                                                                                                                    Bologna
IT22                       Samsonite S.p.A   Chic Accent Centronova           Via Villanova 29 Int. 43              Castenaso                       Bologna        40055         Italy
IT23                       Samsonite S.p.A   Chic Accent Store Cone           Via Molise Int. 32, Localita          Conegliano                      Treviso        31015         Italy
                                                                              Porta San Giuseppe
IT24                       Samsonite S.p.A   Quattroventi                     Via Generale Cesare Laugier 26,       Curtatone                       Mantova        46010         Italy
                                                                              28 Sp. 10
IT25                       Samsonite S.p.A   Chic Accent Store Le Mura        Via Copparo 132/11                    Ferrara                         Ferrara        44123         Italy
IT26                       Samsonite S.p.A   Chic Accent Store Punta Di Ferro Piazzale della Cooperazione 2         Forli                           Forlì-Cesena   47122         Italy
                                                                              Int. 48
IT27                       Samsonite S.p.A   Chic Accent Store Aurelia Antica Via Aurelia Antica 42, 46 Int. 48     Grosseto                        Grosseto       58100         Italy

IT28                       Samsonite S.p.A   Chic Accent Store Tiburtino    Via Tiburtina Valeria Km 20.5,          Guidonia Montecelio             Roma           00012         Italy
                                                                            Int. 2
IT30                       Samsonite S.p.A   Valecenter                     Via Enrico Mattei 1 C Int. 50           Marcon                          Venezia        30020         Italy
IT31                       Samsonite S.p.A   Chic Accent Store Nave De Vero Via Pietro Arduino 1                    Marghera                        Venezia        30175         Italy

IT32                       Samsonite S.p.A   Chic Accent Store La Corte      Via Riccardo Bajardi 5 Zona            Padova                          Padova         35129         Italy
                                                                             Mortise
IT33                       Samsonite S.p.A   Chic Accent Store Collestrada   Via della Valtiera 181 Int. 7          Perugia                         Perugia        06135         Italy
IT34                       Samsonite S.p.A   Chic Accent Store Piazza Grande Via Fratelli Sanguinazzi 1             Piove di Sacco                  Padova         35028         Italy

IT35                       Samsonite S.p.A   Chic Accent Store Le Befane        Via Caduti di Nassirya 20           Rimini                          Rimini         47924         Italy
IT36                       Samsonite S.p.A   Chic Accent Store Roma Est         Via Collatina 858, 860 Km           Roma                            Roma           00132         Italy
                                                                                12+800, Int. 250
IT37                       Samsonite S.p.A                                      Via del Tritone 149 Via dei         Roma                            Roma           00187         Italy
                                                                                Serviti
IT38                       Samsonite S.p.A   Chic Accent Store Le Centurie      Via Caselle 1 Int. 32-1             San Giorgio delle               Padova         35010         Italy
                                                                                                                    Pertiche
IT39                       Samsonite S.p.A   Chic Accent Store Verona Uno       Via Cesare Battisti 266 Int. 63     San Giovanni                    Verona         37057         Italy
                                                                                                                    Lupatoto
IT40                       Samsonite S.p.A   Chic Accent Store Le Brentelle     Via della Provvidenza 1, 66         Sarmeola                        Padova         35030         Italy
IT41                       Samsonite S.p.A   Chic Accent Store Carrefour        Via del Terziario 2, 4, 6 Int. 8    Thiene                          Vicenza        36016         Italy
IT42                       Samsonite S.p.A   Chic Accent Store Emisfero         Via Malcanton 40 Localita           Trebaseleghe                    Padova         35010         Italy
                                                                                Crosarona
IT43                       Samsonite S.p.A   Chic Accent Store Villese          Localita Maranuz 2                  Villesse                        Gorizia        34070         Italy
                                                                                                                                                                                                                                                                                                 UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 108 of 173 Trans ID: LCV2021133181




                                             Shopping Center
IT44                       Samsonite S.p.A   Chic Accent Store Il Destriero     Via Piemonte Int. 29, SP 227        Vittuone                        Milano         20010         Italy
                                                                                Dir. Vittuone Cisliano, Nr. 2,
                                                                                Int. 29
IT46                       Samsonite S.p.A   Tumi Store Rome                    Via del Babuino 57                  Roma                            Roma           00187         Italy
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Location No.   Index No.   Org Unit                    Name                              Street                            City                  County   State/Prov    Postal Code   Country

IT47                       Samsonite S.p.A             Samsonite Store                   Via Marco Polo 1 Unita 106      Noventa di Piave                 Venezia       30020         Italy
                           Samsonite S.p.A             Samsonite Store Noventa           Via Marco Polo 1                Noventa di Piave                 Venezia       30020         Italy
IT48                       Samsonite S.p.A             Chic Accent Store Campania        Strada Statale 87 Sannitica,    Marcianise                       Caserta       81025         Italy
                                                                                         Localita Aurno Int. Pa17 Sud Eu

IT49                       Samsonite S.p.A             Chic Accent Store Arese          Via Eugenio Luraghi                Arese                          Milano        20020         Italy
IT50                       Samsonite S.p.A             Chic Accent Store                Via Einaudi SNC                    Roncadelle                     Brescia       25030         Italy
IT51                       Samsonite S.p.A                                              Piazza Don Enrico Mapelli 1        Sesto San Giovanni             Milano        20099         Italy
IT52                       Samsonite S.p.A             Chic Accent Store Parco da Vinci Via Alberto Lionello 201           Roma                           Roma          00139         Italy

IT54                       Samsonite S.p.A             Chic Accent Store Rome            Via Geminiano Montanari           Fiumicino                      Roma          00054         Italy
IT55                       Samsonite S.p.A             Tumi Store Milan                  Via Vincenzo Capelli 4            Milano                         Milano        20124         Italy
IT56                       Samsonite S.p.A             Tumi Store Milan                  Corso Giacomo Matteotti 7         Milano                         Milano        20121         Italy
IT57                       Samsonite S.p.A             Tumi Store Serravalle             Via della Moda 1                  Serravalle Scrivia             Alessandria   15069         Italy
JP001                      Samsonite Japan Co., Ltd.   Marui Kitasenju                   3-92, Senju                       Adachi-ku                      Tokyo         120-0034      Japan
JP002                      Samsonite Japan Co., Ltd.   Design Office, GS Heim Funaba     1-5-10, Awajimachi #704           Chuo-ku, Osaka-shi             Osaka         541-0047      Japan
JP006                      Samsonite Japan Co., Ltd.   Landmark Plaza                    2-2-1, Minatomirai 4F             Nishi-ku, Yokohama-            Kanagawa      220-8172      Japan
                                                                                                                           shi
                           Tumi                        Yokohama Landmark                 2-2-1-1, Minatomirai              Nishi-ku, Yokohama-            Kanagawa      220-8190      Japan
                                                                                                                           shi
JP007          JP6815.00   Samsonite Japan Co., Ltd.   Tressa Yokohama North Building 700, Morookacho 2F                   Kohoku-ku,                     Kanagawa      222-0002      Japan
                                                                                                                           Yokohama-shi
JP008                      Samsonite Japan Co., Ltd.   Lalaport Toyosu                   2-4-9, Toyosu #15710, 1F          Koto-ku                        Tokyo         135-0061      Japan
JP009                      Samsonite Japan Co., Ltd.   Koshigaya Laketown                4-21-1, Azumacho                  Koshigaya-shi                  Saitama       343-0826      Japan
JP010                      Samsonite Japan Co., Ltd.   VenusFort, Pallet Town West       1-3-15, Aomi 3F                   Koto-ku                        Tokyo         135-0064      Japan
                                                       Mall
                           Tumi                        VenusFort Outlet                  1-3-15, Aomi                      Koto-ku                        Tokyo         135-0064      Japan
JP011                      Samsonite Japan Co., Ltd.   Lalaport Tokyo Bay                2-1-1, Hamacho                    Funabashi-shi                  Chiba         273-0012      Japan
JP013          JP6816.00   Samsonite Japan Co., Ltd.   Toki Premium Outlet               1-2, Tokigaoka                    Toki-shi                       Gifu          509-5127      Japan
                           Tumi                        Toki Premium Outlet               1-2, Tokigaoka                    Toki-shi                       Gifu          509-5127      Japan
JP014          JP4207.00   Samsonite Japan Co., Ltd.   Rinku Premium Outlet              3-28, Rinkuoraiminami             Izumisano-shi                  Osaka         598-8508      Japan
JP015          JP1994.00   Samsonite Japan Co., Ltd.   Gotenba Premium Outlet            1312, Fukasawa                    Gotenba-shi                    Shizuoka      412-0023      Japan
                           Tumi                        Gotenba Premium Outlet            1312, Fukasawa                    Gotenba-shi                    Shizuoka      412-0023      Japan
JP017                      Samsonite Japan Co., Ltd.   Karuizawa Prince Shopping Plaza   Karuizawa                         Karuizawa-machi,               Nagano        389-0102      Japan
                                                                                                                           Kitasaku-gun
JP018                      Samsonite Japan Co., Ltd.   Tosu Premium Outlet               8-1, Yayoigaoka                   Tosu-shi                       Saga          841-0005      Japan
                           Tumi                        Tosu Premium Outlet               8-1, Yayoigaoka                   Tosu-shi                       Saga          841-0005      Japan
JP019                      Samsonite Japan Co., Ltd.   Kobesanda Premium Outlet          7-3, Kamitsodai                   Kita-ku, Kobe-shi              Hyogo         651-1515      Japan
                           Tumi                        Kobesanda Premium Outlet          7-3, Kamitsodai                   Kita-ku, Kobe-shi              Hyogo         651-1515      Japan
JP020                      Samsonite Japan Co., Ltd.   Chitose Outlet Mall Rera          1-2-1, Kashiwadaiminami           Chitose-shi                    Hokkaido      066-8765      Japan
JP021                      Samsonite Japan Co., Ltd.   Nasu Garden Outlet                184-7, Shionosaki                 Nasushiobara-shi               Tochigi       329-3122      Japan
JP022                      Samsonite Japan Co., Ltd.   Kurashiki Outlet                  12-3, Kotobukicho #1660           Kurashiki-shi                  Okayama       710-0813      Japan
                           Tumi                        Mitsui Outlet Park Kurashiki      12-3, Kotobukicho                 Kurashiki-shi                  Okayama       710-0813      Japan
                           Samsonite Japan Co., Ltd.   Kurashiki Outlet DMX              12-3, Kotobukicho #1532           Kurashiki-shi                  Okayama       710-0813      Japan
                           Samsonite Japan Co., Ltd.   Kurashiki Outlet Gregory          12-3, Kotobukicho #1450           Kurashiki-shi                  Okayama       710-0813      Japan
JP023                      Samsonite Japan Co., Ltd.   Okinawa Ashibina Outlet           1-188, Toyosaki                   Tomigusuku-shi                 Okinawa       901-0225      Japan
                           Tumi                        Okinawa Ashibina Outlet Mall      1-188, Toyosaki                   Tomigusuku-shi                 Okinawa       901-0225      Japan
                           Samsonite Japan Co., Ltd.   Okinawa Ashibina Outlet           1-188, Toyosaki                   Tomigusuku-shi                 Okinawa       901-0225      Japan
                                                       Hartmann
                           Samsonite Japan Co., Ltd.   Gregory Okinawa FO Mall           1-188, Toyosaki                   Tomigusuku-shi                 Okinawa       901-0225      Japan
                                                       Ashibinaa
JP024                      Samsonite Japan Co., Ltd.   Mitsukoshi Ebisu                  4-20-7, Ebisu 2F                  Shibuya-ku                     Tokyo         150-6090      Japan
JP025                      Samsonite Japan Co., Ltd.   Granduo Tachikawa                 3-12-1, Shibasakicho 2F           Tachikawa-shi                  Tokyo         190-0023      Japan
JP029                      Samsonite Japan Co., Ltd.   Urawa Parco                       11-1, Higashitakasagocho          Urawa-ku, Saitama-             Saitama       330-0055      Japan
                                                                                                                                                                                                                                                                                                      UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 109 of 173 Trans ID: LCV2021133181




                                                                                                                           shi
JP031                      Samsonite Japan Co., Ltd.   Seibu Higashitotsuka              537-1, Shinanocho                 Totsuka-ku,                    Kanagawa      244-8530      Japan
                                                                                                                           Yokohama-shi
JP032                      Samsonite Japan Co., Ltd.   Seibu Takatsuki                   4-1, Hakubaicho                   Takatsuki-shi                  Osaka         569-1116      Japan
                                                                                                                                                                                                                       Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 132 of 239 PageID: 139




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JP033                      Samsonite Japan Co., Ltd.   Sogo Chiba                        1000, Shinmachi                  Chuo-ku, Chiba-shi             Chiba        260-8557      Japan
                           Tumi                        Sogo Chiba                        1000, Shinmachi 5F               Chuo-ku, Chiba-shi             Chiba        260-8557      Japan
JP035                      Samsonite Japan Co., Ltd.   Sogo Omiya                        1-6-2, Sakuragicho               Omiya-ku, Saitama-             Saitama      330-9530      Japan
                                                                                                                          shi
JP038                      Samsonite Japan Co., Ltd.   Daimaru Hakata                    1-4-1, Tenjin                    Chuo-ku, Fukuoka-              Fukuoka      810-8717      Japan
                                                                                                                          shi
                           Samsonite Japan Co., Ltd.   Daimaru Hakata Biz                1-4-1, Tenjin                    Chuo-ku, Fukuoka-              Fukuoka      810-8717      Japan
                                                                                                                          shi
JP039                      Samsonite Japan Co., Ltd.   Daimaru Kobe                      40, Akashimachi                  Chuo-ku, Kobe-shi              Hyogo        650-0037      Japan
                           Tumi                        Daimaru Kobe                      40, Akashimachi                  Chuo-ku, Kobe-shi              Hyogo        650-0037      Japan
JP040                      Samsonite Japan Co., Ltd.   Daimaru Kyoto                     79, Tachiuri Nishimachi          Shimogyo-ku, Kyoto-            Kyoto        600-8511      Japan
                                                                                         Yonjodoori, Takakuranishihairi   shi

JP041                      Samsonite Japan Co., Ltd.   Daimaru Sapporo                   4-7, Kita 5 Jonishi              Chuo-ku, Sapporo-              Hokkaido     060-0006      Japan
                                                                                                                          shi
JP042                      Samsonite Japan Co., Ltd.   Daimaru Shinsaibashi Men's Bag    1-7-1, Shinsaibashisuji          Chuo-ku, Osaka-shi             Osaka        542-8501      Japan

                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya               1-7-1, Shinsaibashisuji          Chuo-ku, Osaka-shi             Osaka        542-8501      Japan
                                                       Shinsaibashi Hartmann
                           Samsonite Japan Co., Ltd.   Daimaru Shinsaibashi Kitakan      1-7-1, Shinsaibashisuji          Chuo-ku, Osaka-shi             Osaka        542-8501      Japan
JP043                      Samsonite Japan Co., Ltd.   Daimaru Tokyo                     1-9-1, Marunouchi                Chiyoda-ku                     Tokyo        100-6701      Japan
                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya Tokyo         1-9-1, Marunouchi                Chiyoda-ku                     Tokyo        100-6701      Japan
                                                       SBL
                           Tumi                        Daimaru Tokyo                     1-9-1, Marunouchi 7F             Chiyoda-ku                     Tokyo        100-6701      Japan
JP044                      Samsonite Japan Co., Ltd.   Daimaru Umeda                     3-1-1, Umeda                     Kita-ku, Osaka-shi             Osaka        530-0001      Japan
                           Tumi                        Daimaru Umeda                     3-1-1, Umeda 8F                  Kita-ku, Osaka-shi             Osaka        530-0001      Japan
                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya Umeda         3-1-1, Umeda                     Kita-ku, Osaka-shi             Osaka        530-0001      Japan
                                                       Hartmann
JP046                      Samsonite Japan Co., Ltd.   Aeon Musashimurayama              1-1-3, Enoki                     Musashimurayama-               Tokyo        208-0022      Japan
                                                                                                                          shi
JP047                      Samsonite Japan Co., Ltd.   Fujisaki                          3-2-17, Ichibancho               Aoba-ku, Sendai-shi            Miyagi       980-8652      Japan

JP048                      Samsonite Japan Co., Ltd.   Fukuya Hachobori                  6-26, Ebisucho                   Naka-ku, Hiroshima-            Hiroshima    730-8548      Japan
                                                                                                                          shi
JP049                      Samsonite Japan Co., Ltd.   Hankyu Hakata                     1-1, Hakataekichuogai            Hakata-ku, Fukuoka-            Fukuoka      812-0012      Japan
                                                                                                                          shi
                           Samsonite Japan Co., Ltd.   Hankyu Hakata Biz                 1-1, Hakataekichuogai            Hakata-ku, Fukuoka-            Fukuoka      812-0012      Japan
                                                                                                                          shi
                           Tumi                        Hankyu Hakata                     1-1, Hakataekichuogai 6F         Hakata-ku, Fukuoka-            Fukuoka      812-0012      Japan
                                                                                                                          shi
JP050                      Samsonite Japan Co., Ltd.   Hankyu Kawanishi                  26-1, Sakaemachi                 Kawanishi-shi                  Hyogo        666-0033      Japan
JP051                      Samsonite Japan Co., Ltd.   Hankyu Nishinomiya                14-1, Takamatsucho               Nishinomiya-shi                Hyogo        663-8204      Japan
JP055                      Samsonite Japan Co., Ltd.   Hankyu Tsuzuki                    1-31-1-1, Nakagawachuo           Tsuzuki-ku,                    Kanagawa     224-0003      Japan
                                                                                                                          Yokohama-shi
JP056                      Samsonite Japan Co., Ltd.   Hankyu Umeda                  8-7, Kakudacho                       Kita-ku, Osaka-shi             Osaka        530-8350      Japan
                           Samsonite Japan Co., Ltd.   Hankyu Shinhonten Biz         8-7, Kakudacho                       Kita-ku, Osaka-shi             Osaka        530-8350      Japan
                           Tumi                        Hankyu Umeda Department Store 8-7, Kakudacho 8F                    Kita-ku, Osaka-shi             Osaka        530-8350      Japan

JP057                      Samsonite Japan Co., Ltd.   Hankyu Men's Tokyo Biz            2-5-1, Yurakucho                 Chiyoda-ku                     Tokyo        100-8488      Japan
                           Samsonite Japan Co., Ltd.   Hankyu Men's Tokyo                2-5-1, Yurakucho                 Chiyoda-ku                     Tokyo        100-8488      Japan
                           Tumi                        Hankyu Men's Tokyo                2-5-1, Yurakucho B1F             Chiyoda-ku                     Tokyo        100-8488      Japan
JP058                      Samsonite Japan Co., Ltd.   Hanshin Umeda                     1-13-13, Umeda                   Kita-ku, Osaka-shi             Osaka        530-8224      Japan
JP059                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Fuchu           1-41-2, Miyamachi                Fuchu-shi                      Tokyo        183-0023      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Fuchu Biz       1-41-2, Miyamachi                Fuchu-shi                      Tokyo        183-0023      Japan
                                                                                                                                                                                                                                                                                                    UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 110 of 173 Trans ID: LCV2021133181




                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Fuchu Lipault   1-41-2, Miyamachi                Fuchu-shi                      Tokyo        183-0023      Japan

                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Fuchu           1-41-2, Miyamachi                Fuchu-shi                      Tokyo        183-0023      Japan
                                                       Hartmann
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Location No.   Index No.   Org Unit                    Name                               Street                             City                   County   State/Prov   Postal Code   Country

JP060                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Matsudo          1307-1, Matsudo                    Matsudo-shi                     Chiba        271-0092      Japan
                                                       Lipault
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Matsudo          1307-1, Matsudo                    Matsudo-shi                     Chiba        271-0092      Japan
                                                       Hartmann
JP061                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Niigata          1-6-1, Yachiyo                     Chuo-ku, Niigata-shi            Niigata      950-8589      Japan

JP062                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Sagamihara       4-4-3, Sagamiono                   Minami-ku,                      Kanagawa     252-0303      Japan
                                                                                                                             Sagamihara-shi
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Sagamihara       4-4-3, Sagamiono                   Minami-ku,                      Kanagawa     252-0303      Japan
                                                       Hartmann                                                              Sagamihara-shi
JP063                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Shinjuku         3-14-1, Shinjuku                   Shinjuku-ku                     Tokyo        160-0022      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Shinjuku Men's   3-14-1, Shinjuku                   Shinjuku-ku                     Tokyo        160-0022      Japan
                                                       Bag
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Shinjuku         3-14-1, Shinjuku                   Shinjuku-ku                     Tokyo        160-0022      Japan
JP064                      Samsonite Japan Co., Ltd.   Isetan Shizuoka                    1-7, Gofukucho                     Aoi-ku, Shizuoka-shi            Shizuoka     420-0031      Japan

                           Samsonite Japan Co., Ltd.   Isetan Shizuoka Biz                1-7, Gofukucho                     Aoi-ku, Shizuoka-shi            Shizuoka     420-0031      Japan

JP065                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Tachikawa        2-5-1, Akebonocho                  Tachikawa-shi                   Tokyo        190-0012      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Tachikawa        2-5-1, Akebonocho                  Tachikawa-shi                   Tokyo        190-0012      Japan
                                                       Hartmann
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Tachikawa        2-5-1, Akebonocho                  Tachikawa-shi                   Tokyo        190-0012      Japan
                                                       Lipault
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Tachikawa Biz    2-5-1, Akebonocho                  Tachikawa-shi                   Tokyo        190-0012      Japan

JP066                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Urawa            1-15-1, Takasago                   Urawa-ku, Saitama-              Saitama      330-0063      Japan
                                                                                                                             shi
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Urawa Biz        1-15-1, Takasago                   Urawa-ku, Saitama-              Saitama      330-0063      Japan
                                                                                                                             shi
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Urawa            1-15-1, Takasago                   Urawa-ku, Saitama-              Saitama      330-0063      Japan
                                                       Hartmann                                                              shi
JP067                      Samsonite Japan Co., Ltd.   JR Kyoto Isetan                    Higashishiokojicho                 Shimogyo-ku, Kyoto-             Kyoto        600-8555      Japan
                                                                                          Karasumarudoori Shiokoji           shi
                                                                                          Kudaru
JP068                      Samsonite Japan Co., Ltd.   JR Osaka Isetan Travel             3-1-3, Umeda                       Kita-ku, Osaka-shi              Osaka        530-8558      Japan
                           Samsonite Japan Co., Ltd.   JR Osaka Isetan Biz                3-1-3, Umeda                       Kita-ku, Osaka-shi              Osaka        530-8558      Japan
                           Tumi                        Osaka Isetan Lucua                 3-1-3, Umeda                       Kita-ku, Osaka-shi              Osaka        530-8558      Japan
JP069                      Samsonite Japan Co., Ltd.   Iwataya Mitsukoshi Honten          2-5-35, Tenjin                     Chuo-ku, Fukuoka-               Fukuoka      810-8717      Japan
                                                                                                                             shi
                           Tumi                        Iwataya Honten                     2-5-35, Tenjin 5F                  Chuo-ku, Fukuoka-               Fukuoka      810-8717      Japan
                                                                                                                             shi
JP072                      Samsonite Japan Co., Ltd.   Izutsuya Kokura                    1-1, Senbamachi                    Kokurakita-ku,                  Fukuoka      802-8511      Japan
                                                                                                                             Kitakyushu-shi
JP074                      Samsonite Japan Co., Ltd.   Keihan Moriguchi                   8-3, Kawaharacho 4F                Moriguchi-shi                   Osaka        570-8558      Japan
JP075                      Samsonite Japan Co., Ltd.   Keio Shinjuku                      1-1-4, Nishishinjuku               Shinjuku-ku                     Tokyo        160-8321      Japan
                           Samsonite Japan Co., Ltd.   Keio Shinjuku Lipault              1-1-4, Nishishinjuku               Shinjuku-ku                     Tokyo        160-8321      Japan
JP076                      Samsonite Japan Co., Ltd.   Marui City Yokohama                2-19-12, Takashima                 Nishi-ku, Yokohama-             Kanagawa     220-0011      Japan
                                                                                                                             shi
JP077                      Tumi                        Ginza Six                          6-10-1, Ginza                      Chuo-ku                         Tokyo        104-0061      Japan
JP078                      Samsonite Japan Co., Ltd.   Matsuzakaya Nagoya                 3-16-1, Sakae                      Naka-ku, Nagoya-shi             Aichi        460-8430      Japan

                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya Nagoya         3-16-1, Sakae                      Naka-ku, Nagoya-shi             Aichi        460-8430      Japan
                                                       Biz
                           Tumi                        Matsuzakaya Nagoya                 3-16-1, Sakae North 1F             Naka-ku, Nagoya-shi             Aichi        460-8430      Japan
                                                                                                                                                                                                                                                                                                        UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 111 of 173 Trans ID: LCV2021133181




JP079                      Samsonite Japan Co., Ltd.   Matsuzakaya Shizuoka               10-2, Miyukicho                    Aoi-ku, Shizuoka-shi            Shizuoka     420-0857      Japan

JP080                      Samsonite Japan Co., Ltd.   Matsuzakaya Toyoda                 6-85-1, Nishimachi                 Toyota-shi                      Aichi        471-8560      Japan
                                                                                                                                                                                                                         Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 134 of 239 PageID: 141




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Location No.   Index No.   Org Unit                    Name                             Street                          City                  County   State/Prov   Postal Code   Country

JP081                      Samsonite Japan Co., Ltd.   Matsuzakaya Ueno                 3-29-5, Ueno                    Taito-ku                       Tokyo        110-0005      Japan
                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya Ueno Biz     3-29-5, Ueno                    Taito-ku                       Tokyo        110-0005      Japan

JP082                      Samsonite Japan Co., Ltd.   Mitsukoshi Marui Imai Sapporo    2-11, Minami 1 Jonishi          Chuo-ku, Sapporo-              Hokkaido     060-0061      Japan
                                                       Honten Travel                                                    shi
                           Samsonite Japan Co., Ltd.   Mitsukoshi Marui Imai Sapporo    2-11, Minami 1 Jonishi          Chuo-ku, Sapporo-              Hokkaido     060-0061      Japan
                                                       Honten Biz                                                       shi
JP083                      Samsonite Japan Co., Ltd.   Meitetsu Honten                  1-2-1, Meieki                   Nakamura-ku,                   Aichi        450-8505      Japan
                                                                                                                        Nagoya-shi
                           Tumi                        Meitetsu Nagoya                  1-2-1, Meieki                   Nakamura-ku,                   Aichi        450-8505      Japan
                                                                                                                        Nagoya-shi
JP085                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Ginza       4-6-16, Ginza                      Chuo-ku                        Tokyo        104-8212      Japan
JP087                      Samsonite Japan Co., Ltd.   Mitsukoshi Matsuyama          3-1-1, Ichibancho                  Matsuyama-shi                  Ehime        790-8532      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Matsuyama Hartmann 3-1-1, Ichibancho                  Matsuyama-shi                  Ehime        790-8532      Japan

                           Tumi                        Mitsukoshi Matsuyama             3-1-1, Ichibancho               Matsuyama-shi                  Ehime        790-8532      Japan
JP088                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Nishobashi     1-4-1, Nihonbashimuromachi      Chuo-ku                        Tokyo        103-8001      Japan
                                                       Honten Biz
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Nishobashi     1-4-1, Nihonbashimuromachi      Chuo-ku                        Tokyo        103-8001      Japan
                                                       Hartmann
                           Tumi                        Mitsukoshi Nihonbashi            1-4-1, Nihonbashimuromachi      Chuo-ku                        Tokyo        103-8001      Japan
JP089                      Samsonite Japan Co., Ltd.   Mitsukoshi Marui Sapporo         3-8, Minami 1 Jonishi           Chuo-ku, Sapporo-              Hokkaido     060-0061      Japan
                                                                                                                        shi
                           Samsonite Japan Co., Ltd.   Mitsukoshi Sapporo Hartmann      3-8, Minami 1 Jonishi           Chuo-ku, Sapporo-              Hokkaido     060-0061      Japan
                                                                                                                        shi
JP090                      Samsonite Japan Co., Ltd.   Mitsukoshi Sendai                4-11-1, Ichibancho              Aoba-ku, Sendai-shi            Miyagi       980-8543      Japan

                           Samsonite Japan Co., Ltd.   Mitsukoshi Sendai Hartmann       4-11-1, Ichibancho              Aoba-ku, Sendai-shi            Miyagi       980-8543      Japan

JP091                      Samsonite Japan Co., Ltd.   Mitsukoshi Takamatsu          7-1, Uchimachi                     Takamatsu-shi                  Kagawa       760-8639      Japan
                           Samsonite Japan Co., Ltd.   Takamatsu Mitsukoshi Hartmann 7-1 Uchimachi                      Takamatsu-shi                  Kagawa       760-8639      Japan

JP092                      Tumi                        Odakyu Shinjyuku                 1-1-3 Nishi-Shinjyuku           Shinjuku-ku                    Tokyo        160-8001      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Shinjuku                  1-1-3, Nishishinjuku            Shinjuku-ku                    Tokyo        160-8001      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Shinjuku Hartmann         1-1-3, Nishishinjuku            Shinjuku-ku                    Tokyo        160-8001      Japan
JP093                      Samsonite Japan Co., Ltd.   Odakyu Shinjuku Halc             1-5-1, Nishishinjuku            Shinjuku-ku                    Tokyo        160-0023      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Shinjuku Halc Gregory     1-5-1, Nishishinjuku            Shinjuku-ku                    Tokyo        160-0023      Japan
JP094                      Samsonite Japan Co., Ltd.   Seibu Akita                      2-6-1, Nakadori                 Akita-shi                      Akita        010-8505      Japan
                           Samsonite Japan Co., Ltd.   Seibu Akita Men's Bag            2-6-1, Nakadori                 Akita-shi                      Akita        010-8505      Japan
JP095                      Samsonite Japan Co., Ltd.   Seibu Shibuya                    21-1, Udagawacho                Shibuya-ku                     Tokyo        150-8330      Japan
                           Samsonite Japan Co., Ltd.   Seibu Shibuya Biz                21-1, Udagawacho                Shibuya-ku                     Tokyo        150-8330      Japan
                           Tumi                        Seibu Shibuya                    21-1, Udagawacho                Shibuya-ku                     Tokyo        150-8330      Japan
JP096                      Samsonite Japan Co., Ltd.   Sogo Hiroshima                   6-27, Motomachi                 Naka-ku, Hiroshima-            Hiroshima    730-8501      Japan
                                                                                                                        shi
                           Tumi                        Sogo Hiroshima                   6-27, Motomachi 6F              Naka-ku, Hiroshima-            Hiroshima    730-8501      Japan
                                                                                                                        shi
JP097                      Samsonite Japan Co., Ltd.   Takashimaya Yokohama             1-6-31, Nanko                   Nishi-ku, Yokohama-            Kanagawa     220-8601      Japan
                                                                                                                        shi
                           Samsonite Japan Co., Ltd.   Takashimaya Yokohama             1-6-31, Nanko                   Nishi-ku, Yokohama-            Kanagawa     220-8601      Japan
                                                       Hartmann                                                         shi
                           Tumi                        Takashimaya Yokohama             1-6-31, Minamisaiwai 6F         Nishi-ku, Yokohama-            Kanagawa     220-8601      Japan
                                                                                                                        shi
                           Samsonite Japan Co., Ltd.   Takashimaya Yokohama             1-6-31, Nanko                   Nishi-ku, Yokohama-            Kanagawa     220-8601      Japan
                                                                                                                        shi
                                                                                                                                                                                                                                                                                                  UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 112 of 173 Trans ID: LCV2021133181
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JP098                      Samsonite Japan Co., Ltd.   JR Nagoya Takashimaya            1-1-4, Meieki                      Nakamura-ku,                   Aichi        450-6001      Japan
                                                                                                                           Nagoya-shi
                           Tumi                        JR Tokai Takashimaya             1-1-4, Meieki 8F                   Nakamura-ku,                   Aichi        450-6001      Japan
                                                                                                                           Nagoya-shi
JP099                      Samsonite Japan Co., Ltd.   JR Osaka Takashimaya             5-1-5, Nanba                       Chuo-ku, Osaka-shi             Osaka        542-8510      Japan
JP100                      Samsonite Japan Co., Ltd.   Tobu Ikebukuro                   1-1-25, Nishiikebukuro             Toshima-ku                     Tokyo        171-8512      Japan
                           Samsonite Japan Co., Ltd.   Tobu Ikebukuro                   1-1-25, Nishiikebukuro             Toshima-ku                     Tokyo        171-8512      Japan
                           Tumi                        Tobu Ikebukuro                   1-1-25, Nishiikebukuro             Toshima-ku                     Tokyo        171-8512      Japan
JP101                      Samsonite Japan Co., Ltd.   Tokyu Honten                     2-24-1, Dogenzaka                  Shibuya-ku                     Tokyo        150-8019      Japan
                           Samsonite Japan Co., Ltd.   Tokyu Shibuya Honten             2-24-1, Dogenzaka                  Shibuya-ku                     Tokyo        150-8019      Japan
JP102                      Samsonite Japan Co., Ltd.   Tokyu Kichijoji                  2-3-1, Kichijoji Honcho            Musashino-shi                  Tokyo        180-0004      Japan
                           Tumi                        Tokyu Kichijoji                  2-3-1, Kichijoji Honcho            Musashino-shi                  Tokyo        180-0004      Japan
JP103                      Samsonite Japan Co., Ltd.   Tokyu Toyoko                     2-24-1, Shibuya                    Shibuya-ku                     Tokyo        150-8319      Japan
JP105                      Samsonite Japan Co., Ltd.   Tokyo Yurakucho                  2-10-1, Yurakucho                  Chiyoda-ku                     Tokyo        100-0006      Japan
JP107                      Samsonite Japan Co., Ltd.   Aeon Kashihara                   7-20-1, Magarikawacho              Kashihara-shi                  Nara         634-0837      Japan
JP108                      Samsonite Japan Co., Ltd.   Hankyu Ingus                     1-27, Chayamachi                   Kita-ku, Osaka-shi             Osaka        530-0013      Japan
JP109                      Samsonite Japan Co., Ltd.   Nagoya Mitsukoshi Sakae Travel   3-5-1, Sakae                       Naka-ku, Nagoya-shi            Aichi        460-0008      Japan

                           Samsonite Japan Co., Ltd.   Nagoya Mitsukoshi Sakae          3-5-1, Sakae                       Naka-ku, Nagoya-shi            Aichi        460-0008      Japan
                                                       Hartmann
                           Samsonite Japan Co., Ltd.   Nagoya Mitukoshi Sakai Biz       3-5-1, Sakae                       Naka-ku, Nagoya-shi            Aichi        460-0008      Japan

JP110                      Samsonite Japan Co., Ltd.   Takashimaya Kyoto                52, Shincho Nishiirumachou         Shimogyo-ku, Kyoto-            Kyoto        600-8520      Japan
                                                                                                                           shi
JP111                      Samsonite Japan Co., Ltd.   Tokyu Tamaplaza                  1-7, Utsukushigaoka                Aoba-ku, Yokohama-             Kanagawa     225-0002      Japan
                                                                                                                           shi
JP116                      Samsonite Japan Co., Ltd.   Black Label Osaka                3-1, Ofukacho Grand Front          Kita-ku, Osaka-shi             Osaka        530-0011      Japan
                                                                                        Osaka Shop & Restaurant North

JP117                      Samsonite Japan Co., Ltd.   Shisui Premium Outlet            689, Iizumi                        Shisui-machi, Inba-            Chiba        285-0912      Japan
                                                                                                                           gun
JP118                      Samsonite Japan Co., Ltd.   Mitsui Outlet Park Shiga Ryuo    1178-694, Kuzushi Aza              Ryuo-cho, Gamou-               Shiga        520-2551      Japan
                                                                                        Sunayama                           gun
                           Tumi                        Mitsui Outlet Park Shiga Ryuo    1178-694, Kuzushi Aza              Ryuo-cho, Gamou-               Shiga        520-2551      Japan
                                                                                        Sunayama                           gun
JP119                      Samsonite Japan Co., Ltd.   Aeon Itami                       1-1-1, Fujinoki                    Itami-shi                      Hyogo        664-0847      Japan
JP120                      Samsonite Japan Co., Ltd.   Aeon Hiroshimafuchu              2-1-1, Osu                         Fuchu-cho, Aki-gun             Hiroshima    735-8588      Japan

JP121                      Samsonite Japan Co., Ltd.   Aeon Itabashi                    2-6-1, Tokumaru                    Itabashi-ku                    Tokyo        175-0083      Japan
JP122                      Samsonite Japan Co., Ltd.   Nagoya Mitsukoshi Hoshigaoka     14-14, Hoshigaoka Motomachi        Chikusa-ku, Nagoya-            Aichi        464-8661      Japan
                                                                                                                           shi
JP123                      Samsonite Japan Co., Ltd.   Marui Imai Hakodate              32-15, Honcho                      Hakodate-shi                   Hokkaido     040-0011      Japan
JP124                      Samsonite Japan Co., Ltd.   Aeon Higashi Kurume              5-17-62, Minamisawa                Higashikurume-shi              Tokyo        203-0023      Japan
JP125                      Samsonite Japan Co., Ltd.   Aeon Kasai                       3-9-19, Nishikasai                 Edogawa-ku                     Tokyo        134-0088      Japan
JP126                      Samsonite Japan Co., Ltd.   Aeon Osaka Dome City             3-13-1, Chiyozaki                  Nishi-ku, Osaka-shi            Osaka        550-0023      Japan
JP127                      Samsonite Japan Co., Ltd.   Tokyo Haneda Kuko                2-6-5, Hanedakuko                  Ota-ku                         Tokyo        144-0041      Japan
JP128                      Samsonite Japan Co., Ltd.   Tokiha                           2-1-4, Funaimachi                  Oita-shi                       Oita         870-8688      Japan
JP129                      Samsonite Japan Co., Ltd.   Aeon Morioka Minami              7-1-1, Motomiya                    Morioka-shi                    Iwate        020-0866      Japan
JP130                      Samsonite Japan Co., Ltd.   Kanazawa Meitetsu Marugoshi      15-1, Musashimachi                 Kanazawa-shi                   Ishikawa     920-8583      Japan
JP131                      Samsonite Japan Co., Ltd.   Takashimaya Konandai             3-1-3, Konandai                    Konan-ku,                      Kanagawa     234-8501      Japan
                                                                                                                           Yokohama-shi
                           Samsonite Japan Co., Ltd.   Takashimaya Konandai Lipault     3-1-3, Konandai                    Konan-ku,                      Kanagawa     234-8501      Japan
                                                                                                                           Yokohama-shi
JP133                      Samsonite Japan Co., Ltd.   Kintetsu Abeno Harukas           1-1-43, Abenosuji                  Abeno-ku, Osaka-shi            Osaka        545-8545      Japan
                                                                                                                                                                                                                                                                                                     UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 113 of 173 Trans ID: LCV2021133181




                           Samsonite Japan Co., Ltd.   Kintetsu Abeno Harukas           1-1-43, Abenosuji                  Abeno-ku, Osaka-shi            Osaka        545-8545      Japan
                                                       Hartmann
                           Tumi                        Abeno Harukas Kintetsu           1-1-43, Abenosuji Tower            Abeno-ku, Osaka-shi            Osaka        545-8545      Japan
                                                                                        Building 7F
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JP134                      Samsonite Japan Co., Ltd.   Marui Nanba                     3-8-9, Nanba                      Chuo-ku, Osaka-shi             Osaka        542-0076      Japan
                           Samsonite Japan Co., Ltd.   Marui Nanba Men's Bag           3-8-9, Nanba                      Chuo-ku, Osaka-shi             Osaka        542-0076      Japan
JP135                      Samsonite Japan Co., Ltd.   Takashimaya Gifu                2-25, Hinodemachi                 Gifu-shi                       Gifu         500-8876      Japan
JP136                      Samsonite Japan Co., Ltd.   Aeon Toin                       510-1, Nagafuke Tsukida           Toin-cho, Inabe-gun            Mie          511-0255      Japan

JP138                      Samsonite Japan Co., Ltd.   Daimaru Shimonoseki             4-4-10, Takezakicho               Shimonoseki-shi                Yamaguchi    750-8503      Japan
JP139                      Samsonite Japan Co., Ltd.   Aeon Makuhari Shintoshin        1-13, Toyosuna                    Mihama-ku, Chiba-              Chiba        261-0024      Japan
                                                                                                                         shi
JP140                      Samsonite Japan Co., Ltd.   Aeon Naha                       5-10-2, Kanagusuku                Naha-shi                       Okinawa      901-0155      Japan
JP141                      Samsonite Japan Co., Ltd.   Aeon Haebaru                    264, Miyahira                     Haebaru-cho,                   Okinawa      901-1104      Japan
                                                                                                                         Shimajiri-gun
JP142                      Samsonite Japan Co., Ltd.   Takashimaya Okayama             6-40, Honmachi                    Kita-ku, Okayama-              Okayama      700-8520      Japan
                                                                                                                         shi
                           Samsonite Japan Co., Ltd.   Takashimaya Okayama Men's Bag 6-40, Honmachi                      Kita-ku, Okayama-              Okayama      700-8520      Japan
                                                                                                                         shi
JP143                      Samsonite Japan Co., Ltd.   Takashimaya Shinjuku            5-24-2, Sendagaya                 Shibuya-ku                     Tokyo        151-0051      Japan
                           Tumi                        Takashimaya Shinjuku            5-24-2, Sendagaya 6F              Shibuya-ku                     Tokyo        151-0051      Japan
JP144                      Samsonite Japan Co., Ltd.   Aeon Wakayama                   573, Naka Kusutani                Wakayama-shi                   Wakayama     640-8451      Japan
JP145                      Samsonite Japan Co., Ltd.   Keio Seiseki Sakuragaoka        1-10-1, Sekido                    Tama-shi                       Tokyo        206-0011      Japan
JP146                      Samsonite Japan Co., Ltd.   Sanyo                           1, Minamimachi                    Himeji-shi                     Hyogo        670-0912      Japan
JP147                      Samsonite Japan Co., Ltd.   Aeon Tendo                      Haga                              Tendo-shi                      Yamagata     994-0067      Japan
JP150                      Samsonite Japan Co., Ltd.   Aeon Odaka                      1-1, Odakacho Okuhirako           Midori-ku, Nagoya-             Aichi        459-8001      Japan
                                                                                                                         shi
JP151                      Samsonite Japan Co., Ltd.   Aeon Marine Pia                 3-13-1, Takasu                    Mihama-ku, Chiba-              Chiba        261-8513      Japan
                                                                                                                         shi
JP152                      Samsonite Japan Co., Ltd.   Sapporokitahiroshima Outlet SBL 2-12-2, Omagarisaiwaicho          Kitahiroshima-shi              Hokkaido     061-1278      Japan
                                                                                       Mitsui Outlet Sapporo
                                                                                       Kitahiroshima Maple Mall 2F
                                                                                       #3511
                           Samsonite Japan Co., Ltd.   Sapporokitahiroshima Outlet     2-12-2, Omagarisaiwaicho          Kitahiroshima-shi              Hokkaido     061-1278      Japan
                                                       Gregory                         Mitsui Outlet Sapporo
                                                                                       Kitahiroshima Maple Mall 2F
                                                                                       #3330
JP153                      Samsonite Japan Co., Ltd.   Laketown Outlet AT              4-50, Azumacho Laketown           Koshigaya-shi                  Saitama      343-0826      Japan
                                                                                       Outlet 1F
                           Samsonite Japan Co., Ltd.   Laketown Outlet                 4-50, Azumacho Laketown           Koshigaya-shi                  Saitama      343-0826      Japan
                                                                                       Outlet 1F
JP154                      Samsonite Japan Co., Ltd.   Takashimaya Takasaki            45, Asahicho                      Takasaki-shi                   Gunma        370-8565      Japan
JP155                      Samsonite Japan Co., Ltd.   Takashimaya Sakai               59, Mikunigaokamiyukidori         Sakai-ku, Sakai-shi            Osaka        590-0028      Japan
JP156                      Samsonite Japan Co., Ltd.   Aeon Rakunan                    31, Kisshoin Oikecho              Minami-ku, Kyoto-              Kyoto        601-8327      Japan
                                                                                                                         shi
JP157                      Samsonite Japan Co., Ltd.   Aeon Matsue                     151, Higashiasahimachi            Matsue-shi                     Shimane      690-0001      Japan
JP158                      Samsonite Japan Co., Ltd.   Aeon Nagoya Chaya               2-11, Nishichaya                  Minato-ku, Nagoya-             Aichi        455-0858      Japan
                                                                                                                         shi
JP159                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Haneda T1     3-3-2, Hanedakuko                 Ota-ku                         Tokyo        144-0041      Japan
JP160                      Samsonite Japan Co., Ltd.   Sogo Yokohama                   2-18-1, Takashima                 Nishi-ku, Yokohama-            Kanagawa     220-8510      Japan
                                                                                                                         shi
                           Tumi                        Sogo Yokohama                   2-18-1, Takashima                 Nishi-ku, Yokohama-            Kanagawa     220-8510      Japan
                                                                                                                         shi
JP164                      Samsonite Japan Co., Ltd.   Aeon Kagawa Ayagawa             822-1, Kayahara                   Ayagawa-cho,                   Kagawa       761-2304      Japan
                                                                                                                         Ayauta-gun
JP165                      Samsonite Japan Co., Ltd.   Aeon Toyoshina                  4272-10, Toyoshina                Azumino-shi                    Nagano       399-8205      Japan
JP166          JP8223.00   Samsonite Japan Co., Ltd.   SBL Ginza, Shinbashi Kaikan     1-8-19, Ginza                     Chuo-ku                        Tokyo        104-0061      Japan
                           Tumi                        Ginza 2                         1-8-19, Ginza Kirarito            Chuo-ku                        Tokyo        104-0061      Japan
                                                                                                                                                                                                                                                                                                   UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 114 of 173 Trans ID: LCV2021133181




JP167                      Samsonite Japan Co., Ltd.   Tsuruya Biz                     6-1, Tetorihoncho                 Chuo-ku, Kumamoto-             Kumamoto     860-8586      Japan
                                                                                                                         shi
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JP168                      Samsonite Japan Co., Ltd.   Odakyu Fujisawa                 21-1, Minamifujisawa            Fujisawa-shi                    Kanagawa     251-8580      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Fujisawa Lipault         21-1, Minamifujisawa            Fujisawa-shi                    Kanagawa     251-8580      Japan
JP169                      Samsonite Japan Co., Ltd.   Tobu Funabashi                  7-1-1, Honcho                   Funabashi-shi                   Chiba        273-8567      Japan
JP170                      Samsonite Japan Co., Ltd.   Aeon Funabashi                  1-1-8, Yamate                   Funabashi-shi                   Chiba        273-0045      Japan
JP171                      Samsonite Japan Co., Ltd.   Aeon Nagoya Dome                4-102-3, Yada Minami            Higashi-ku, Nagoya-             Aichi        461-0048      Japan
                                                                                                                       shi
JP172                      Samsonite Japan Co., Ltd.   Aeon Himeji                     520, Shikama-ku Hosoe           Himeji-shi                      Hyogo        672-8064      Japan
JP173                      Samsonite Japan Co., Ltd.   Aeon Hinode                     237-3, Hirai Ooaza              Hinode-machi,                   Tokyo        190-0182      Japan
                                                                                                                       Nishitama-gun
JP174                      Samsonite Japan Co., Ltd.   Keihan Kuzuha                   15-1, Kuzuha Hanazonocho        Hirakata-shi                    Osaka        573-1121      Japan
JP175                      Samsonite Japan Co., Ltd.   Aeon Ibaraki                    8-30, Matsugamotocho            Ibaraki-shi                     Osaka        567-0033      Japan
JP176                      Samsonite Japan Co., Ltd.   Aeon Ishinomaki                 4-104, Akanedaira               Ishinomaki-shi                  Miyagi       986-0866      Japan
JP178                      Samsonite Japan Co., Ltd.   Aeon Kahoku                     25, Ta, Uchihisumi              Kahoku-shi                      Ishikawa     929-1198      Japan
JP179                      Samsonite Japan Co., Ltd.   Aeon Kakamigahara               3-8, Naka Kayabacho             Kakamigahara-shi                Gifu         504-0943      Japan
JP180                      Samsonite Japan Co., Ltd.   Aeon Kisarazu                   1-4, Tsukiji                    Kisarazu-shi                    Chiba        292-0835      Japan
JP182                      Samsonite Japan Co., Ltd.   Aeon Okayama                    1-2-1, Shimoishii               Kita-ku, Okayama-               Okayama      700-0907      Japan
                                                                                                                       shi
JP183                      Samsonite Japan Co., Ltd.   Aeon Rycom                      Awase Tochikukaku Seiri         Kitanakagusuku-son,             Okinawa      901-2300      Japan
                                                                                       Jigyonai                        Nakagami-gun
JP184                      Samsonite Japan Co., Ltd.   Aeon Kochi                      1-4-8, Hadaminamimachi          Kochi-shi                       Kochi        780-0026      Japan
JP185                      Samsonite Japan Co., Ltd.   Okajima                         1-21-15, Marunouchi             Kofu-shi                        Yamanashi    400-8660      Japan
JP186                      Samsonite Japan Co., Ltd.   Keikyu Kamiooka                 1-6-1, Kamiooka Nishi           Konan-ku,                       Kanagawa     233-8556      Japan
                                                                                                                       Yokohama-shi
                           Samsonite Japan Co., Ltd.   Keikyu Kamiooka Lipault         1-6-1, Kamiooka Nishi           Konan-ku,                       Kanagawa     233-8556      Japan
                                                                                                                       Yokohama-shi
JP187                      Samsonite Japan Co., Ltd.   Aeon Laketown                   3-1-1, Laketown                 Koshigaya-shi                   Saitama      343-0828      Japan
JP188                      Samsonite Japan Co., Ltd.   Aeon Kurashiki                  1, Mizue                        Kurashiki-shi                   Okayama      710-8560      Japan
JP189                      Samsonite Japan Co., Ltd.   Aeon Kusatsu                    300, Shinhamacho                Kusatsu-shi                     Shiga        525-0067      Japan
JP190                      Samsonite Japan Co., Ltd.   Aeon Kamatori                   3-16-1, Oyumino                 Midori-ku, Chiba-shi            Chiba        266-0031      Japan

JP191                      Samsonite Japan Co., Ltd.   Makuhari Outlet                 2-6-1, Hibino                   Mihama-ku, Chiba-               Chiba        261-0021      Japan
                                                                                                                       shi
JP192                      Samsonite Japan Co., Ltd.   Aeon Kyoto Katsuragawa          376-1, Kuze Takadacho           Minami-ku, Kyoto-               Kyoto        601-8211      Japan
                                                                                                                       shi
JP193                      Samsonite Japan Co., Ltd.   Entetsu                         320-2, Sunayamacho              Naka-ku,                        Shizuoka     430-8588      Japan
                                                                                                                       Hamamatsu-shi
                           Tumi                        Entetsu Hamamatsu               320-2, Sunayamacho              Naka-ku,                        Shizuoka     430-8588      Japan
                                                                                                                       Hamamatsu-shi
                           Samsonite Japan Co., Ltd.   Entetsu SBL                     320-2, Sunayamacho              Naka-ku,                        Shizuoka     430-8588      Japan
                                                                                                                       Hamamatsu-shi
JP194                      Samsonite Japan Co., Ltd.   Aeon Tsudanuma                  1-23-1, Tsudanuma               Narashino-shi                   Chiba        275-0016      Japan
JP195                      Samsonite Japan Co., Ltd.   Aeon Natori                     5-3-1, Morisekinoshita          Natori-shi                      Miyagi       981-1294      Japan
JP196                      Samsonite Japan Co., Ltd.   Marinoa City Fukuoka            2-12-30, Odo                    Nishi-ku, Fukuoka-              Fukuoka      819-0001      Japan
                                                                                                                       shi
JP197                      Samsonite Japan Co., Ltd.   Aeon Okazaki Minami             1-1, Barayama, Tosakicho        Okazaki-shi                     Aichi        444-0840      Japan
JP198                      Samsonite Japan Co., Ltd.   Hokuriku Oyabe Outlet           1-1, Washiba, Nishinakano       Oyabe-shi                       Toyama       932-0035      Japan
JP199                      Samsonite Japan Co., Ltd.   Aeon Rinku Sennan               3-12, Rinkuuminamihama          Sennan-shi                      Osaka        590-0535      Japan
JP200          JP7735.00   Samsonite Japan Co., Ltd.   New Head Office                 3-16-3, Higashi                 Shibuya-ku                      Tokyo        150-0011      Japan
                           Tumi                        Samsonite Black Label MOP       3-16-3, Higashi 5F              Shibuya-ku                      Tokyo        150-0011      Japan
                                                       Kisarazu
JP201                      Samsonite Japan Co., Ltd.   Marui Shinjuku Honkan           3-30-13, Shinjuku               Shinjuku-ku                     Tokyo        160-0022      Japan
                           Samsonite Japan Co., Ltd.   Marui Shinjuku Honkan Gregory   3-30-13, Shinjuku               Shinjuku-ku                     Tokyo        160-0022      Japan
                                                                                                                                                                                                                                                                                                  UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 115 of 173 Trans ID: LCV2021133181
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JP202                      Tumi                        Outlet Shisui                   2-4-1, Iizumi                     Shisui-machi, Inba-              Chiba        285-0912      Japan
                                                                                                                         gun
                           Samsonite Japan Co., Ltd.   Shisui Outlet Hartmann          2-4-1, Iizumi                     Shisui-machi, Inba-              Chiba        285-0912      Japan
                                                                                                                         gun
JP203                      Samsonite Japan Co., Ltd.   Marui Mizonokuchi               1-4-1, Mizonokuchi                Takatsu-ku,                      Kanagawa     213-0001      Japan
                                                                                                                         Kawasaki-shi
JP204                      Samsonite Japan Co., Ltd.   Aeon Tonami                     31-1, Tochikukaku Seiri Jigyo,    Tonami-shi                       Toyama       939-1343      Japan
                                                                                       Nakagami
JP205                      Samsonite Japan Co., Ltd.   Aeon Yokkaichi Kita             2-40, Tomisuharacho               Yokkaichi-shi                    Mie          510-8016      Japan
JP206                      Samsonite Japan Co., Ltd.   Takashimaya Yonago              1-30, Kakubancho                  Yonago-shi                       Tottori      683-0812      Japan
JP207                      Samsonite Japan Co., Ltd.   Parco Nagoya                    3-29-1, Sakae                     Naka-ku, Nagoya-shi              Aichi        460-0008      Japan

JP208                      Samsonite Japan Co., Ltd.   Seibu Ikebukuro                 1-28-1, Minamiikebukuro           Toshima-ku                       Tokyo        171-0022      Japan
JP209                      Tumi                        Matsuya Ginza                   3-6-1, Ginza 5F                   Chuo-ku                          Tokyo        104-8130      Japan
                           Samsonite Japan Co., Ltd.   Matsuya Ginza Biz               3-6-1, Ginza                      Chuo-ku                          Tokyo        104-8130      Japan
JP210                      Samsonite Japan Co., Ltd.   Marui Omiya                     2-3, Sakuragicho                  Omiya-ku, Saitama-               Saitama      330-9501      Japan
                                                                                                                         shi
JP211                      Samsonite Japan Co., Ltd.   Marui Kyoto                     68, Shincho Higashiirumacho       Shimogyo-ku, Kyoto-              Kyoto        600-8567      Japan
                                                                                       Kawaracho Shijodori               shi
                           Samsonite Japan Co., Ltd.   Marui Kyoto Gregory             68, Shincho Shijodori             Shimogyo-ku, Kyoto-              Kyoto        600-8567      Japan
                                                                                       Kawaramachicho Nishiiru           shi
JP213                      Samsonite Japan Co., Ltd.   Aeon Sagamihara                 2-10-1, Furufuchi                 Minami-ku,                       Kanagawa     252-0344      Japan
                                                                                                                         Sagamihara-shi
JP214                      Samsonite Japan Co., Ltd.   Iwataya Mitsukoshi Fukuoka      2-1-1, Tenjin                     Chuo-ku, Fukuoka-                Fukuoka      810-8544      Japan
                                                                                                                         shi
                           Tumi                        Mitsukoshi Fukuoka              2-1-1, Tenjin                     Chuo-ku, Fukuoka-                Fukuoka      810-8544      Japan
                                                                                                                         shi
JP215                      Samsonite Japan Co., Ltd.   Aeon Iruma                      462-1, Fujisawa                   Iruma-shi                        Saitama      358-0013      Japan
JP216                      Samsonite Japan Co., Ltd.   Aeon Mall Kobe Kita             8-1-1, Kouzudai                   Kita-ku, Kobe-shi                Hyogo        651-1515      Japan
JP217                      Samsonite Japan Co., Ltd.   Sogo Kobe                       8-1-8, Onoedori                   Chuo-ku, Kobe-shi                Hyogo        651-8511      Japan
JP218                      Samsonite Japan Co., Ltd.   Marui Hakata                    9-1, Hakataekichuogai             Hakata-ku, Fukuoka-              Fukuoka      812-0012      Japan
                                                                                                                         shi
JP219                      Samsonite Japan Co., Ltd.   Aeon Koriyama Festa             1, Hiwadamachi                    Koriyama-shi                     Fukushima    963-0534      Japan
JP220                      Samsonite Japan Co., Ltd.   Aeon Okyozuka                   2-91, Okyozuka                    Nonoichi-shi                     Ishikawa     921-8801      Japan
JP221                      Samsonite Japan Co., Ltd.   Aeon Kofushowa                  Showacho                          Showa-cho,                       Yamanashi    409-3852      Japan
                                                                                                                         Nakakoma-gun
JP222                      Samsonite Japan Co., Ltd.   Aeon Mall Kitatoda              1-3-1, Bijogihigashi              Toda-shi                         Saitama      335-0032      Japan
JP223                      Samsonite Japan Co., Ltd.   Aeon Mall Higashiura            6-2, Ogawa                        Higashiura-cho,                  Aichi        470-2102      Japan
                                                                                                                         Chita-gun
JP224                      Samsonite Japan Co., Ltd.   Aeon Wonder City                40, Futakatacho                   Nishi-ku, Nagoya-shi             Aichi        452-0817      Japan

JP225                      Samsonite Japan Co., Ltd.   Aeon Mall Sakudaira             11-10, Sakudairaeki Minami        Saku-shi                         Nagano       385-0029      Japan
JP226                      Samsonite Japan Co., Ltd.   Kintetsu Nara                   2-4-1, Saidaiji Higashimachi      Nara-shi                         Nara         631-8511      Japan
                           Samsonite Japan Co., Ltd.   Kintetsu Nara Shinshi Kaban     2-4-1, Saidaiji Higashimachi      Nara-shi                         Nara         631-8511      Japan
JP227                      Samsonite Japan Co., Ltd.   Aeon Shijonawate                4-3-2, Suna                       Shijonawate-shi                  Osaka        575-0001      Japan
JP228                      Samsonite Japan Co., Ltd.   Aeon Niigata Aoyama             2-5-1, Aoyama                     Nishi-ku, Niigata-shi            Niigata      950-2002      Japan

JP229                      Samsonite Japan Co., Ltd.   Aeon Narita                     24, Wing Tsuchiya                 Narita-shi                       Chiba        286-0039      Japan
JP230                      Samsonite Japan Co., Ltd.   Aeon Mitouchihara               2-1, Uchihara                     Mito-shi                         Ibaraki      319-0317      Japan
JP231                      Samsonite Japan Co., Ltd.   Aeon Chiba Newtown              3-1-1, Chuo Kita                  Inzai-shi                        Chiba        270-1385      Japan
JP232                      Samsonite Japan Co., Ltd.   Lalaport Iwata                  1200, Takamigaoka                 Iwata-shi                        Shizuoka     438-0801      Japan
JP233                      Samsonite Japan Co., Ltd.   Lalaport Shinmisato             3-1-1, Shinmisato Lala City       Misato-shi                       Saitama      341-0009      Japan
JP234                      Samsonite Japan Co., Ltd.   Aeon Himejiotsu                 2-5, Otsu-ku Otsu-cho             Himeji-shi                       Hyogo        671-1146      Japan
JP235                      Samsonite Japan Co., Ltd.   Aeon Minamimatsumoto            5-20, Futaba                      Matsumoto-shi                    Nagano       390-0833      Japan
                                                                                                                                                                                                                                                                                                     UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 116 of 173 Trans ID: LCV2021133181




JP236                      Samsonite Japan Co., Ltd.   Aeon Tokoname                   2-20-3, Rinkucho                  Tokoname-shi                     Aichi        479-0882      Japan
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JP237                      Samsonite Japan Co., Ltd.   Aeon Kumiyama                      156-1, Moriminamioouchi         Kumiyama-cho,                  Kyoto        613-0024      Japan
                                                                                                                          Kuse-gun
JP238                      Samsonite Japan Co., Ltd.   Odakyu Machida                     6-12-20, Haramachida            Machida-shi                    Tokyo        194-0013      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Machida Lipault             6-12-20, Haramachida            Machida-shi                    Tokyo        194-0013      Japan
JP239                      Samsonite Japan Co., Ltd.   Aeon Sakaiteppocho                 1, Teppocho                     Sakai-ku, Sakai-shi            Osaka        590-0905      Japan
JP240                      Samsonite Japan Co., Ltd.   Daimaru Kochi                      1-6-1, Obiyamachi               Kochi-shi                      Kochi        780-8566      Japan
JP241                      Samsonite Japan Co., Ltd.   Aeon Morioka                       4-7-1, Maegata                  Morioka-shi                    Iwate        020-0148      Japan
JP242                      Samsonite Japan Co., Ltd.   Aeon Gosyono                       1-1-1, Goshonojizoden           Akita-shi                      Akita        010-1413      Japan
JP243                      Samsonite Japan Co., Ltd.   Aeon Yamatotsuruma                 1-2-1, Shimotsuruma             Yamato-shi                     Kanagawa     242-0001      Japan
JP244                      Samsonite Japan Co., Ltd.   Aeon Ebina                         2-4-1, Chuo                     Ebina-shi                      Kanagawa     243-0432      Japan
JP245                      Samsonite Japan Co., Ltd.   Aeon Shinagawa Seaside             4-12-5, Higashishinagawa        Shinagawa-ku                   Tokyo        140-0002      Japan
JP246                      Samsonite Japan Co., Ltd.   Kisarazu Outlet Gregory            3-1-1, Kanedahigashi            Kisarazu-shi                   Chiba        292-0009      Japan
                           Samsonite Japan Co., Ltd.   Samsonite Black Label MOP          3-1-1, Kanedahigashi            Kisarazu-shi                   Chiba        292-0009      Japan
                                                       Kisarazu
JP247                      Samsonite Japan Co., Ltd.   Gregory Harajuku                   6-17-11, Jingumae               Shibuya-ku                     Tokyo        150-0001      Japan
JP248                      Samsonite Japan Co., Ltd.   Aeon Imabarishintoshi              1-1, Nigiwaihiroba              Imabari-shi                    Ehime        794-0068      Japan
JP249                      Samsonite Japan Co., Ltd.   Marui Machida                      6-1-6, Haramachida              Machida-shi                    Tokyo        194-0013      Japan
JP250                      Samsonite Japan Co., Ltd.   Aeon Chigasakichuo                 3-5-16, Chigasaki               Chigasaki-shi                  Kanagawa     253-0041      Japan
JP251                      Samsonite Japan Co., Ltd.   Aeon Kamagaya                      2-7-1, Shinkamagaya             Kamagaya-shi                   Chiba        273-0107      Japan
JP252                      Samsonite Japan Co., Ltd.   Aeon Town Yukarigaoka              6-12-3, Nishiyukarigaoka        Sakura-shi                     Chiba        285-0850      Japan
JP254                      Samsonite Japan Co., Ltd.   Aeon Kasaihojo                     308-1, Hojocho Honjo            Kasai-shi                      Hyogo        675-2312      Japan
JP255                      Samsonite Japan Co., Ltd.   Aeon Hiroshimagion                 3-2-1, Gion                     Asaminami-ku,                  Hiroshima    731-0196      Japan
                                                                                                                          Hiroshima-shi
JP256                      Samsonite Japan Co., Ltd.   Aeon Matsuyama                     1-13-5, Amayamamachi            Matsuyama-shi                  Ehime        790-0951      Japan
JP257                      Samsonite Japan Co., Ltd.   Aeon Ako                           55-3, Nakahiro                  Ako-shi                        Hyogo        678-0232      Japan
JP258                      Samsonite Japan Co., Ltd.   Aeon Fuseekimae                    1-8-37, Chodo                   Higashiosaka-shi               Osaka        577-0056      Japan
JP259                      Samsonite Japan Co., Ltd.   Aeon Fujinomiya                    1-8, Asamacho                   Fujinomiya-shi                 Shizuoka     418-0032      Japan
JP260                      Samsonite Japan Co., Ltd.   Aeon Takamatsuhigashi              3-8-5, Fukuokacho               Takamatsu-shi                  Kagawa       760-0066      Japan
JP261                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Salone Men's     3-3-1, Marunouchi               Chiyoda-ku                     Tokyo        100-0005      Japan

JP265                      Tumi                        Tumi Marunouchi Store              2-2-3, Marunouchi               Chiyoda-ku                     Tokyo        100-0005      Japan
JP266                      Tumi                        Tumi Omotesando Store              5-9-17, Jingumae                Shibuya-ku                     Tokyo        150-0001      Japan
JP267                      Tumi                        Tumi Nagoya Store                  3-15-3, Sakae                   Naka-ku, Nagoya-shi            Aichi        460-0008      Japan

JP268                      Tumi                        Tumi Minamisenba Store             13-10, Minamisenba 1F           Chuo-ku, Osaka-shi             Osaka        542-0081      Japan
JP270                      Tumi                        Tumi Osaka Hiltonplaza             2-2-2, Umeda B1F                Kita-ku, Osaka-shi             Osaka        530-0001      Japan
JP271                      Tumi                        Sano Premium Outlets               2058, Koenacho                  Sano-shi                       Tochigi      327-0822      Japan
JP272                      Tumi                        Temmaya Okayama                    2-1-1, Omotecho 4F              Kita-ku, Okayama-              Okayama      700-8625      Japan
                                                                                                                          shi
JP273          JP7736.00   Tumi                        Hashimoto Warehouse                4-7, Oyamacho 205, Logiport-    Midori-ku,                     Kanagawa     252-0146      Japan
                                                                                          Hashimoto 2F                    Sagamihara-shi
JP275                      Tumi                        Takashimaya Nihombashi             2-4-1, Nihonbashi 5F            Chuo-ku                        Tokyo        103-8265      Japan
JP276                      Tumi                        Takashimaya Tamagawa               3-17-1, Tamagawa 4F             Setagaya-ku                    Tokyo        158-8701      Japan
                           Samsonite Japan Co., Ltd.   Takashimaya Tamagawa               3-17-1, Tamagawa                Setagaya-ku                    Tokyo        158-8701      Japan
JP277                      Tumi                        Mitsui Outlet Park Jazz Dream      368, Urayasu Nagashimacho       Kuwana-shi                     Mie          511-1135      Japan
                                                       Nagashima
JP278                      Tumi                        Mitsui Outlet Park Iruma           3169-1, Miyadera                Iruma-shi                      Saitama      358-8515      Japan
JP279                      Tumi                        Koshigaya Laketown Outlet          4-1-1, Laketown                 Koshigaya-shi                  Saitama      343-0828      Japan
JP280                      Tumi                        Mitsui Outlet Park Makuhari        2-5, Hibino                     Mihama-ku, Chiba-              Chiba        261-0021      Japan
                                                       Outlet                                                             shi
JP281                      Tumi                        Mitsui Outlet Park Kisarazu        1-1-1, Kamedahigashi            Kisarazu-shi                   Chiba        292-0009      Japan
JP282                      Tumi                        Mitsui Outlet Park Hokuiku         972-1, Nishinakano              Oyabe-shi                      Toyama       932-8538      Japan
                                                       Oyabe
JP283                      Tumi                        Mitsui Outlet Park Kitahiroshima   3-7-6, Omagarisaiwaicho         Kitahiroshima-shi              Hokkaido     061-1278      Japan
                                                                                                                                                                                                                                                                                                    UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 117 of 173 Trans ID: LCV2021133181
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Location No.   Index No.   Org Unit                    Name                             Street                              City                    County   State/Prov   Postal Code   Country

JP285                      Samsonite Japan Co., Ltd.   Marui Yurakucho                  2-7-1, Yurakucho                    Chiyoda-ku                       Tokyo        100-0006      Japan
JP286                      Samsonite Japan Co., Ltd.   Marui City Shibuya               1-21-3, Jinnan                      Shibuya-ku                       Tokyo        150-0041      Japan
JP287                      Samsonite Japan Co., Ltd.   Marui City Ikebukuro             3-28-13, Nishiikebukuro             Toshima-ku                       Tokyo        171-0021      Japan
JP288                      Samsonite Japan Co., Ltd.   Marui Ueno                       6-15-1, Ueno                        Taito-ku                         Tokyo        110-8502      Japan
JP289                      Samsonite Japan Co., Ltd.   Marui Kokubunji                  3-20-3, Minamicho                   Kokubunji-shi                    Tokyo        185-8562      Japan
                           Samsonite Japan Co., Ltd.   Marui Kokubunji Shinshi Kaban    3-20-3 Minamimachi                  Kokubunji-shi                    Tokyo        185-8562      Japan

JP290                      Samsonite Japan Co., Ltd.   Marui Ebina                      1-6-1, Chuo                         Ebina-shi                        Kanagawa     243-0483      Japan
JP291                      Samsonite Japan Co., Ltd.   Marui Shiki                      5-26-1, Honcho                      Shiki-shi                        Saitama      353-0004      Japan
JP293                      Samsonite Japan Co., Ltd.   Marui Shizuoka                   6-10, Miyukicho                     Aoi-ku, Shizuoka-shi             Shizuoka     420-0857      Japan

JP294                      Samsonite Japan Co., Ltd.   Marui Kobe                       1-7-2, Sannomiyacho                 Chuo-ku, Kobe-shi                Hyogo        650-0021      Japan
JP297                      Samsonite Japan Co., Ltd.   Marui Men Shinjyuku              5-16-4, Shinjuku                    Shinjuku-ku                      Tokyo        160-0022      Japan
JP298                      Samsonite Japan Co., Ltd.   Marui Kinshicho                  3-9-10, Kotobashi                   Sumida-ku                        Tokyo        130-0022      Japan
JP299                      Samsonite Japan Co., Ltd.   Marui Kichijoji                  1-7-1, Kichijoji Minamicho          Musashino-shi                    Tokyo        180-0003      Japan
JP300                      Samsonite Japan Co., Ltd.   Aeon Shimoda                     40-1, Nakanotai                     Oirase-cho, Kamikita-            Aomori       039-2112      Japan
                                                                                                                            gun
JP301                      Samsonite Japan Co., Ltd.   Aeon Urawamizono                 5-50-1, Misono                      Midori-ku, Saitama-              Saitama      336-8760      Japan
                                                                                                                            shi
JP302                      Samsonite Japan Co., Ltd.   Sendaikou Outlet                 3-7-5, Nakano                       Miyagino-ku, Sendai-             Miyagi       983-0013      Japan
                                                                                                                            shi
                           Tumi                        Mitsui Outlet Park Sendaiko      3-7-2, Nakano                       Miyagino-ku, Sendai-             Miyagi       983-0013      Japan
                                                                                                                            shi
JP303                      Samsonite Japan Co., Ltd.   Lalaport Shonanhiratsuka         10-1, Amanuma                       Hiratsuka-shi                    Kanagawa     254-8510      Japan
                                                       Gregory
JP304                      Samsonite Japan Co., Ltd.   Ami Premium Outlet               4-1-1, Yoshiwara #1905              Ami-machi, Inashiki-             Ibaraki      300-1161      Japan
                                                                                                                            gun
JP305                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Hous Gregory   3-28-12, Meieki                     Nakamura-ku,                     Aichi        450-6490      Japan
                                                                                                                            Nagoya-shi
JP306                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Centrair       1-1, Sentorea                       Tokoname-shi                     Aichi        479-0881      Japan
JP307                      Samsonite Japan Co., Ltd.   Takashimaya Kashiwa              3-16, Suehirocho                    Kashiwa-shi                      Chiba        277-8666      Japan
                           Tumi                        Takashimaya Kashiwa              3-16, Suehirocho                    Kashiwa-shi                      Chiba        277-8666      Japan
JP308                      Samsonite Japan Co., Ltd.   Tobu Utsunomiya                  5-4, Miyazonocho                    Utsunomiya-shi                   Tochigi      320-8560      Japan
JP309                      Samsonite Japan Co., Ltd.   Aeon Nagakute                    5-10-11, Tochikukaku Seiri          Nagakute-shi                     Aichi        480-1100      Japan
                                                                                        Jigyochinai Nagakutecho
JP310                      Samsonite Japan Co., Ltd.   Sapporo Tokyu                    2, Kita 4 Jonishi                   Chuo-ku, Sapporo-                Hokkaido     060-0004      Japan
                                                                                                                            shi
                           Samsonite Japan Co., Ltd.   Sapporo Tokyu Gregory            2, Kita 4 Jonishi                   Chuo-ku, Sapporo-                Hokkaido     060-0004      Japan
                                                                                                                            shi
JP311                      Samsonite Japan Co., Ltd.   Aeon Niihama                     8-8, Maedacho                       Niihama-shi                      Ehime        792-0007      Japan
JP312                      Samsonite Japan Co., Ltd.   Aeon Himonya                     4-1-1, Himonya                      Meguro-ku                        Tokyo        152-0003      Japan
JP313                      Samsonite Japan Co., Ltd.   Aeon Shinkomatsu                 20, Okishuhen Tochikukaku           Komatsu-shi                      Ishikawa     923-0861      Japan
                                                                                        Seiri Jigyochinai
JP314                      Samsonite Japan Co., Ltd.   Kintetsu Uehonmachi              6-1-55, Uehonmachi                  Tennoji-ku, Osaka-               Osaka        543-8543      Japan
                                                                                                                            shi
JP315                      Samsonite Japan Co., Ltd.   Yokohama Gregory                 3-5-1, Minatomirai                  Nishi-ku, Yokohama-              Kanagawa     220-0012      Japan
                                                                                                                            shi
JP316                      Samsonite Japan Co., Ltd.   Takashimaya Senboku              1-3-1, Chayamadai                   Minami-ku, Sakai-shi             Osaka        590-0115      Japan

JP317                      Samsonite Japan Co., Ltd.   Aeon Tokushima                   4-1, Minamisuehirocho               Tokushima-shi                    Tokushima    770-0865      Japan
JP318                      Samsonite Japan Co., Ltd.   Kintetsu Wakayama                5-18, Tomodacho                     Wakayama-shi                     Wakayama     640-8342      Japan
JP319                      Samsonite Japan Co., Ltd.   Osakatsurumi Outlet Gregory      2-7-70, Matsutaomiya                Tsurumi-ku, Osaka-               Osaka        538-0031      Japan
                                                                                                                            shi
JP320                      Samsonite Japan Co., Ltd.   Aeon Hanyu                       2-281-3, Kawasaki                   Hanyu-shi                        Saitama      348-0039      Japan
                                                                                                                                                                                                                                                                                                        UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 118 of 173 Trans ID: LCV2021133181




JP321                      Samsonite Japan Co., Ltd.   Yatsugatake Resort Outlet        4000, Kobuchisawacho                Hokuto-shi                       Yamanashi    408-0044      Japan
JP322                      Samsonite Japan Co., Ltd.   Aeon Toyoda                      1-1, Hirojicho                      Toyota-shi                       Aichi        471-0864      Japan
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Location No.   Index No.   Org Unit                        Name                            Street                           City                  County   State/Prov                  Postal Code   Country

JP323          JP8221.00   Samsonite Japan Co., Ltd.       Konoike Transport Co., Ltd.     3-4-1, Nishiura             Funabashi-shi                       Chiba                       273-0017      Japan
JP324                      Tumi                            Outlet Hiroshima                4-1-1, Ishiuchihigashi      Saeki-ku, Hiroshima-                Hiroshima                   731-5162      Japan
                                                                                                                       shi
JP325                      Samsonite Japan Co., Ltd.       Aeon Onahama                    79 Onahama Aza Tatsumimachi Iwaki-shi                           Fukushima                   971-8555      Japan

JP326                      Samsonite Japan Co., Ltd.       Gregory Shinjuku                3-38-1 Shinjuku               Shinjuku-ku                       Tokyo                       160-0022      Japan
JP327                      Samsonite Japan Co., Ltd.       Aeon Takamatsu                  1-1 Kozaihoncho               Takamatsu-shi                     Kagawa                      761-8012      Japan
JP328                      Samsonite Japan Co., Ltd.       Aeon Ojitsu                     1-18 Ojitsuhigashimachi       Moriguchii-shi                    Osaka                       570-0016      Japan
JP329                      Samsonite Japan Co., Ltd.       Gregory Fukuoka                 2-30-24 Chigyohama            Chuo-ku Fukuoka-                  Fukuoka                     810-0065      Japan
                                                                                                                         shi
JP330                      Samsonite Japan Co., Ltd.       Iyotetsu Takashimaya            5-5-1, Minatomachi            Matsuyama-shi                     Ehime                       790-8587      Japan
JP331                      Samsonite Japan Co., Ltd.       Gregory Kitasenju               42-2, Senju Asahimachi        Adachi-ku                         Tokyo                       120-0026      Japan
JP332                      Samsonite Japan Co., Ltd.       Aeon Yahata Higashi             3-2-102, Higashida            Yahata HIgashi-ku,                Fukuoka                     805-0071      Japan
                                                                                                                         Kitakyushu-shi
JP333                      Samsonite Japan Co., Ltd.       Gregory Odaiba                  1-7-1, Daiba                  Minato-ku                         Tokyo                       135-0091      Japan
JP334                      Samsonite Japan Co., Ltd.       Aeon Fukuoka Ito                1-2-1, Kitahara               Nishi-ku, Fukuoka-                Fukuoka                     819-0379      Japan
                                                                                                                         shi
JP335                      Samsonite Japan Co., Ltd.       Gregory Machida                 6-4-1, Haramachida            Machida-shi                       Tokyo                       194-8501      Japan
JP336                      Samsonite Japan Co., Ltd.       Gregory Tachikawa               3-2-1, Shibasakimachi         Tachikawa-shi                     Tokyo                       190-0023      Japan
JP337                      Tumi                            Outlet Minamiosawa              1-600 Minami Osawa            Hachiouji-shi                     Tokyo                       192-0364      Japan
JP338                      Tumi                            Customer Center                 1-8-3-201 Muromaci Nihonbashi Chuou-ku                          Tokyo                       103-0022      Japan

JP339                      Tumi                            Outlet Minamimachida            3-3-1 Tsuruma                    Machida-shi                    Tokyo                       194-0004      Japan
KO002          KO0334.00   Samsonite South Korea Limited   Head Office                     945-1 Daechi-dong                Gangnam-gu                     Seoul City                  06181         South Korea
                           Samsonite South Korea Limited   Coex Mall                       513 Yeongdong-daero              Gangnam-gu                     Seoul City                  06164         South Korea
                           Samsonite South Korea Limited   Hyundai Muyeok(HM)              517 Teheran-ro                   Gangnam-gu                     Seoul City                  06164         South Korea
                           Samsonite South Korea Limited   Hyundai Muyeok(MBS)             159-7 Samseong-dong              Gangnam-gu                     Seoul City                  06164         South Korea
                           Samsonite South Korea Limited   Hyundai Muyeok                  159-7 Samseong-dong              Gangnam-gu                     Seoul City                  06164         South Korea
                           Tumi                            Hyundai Muyeok(TU)              517 Teheran-ro                   Gangnam-gu                     Seoul City                  06164         South Korea
KO003                      Samsonite South Korea Limited   Lotte Goyang Terminal(AT)       1036 Jungang-ro                  Ilsandong-gu,                  Gyeonggi-do                 10450         South Korea
                                                                                                                            Goyang-si
KO004                      Samsonite South Korea Limited   Lotte Incheon Hangdong(AT)      2 Seohae-daero 209beon-gil       Jung-gu                        Incheon Metropolitan City   22338         South Korea

KO005                      Samsonite South Korea Limited   Lotte Mart Gimpo Airport        38 Haneul-gil                    Gangseo-gu                     Seoul City                  07505         South Korea
                           Samsonite South Korea Limited   Lotte Gimpo_R                   38 Haneul-gil                    Gangseo-gu                     Seoul City                  07505         South Korea
KO008                      Samsonite South Korea Limited   Cheongdam HM                    776 Samseong-ro                  Gangnam-gu                     Seoul City                  06070         South Korea
KO009                      Samsonite South Korea Limited   Lotte Dongdaemoon FITIN         264 Eulji-ro                     Jung-gu                        Seoul City                  04561         South Korea
                                                           MALL
KO010                      Samsonite South Korea Limited   Lotte Mart Suwon                124 Sehwa-ro                     Gwonseon-gu,                   Gyeonggi-do                 16621         South Korea
                                                                                                                            Suwon-si
                           Samsonite South Korea Limited   AK Suwon                        18 Maesanno 1-ga                 Paldal-gu, Suwon-si            Gyeonggi-do                 16622         South Korea

                           Samsonite South Korea Limited   Lotte Suwon_R                   124 Sehwa-ro                     Gwonseon-gu,                   Gyeonggi-do                 16621         South Korea
                                                                                                                            Suwon-si
                           Samsonite South Korea Limited   Lotte Suwon                     124 Sehwa-ro                     Gwonseon-gu,                   Gyeonggi-do                 16621         South Korea
                                                                                                                            Suwon-si
                           Samsonite South Korea Limited   AK Suwon(LP)                    924 Deogyeong-daero              Paldal-gu, Suwon-si            Gyeonggi-do                 16622         South Korea

KO012                      Samsonite South Korea Limited   Lotte Gwangmyeong               17 Iljik-ro                      Gwangmyeong-si                 Gyeonggi-do               14352           South Korea
KO013                      Samsonite South Korea Limited   Lotte Gwangju Suwan             98 Jangsin-ro                    Gwangsan-gu                    Gwangju Metropolitan City 62225           South Korea

KO014                      Samsonite South Korea Limited   Hyundai Gimpo                   100 Arayuk-ro 152beon-gil        Gimpo-si                       Gyeonggi-do                 10135         South Korea
                           Tumi                            Gimpo Hyundai Outlet(TU)        100 Arayuk-ro 152beon-gil,       Gimpo-si                       Gyeonggi-do                 10135         South Korea
                                                                                           Gochon-eup Jeonho-ri
                                                                                                                                                                                                                                                                                                                        UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 119 of 173 Trans ID: LCV2021133181
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Location No.   Index No.   Org Unit                        Name                            Street                           City             County   State/Prov                Postal Code   Country

KO015                      Samsonite South Korea Limited   Lotte Gimhae Outlet             A-109 1B4L Sinmun-ri, Jangyu- Gimhae-si                    Gyeongsangnam-do          51011         South Korea
                                                                                           myeon Gimhae Distribution
                                                                                           Center
KO016                      Samsonite South Korea Limited   Lotte Daegu Yulha               80 Ansim-ro                    Dong-gu                     Daegu Metropolitan City   41097         South Korea
KO017                      Samsonite South Korea Limited   Lotte DongBusan                 147 Gijanghaean-ro, Gijang-eup Gijang-gun                  Busan Metropolitan City   46084         South Korea

                           Tumi                            DongBusan Lotte Outlet(TU)      64 Dangsa-ri, Gijang-eup         Gijang-gun                Busan Metropolitan City   46083         South Korea
KO018                      Samsonite South Korea Limited   Bongmu Isiapolice Outlet        1545 Bongmu-dong                 Dong-gu                   Daegu Metropolitan City   41026         South Korea
KO019                      Samsonite South Korea Limited   Simon Busan                     483-2 Jwacheon-ri, Jangan-eup    Gijang-gun                Busan Metropolitan City   46029         South Korea
KO020                      Samsonite South Korea Limited   Lotte Buyeo Outlet              172 Hapjeong-ri, Gyuam-myeon     Buyeo-gun                 Chungcheongnam-do         33115         South Korea

KO021                      Samsonite South Korea Limited   Seoul Station Lotte Outlet      405 Hangang-daero              Jung-gu                     Seoul City                04509         South Korea
KO022                      Samsonite South Korea Limited   Simon Yeoju Outlet              460 Sanggeo-ri, Yeoju-eup 15-1 Yeoju-gun                   Gyeonggi-do               12646         South Korea
                                                                                           San, #2116, Yeoju Simon Outlet

                           Tumi                            Yeoju Simon Outlet(TU)          460 Sanggeo-ri, Yeoju-eup   Yeoju-gun                      Gyeonggi-do               12646         South Korea
                                                                                           #2116
                           Samsonite South Korea Limited                                   360 Myeongpum-ro, Yeoju-eup Yeoju-gun                      Gyeonggi-do               12646         South Korea

KO023                      Samsonite South Korea Limited   Lotte Icheon Outlet             48-1 Dancheon-ri, Hobeop-        Icheon-si                 Gyeonggi-do               17384         South Korea
                                                                                           myeon
                           Tumi                            Icheon Lotte Outlet(TU)         48-1 Dancheon-ri, Hobeop-        Icheon-si                 Gyeonggi-do               17384         South Korea
                                                                                           myeon
KO024                      Samsonite South Korea Limited   Lotte Cheongju Outlet           332-1 Biha-dong                Heungdeok-gu,               Chungcheongbuk-do         28360         South Korea
                                                                                                                          Cheongju-si
KO025                      Samsonite South Korea Limited   Paju Lotte Outlet               104-1 Munbal-dong 2F, 2 Block, Paju-si                     Gyeonggi-do               10881         South Korea
                                                                                           Paju Publishment Center

KO026                      Samsonite South Korea Limited   Simon Paju Outlet               1790-8 Beopheung-ri, Tanhyeon-   Paju-si                   Gyeonggi-do               10862         South Korea
                                                                                           myeon
                           Tumi                            Simon Paju Outlet(TU)           1790-8 Beopheung-ri, Tanhyeon-   Paju-si                   Gyeonggi-do               10862         South Korea
                                                                                           myeon
KO027                      Samsonite South Korea Limited   Lotte Jamsil Worldmall(RED)     29 Sincheon-dong                 Songpa-gu                 Seoul City                05551         South Korea
                           Samsonite South Korea Limited   Lotte Mart Jamsil               40-1 Jamsil-dong                 Songpa-gu                 Seoul City                05554         South Korea
                           Samsonite South Korea Limited   Lotte Jamsil(MBS)               40-1 Jamsil-dong                 Songpa-gu                 Seoul City                05554         South Korea
                           Samsonite South Korea Limited   Lotte Jamsil                    40-1 Jamsil-dong                 Songpa-gu                 Seoul City                05554         South Korea
                           Samsonite South Korea Limited   Lotte Jamsil(LP)                240 Olympic-ro                   Songpa-gu                 Seoul City                05554         South Korea
                           Samsonite South Korea Limited   Lotte Jamsil(HM)                240 Olympic-ro                   Songpa-gu                 Seoul City                05554         South Korea
                           Samsonite South Korea Limited   Lotte Mart World Tower          300 Olympic-ro                   Songpa-gu                 Seoul City                05551         South Korea
                           Tumi                            Lotte Jamsil(TU)                240 Olympic-ro                   Songpa-gu                 Seoul City                05554         South Korea
                           Samsonite South Korea Limited   L&J Lotte Jamsil Worldmall      29 Sincheon-dong                 Songpa-gu                 Seoul City                05551         South Korea
KO029                      Samsonite South Korea Limited   Podo Mall(RED)                  330 Sillim-ro                    Gwanak-gu                 Seoul City                08777         South Korea
KO032                      Samsonite South Korea Limited   2001Outlet Bundang              11-1 Gumi-dong                   Bundang-gu,               Gyeonggi-do               13630         South Korea
                                                                                                                            Seongnam-si
KO033                      Samsonite South Korea Limited   2001Outlet Cheolsan             261 Cheolsan-dong                Gwangmyeong-si            Gyeonggi-do               14237         South Korea
KO034                      Samsonite South Korea Limited   2001Outlet Cheonho              563 Cheonho-dong                 Gangdong-gu               Seoul City                05327         South Korea
KO035                      Samsonite South Korea Limited   2001Outlet Haewoondae           1467-4 Jwa-dong                  Haeundae-gu               Busan Metropolitan City   48106         South Korea
KO036                      Samsonite South Korea Limited   Newcore Junggye                 509 Junggye-dong                 Nowon-gu                  Seoul City                01783         South Korea
KO037                      Samsonite South Korea Limited   Dong-A Shopping                 53-3 Deoksan-dong                Jung-gu                   Daegu Metropolitan City   41936         South Korea
                           Samsonite South Korea Limited   Hyundai Daegu(MBS)              200 Gyesan-dong 2-ga             Jung-gu                   Daegu Metropolitan City   41936         South Korea
                           Samsonite South Korea Limited   Hyundai Daegu                   200 Gyesan-dong 2-ga             Jung-gu                   Daegu Metropolitan City   41936         South Korea
                           Tumi                            Hyundai Daegu(TU)               2077 Dalgubeol-daero             Jung-gu                   Daegu Metropolitan City   41936         South Korea
                           Tumi                            Hyundai Daegu(TU)               2077 Dalgubeol-daero             Jung-gu                   Daegu Metropolitan City   41936         South Korea
KO038                      Samsonite South Korea Limited   E-Land Retail Exco              22 Yutongdanji-ro 14-gil,        Buk-gu                    Daegu Metropolitan City   41518         South Korea
                                                                                                                                                                                                                                                                                                                 UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 120 of 173 Trans ID: LCV2021133181




                                                                                           Sangyeok-dong
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Location No.   Index No.   Org Unit                        Name                           Street                           City                   County   State/Prov                  Postal Code   Country

KO040                      Samsonite South Korea Limited   Grand Ilsan                    22 Juyeop-dong                   Ilsanseo-gu, Goyang-            Gyeonggi-do                 34681         South Korea
                                                                                                                           si
KO041                      Samsonite South Korea Limited   Happy World                    917-6 Mok-dong                   Yangcheon-gu                    Seoul City                  07997         South Korea
KO043                      Samsonite South Korea Limited   Megamart Chuncheon             34 Joyang-dong                   Chuncheon-si                    Gangwon-do                  24353         South Korea
KO044                      Samsonite South Korea Limited   Newcore Gangnam                70-2 Jamwon-dong                 Seocho-gu                       Seoul City                  06511         South Korea
KO045                      Samsonite South Korea Limited   Shinsegye Incheon_R            35 Yeonnam-ro                    Nam-gu                          Incheon Metropolitan City   22242         South Korea

                           Samsonite South Korea Limited   Shinsegye Incheon              15 Gwangyo-dong                  Nam-gu                          Incheon Metropolitan City   22242         South Korea

                           Tumi                            Shinsegye Incheon_TU           35 Yeonnam-ro                    Nam-gu                          Incheon Metropolitan City   22242         South Korea

KO046                      Samsonite South Korea Limited   Newcore Outlet UlsnaSeongnam   20 Sigyetap-geori                Jung-gu                         Ulsan Metropolitan City     44532         South Korea

KO047                      Samsonite South Korea Limited   Newcore Pyungchon              1039-3 Hogye-dong                Dongan-gu, Anyang-              Gyeonggi-do                 14073         South Korea
                                                                                                                           si
KO048                      Samsonite South Korea Limited   Newcore Sopoong                539-1 Sang-dong                  Wonmi-gu, Bucheon-              Gyeonggi-do                 14545         South Korea
                                                                                                                           si
                           Samsonite South Korea Limited   Homeplus Sangdong              540-1 Sang-dong                  Wonmi-gu, Bucheon-              Gyeonggi-do                 14545         South Korea
                                                                                                                           si
                           Samsonite South Korea Limited   Newcore Bucheon(GR)            539-1 Sang-dong                  Wonmi-gu, Bucheon-              Gyeonggi-do                 14545         South Korea
                                                                                                                           si
KO049                      Samsonite South Korea Limited   Newcore Yatop                  357-1 Yatap-dong                 Bundang-gu,                     Gyeonggi-do                 13497         South Korea
                                                                                                                           Seongnam-si
KO050                      Samsonite South Korea Limited   E-Mart Andong                  796-1 Ok-dong                    Andong-si                       Gyeongsangbuk-do            36663         South Korea
KO051                      Samsonite South Korea Limited   E-Mart Asan                    192-2 Punggi-dong                Asan-si                         Chungcheongnam-do           31528         South Korea
KO052                      Samsonite South Korea Limited   E-Mart Bucheon                 316-2 Simgokbon-dong             Sosa-gu, Bucheon-si             Gyeonggi-do                 14637         South Korea

KO053                      Samsonite South Korea Limited   E-Mart Changwon                91 Jungang-dong                  Seongsan-gu,                    Gyeongsangnam-do            51515         South Korea
                                                                                                                           Changwon-si
                           Samsonite South Korea Limited   Lotte Changwon_R               124 Jungang-daero                Seongsan-gu,                    Gyeongsangnam-do            51494         South Korea
                                                                                                                           Changwon-si
                           Samsonite South Korea Limited   E-Mart/Changwon                91 Jungang-dong                  Seongsan-gu,                    Gyeongsangnam-do            51515         South Korea
                                                                                                                           Changwon-si
KO054                      Samsonite South Korea Limited   E-Mart CheonanSeobuk           446-2 Seongseong-dong            Seobuk-gu, Cheonan-             Chungcheongnam-do           31087         South Korea
                                                                                                                           si
                           Samsonite South Korea Limited   E-Mart/Cheonan(AT)             446-2 Seongseong-dong            Seobuk-gu, Cheonan-             Chungcheongnam-do           31087         South Korea
                                                                                                                           si
KO055                      Samsonite South Korea Limited   E-Mart Chungju                 1024 Munhwa-dong                 Chungju-si                      Chungcheongbuk-do         27407           South Korea
KO057                      Samsonite South Korea Limited   E-Mart Dunsan                  959-2 Dunsan-dong                Seo-gu                          Daejeon Metropolitan City 35229           South Korea

KO058                      Samsonite South Korea Limited   E-Mart Eunpyung                90-1 Eungam-dong                 Eunpyeong-gu                    Seoul City                  03461         South Korea
KO059                      Samsonite South Korea Limited   E-Mart Gayang                  449-19 Gayang-dong               Gangseo-gu                      Seoul City                  07532         South Korea
KO060                      Samsonite South Korea Limited   E-Mart Geumjeong               24 Jungang-daero 1841beon-gil    Geumjeong-gu                    Busan Metropolitan City     46233         South Korea

KO061                      Samsonite South Korea Limited   E-Mart Gojan                   46 Wonpogongwon 1-ro             Danwon-gu, Ansan-               Gyeonggi-do                 15455         South Korea
                                                                                                                           si
KO062                      Samsonite South Korea Limited   E-Mart Gunsan                  590-296 Gyeongam-dong            Gunsan-si                       Jeollabuk-do                54032         South Korea
KO063                      Samsonite South Korea Limited   E-Mart Guro                    43 Digital-ro 32-gil             Guro-gu                         Seoul City                  08379         South Korea
KO064                      Samsonite South Korea Limited   E-Mart Gwangmyeong Soha        1339-3 Soha-dong                 Gwangmyeong-si                  Gyeonggi-do                 14316         South Korea
                           Samsonite South Korea Limited   Lotte Pyeongchon               1339-3 Soha-dong                 Gwangmyeong-si                  Gyeonggi-do                 14316         South Korea
                           Samsonite South Korea Limited   AK Wonju(HOS)                  1339-3 Soha-dong                 Gwangmyeong-si                  Gyeonggi-do                 14316         South Korea
                           Samsonite South Korea Limited   Shinsegye Uijeongbu            1339-3 Soha-dong                 Gwangmyeong-si                  Gyeonggi-do                 14316         South Korea
KO066                      Samsonite South Korea Limited   E-Mart/HwaseongBongdam         133-1 Donghwa-ri, Bongdam-       Hwaseong-si                     Gyeonggi-do                 18298         South Korea
                                                                                          eup
                                                                                                                                                                                                                                                                                                                        UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 121 of 173 Trans ID: LCV2021133181




KO067                      Samsonite South Korea Limited   E-Mart Icheon                  47-4 Jeungpo-dong                Icheon-si                       Gyeonggi-do                 17348         South Korea
KO068                      Samsonite South Korea Limited   E-Mart Jinju                   3 Insa-dong                      Jinju-si                        Gyeongsangnam-do            52686         South Korea
KO069                      Samsonite South Korea Limited   E-Mart Jukjeon                 1282 Jukjeon-dong                Suji-gu, Yongin-si              Gyeonggi-do                 16896         South Korea
                           Samsonite South Korea Limited   Shinsegye Gyunggi              1285 Jukjeon-dong                Suji-gu, Yongin-si              Gyeonggi-do                 16896         South Korea
                           Tumi                            Shinsegye Gyunggi(TU)          1285 Jukjeon-dong                Suji-gu, Yongin-si              Gyeonggi-do                 16896         South Korea
                                                                                                                                                                                                                                         Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 144 of 239 PageID: 151




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KO070                      Samsonite South Korea Limited   E-Mart Kyungsan             623 Jungsan-dong                  Gyeongsan-si                    Gyeongsangbuk-do            38664         South Korea
KO071                      Samsonite South Korea Limited   E-Mart Manchon              1356-5 Manchon-dong               Suseong-gu                      Daegu Metropolitan City     42037         South Korea
KO072                      Samsonite South Korea Limited   E-Mart Mokdong              962 Mok-dong                      Yangcheon-gu                    Seoul City                  08001         South Korea
KO073                      Samsonite South Korea Limited   E-Mart Pyungtaik            50 Jije-dong                      Pyeongtaek-si                   Gyeonggi-do                 17840         South Korea
KO074                      Samsonite South Korea Limited   E-Mart Sanbon               347 Sanbon-ro                     Gunpo-si                        Gyeonggi-do                 15865         South Korea
KO075                      Samsonite South Korea Limited   E-Mart Sasang               531-2 Gwaebeop-dong               Sasang-gu                       Busan Metropolitan City     46970         South Korea
KO076                      Samsonite South Korea Limited   E-Mart Sihwa                210 Jeongwang-daero               Siheung-si                      Gyeonggi-do                 15066         South Korea
KO078                      Samsonite South Korea Limited   E-Mart Sunchen              169 Deogam-dong                   Suncheon-si                     Jeollanam-do                57964         South Korea
KO079                      Samsonite South Korea Limited   E-Mart Suwon                1189 Gwonseon-dong                Gwonseon-gu,                    Gyeonggi-do                 16585         South Korea
                                                                                                                         Suwon-si
                           Samsonite South Korea Limited   NC Suwon Terminal(MBS)      270 Gyeongsu-daero                Gwonseon-gu,                    Gyeonggi-do                 16585         South Korea
                                                                                                                         Suwon-si
KO080                      Samsonite South Korea Limited   E-Mart Wolgye               333-1 Wolgye-dong                 Nowon-gu                        Seoul City                  01906         South Korea
KO081                      Samsonite South Korea Limited   E-Mart Yangjae              16 Maeheon-ro                     Seocho-gu                       Seoul City                  06771         South Korea
                           Samsonite South Korea Limited   Hyundai Mokdong(RED)        16 Maeheon-ro                     Seocho-gu                       Seoul City                  06771         South Korea
KO083                      Samsonite South Korea Limited   E-Mart Yeonsu               926-9 Dongchun-dong               Yeonsu-gu                       Incheon Metropolitan City   21975         South Korea

KO084                      Samsonite South Korea Limited   Homeplus Ansan              586 Seongpo-dong 2F               Sangnok-gu, Ansan-              Gyeonggi-do                 15294         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   Lotte Mart Ansan            590 Seongpo-dong                  Sangnok-gu, Ansan-              Gyeonggi-do                 15299         South Korea
                                                                                                                         si
KO086                      Samsonite South Korea Limited   Homeplus Buksuwon           898 Jowon-dong                    Jangan-gu, Suwon-si             Gyeonggi-do                 16295         South Korea

KO087                      Samsonite South Korea Limited   Homeplus Centum             1499 U 2-dong                     Haeundae-gu                     Busan Metropolitan City     48059         South Korea
KO088                      Samsonite South Korea Limited   Homeplus Changwon           30-3 Palyong-dong                 Uichang-gu,                     Gyeongsangnam-do            51393         South Korea
                                                                                                                         Changwon-si
                           Samsonite South Korea Limited   Newcore Outlet Incheon      30-3 Palyong-dong                 Uichang-gu,                     Gyeongsangnam-do            51393         South Korea
                                                                                                                         Changwon-si
KO089                      Samsonite South Korea Limited   Homeplus Chilgok            968 Dongcheon-dong                Buk-gu                          Daegu Metropolitan City   41422           South Korea
KO091                      Samsonite South Korea Limited   Homeplus DaejeonYuseong     669 Bongmyeong-dong               Yuseong-gu                      Daejeon Metropolitan City 34184           South Korea

KO092                      Samsonite South Korea Limited   Homeplus Donggwangju        575-1 Duam-dong                   Buk-gu                          Gwangju Metropolitan City 61165           South Korea

KO093                      Samsonite South Korea Limited   Homeplus Dongsuwon          1045 Ingye-dong                   Paldal-gu, Suwon-si             Gyeonggi-do                 16490         South Korea

KO094                      Samsonite South Korea Limited   Homeplus Gaya               624-7 Gaya-dong                   Busanjin-gu                     Busan Metropolitan City     47324         South Korea
KO095                      Samsonite South Korea Limited   Homeplus Geumcheon          291-1 Doksan-dong                 Geumcheon-gu                    Seoul City                  08584         South Korea
KO096                      Samsonite South Korea Limited   Homeplus Gimhae             1131-2 Nae-dong                   Gimhae-si                       Gyeongsangnam-do            50943         South Korea
KO097                      Samsonite South Korea Limited   Homeplus Gimpo              692 Gamjeong-dong                 Gimpo-si                        Gyeonggi-do                 10102         South Korea
KO099                      Samsonite South Korea Limited   Homeplus Hapjeong           490 Seogyo-dong                   Mapo-gu                         Seoul City                  04036         South Korea
KO100                      Samsonite South Korea Limited   Homeplus Jakjeon            27 Gyeyang-daero                  Gyeyang-gu                      Incheon Metropolitan City   21111         South Korea

                           Samsonite South Korea Limited   Lotte Jeonju_R              27 Gyeyang-daero                  Gyeyang-gu                      Incheon Metropolitan City   21111         South Korea

KO101                      Samsonite South Korea Limited   Homeplus Jamsil             7-12 Sincheon-dong                Songpa-gu                       Seoul City                  05510         South Korea
KO102                      Samsonite South Korea Limited   Homeplus Jeonjuhyoja        431-5 Hyoja-dong 1-ga             Wansan-gu, Jeonju-si            Jeollabuk-do                55056         South Korea

KO103                      Samsonite South Korea Limited   Homeplus Masan              151-1 Yangdeok-dong               Masanhoewon-gu,                 Gyeongsangnam-do            51320         South Korea
                                                                                                                         Changwon-si
KO104                      Samsonite South Korea Limited   Homeplus Munlae             55-3 Mullaedong 3-ga              Yeongdeungpo-gu                 Seoul City                  07297         South Korea
                           Samsonite South Korea Limited   Lotte Youngdeungpo(MBS)     55-3 Mullaedong 3-ga              Yeongdeungpo-gu                 Seoul City                  07297         South Korea
KO106                      Samsonite South Korea Limited   Homeplus Suncheon           975-1 Jorye-dong                  Suncheon-si                     Jeollanam-do                57946         South Korea
KO107                      Samsonite South Korea Limited   Homeplus Sungseo            230-11 Yongsan-dong               Dalseo-gu                       Daegu Metropolitan City     42637         South Korea
KO108                      Samsonite South Korea Limited   Homeplus Uijeongbu          475-1 Geumo-dong                  Uijeongbu-si                    Gyeonggi-do                 11757         South Korea
                                                                                                                                                                                                                                                                                                                      UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 122 of 173 Trans ID: LCV2021133181




KO109                      Samsonite South Korea Limited   Homeplus Ulsan              100 Boksan-dong                   Jung-gu                         Ulsan Metropolitan City     44478         South Korea
KO110                      Samsonite South Korea Limited   Homeplus Ulsandonggu        637 Bangeojinsunhwando-ro         Dong-gu                         Ulsan Metropolitan City     44068         South Korea
KO111                      Samsonite South Korea Limited   Homeplus Worldcup           515 Seongsan-dong                 Mapo-gu                         Seoul City                  03932         South Korea
KO112                      Samsonite South Korea Limited   Homeplus Youngtong          994-2 Yeongtong-dong              Yeongtong-gu,                   Gyeonggi-do                 16704         South Korea
                                                                                                                         Suwon-si
KO113                      Samsonite South Korea Limited   Lotte Mart/Anseong          2-13 Gongdo-eup                   Anseong-si                      Gyeonggi-do                 17558         South Korea
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Location No.   Index No.   Org Unit                        Name                         Street                         City                  County   State/Prov                  Postal Code   Country

KO114                      Samsonite South Korea Limited   2001Outlet Anyang            738-1 Bupyeong-dong            Bupyeong-gu                    Incheon Metropolitan City   21404         South Korea

KO117                      Samsonite South Korea Limited   Lotte Mart Chuncheon         6 Onui-dong                    Chuncheon-si                   Gangwon-do                  24363         South Korea
KO118                      Samsonite South Korea Limited   Lotte Mart Gumi              465 Sinpyeong-dong             Gumi-si                        Gyeongsangbuk-do            39255         South Korea
KO119                      Samsonite South Korea Limited   Lotte Mart Gunsan            210-1 Susong-dong              Gunsan-si                      Jeollabuk-do                54091         South Korea
KO120                      Samsonite South Korea Limited   Lotte Mart Guri              430 Inchang-dong               Guri-si                        Gyeonggi-do                 11915         South Korea
KO121                      Samsonite South Korea Limited   Lotte Mart Guro              636-89 Guro-dong               Guro-gu                        Seoul City                  08278         South Korea
KO122                      Samsonite South Korea Limited   Lotte Mart Gwangbok          20-1 Jungang-dong 7-ga         Jung-gu                        Busan Metropolitan City     48944         South Korea
                           Samsonite South Korea Limited   Lotte Gwangbok               20-1 Jungang-dong 7-ga         Jung-gu                        Busan Metropolitan City     48944         South Korea
KO123                      Samsonite South Korea Limited   Lotte Mart Gyeyang           822 Jangje-ro                  Gyeyang-gu                     Incheon Metropolitan City   21060         South Korea

KO126                      Samsonite South Korea Limited   Lotte Mart Iksan             833-2 Yeongdeung-dong          Iksan-si                       Jeollabuk-do                54545         South Korea
KO127                      Samsonite South Korea Limited   Lotte Mart Jangyoo           300 Daecheong-ri, Jangyu-      Gimhae-si                      Gyeongsangnam-do            51004         South Korea
                                                                                        myeon
KO128                      Samsonite South Korea Limited   Lotte Mart Jeju              708 Nohyeong-dong              Jeju-si                        Jejudo                      63084         South Korea
KO129                      Samsonite South Korea Limited   Lotte Mart Jinhae            543-5 Seok-dong                Jinhae-gu,                     Gyeongsangnam-do            51658         South Korea
                                                                                                                       Changwon-si
KO130                      Samsonite South Korea Limited   Lotte Mart Jinjang           64 Jinjangyutong-ro            Buk-gu                         Ulsan Metropolitan City     44248         South Korea
KO131                      Samsonite South Korea Limited   Lotte Mart Jungye            361-517 Junggye-dong           Nowon-gu                       Seoul City                  01745         South Korea
KO133                      Samsonite South Korea Limited   Lotte Mart Sasang            733 Nakdong-daero              Sasang-gu                      Busan Metropolitan City     47032         South Korea
                           Samsonite South Korea Limited   Debec Plaza                  733 Nakdong-daero              Sasang-gu                      Busan Metropolitan City     47032         South Korea
                           Samsonite South Korea Limited   Daegu Main_R                 733 Nakdong-daero              Sasang-gu                      Busan Metropolitan City     47032         South Korea
KO134                      Samsonite South Korea Limited   Lotte Mart Songpa            150-2 Munjeong-dong            Songpa-gu                      Seoul City                  05833         South Korea
KO136                      Samsonite South Korea Limited   Lotte Mart Sungjung          1485 Seongjeong-dong           Seobuk-gu, Cheonan-            Chungcheongnam-do           31109         South Korea
                                                                                                                       si
KO138                      Samsonite South Korea Limited   Lotte Mart Ulsan             74 Samsan-ro                   Nam-gu                         Ulsan Metropolitan City     44722         South Korea
KO139                      Samsonite South Korea Limited   Lotte Mart Ungsang           34 Samho 1-gil                 Yangsan-si                     Gyeongsangnam-do            50529         South Korea
KO140                      Samsonite South Korea Limited   Megamart Namchun             545-2 Namcheon-dong            Suyeong-gu                     Busan Metropolitan City     48313         South Korea
KO141                      Samsonite South Korea Limited   AK Bundang(GR)               42 Hwangsaeul-ro 360beon-gil   Bundang-gu,                    Gyeonggi-do                 13591         South Korea
                                                                                                                       Seongnam-si
                           Samsonite South Korea Limited   AK Bundang(MBS)              263 Seohyeon-dong              Bundang-gu,                    Gyeonggi-do                 13591         South Korea
                                                                                                                       Seongnam-si
                           Samsonite South Korea Limited   AK Bundang                   263 Seohyeon-dong              Bundang-gu,                    Gyeonggi-do                 13591         South Korea
                                                                                                                       Seongnam-si
                           Samsonite South Korea Limited   AK Bundang(LP)               42 Hwangsaeul-ro 360beon-gil   Bundang-gu,                    Gyeonggi-do                 13591         South Korea
                                                                                                                       Seongnam-si
                           Tumi                            AK Bundang(TU)               42 Hwangsaeul-ro 360beon-gil   Bundang-gu,                    Gyeonggi-do                 13591         South Korea
                                                                                                                       Seongnam-si
                           Tumi                            AK Bundang(TU)               42 Hwangsaeul-ro 360beon-gil   Bundang-gu,                    Gyeonggi-do                 13591         South Korea
                                                                                                                       Seongnam-si
KO142                      Samsonite South Korea Limited   Hyundai Chungcheong(HIGH)    3380 Bokdae-dong               Heungdeok-gu,                  Chungcheongbuk-do           28424         South Korea
                                                                                                                       Cheongju-si
                           Samsonite South Korea Limited   Hyundai Chungcheong          584-9 Bokdae-dong              Heungdeok-gu,                  Chungcheongbuk-do           28424         South Korea
                                                                                                                       Cheongju-si
                           Samsonite South Korea Limited   Hyundai Chungcheong(LP)      3380 Bokdae-dong               Heungdeok-gu,                  Chungcheongbuk-do           28424         South Korea
                                                                                                                       Cheongju-si
KO143                      Samsonite South Korea Limited   Hyundai D-Cube               662 Gyeongin-ro                Guro-gu                        Seoul City                  08209         South Korea
                           Samsonite South Korea Limited   Hyundai D-Cube(GR)           662 Gyeongin-ro                Guro-gu                        Seoul City                  08209         South Korea
                           Samsonite South Korea Limited   Hyundai D-Cube(LP)           662 Gyeongin-ro                Guro-gu                        Seoul City                  08209         South Korea
KO145                      Samsonite South Korea Limited   Hyundai Shinchon(HIGH)       83 Sinchon-ro                  Seodaemun-gu                   Seoul City                  03789         South Korea
                           Samsonite South Korea Limited   Hyundai Shinchon(MBS)        30-33 Changcheon-dong          Seodaemun-gu                   Seoul City                  03789         South Korea
                           Samsonite South Korea Limited   Hyundai Shinchon             30-33 Changcheon-dong          Seodaemun-gu                   Seoul City                  03789         South Korea
                           Samsonite South Korea Limited   Hyundai Sinchon              83 Sinchon-ro                  Seodaemun-gu                   Seoul City                  03789         South Korea
KO146                      Samsonite South Korea Limited   I'Park Main(HOS)             40-999 Hangangno 3-ga          Yongsan-gu                     Seoul City                  04377         South Korea
                                                                                                                                                                                                                                                                                                                   UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 123 of 173 Trans ID: LCV2021133181




                           Samsonite South Korea Limited   Gimpo Hyundai Outlet(HM)     55 Hangang-daero 23-gil        Yongsan-gu                     Seoul City                  04377         South Korea
                           Samsonite South Korea Limited   I'Park (GR)                  55 Hangang-daero 23-gil        Yongsan-gu                     Seoul City                  04377         South Korea
                           Samsonite South Korea Limited                                55 Hangang-daero 23-gil        Yongsan-gu                     Seoul City                  04377         South Korea
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Location No.   Index No.   Org Unit                        Name                        Street                            City                   County   State/Prov                  Postal Code   Country

KO147                      Samsonite South Korea Limited   Galleria Chunan             354-1 Sinbu-dong                  Dongnam-gu,                     Chungcheongnam-do           31120         South Korea
                                                                                                                         Cheonan-si
                           Samsonite South Korea Limited   Arario Chunan               354-1 Sinbu-dong                  Dongnam-gu,                     Chungcheongnam-do           31120         South Korea
                                                                                                                         Cheonan-si
KO149                      Samsonite South Korea Limited   Hyundai Mokdong             916 Mok-dong                      Yangcheon-gu                    Seoul City                07998           South Korea
KO151                      Samsonite South Korea Limited   Galleria Timeworld(HOS)     1038 Dunsan-dong                  Seo-gu                          Daejeon Metropolitan City 35229           South Korea

KO152                      Samsonite South Korea Limited   Hyundai Chunho(MBS)         455-8 Cheonho-dong                Gangdong-gu                     Seoul City                  05328         South Korea
                           Samsonite South Korea Limited   Hyundai Chunho              455-8 Cheonho-dong                Gangdong-gu                     Seoul City                  05328         South Korea
KO153                      Samsonite South Korea Limited   Hyundai Jungdong(MBS)       1164 Jung-dong                    Wonmi-gu, Bucheon-              Gyeonggi-do                 14546         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   Hyundai Jungdong            1164 Jung-dong                    Wonmi-gu, Bucheon-              Gyeonggi-do                 14546         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   Hyundai Jungdong(LP)        180 Gilju-ro                      Wonmi-gu, Bucheon-              Gyeonggi-do                 14546         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited                               180 Gilju-ro                      Wonmi-gu, Bucheon-              Gyeonggi-do                 14546         South Korea
                                                                                                                         si
KO154                      Samsonite South Korea Limited   Hyundai Mia                 20-1 Gireum-dong                  Seongbuk-gu                     Seoul City                  02730         South Korea
KO156                      Samsonite South Korea Limited   Lotte Busan                 503-3 Bujeon 1-dong               Busanjin-gu                     Busan Metropolitan City     47258         South Korea
                           Tumi                            Lotte Busan(TU)             772 Gaya-daero                    Busanjin-gu                     Busan Metropolitan City     47285         South Korea
                           Samsonite South Korea Limited   L&J Lotte Busan             772 Gaya-daero                    Busanjin-gu                     Busan Metropolitan City     47285         South Korea
                           Samsonite South Korea Limited   Lotte Busan(RED)            772 Gaya-daero                    Busanjin-gu                     Busan Metropolitan City     47285         South Korea
                           Samsonite South Korea Limited                               772 Gaya-daero                    Busanjin-gu                     Busan Metropolitan City     47285         South Korea
KO157                      Samsonite South Korea Limited   Lotte Cheongnyangni_R       214 Wangsan-ro                    Dongdaemun-gu                   Seoul City                  02555         South Korea
                           Samsonite South Korea Limited   Lotte Chunglyangri          620-69 Jeonnong-dong              Dongdaemun-gu                   Seoul City                  02559         South Korea
KO158                      Samsonite South Korea Limited   Lotte Daejeon_R             598 Gyeryong-ro                   Seo-gu                          Daejeon Metropolitan City   35299         South Korea

                           Samsonite South Korea Limited   Lotte Daejeon               423-1 Goejeong-dong               Seo-gu                          Daejeon Metropolitan City 35299           South Korea

KO159                      Samsonite South Korea Limited   Lotte Square Guri           677 Inchang-dong                  Guri-si                         Gyeonggi-do               11922           South Korea
KO160                      Samsonite South Korea Limited   Lotte Gwangbok_R            2 Jungang-daero                   Jung-gu                         Busan Metropolitan City   48944           South Korea
KO161                      Samsonite South Korea Limited   Lotte Gwangju_R             268 Dongnip-ro                    Dong-gu                         Gwangju Metropolitan City 61470           South Korea

                           Samsonite South Korea Limited   Lotte Gwangju               7-1 Daein-dong                    Dong-gu                         Gwangju Metropolitan City 61470           South Korea

KO162                      Samsonite South Korea Limited   Lotte Jeonju                971 Seosin-dong                   Wansan-gu, Jeonju-si            Jeollabuk-do                54946         South Korea

KO163                      Samsonite South Korea Limited   Lotte Jungdong(RED)         300 Gilju-ro                      Wonmi-gu, Bucheon-              Gyeonggi-do                 14548         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   Lotte Square Jungdong       1140 Jung-dong                    Wonmi-gu, Bucheon-              Gyeonggi-do                 14548         South Korea
                                                                                                                         si
KO164                      Samsonite South Korea Limited   Lotte Main(RED)             1 Sogong-dong                     Jung-gu                         Seoul City                  04533         South Korea
                           Samsonite South Korea Limited   Lotte Main(LP)              81 Namdaemun-ro                   Jung-gu                         Seoul City                  04533         South Korea
                           Samsonite South Korea Limited   Lotte Main(GR)              81 Namdaemun-ro                   Jung-gu                         Seoul City                  04533         South Korea
                           Tumi                            Hotel Lotte(TU)             30 Eulji-ro                       Jung-gu                         Seoul City                  04533         South Korea
                           Tumi                            Lotte Main(TU)              81 Namdaemun-ro                   Jung-gu                         Seoul City                  04533         South Korea
KO165                      Samsonite South Korea Limited   Lotte Nowon(MBS)            713 Sanggye-dong                  Nowon-gu                        Seoul City                  01695         South Korea
                           Samsonite South Korea Limited   Lotte Nowon                 713 Sanggye-dong                  Nowon-gu                        Seoul City                  01695         South Korea
                           Tumi                            Lotte Nowon(TU)             713 Sanggye-dong                  Nowon-gu                        Seoul City                  01695         South Korea
KO166                      Samsonite South Korea Limited   Lotte Youngdeungpo          618-496 Yeongdeungpo-dong         Yeongdeungpo-gu                 Seoul City                  07306         South Korea
KO168                      Samsonite South Korea Limited   Enter6 Dongtan(MBS)         96, 98 Bansong-dong               Hwaseong-si                     Gyeonggi-do                 18445         South Korea
KO169                      Samsonite South Korea Limited   Enter6 TechnoMart(MBS)      85 Gwangnaru-ro 56-gil            Gwangjin-gu                     Seoul City                  05116         South Korea
KO170                      Samsonite South Korea Limited   NC Chungjang(MBS)           28-8, 28-10, 29-2, 29-6           Dong-gu                         Gwangju Metropolitan City   61480         South Korea
                                                                                       Chungjangno 4-ga
                                                                                                                                                                                                                                                                                                                      UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 124 of 173 Trans ID: LCV2021133181




KO171                      Samsonite South Korea Limited   Shinsegye Centumcity_R      35 Centum nam-daero               Haeundae-gu                     Busan Metropolitan City     48058         South Korea
                           Samsonite South Korea Limited                               59 Centum nam-daero               Haeundae-gu                     Busan Metropolitan City     48058         South Korea
KO172                      Samsonite South Korea Limited   Shinsegye Gangnam_R         176 Sinbanpo-ro                   Seocho-gu                       Seoul City                  06546         South Korea
                           Samsonite South Korea Limited   Shinsegye Gangnam           19-3 Banpo-dong                   Seocho-gu                       Seoul City                  06546         South Korea
                           Samsonite South Korea Limited   Shinsegye Gangnam(HM)       176 Sinbanpo-ro                   Seocho-gu                       Seoul City                  06546         South Korea
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Location No.   Index No.   Org Unit                        Name                            Street                          City                   County   State/Prov                  Postal Code   Country

KO174                      Samsonite South Korea Limited   Lotte Mart Gwangju Worldcup     240 Geumhwa-ro                  Seo-gu                          Gwangju Metropolitan City 62048           South Korea

                           Samsonite South Korea Limited   Lotte Outlet Gwangju Worldcup   240 Geumhwa-ro                  Seo-gu                          Gwangju Metropolitan City 62048           South Korea

                           Samsonite South Korea Limited   Hyundai D-Cube_R                240 Geumhwa-ro                  Seo-gu                          Gwangju Metropolitan City 62048           South Korea

                           Samsonite South Korea Limited   NC Seomyeon(HOS)                240 Geumhwa-ro                  Seo-gu                          Gwangju Metropolitan City 62048           South Korea

KO175                      Samsonite South Korea Limited   AK Guro                         573 Guro-dong                   Guro-gu                         Seoul City                  08292         South Korea
KO176                      Samsonite South Korea Limited   AK Pyungtaik                    297 Pyeongtaek-dong             Pyeongtaek-si                   Gyeonggi-do                 17912         South Korea
                           Samsonite South Korea Limited   AK Pyungtaik(GR)                297 Pyeongtaek-dong             Pyeongtaek-si                   Gyeonggi-do                 17912         South Korea
KO178                      Samsonite South Korea Limited   Galleria Suwon                  1125-1 Ingye-dong               Paldal-gu, Suwon-si             Gyeonggi-do                 16491         South Korea

KO179                      Samsonite South Korea Limited   Hyundai Busan                   62-5 Beomil-dong                Dong-gu                         Busan Metropolitan City     48735         South Korea
KO180                      Samsonite South Korea Limited   Hyundai Donggu                  105 Seobu-dong                  Dong-gu                         Ulsan Metropolitan City     44033         South Korea
KO181                      Samsonite South Korea Limited   Hyundai Kintax                  2602 Daehwa-dong                Ilsanseo-gu, Goyang-            Gyeonggi-do                 10391         South Korea
                                                                                                                           si
KO182                      Samsonite South Korea Limited   Hyundai Main                    429 Apgujeong-dong              Gangnam-gu                      Seoul City                  06001         South Korea
                           Samsonite South Korea Limited   Hyundai Main(HM)                165 Apgujeong-ro                Gangnam-gu                      Seoul City                  06001         South Korea
                           Tumi                            Hyundai Main(TU)                165 Apgujeong-ro                Gangnam-gu                      Seoul City                  06001         South Korea
KO183                      Samsonite South Korea Limited   Hyundai Ulsan                   1521-1 Samsan-dong              Nam-gu                          Ulsan Metropolitan City     44705         South Korea
                           Samsonite South Korea Limited   Hyundai Ulsan_R                 261 Samsan-ro                   Nam-gu                          Ulsan Metropolitan City     44705         South Korea
                           Samsonite South Korea Limited   Hyundai Ulsan(GR)               1521-1 Samsan-dong              Nam-gu                          Ulsan Metropolitan City     44705         South Korea
KO184                      Samsonite South Korea Limited   Lotte Anyang                    88-1 Anyang-dong                Manan-gu, Anyang-               Gyeonggi-do                 13992         South Korea
                                                                                                                           si
KO185                      Samsonite South Korea Limited   Lotte Bundang                   14 Sunae-dong                   Bundang-gu,                     Gyeonggi-do                 13595         South Korea
                                                                                                                           Seongnam-si
KO186                      Samsonite South Korea Limited   Lotte Bupyung                   70-127 Bupyeong-dong            Bupyeong-gu                     Incheon Metropolitan City   21387         South Korea

KO187                      Samsonite South Korea Limited   Lotte Centumcity                1469 U-dong                     Haeundae-gu                     Busan Metropolitan City     48058         South Korea
                           Samsonite South Korea Limited   Shinsegye Centumcity            1469 U-dong                     Haeundae-gu                     Busan Metropolitan City     48058         South Korea
                           Tumi                            Lotte Centumcity(TU)            1469 U-dong                     Haeundae-gu                     Busan Metropolitan City     48058         South Korea
KO188                      Samsonite South Korea Limited   Lotte Daegu                     302-155 Chilseong 2-ga          Buk-gu                          Daegu Metropolitan City     41581         South Korea
                           Samsonite South Korea Limited   Lotte Daegu(RED)                302-155 Chilseong 2-ga          Buk-gu                          Daegu Metropolitan City     41581         South Korea
KO189                      Samsonite South Korea Limited   Lotte Daegu Youngplaza(MBS)     15-1 Sail-dong                  Jung-gu                         Daegu Metropolitan City     41909         South Korea
                           Samsonite South Korea Limited   Lotte Daegu Youngplaza(LP)      585 Gukchaebosang-ro            Jung-gu                         Daegu Metropolitan City     41909         South Korea
KO190                      Samsonite South Korea Limited   Lotte Donglae                   502-3 Oncheon-dong              Dongnae-gu                      Busan Metropolitan City     47727         South Korea
KO191                      Samsonite South Korea Limited   Lotte Gwanak(HOS)               729-22 Bongcheon-dong           Gwanak-gu                       Seoul City                  08708         South Korea
KO192                      Samsonite South Korea Limited   Lotte Ilsan                     784 Janghang-dong               Ilsandong-gu,                   Gyeonggi-do                 10401         South Korea
                                                                                                                           Goyang-si
                           Samsonite South Korea Limited   Lotte Ilsan(LP)                 784 Janghang-dong               Ilsandong-gu,                   Gyeonggi-do                 10401         South Korea
                                                                                                                           Goyang-si
KO193                      Samsonite South Korea Limited   Lotte Incheon                   1455 Guwol-dong                 Namdong-gu                      Incheon Metropolitan City   21573         South Korea

KO194                      Samsonite South Korea Limited   Lotte Gangnam                   937 Daechi-dong                 Gangnam-gu                      Seoul City                  06206         South Korea
KO195                      Samsonite South Korea Limited   Lotte Main                      2 Sogong-dong                   Jung-gu                         Seoul City                  04532         South Korea
KO196                      Samsonite South Korea Limited   Lotte Mia                       70-6 Mia-dong                   Gangbuk-gu                      Seoul City                  01215         South Korea
KO197                      Samsonite South Korea Limited   Lotte Pohang                    62 Haksan-ro                    Buk-gu, Pohang-si               Gyeongsangbuk-do            37718         South Korea
KO198                      Samsonite South Korea Limited   Lotte Starcity                  227-342 Jayang-dong             Gwangjin-gu                     Seoul City                  05065         South Korea
KO199                      Samsonite South Korea Limited   Lotte Ulsan                     1480-1 Samsan-dong              Nam-gu                          Ulsan Metropolitan City     44719         South Korea
                           Samsonite South Korea Limited   Lotte Ulsan(GR)                 288 Samsan-ro                   Nam-gu                          Ulsan Metropolitan City     44719         South Korea
KO200                      Tumi                            Debec Plaza(TU)                 333 Myeongdeok-ro               Jung-gu                         Daegu Metropolitan City     41953         South Korea
KO201                      Samsonite South Korea Limited   NC Donga                        1273 Beommul-dong               Suseong-gu                      Daegu Metropolitan City     42198         South Korea
KO202                      Samsonite South Korea Limited   E-Land Gangseo                  686, 689-1, 689-2 Deungchon-    Gangseo-gu                      Seoul City                  07573         South Korea
                                                                                                                                                                                                                                                                                                                        UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 125 of 173 Trans ID: LCV2021133181




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Location No.   Index No.   Org Unit                        Name                            Street                           City                County   State/Prov                  Postal Code   Country

KO203                      Samsonite South Korea Limited   Shinsegae Daejeon Stylemarket   63-3 Yongjeon-dong               Dong-gu                      Daejeon Metropolitan City 34551           South Korea

KO204                      Samsonite South Korea Limited   Shinsegye Gwangju               49-1 Gwangcheon-dong             Seo-gu                       Gwangju Metropolitan City 61937           South Korea

KO205                      Samsonite South Korea Limited   Shinsegye Main                  52-5 Chungmuro 1-ga              Jung-gu                      Seoul City                  04530         South Korea
                           Tumi                            Shinsegye Main(TU)              52-5 Chungmuro 1-ga              Jung-gu                      Seoul City                  04530         South Korea
KO206                      Samsonite South Korea Limited   Shinsegye Masan                 10-3 Sanho-dong                  Masanhappo-gu                Gyeongsangnam-do            51330         South Korea
KO208                      Samsonite South Korea Limited   Shinsegye Youngdeungpo          434-5 Yeongdeungpo-dong 4-ga     Yeongdeungpo-gu              Seoul City                  07305         South Korea

KO209                      Samsonite South Korea Limited   Sangsu(Gregory)                 47 Dongmak-ro 7-gil 1F        Mapo-gu                         Seoul City                  04043         South Korea
KO210                      Samsonite South Korea Limited   Lotte Guri Outlet(AT)           47 Donggureung-ro 136beon-gil Guri-si                         Gyeonggi-do                 11915         South Korea

KO211                      Samsonite South Korea Limited   Lotte Uijeongbu Outlet(AT)      804-6 Millak-dong                Uijeongbu-si                 Gyeonggi-do                 11813         South Korea
KO212                      Samsonite South Korea Limited   Lotte Gwanggyo                  1338 Iui-dong                    Yeongtong-gu,                Gyeonggi-do                 16508         South Korea
                                                                                                                            Suwon-si
KO213                      Samsonite South Korea Limited   Hyundai Songdo                  123 Songdogukje-daero            Yeonsu-gu                    Incheon Metropolitan City   21984         South Korea

KO214                      Samsonite South Korea Limited   Shinsegae Starfield Hanam(HOS) 750 Misa-daero                    Hanam-si                     Gyeonggi-do                 12942         South Korea

                           Samsonite South Korea Limited   Shinsegae Starfield Hanam(GR)   750 Misa-daero                   Hanam-si                     Gyeonggi-do                 12942         South Korea
KO215                      Samsonite South Korea Limited   Lotte Jinju                     35 Chungmugong-dong              Jinju-si                     Gyeongsangnam-do            52851         South Korea
KO216                      Samsonite South Korea Limited   Dobong Mountain(GR)             45 Dobongsan-gil                 Dobong-gu                    Seoul City                  01302         South Korea
KO217                      Samsonite South Korea Limited   Hyundai Pangyo                  541 Baekhyeon-dong               Bundang-gu,                  Gyeonggi-do                 13529         South Korea
                                                                                                                            Seongnam-si
                           Samsonite South Korea Limited   Hyundai Pangyo_R                541 Baekhyeon-dong               Bundang-gu,                  Gyeonggi-do                 13529         South Korea
                                                                                                                            Seongnam-si
                           Samsonite South Korea Limited                                   20 Pangyoyeok-ro 146beon-gil     Bundang-gu,                  Gyeonggi-do                 13529         South Korea
                                                                                                                            Seongnam-si
KO218                      Samsonite South Korea Limited   Lotte Ansan_R                   12 Gojan 1-gil                   Danwon-gu, Ansan-            Gyeonggi-do                 15360         South Korea
                                                                                                                            si
KO219                      Samsonite South Korea Limited   Lotte Cheongju(LP)              55 Sangdang-ro                   Sangdang-gu,                 Chungcheongbuk-do           28530         South Korea
                                                                                                                            Cheongju-si
KO220                      Samsonite South Korea Limited   Lotte Masan                     18 Dongseodong-ro                Masanhappo-gu,               Gyeongsangnam-do            51720         South Korea
                                                                                                                            Changwon-si
KO221                      Samsonite South Korea Limited   Lotte Sangin                    232 Wolbae-ro                    Dalseo-gu                    Daegu Metropolitan City     42809         South Korea
KO222                      Samsonite South Korea Limited   Hyundai City Outlet             20 Jangchungdan-ro 13-gil        Jung-gu                      Seoul City                  04563         South Korea
                                                           Dongdaemoon(HS)
                           Samsonite South Korea Limited   Hyundai City Dongdaemoon        20 Jangchungdan-ro 13-gil        Jung-gu                      Seoul City                  04563         South Korea
                                                           Outlet                          Euljiro 6-ga
KO223                      Samsonite South Korea Limited   Newcore Ilsan                   1206 Jungang-ro                  Ilsandong-gu,                Gyeonggi-do                 10414         South Korea
                                                                                                                            Goyang-si
KO224                      Samsonite South Korea Limited   Newcore Ansan                   20 Danggok-ro                    Danwon-gu, Ansan-            Gyeonggi-do                 15360         South Korea
                                                                                                                            si
KO225                      Samsonite South Korea Limited   Shinsegye Gimhae                24 Jeonha-ro 304beon-gil         Gimhae-si                    Gyeongsangnam-do            50938         South Korea
                           Samsonite South Korea Limited   Shinsegae Gimhae(RED)           24 Jeonha-ro 304beon-gil         Gimhae-si                    Gyeongsangnam-do            50938         South Korea
                           Samsonite South Korea Limited   Shinsegye Gimhae(LP)            24 Jeonha-ro 304beon-gil         Gimhae-si                    Gyeongsangnam-do            50938         South Korea
                           Samsonite South Korea Limited   Shinsegye Gimhae(GR)            24 Jeonha-ro 304beon-gil         Gimhae-si                    Gyeongsangnam-do            50938         South Korea
KO226                      Samsonite South Korea Limited   Homeplus Seogwipo               180 Jungang-ro                   Seogwipo-si                  Jejudo                      63585         South Korea
                           Samsonite South Korea Limited   Lotte Gwangbok(GR)              180 Jungang-ro                   Seogwipo-si                  Jejudo                      63585         South Korea
                                                                                                                                                                                                                                                                                                                      UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 126 of 173 Trans ID: LCV2021133181
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KO227                      Samsonite South Korea Limited   Homeplus CheongjuSeongan          346 Sajik-daero                   Sangdang-gu,                  Chungcheongbuk-do           28524         South Korea
                                                                                                                               Cheongju-si
KO228                      Samsonite South Korea Limited   E-Mart Pungsan                    237 Mugunghwa-ro                  Ilsandong-gu,                 Gyeonggi-do                 10311         South Korea
                                                                                                                               Goyang-si
                           Samsonite South Korea Limited   Hyundai Shinchon(LP)              237 Mugunghwa-ro                  Ilsandong-gu,                 Gyeonggi-do                 10311         South Korea
                                                                                                                               Goyang-si
KO229                      Samsonite South Korea Limited   Lotte Mart Cheongju               15 Pungsan-ro                     Heungdeok-gu,                 Chungcheongbuk-do           28396         South Korea
                                                                                                                               Cheongju-si
KO232                      Tumi                            Shinsegye Daegu(TU)               328-2 Sincheon-dong               Dong-gu                       Daegu Metropolitan City     41243         South Korea
                           Samsonite South Korea Limited   Shinsegye Daegu                   328-2 Sincheon-dong               Dong-gu                       Daegu Metropolitan City     41243         South Korea
                           Samsonite South Korea Limited   Shinsegye Daegu(RED)              328-2 Sincheon-dong               Dong-gu                       Daegu Metropolitan City     41243         South Korea
                           Samsonite South Korea Limited   Shinsegye Daegu(HM)               328-2 Sincheon-dong               Dong-gu                       Daegu Metropolitan City     41243         South Korea
KO233                      Samsonite South Korea Limited   Lotte Eunpyeong MALL(HOS)         79-15 Jingwan-dong                Eunpyeong-gu                  Seoul City                  03306         South Korea
KO235                      Samsonite South Korea Limited   Hyundai/GardenFive(AT)            66 Chungmin-ro                    Songpa-gu                     Seoul City                  05838         South Korea
KO236                      Samsonite South Korea Limited   Shinsegae Starfield Goyang(HOS)   1972-8 Goyang-daero               Deogyang-gu,                  Gyeonggi-do                 10596         South Korea
                                                                                                                               Goyang-si
                           Samsonite South Korea Limited   Shinsegae Starfield Goyang(LP)    1972-8 Goyang-daero               Deogyang-gu,                  Gyeonggi-do                 10596         South Korea
                                                                                                                               Goyang-si
KO237                      Samsonite South Korea Limited   Namak Lotte Outlet                2622 Namak-ri, Samhyang-eup       Muan-gun                      Jeollanam-do                58579         South Korea
KO238                      Samsonite South Korea Limited   Gwangyang LF Outlet               707 Deongnye-ri                   Gwangyang-si                  Jeollanam-do                58222         South Korea
KO239                      Samsonite South Korea Limited   Siheung Simon Outlet              699 Seohaean-ro                   Siheung-si                    Gyeonggi-do                 15010         South Korea
KO240                      Samsonite South Korea Limited   Newcore Moran                     1136 Seongnam-daero               Jungwon-gu,                   Gyeonggi-do                 13365         South Korea
                                                                                                                               Seongnam-si
KO241                      Samsonite South Korea Limited   Taepyung(AT)                      115 Dongjak-daero                 Dongjak-gu                    Seoul City                  07008         South Korea
KO242                      Samsonite South Korea Limited   NC Bulgwang(AT)                   20 Bulgwang-ro                    Eunpyeong-gu                  Seoul City                  03397         South Korea
KO243                      Samsonite South Korea Limited   Newcore Ulsan                     217 Samsan-ro                     Nam-gu                        Ulsan Metropolitan City     44703         South Korea
KO244                      Samsonite South Korea Limited   Hyungji Artmalling Busan(RED)     1413 Nakdongnam-ro                Saha-gu                       Busan Metropolitan City     49311         South Korea

KO245                      Samsonite South Korea Limited   Galleria LuxuryHall_HM            343 Apgujeong-ro                  Gangnam-gu                    Seoul City                  06008         South Korea
                           Tumi                            Galleria LuxuryHall_TU            343 Apgujeong-ro                  Gangnam-gu                    Seoul City                  06008         South Korea
                           Tumi                            Galleria LuxuryHall_TU            343 Apgujeong-ro                  Gangnam-gu                    Seoul City                  06008         South Korea
KO246                      Samsonite South Korea Limited   Debec Outlet                      454 Dongdaegu-ro                  Dong-gu                       Daegu Metropolitan City     41250         South Korea
KO247                      Samsonite South Korea Limited   Lotte Mart Siheungbaegot          67 Seouldaehak-ro 278beon-gil     Siheung-si                    Gyeonggi-do                 15011         South Korea
KO248                      Samsonite South Korea Limited   Homeplus Pajuunjeong              927 Mokdong-dong                  Paju-si                       Gyeonggi-do                 10892         South Korea
KO249                      Samsonite South Korea Limited   E-Mart Seosuwon                   291 Suin-ro                       Gwonseon-gu,                  Gyeonggi-do                 16405         South Korea
                                                                                                                               Suwon-si
KO250                      Samsonite South Korea Limited   E-Mart Chunheon                   2353 Gyeongchun-ro                Chuncheon-si                  Gangwon-do                  24435         South Korea
KO252                      Samsonite South Korea Limited   Homeplus Chengna                  587 Jungbong-daero                Seo-gu                        Incheon Metropolitan City   22762         South Korea

KO253                      Samsonite South Korea Limited   Homeplus Inha                     6 Soseong-ro                      Nam-gu                        Incheon Metropolitan City   22201         South Korea

KO254                      Samsonite South Korea Limited   E-Mart Mokpo                      138 Ogam-ro                  Mokpo-si                           Jeollanam-do                58657         South Korea
KO255                      Samsonite South Korea Limited   E-Mart Hanam                      70 Deokpungseo-ro            Hanam-si                           Gyeonggi-do                 12927         South Korea
KO256                      Samsonite South Korea Limited   E-Mart Gimpo Hangang              71 Gimpohangang 7-ro         Gimpo-si                           Gyeonggi-do                 10071         South Korea
KO257                      Samsonite South Korea Limited   Galleria Centercity(GR)           Gimpohangang 7-ro            Gimpo-si                           Gyeonggi-do                 10071         South Korea
                           Samsonite South Korea Limited   2001Outlet Bupyeong               Gimpohangang 7-ro            Gimpo-si                           Gyeonggi-do                 10071         South Korea
                           Samsonite South Korea Limited   E-Land Gangseo(GR)                Gimpohangang 7-ro            Gimpo-si                           Gyeonggi-do                 10071         South Korea
KO258                      Samsonite South Korea Limited   E-Mart Dongtan                    44 Seoku-dong                Hwaseong-si                        Gyeonggi-do                 18451         South Korea
KO259                      Samsonite South Korea Limited   Grand Avenue Pohang               77 Jungheung-ro              Nam-gu, Pohang-si                  Gyeongsangbuk-do            37761         South Korea
KO260                      Samsonite South Korea Limited   E-Mart Traders Gimpo              16-10 Pungmu-dong            Gimpo-si                           Gyeonggi-do                 10113         South Korea
KO261                      Samsonite South Korea Limited   Lotte Outlet Goyang AT            420 Gwonyul-daero 1F         Deogyang-gu,                       Gyeonggi-do                 10551         South Korea
                                                                                                                          Goyang-si
KO262                      Samsonite South Korea Limited   Megamart Shinseondowon mal        54B1N Jinjangmyeongchonjigu, Buk-gu                             Ulsan Metropolitan City     44250         South Korea
                                                                                             Jinjang-dong
                                                                                                                                                                                                                                                                                                                          UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 127 of 173 Trans ID: LCV2021133181




KO263                      Samsonite South Korea Limited   Homeplus Sejong                   154 Jeoljae-ro                    Sejong-si                                                 30102         South Korea
KO264                      Samsonite South Korea Limited   E-Mart Pyungchon                  300 Simin-daero                   Dongan-gu, Anyang-            Gyeonggi-do                 14066         South Korea
                                                                                                                               si
KO265                      Samsonite South Korea Limited   Homeplus Gumi                     174 Gumi-daero                    Gumi-si                       Gyeongsangbuk-do            39347         South Korea
KO266                      Samsonite South Korea Limited   E-Mart Namyangju                  27 Neureul 2-ro                   Namyangju-si                  Gyeonggi-do                 12149         South Korea
                                                                                                                                                                                                                                           Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 150 of 239 PageID: 157




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Location No.   Index No.   Org Unit                        Name                          Street                             City                 County   State/Prov                Postal Code   Country

KO267                      Samsonite South Korea Limited   E-Mart Wolbae                 92 Jincheon-ro                     Dalseo-gu                     Daegu Metropolitan City   42778         South Korea
KO268                      Samsonite South Korea Limited   E-Mart Bundangnggi-do         134 Buljeong-ro                    Bundang-gu,                   Gyeonggi-do               13605         South Korea
                                                                                                                            Seongnam-si
KO269                      Samsonite South Korea Limited                                 1283 Jungang-ro                    Ilsandong-gu,                 Gyeonggi-do               10401         South Korea
                                                                                                                            Goyang-si
KO270                      Samsonite South Korea Limited                                 379 Ttukseom-ro                    Seongdong-gu                  Seoul City                04781         South Korea
KO271                      Samsonite South Korea Limited                                 130 Jochon-ro                      Gunsan-si                     Jeollabuk-do              54072         South Korea
KO272                      Samsonite South Korea Limited   Warehouse                     San-16, #2 Daeshin-myun            Yeoju-City                    Gyeonggi-do                             South Korea
                                                                                         Chohyun-ri Kyoungki
MC01           MC0006.00   Samsonite Macau Limitada        The Grand Canal Shoppes       Estrada da Baia de Nossa      Taipa                                                                      Macao
                                                                                         Senhora da Esperanca s/n Shop
                                                                                         2527a, Venetian Macao-Resort-
                                                                                         Hotel The Cotai Strip
                           Tumi Asia (Macau) Co. Ltd.      Venetian                      Estrada da Baia de Nossa      Taipa                                                                      Macao
                                                                                         Senhora da Esperanca s/n Shop
                                                                                         2707, Venetian Macao-Resort-
                                                                                         Hotel The Grand Canal Shoppes

                           Samsonite Macau Limitada        The Grand Canal Shoppes       Sun Street K63 Level 3,            Taipa                                                                 Macao
                                                                                         Venetian Macao-Resort-Hotel
                                                                                         The Grand Canal Shoppes
MC02                       Tumi Asia (Macau) Co. Ltd.      One Central                   Avenida de Sagres Shop 240,        Macau                                                                 Macao
                                                                                         2/F, One Central Macau Nape
MC03                       Samsonite Macau Limitada        RL Cotai                      Sands Cotai Central, The Cotai     Taipa                                                                 Macao
                                                                                         Strip Shop 2118A, Level 2,
                                                                                         Shoppes at Cotai Central
MC04                       Samsonite Macau Limitada        Galaxy                        Galaxy Resort & Casino Phase 2     Cotai                                                                 Macao
                                                                                         Shop 1018
                           Tumi Asia (Macau) Co. Ltd.      Galaxy                        Nascente da Avenida Marginal       Cotai                                                                 Macao
                                                                                         Flor de Lótus e a Sul da Estrada
                                                                                         Shop 1028, 1/F, Galaxy Macau
                                                                                         Resort
MC05                       Tumi Asia (Macau) Co. Ltd.      New Yaohan                    Avenida Comercial de Macau         Macau                                                                 Macao
                                                                                         2/F New Yaohan
MX01                       Samsonite Corporation           Guadalajara BL                Avenida Rafael Sanzio 150, La      Zapopan                       Jalisco                   45030         Mexico
                                                                                         Estancia Local N-15, Nivel
                                                                                         Terraza
MX02                       Samsonite Corporation           Tienda Cuautitlan             Calzada de la Venta 25,            Cuautitlan Izcalli            México                    54730         Mexico
                                                                                         Complejo Industrial Cuamatla
MX03                       Samsonite Corporation           Punta Norte                   Hacienda Sierra Vieja 2,           Cuautitlan Izcalli            México                    54769         Mexico
                                                                                         Hacienda del Parque Lote 2
                           Samsonite Corporation           Tumi Punta Norte              Hacienda Sierra Vieja N° 2 Col.    Cuautitlan Izcalli            México                    54769         Mexico
                                                                                         Hacienda del Parque
MX04                       Samsonite Corporation           Tienda Centro                 Avenida Isabel La Catolica 30,     Cuauhtemoc                    Ciudad de México          06000         Mexico
                                                                                         Centro Local 4
MX05                       Samsonite Corporation           Tienda Lerma                  Autopista Mexico-Toluca km         Lerma                         México                    52000         Mexico
                                                                                         50, Lerma de Villada Centro
                                                                                         Comercial las Plazas Local 88
MX06                       Samsonite Corporation           Tlaquepaque                   Boulevard Marcelino Garcia         Guadalajara                   Jalisco                   44840         Mexico
                                                                                         Barragan 2077 Local PB-50,
                                                                                         Prados Del Nilo
MX07           002953.37   Speck Holdings, LLC             North American Production     Avenida Ferrocarril 16901          Tijuana                       Baja California           22226         Mexico
                                                           Sharing Mexico SA de CV       Building 63 Rio Tijuana 3a
                                                                                         Etapa
                           Speck Holdings, LLC             North American Production     Via Rapida Poniente 16955          Tijuana                       Baja California           22226         Mexico
                                                                                                                                                                                                                                                                                                                     UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 128 of 173 Trans ID: LCV2021133181




                                                           Sharing Mexico SA de CV       Building 61 Rio Tijuana 3a
                                                                                         Etapa
                           Speck Holdings, LLC             North American Production     Via Rapida Poniente 16955          Tijuana                       Baja California           22226         Mexico
                                                           Sharing Mexico SA de CV       Building 62 Rio Tijuana 3a
                                                                                         Etapa
                                                                                                                                                                                                                                      Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 151 of 239 PageID: 158




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MX08                       Samsonite Corporation   Tienda Antara                   Avenida Ejercito Nacional 843,     Miguel Hidalgo                 Ciudad de México   11520         Mexico
                                                                                   Granada Local D 102
MX09           001230.45   Samsonite Corporation   CPA Logistics Center San Martin Autopista Chamapa Lecheria km      Cuautitlan Izcalli             México             54769         Mexico
                                                   Obispo/Oficinas                 2, San Martin Obispo
MX10           001759.69   Samsonite Corporation   Sillas                          Avenida Jesus Jimenez Gallardo     Cuautitlan Izcalli             México             54714         Mexico
                                                                                   5-C Industrial Xhala
MX11                       Samsonite Corporation   Galerias Monterrey              Avenida Lazaro Cardenas 1000,      Monterrey                      Nuevo León         66260         Mexico
                                                                                   Valle del Mirador Local 1113

MX12                       Samsonite Corporation   Tienda Leon                    Boulevard Aeropuerto 841,           Leon                           Guanajuato         37295         Mexico
                                                                                  Santa Anita Local F02
MX13                       Samsonite Corporation   Santa Fe                       Avenida Vasco de Quiroga            Cuajimalpa de                  Ciudad de México   05348         Mexico
                                                                                  3800, Santa Fe Local 358, Piso      Morelos
                                                                                  1, Antigua Mina La Totolapa
                           Samsonite Corporation   Tumi Centro Comercial Santa Fe Avenida Vasco de Quiroga            Cuajimalpa de                  Ciudad de México   05348         Mexico
                                                                                  3800, Santa Fe Local 217 p.b.,      Morelos
                                                                                  Antigua Mina La Totolapa
MX14                       Samsonite Corporation   Tienda Monterrey               Avenida Insurgentes 2500 Local      Monterrey                      Nuevo León         64620         Mexico
                                                                                  663, Vista Hermosa
MX15                       Samsonite Corporation   Plaza Satelite                 Circuito Centro Comercial 2251,     Naucalpan de Juarez            México             53100         Mexico
                                                                                  Ciudad Satelite Local R-375

MX16                       Samsonite Corporation   Galerias Toluca                 Avenida 1ro de Mayo 1700,          Toluca                         México             50160         Mexico
                                                                                   Toluca de Lerdo Local 342,
                                                                                   Santa Ana Tlapaltitlan
MX17                       Samsonite Corporation   Parque Delta                    Avenida Cuauhtemoc 462,            Benito Juarez                  Ciudad de México   03020         Mexico
                                                                                   Narvarte Local 217
MX18                       Samsonite Corporation   Tienda Cancun                   Carretera Cancun-Chetumal km       Benito Juarez                  Quintana Roo       77500         Mexico
                                                                                   22, Cancun Unidad 1 Cun 2263
                                                                                   Planta Baja, Lado, Aire Terminal
                                                                                   2
                           Samsonite Corporation   Cancun T4                       Carretera Cancun-Chetumal km       Benito Juarez                  Quintana Roo       77500         Mexico
                                                                                   22, Cancun Planta Alta Local
                                                                                   40404, Terminal 4
MX19                       Samsonite Corporation   Galerias Tabasco                Prolongacion Paseo Tabasco         Centro                         Tabasco            86035         Mexico
                                                                                   1405, Villahermosa Desarrollo
                                                                                   Urbano Tabasco 2000 Local 118

MX20                       Samsonite Corporation   Tienda Puebla                   Autopista Mexico Puebla km         Coronango                      Puebla             72670         Mexico
                                                                                   115 San Francisco Ocotlan Local
                                                                                   H-4B
MX21                       Samsonite Corporation   Tienda Perisur                  Anillo Periferico Sur 4690         Coyoacan                       Ciudad de México   04500         Mexico
                                                                                   Ampliacion del Pedregal de San
                                                                                   Angel Local 153
MX23                       Samsonite Corporation   Galerias Coapa                  Calzada del Hueso 519              Tlalpan                        Ciudad de México   14300         Mexico
                                                                                   Residencial Acoxpa Local 231
MX24                       Samsonite Corporation   Tabla Honda                     Calle Roble 3 Manzana 12           Tlalnepantla de Baz            México             54126         Mexico
                                                                                   Fraccionamiento Industrial Tabla
                                                                                   Honda
MX25                       Samsonite Corporation   Galerias Atizapan               Avenida Ruiz Cortines 255          Atizapan de                    México             52977         Mexico
                                                                                   Manzana 2, Lote 367, Col. Las      Zaragoza
                                                                                   Margaritas
MX26                       Samsonite Corporation   Parque Tezontle                 Avenida Canal de Tezontle 1512     Iztapalapa                     Ciudad de México   09020         Mexico
                                                                                   Col. Alfonso Ortiz Tirado
MX27                       Samsonite Corporation   Vía Vallejo                     Calzada Vallejo 1090, Santa        Azcapotzalco                   Ciudad de México   02340         Mexico
                                                                                                                                                                                                                                                                                                     UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 129 of 173 Trans ID: LCV2021133181




                                                                                   Cruz de las Salinas Local L167-
                                                                                   B
MX28                       Samsonite Corporation   Sentura Zamora                  Carretera Zamora-La Barca Km       Zamora                         Michoacán          59600         Mexico
                                                                                   4.5 L400, Col. Lagos del Bosque
                                                                                                                                                                                                                      Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 152 of 239 PageID: 159




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MX29                       Samsonite Corporation   Antea Queretaro                 Carretera San Luis Potosi-        Queretaro                      Querétaro          76127         Mexico
                                                                                   Queretaro 12401 Col. Felix
                                                                                   Osores
MX30                       Samsonite Corporation   Parque Lindavista               Colector 13 280, Magdalena de     Gustavo A. Madero              Ciudad de México   07760         Mexico
                                                                                   las Salinas L262-L263
MX31                       Samsonite Corporation   Tienda Cuernavaca               Jacarandas 103, Ricardo Flores    Cuernavaca                     Morelos            62370         Mexico
                                                                                   Magon Local PB 18-C
MX32                       Samsonite Corporation   Parques Toreo                   Boulevard Manuel Avila            Naucalpan de Juarez            México             53390         Mexico
                                                                                   Camacho 5, Lomas de Sotelo
                           Samsonite Corporation   Oficinas                        Boulevard Manuel Avila            Naucalpan de Juarez            México             53390         Mexico
                                                                                   Camacho 5, Lomas de Sotelo
                                                                                   Torre A Piso 14
MX33                       Samsonite Corporation   Plaza Aragon                    Avenida Carlos Hank Gonzalez      Ecatepec de Morelos            México             55140         Mexico
                                                                                   Interior 167 Col. Rinconada de
                                                                                   Aragon
MX34                       Samsonite Corporation   Galerias Queretaro              Avenida 5 de Febrero 99, Los      Santiago de                    Querétaro          76175         Mexico
                                                                                   Virreyes                          Queretaro
MX35                       Samsonite Corporation   Plaza Tlalnepantla              Avenida Sor Juana Ines de la      Tlalnepantla de Baz            México             54033         Mexico
                                                                                   Cruz 280, San Lorenzo
MX36                       Samsonite Corporation   Madero                          Avenida Francisco I Madero 14,    Cuauhtemoc                     Ciudad de México   06010         Mexico
                                                                                   Centro Local 3
MX38                       Samsonite Corporation   Altacia Leon                    Boulevard Aeropuerto 104,         Leon                           Guanajuato         37530         Mexico
                                                                                   Cerrito de Jerez Local 1045
MX39                       Samsonite Corporation   Plaza Patria                    Avenida Patria, Jacarandas S/N    Zapopan                        Jalisco            45160         Mexico
                                                                                   Local M 14
MX40                       Samsonite Corporation   Parque Puebla                   Calzada Ignacio Zaragoza 410,     Puebla                         Puebla             72220         Mexico
                                                                                   Industrial La Cienega Local 26
MX42                       Samsonite Corporation   Tienda Parque las Antenas       Avenida Periferico 3276, 3278,    Iztapalapa                     Ciudad de México   09910         Mexico
                                                                                   La Esperanza Local L 174,
                                                                                   Primer Nivel Centro Comercial
                                                                                   Parque las Antenas
MX43                       Samsonite Corporation   Tienda San Pedro Monterrey      Avenida Jose Vasconcelos 402,     San Pedro Garza                Nuevo León         66220         Mexico
                                                                                   Del Valle Local 126 p.b. Centro   Garcia
                                                                                   Comercial Paseo San Pedro

MX44                       Samsonite Corporation   Centro Comercia Plaza            Avenida Universidad 1000,     Benito Juarez                     Ciudad de México   03310         Mexico
                                                   Universidad                      Santa Cruz Atoyac Local A-31-
                                                                                    33 Centro Comercial Plaza
                                                                                    Universidad
MX46                       Samsonite Corporation   Centro Internacional de Comercio Avenida Prolongacion Hidalgo Tlalnepantla de Baz                México             54010         Mexico
                                                   SA de CV                         62 San Pedro Barrientos

MX47                       Samsonite Corporation   Pantaco                         Cerrada de Acalotenco 237, San    Azcapotzalco                   Ciudad de México   02040         Mexico
                                                                                   Sebastian Bodega 92
MX48                       Samsonite Corporation   E Commerce                      Carretera Tepozotlan La Aurora    Cuautitlan Izcalli             México             54761         Mexico
                                                                                   km 1, Cuatro Milpas
MX49                       Samsonite Corporation   Playa del Carmen                Calle Norte esq Quinta Avenida    Playa del Carmen               Quintana Roo       77710         Mexico
                                                                                   Manzana 20
MX50                       Samsonite Corporation   Outlet Toreo                    Blvd Manuel Avila Camacho         Estado de México               México             53390         Mexico
                                                                                   #130 Local B
MX51                       Samsonite Corporation   Plaza Universidad               Av Universidad #1000 Sta Cruz     Benito Juarez                  Ciudad de México   03310         Mexico
                                                                                   Atoyac
MX52                       Samsonite Corporation   Angelopolis                     Blvd Del Niño Poblano 2510        Puebla                         Puebla             72450         Mexico
MX53                       Samsonite Corporation   Duraznos                        Bosque de Duraznos #39 esq        Mexico                         Ciudad de México   11700         Mexico
                                                                                                                                                                                                                                                                                                        UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 130 of 173 Trans ID: LCV2021133181




                                                                                   Bosque de Ciruelos
MX54                       Samsonite Corporation   Outlet Queretaro                Km 6300 Carretera Celaya          Querétaro                      Querétaro          76904         Mexico
                                                                                   Queretaro Municipio la
                                                                                   Corregidora
MX55                       Samsonite Corporation   Tumiperisur                     Av Anillo periferico 4690 Col     Mexico                         Ciudad de México   04530         Mexico
                                                                                   Insurgentes sur
                                                                                                                                                                                                                         Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 153 of 239 PageID: 160




NL02           NE3665.00   Samsonite B.V.          Bijenkorf Amsterdam             Dam 1                             Amsterdam                      Noord Holland      1012 JS       Netherlands
NL03                       Samsonite B.V.          Bijenkorf Den Haag              Wagenstraat 32                    Den Haag                       Zuid Holland       2512 AX       Netherlands
NL04                       Samsonite B.V.          Bijenkorf Rotterdam             Coolsingel 105                    Rotterdam                      Zuid Holland       3012 AG       Netherlands
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NL05           NE3994.00   Samsonite B.V.                 Bijenkorf Eindhoven             Piazza 1                             Eindhoven                      Noord Brabant           5611 AE       Netherlands
NL07                       Samsonite B.V.                 Bijenkorf Utrecht               St.-Jacobsstraat 11                  Utrecht                        Utrecht                 3511 BR       Netherlands
NL11                       Samsonite B.V.                 Roermond Designer Outlet Centre Stadsweide 2                         Roermond                       Limburg                 6041 TD       Netherlands

                           Samsonite B.V.                 Tumi Roermond Designer Outlet    Stadsweide 2 Unit 342               Roermond                       Limburg                 6041 TD       Netherlands
                                                          Center
NL77                       Samsonite B.V.                 Showroom Eerste Toren Fashion    Koningin Wilhelminaplein 13         Amsterdam                      Noord Holland           1062 HH       Netherlands
                                                          Center
NL78                       Samsonite B.V.                 Batavia                          Bataviaplein 333                    Lelystad                       Flevoland               8242 PV       Netherlands
NL87                       Samsonite B.V.                 Rosada                           Rosada 70                           Roosendaal                     Noord Brabant           4703 TB       Netherlands
NL88                       Samsonite B.V.                 Bijenkorf                        Zevenheuvelenweg 82                 Tilburg                        Noord Brabant           5048 AN       Netherlands
NO01                       Samsonite Norge AS             Department Store Steen & Strom   nedre Slottsgate 8                  Oslo                           Oslo                    0157          Norway

NO02                       Samsonite Norge AS             Rolling Luggage Store            Edvard Munchs veg 150               Gardermoen                     Akershus                2060          Norway
                           Samsonite Norge AS             SAS Ground Handling              Edvard Munchs veg                   Gardermoen                     Akershus                2060          Norway
                                                          Gardemoen AP
NO03                       Samsonite Norge AS             High Street Store                Bogstadveien 23               Oslo                                 Oslo                    0355          Norway
NZ03                       Samsonite Australia Pty Ltd.   New Zealand                      17 David McCathie Place       Silverdale                           Auckland                0932          New Zealand
PH01           PH0816.00   Gregory                        Dong-In-Sunbirds Corporation     Mindanao Avenue Phase II, FAB Mariveles                            Bataan                  2106          Philippines

                           Samsonite Asia Ltd.            Dong-In-Sunbirds Corporation     Mindanao Avenue Phase II, FAB Mariveles                            Bataan                  2106          Philippines
                                                          (FG Gregory only)                Maligaya
PL01                       Samsonite Spolka z.o.o.        Fashion House Outlet Centre      Ulica Pulawska 42E Unit W11 Piaseczno                              Mazowieckie             05-500        Poland
                                                          Warszawa, Piaseczno
PL02                       Samsonite Spolka z.o.o.        Store Zlote Tarasy               Ulica Zlota 59 Unit 271, 272        Warszawa                       Mazowieckie             00-120        Poland
PL03                       Samsonite Spolka z.o.o.        Factory Warsaw Annopol           Ulica Annopol 2 Unit 122            Warszawa                       Mazowieckie             03-236        Poland
PL04                       Samsonite Spolka z.o.o.        Store Poznan                     Ulica Bukowska 156 Unit B411        Poznan                         Wielkopolskie           60-189        Poland
PL05                       Samsonite Spolka z.o.o.        Store Sadyba                     Ulica Powsinska 31 Unit 145         Warszawa                       Mazowieckie             02-903        Poland
PL06                       Samsonite Spolka z.o.o.        Store Blue City Mall             Aleje Jerozolimskie 179 Unit        Warszawa                       Mazowieckie             02-222        Poland
                                                                                           1/14
PL07                       Samsonite Spolka z.o.o.                                         Ulica Kolektorska Premises No.      Warszawa                       Mazowieckie             01-692        Poland
                                                                                           1, 1st Floor Parking Place No. 5,
                                                                                           Underground Garage
PL08                       Samsonite Spolka z.o.o.        Store Arkadia                    Aleja Jana Pawla II 82 Unit 58B     Warszawa                       Mazowieckie             00-175        Poland

PL10                       Samsonite Spolka z.o.o.        Store Poznania                   Ulica Pleszewska 1                  Poznan                         Wielkopolskie           61-136        Poland
PL12                       Samsonite Spolka z.o.o.        Store Targowek Mall              Ulica Glebocka 15                   Warszawa                       Mazowieckie             03-287        Poland
RU02           RU0598.00   Samsonite OOO                  Gum Store Bags                   Krasnaya ploshchad' 3 GUM           Moskva                         Moscow (federal city)   109012        Russian Federation
RU05                       Samsonite OOO                  Ramstor Kapitoliy (R-7)          Vernadskogo prospekt 6              Moskva                         Moscow (federal city)   117192        Russian Federation
RU06                       Samsonite OOO                  Atrium                           Zemlyanoy Val ulitsa 33             Moskva                         Moscow (federal city)   105120        Russian Federation
                           Samsonite OOO                  Tumi Atrium                      Zemlyanoy Val ulitsa 33             Moskva                         Moscow (province)       105064        Russian Federation
RU07                       Samsonite OOO                  Vnukovo Outlet                   Lapshinka Village Building 8        Lapshinka, Leninsky            Moscow (province)       142784        Russian Federation

                           Samsonite OOO                  Vnukovo Tumi                     Lapshinka Village Building 8        Lapshinka, Leninsky            Moscow (province)       142784        Russian Federation

RU09                       Samsonite OOO                  Erevan Plaza                     Bol'shaya Tul'skaya ulitsa 13       Moskva                         Moscow (federal city)   115191        Russian Federation
RU10                       Samsonite OOO                  Evropeisky                       Kiyevskogo Vokzala ploshchad'       Moskva                         Moscow (federal city)   121059        Russian Federation
                                                                                           2
RU11                       Samsonite OOO                  Metropolis                       Leningradskoe shosse 16       Moskva                               Moscow (federal city)   125171        Russian Federation
RU12                       Samsonite OOO                  Kaluzhskiy Store                 Profsoyuznaya ulitsa 61A      Moskva                               Moscow (federal city)   117420        Russian Federation
RU13                       Samsonite OOO                  Mega Belaya Dacha                1-y Pokrovskiy proyezd 1      Kotelniki,                           Moscow (province)       140054        Russian Federation
                                                                                                                         Lyuberetskiy
RU14                       Samsonite OOO                  Galeria                          Ligovskiy prospekt 30 Liter A Sankt-Peterburg                      Saint Petersburg        191040        Russian Federation
RU15                       Samsonite OOO                  Fashion House Outlet             Leningradskoe shosse 14-y km Lunevo,                               Moscow (province)       141580        Russian Federation
                                                                                                                                                                                                                                                                                                                       UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 131 of 173 Trans ID: LCV2021133181




                                                                                           Iskrovskiy s.o.               Solnechnogorsky
RU16                       Samsonite OOO                  Brandcity                        MKAD Vneshnyaya Storona 26- Moskva                                 Moscow (federal city)   115598        Russian Federation
                                                                                           y km Estate 1
RU17                       Samsonite OOO                  Vladimirskiy                     Vladimirskiy prospekt 1 / 47A Sankt-Peterburg                      Saint Petersburg        191025        Russian Federation
RU18                       Samsonite OOO                  New Warehouse                    Nosovikhinskoye shosse 110    Zheleznodorozhnyy                    Moscow (province)       143981        Russian Federation
                                                                                                                                                                                                                                        Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 154 of 239 PageID: 161




RU19                       Samsonite OOO                  Mega Parnas                      KAD & Engel'sa prospekt             Bugry,                         Leningrad               188660        Russian Federation
                                                                                                                               Vsevolozhskiy
RU21                       Samsonite OOO                  Bolshoy Prospect                 Bol'shoy prospekt 69A               Sankt-Peterburg                Saint Petersburg        197136        Russian Federation
                                                                                                                                                                                                             Samsonite 000130
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RU22                       Samsonite OOO           Evropark                         Rublevskoe shosse 62             Moskva                         Moscow (federal city)   121609        Russian Federation
RU24                       Samsonite OOO           Robinzon Ordzhonikidze           Ordzhonikidze ulitsa 11          Moskva                         Moscow (federal city)   115419        Russian Federation
RU25                       Samsonite OOO           Bazar Robinzon, Building 1       Volgogradskiy prospekt 21        Moskva                         Moscow (federal city)   109316        Russian Federation
                           Samsonite OOO           E-commerce                       Volgogradskiy prospekt 21        Moskva                         Moscow (federal city)   109316        Russian Federation
                                                                                    Building 1
RU26                       Samsonite OOO           Waypark                          MKAD Vneshnyaya Storona 71-      Putilkovo,                     Moscow (province)       143441        Russian Federation
                                                                                    y km                             Krasnogorsky
RU27                       Samsonite OOO           Savelovsky                       Sushchevskiy Val ulitsa 5 / 1    Moskva                         Moscow (federal city)   127018        Russian Federation
RU28                       Samsonite OOO           Ekaterinburg                     Metallurgov ulitsa 87            Yekaterinburg                  Sverdlovsk              620131        Russian Federation
RU29                       Samsonite OOO           Mega Khimki                      Leningradskoe shosse 23-y km     Khimki                         Moscow (province)       141400        Russian Federation
                                                                                    Microregion IKEA, Korp. 2
RU31                       Samsonite OOO           Grinvich                         8 Marta ulitsa 46                Yekaterinburg                  Sverdlovsk              620014        Russian Federation
RU32                       Samsonite OOO           Business Center Omega Plaza      Leninskaya Sloboda ulitsa 19     Moskva                         Moscow (federal city)   115280        Russian Federation
RU34                       Samsonite OOO           Bolshoy Gostiniy Dvor            Nevskiy prospekt 35              Sankt-Peterburg                Saint Petersburg        191186        Russian Federation
RU35                       Samsonite OOO           Raduga                           Saint prospekt Kosmonavtov 14    Sankt-Peterburg                Saint Petersburg        196105        Russian Federation

RU36                       Samsonite OOO           Domodedovo Airport               Domodedovo Airport Building 1 Domodedovo                        Moscow (province)       142015        Russian Federation

RU37                       Samsonite OOO           Mega Teply Stan                  Kaluzhskoe shosse 21-y km p.    Moskva                          Moscow (province)       142770        Russian Federation
                                                                                    Sosenskoe
RU38                       Samsonite OOO           Pulkovo Outlet                   Pulkovskoe shosse 60 Building 1 Sankt-Peterburg                 Saint Petersburg        196189        Russian Federation

RU40                       Samsonite OOO           Afimall                          Presnenskaya naberezhnaya 2      Moskva                         Moscow (federal city)   123317        Russian Federation
                           Samsonite OOO           Afimall Tumi                     Presnenskaya naberezhnaya 2      Moskva                         Moscow (federal city)   123317        Russian Federation
                           Samsonite OOO           Afimall Lipault                  Presnenskaya naberezhnaya 2      Moskva                         Moscow (federal city)   123317        Russian Federation
RU41                       Samsonite OOO           Vegas City                       Mezhdunarodnaya ulitsa 12        Krasnogorsk                    Moscow (province)       143402        Russian Federation
                                                                                    Krasnogorsk District
                           Samsonite OOO           Vegas Crocus City                Mezhdunarodnaya ulitsa 12        Krasnogorsk                    Moscow (province)       143402        Russian Federation
                                                                                    Krasnogorsk District
RU42                       Samsonite OOO           Columbus                         Kirovogradskaya ulitsa 13A       Moskva                         Moscow (federal city)   117519        Russian Federation
RU44                       Samsonite OOO           Aviapark                         Khodynskiy bul'var 4             Moskva                         Moscow (federal city)   125252        Russian Federation
RU45                       Samsonite OOO           Zolotoy Vavilon                  Mira prospekt 211 / 2            Moskva                         Moscow (federal city)   129226        Russian Federation
RU46                       Samsonite OOO           Reutov                           Mira prospekt 32                 Reutov                         Moscow (province)       143960        Russian Federation
RU47                       Samsonite OOO           Imperium's Warehouse             24-ya liniya V.O. 31             Sankt-Peterburg                Saint Petersburg        199106        Russian Federation
RU48                       Samsonite OOO           Belaya Dacha Outlet              Novoryazanskoe shosse 8          Kotelniki,                     Moscow (province)       140053        Russian Federation
                                                                                                                     Lyuberetskiy
RU49                       Samsonite OOO           Tumi Corinthia                   Nevskiy prospekt 57 Corinthia    Sankt-Peterburg                Saint Petersburg        191025        Russian Federation
                                                                                    Hotel
RU50                       Samsonite OOO           City Mall                        Kolomyazsky Avenue, 17/2,        Saint Petersburg               Saint Petersburg        197341        Russian Federation
                                                                                    lit.A
RU51                       Samsonite OOO           Dmitrovka Tumi                   Ulitsa Bol'shaya Dmitrovka, 13   Moscow                         Moscow (province)       125009        Russian Federation
RU52                       Samsonite OOO           Mega Dybenko                     Murmanskoye Highway, 12 km,      St. Petersburg                 Leningrad               193315        Russian Federation
                                                                                    Building 1a Vsevolozhskiy
                                                                                    District
RU53                       Samsonite OOO           Okhotny Ryad                     Manezhnaya Square, 1             Tverskoy District              Moscow (province)       125009        Russian Federation
SP02           SP3807.00   Samsonite Espana S.A.   Centro Comercial Factory Las     Carretera de La Coruna km 22     Las Rozas de Madrid            Madrid                  28230         Spain
                                                   Rozas                            Local 23
SP03           SP2725.00   Samsonite Espana S.A.   Las Rozas Company Stores         Calle Juan Ramon Jimenez 3       Las Rozas de Madrid            Madrid                  28232         Spain
                                                                                    Parque Empresarial Las Rozas
                                                                                    Local 24
SP04                       Samsonite Espana S.A.   La Roca Company Stores           Calle de Catalunya 24            La Roca del Valles             Barcelona               08430         Spain
SP05           SP3806.00   Samsonite Espana S.A.   Centro Comercial Factory         Avenida Rio Guadalquivir s/n     Getafe                         Madrid                  28906         Spain
                                                                                    Poligono Arroyo Culebro II
                                                                                    Local 6
                                                                                                                                                                                                                                                                                                           UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 132 of 173 Trans ID: LCV2021133181
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SP06                       Samsonite Espana S.A.        San Sebastian de los Reyes        Calle Salvador de Madariaga s/n   San Sebastian de los            Madrid             28702         Spain
                                                                                          Unit 57                           Reyes
SP07                       Samsonite Espana S.A.                                          Calle Maria Tubau 3 Poligono      Madrid                          Madrid             28050         Spain
                                                                                          Cerro de las Cuevas Planta 4
SP09                       Samsonite Espana S.A.        Aeropuerto Adolfo Suarez          Avenida Hispanidad s/n Planta     Madrid                          Madrid             28042         Spain
                                                        Madrid Barajas                    +1, Lado Aire
SP10                       Samsonite Espana S.A.        Zielo Shopping Pozuelo            Avenida de Europa 26 Local 52     Pozuelo de Alarcon              Madrid             28224         Spain

SP13                       Samsonite Espana S.A.        Tumi Luggage SL                   Passeig de Gracia 21              Barcelona                       Barcelona          08007         Spain
                           Samsonite Espana S.A.        Samsonite Store                   Passeig de Gracia 21              Barcelona                       Barcelona          08007         Spain
SP16                       Samsonite Espana S.A.        New Style Outlet                  Carretera de la Vila s/n Sector   Viladecans                      Barcelona          08840         Spain
                                                                                          Ca n'alemany
SP17                       Samsonite Espana S.A.                                          Calle Serrano 42 Local 1 Semi     Madrid                          Madrid             28001         Spain
                                                                                          Esquina Hermosilla
SP19                       Samsonite Espana S.A.        Lipault Mallorca                  Carrer Mallorca 255               Barcelona                       Barcelona          08008         Spain
SP20                       Samsonite Espana S.A.        Lipault Diagonal                  Avinguda Diagonal 580             Barcelona                       Barcelona          08021         Spain
SP21                       Samsonite Espana S.A.        TXT/2B Soluciones                 Avenida America 4 Sector 11,      Fontanar                        Guadalajara        19290         Spain
                                                                                          Nave 2.3
SP23                       Samsonite Espana S.A.        Tumi Store                        Calle Claudio Coello 54           Madrid                          Madrid             28001         Spain
SP24                       Samsonite Espana S.A.        Tumi Store Westin Palace Hotel    Plaza de las Cortes 7             Madrid                          Madrid             28014         Spain

SP25                       Samsonite Espana S.A.        Mallorca Fashion Outlet           Autopista Palma-Inca              Marratxi                        Islas Baleares     07141         Spain
                                                        Samsonite
SP26                       Samsonite Espana S.A.        Samsonite Designer Outlet         Calle Alfonso Ponce de Leon       Malaga                          Málaga             29004         Spain
                                                        Malaga by Mc Arthur Glenn
                           Samsonite Espana S.A.        Tumi Designer Outlet Malaga by    Calle Alfonso Ponce de Leon       Malaga                          Málaga             29004         Spain
                                                        Mc Arthur Glenn
SP27                       Samsonite Espana S.A.        Tumi Store La Roca                La Roca Village Unit 129          La Roca del Valles              Barcelona          08430         Spain
SP28                       Samsonite Espana S.A.        Tumi Store                        Las Rozas Village, Juan Ramon     Las Rozas de Madrid             Madrid             28232         Spain
                                                                                          Jimenez 3
SW01           SW2213.00   Samsonite AB                                                   Drakegatan 2                      Göteborg                        Vastra Gotalands   412 50        Sweden
SW02           SW2033.00   Samsonite AB                 Stockholm Quality Outlet,         Majorsvägen 2-4 Unit 20           Järfälla                        Stockholms         177 38        Sweden
                                                        Barkarby
SW03                       Samsonite AB                 Arlanda Airport Terminal 5        Arlanda Airport #1, Byggnad       Stockholm-Arlanda               Stockholms         190 45        Sweden
                                                                                          506, Terminal 5, Vaningsplan 3
SW04                       Samsonite AB                 Samsonite Concept Store           Södra vägen 6                     Göteborg                        Vastra Gotalands   412 54        Sweden
                                                        Göteborg
SW05                       Samsonite AB                 Samsonite Store                   Nationalarenan 6 Mall of          Solna                           Stockholms         169 56        Sweden
                                                                                          Scandinavia
SW06                       Samsonite AB                 Samsonite Store                   Linnégatan 27 Laxoringen 14,      Stockholm                       Stockholms         114 47        Sweden
                                                                                          Shop N BV 303
SW07                       Samsonite AB                 Tumi Store                        Birger Jarlsgatan 8               Stockholm                       Stockholms         114 34        Sweden
SW08                       Samsonite AB                 Samsonite Store Hede Fashion      Kungsparksvägen 80                Kungsbacka                      Hallands           434 39        Sweden
                                                        Outlet Gothenburg
SW09                       Samsonite AB                 SAS Groundhandling                Goteborg Landvetter Airport       Landvetter                      Vastra Gotalands   438 80        Sweden
SZ01           SZ1409.00   Samsonite AG                 I.G. Swisspel                     Riedstrasse 14                    Dietikon                        Zurich             8953          Switzerland
SZ02                       Samsonite AG                 c/o Centro Commerciale Fox        via Angelo Maspoli 18             Mendrisio                       Ticino             6850          Switzerland
                                                        Town
SZ03                       Samsonite AG                 Outlet Aubonne, Shopping Centre   14 chemin du Pre-Neuf             Aubonne                         Vaud               1170          Switzerland

TH01                       Tumi Asia Ltd.               Taiwan Branch                     700/156 Moo 1, Bankol             Phan Thong                      Chon Buri          20160         Thailand
TU01                       Samsonite Seyahat Urunleri   Distribution Center               132. Sokak, Akçaburgaz No. 6,     Esenyurt                        Istanbul           34522         Turkey
                                                                                          Kat 1, Güney Cephe
TU02                       Samsonite Seyahat Urunleri   Store Kanyon, Istanbul Kanyon     Büyükdere Caddesi 185,            Sisli                           Istanbul           34394         Turkey
                                                                                                                                                                                                                                                                                                                UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 133 of 173 Trans ID: LCV2021133181




                                                        AVM                               Esentepe Mecidiyeköy Magaza
                                                                                          26-27/B Levent
                           Samsonite Seyahat Urunleri   Store Kanyon Tumi                 Büyükdere Caddesi 185,            Sisli                           Istanbul           34394         Turkey
                                                                                          Esentepe Mecidiyeköy Magaza
                                                                                          116/B Levent
                                                                                                                                                                                                                                 Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 156 of 239 PageID: 163




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TU03                       Samsonite Seyahat Urunleri   Store Cevahir, Istanbul Cevahir   Büyükdere Caddesi 22A, 19    Sisli                           Istanbul     34360         Turkey
                                                        AVM                               Mayis Magaza 305 Mecidiyeköy

TU05                       Samsonite Seyahat Urunleri   Store Armada, Ankara Armada       Eskisehir Yolu 6, Sögütözü         Çankaya                   Ankara       06510         Turkey
                                                        AVM                               Magaza 55
TU06                       Samsonite Seyahat Urunleri   Store Bursa, Bursa CarrefourSa    Carrefoursa, Odunluk B041          Nilüfer                   Bursa        16110         Turkey
                                                        Ticaret AVM
TU07                       Samsonite Seyahat Urunleri   Store Izmir, Izmir Adnan          Adnan Menderes Havalimani Dis      Gaziemir                  Izmir        35410         Turkey
                                                        Menderes Havalimani               Hatlar Giden Yolcu Salonu
                                                                                          13/14
                           Samsonite Seyahat Urunleri   Store Izmir, Izmir Adnan          Adnan Menderes Haval               Gaziemir                  Izmir        35410         Turkey
                                                        Menderes Havalimani II            Domestic Terminal DT DL-064/-
                                                                                          T HT
TU08                       Samsonite Seyahat Urunleri   Store Dalaman, Dalaman            Dalaman Havalimani Dis Hatlar      Dalaman                   Mugla        48770         Turkey
                                                        Havalimani                        Terminali Yolcu Gidis Salonu
                                                                                          30/40
TU09           TU0834.00   Samsonite Seyahat Urunleri                                     Halkali Caddesi 208, Sefaköy       Küçükçekmece              Istanbul     34295         Turkey
TU11                       Samsonite Seyahat Urunleri   Store Viaport, Viaport AVM        Dedepasa Caddesi 2, Yenisehir      Pendik                    Istanbul     34912         Turkey
                                                                                          Magaza 86, Kurtköy
TU13                       Samsonite Seyahat Urunleri   Store Buyaka                      Poligon Caddesi 50, Fatih Sultan   Ümraniye                  Istanbul     34771         Turkey
                                                                                          +3593? M:768/<! ,/4?/ #%$" &2/
                                                                                          253 Parsel 93
TU14                       Samsonite Seyahat Urunleri   Office HQ, Istanbul Dunya         Atatürk Caddesi, Yesilköy          Bakirköy                  Istanbul     34149         Turkey
                                                        Ticaret Merkezi                   (F:B/ .61/=3? +3=73C6 '8;78/=G
                                                                                          A2, No. 10, Kat 5, No. 209

TU15                       Samsonite Seyahat Urunleri   Store Marmara Forum               D;0/:E3>93 *;>@B;8@ '@8A/=G        Bakirköy                  Istanbul     34146         Turkey
                                                                                          3, Osmaniye A Blok, S087

TU16                       Samsonite Seyahat Urunleri   Store Acity                    )/?65 -@8?/: +3593? '@8A/=G           Yenimahalle               Ankara       06374         Turkey
                                                                                       244, Macun Acity Outlet,
                                                                                       Magaza Z054
TU17                       Samsonite Seyahat Urunleri   Store Bodrum                   Milas-Bodrum Airport Domestic         Milas                     Mugla        48670         Turkey
                                                                                       Terminal Airside
TU18                       Samsonite Seyahat Urunleri   Store Forum Trabzon            Devlet Karyolu Caddesi 101/1,         Ortahisar                 Trabzon      61030         Turkey
                                                                                       Kalkinma
TU21                       Samsonite Seyahat Urunleri   Store Tumi Akmerkez,           Nisbetiye Caddesi 56, Kültür          '3N67?/N                  Istanbul     34340         Turkey
                                                        Arkmerkez AVM                  Magaza 261
TU22                       Samsonite Seyahat Urunleri   Store New Airport- P5-03       Tayakadin Mah. Terminal Cad.          Arnavutköy                Istanbul     34283         Turkey
                                                                                       Havalimani Terminal Binasi Apt.
                                                                                       No: 1 P5-03
                           Samsonite Seyahat Urunleri   Store New Airport- Tumi-F7P_01 Tayakadin Mah. Terminal Cad.          Arnavutköy                Istanbul     34283         Turkey
                                                                                       Havalimani Terminal Binasi Apt.
                                                                                       No: 1 F7P-01
                           Samsonite Seyahat Urunleri   Store New Airport- F1-27       Tayakadin Mah. Terminal Cad.          Arnavutköy                Istanbul     34283         Turkey
                                                                                       Havalimani Terminal Binasi Apt.
                                                                                       No: 1 F1-27
                           Samsonite Seyahat Urunleri   Store New Airport- F9-11       Tayakadin Mah. Terminal Cad.          Arnavutköy                Istanbul     34283         Turkey
                                                                                       Havalimani Terminal Binasi Apt.
                                                                                       No: 1 F9-11
                           Samsonite Seyahat Urunleri   Warehouse in the New Airport   Tayakadin Mah. Terminal Cad.          Arnavutköy                Istanbul     34283         Turkey
                                                                                       Havalimani Terminal Binasi Apt.
                                                                                       No: 1 BC-34
                           Samsonite Seyahat Urunleri   Store New Airport- F6-P-14     Tayakadin Mah. Terminal Cad.          Arnavutköy                Istanbul     34283         Turkey
                                                                                       Havalimani Terminal Binasi Apt.
                                                                                                                                                                                                                                                                                                   UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 134 of 173 Trans ID: LCV2021133181




                                                                                       No: 1 F6P-14
UK01                       Samsonite UK Ltd.                                           1 The Square, Stockley Park           Uxbridge                  Middlesex    UB11 1TD      United Kingdom
UK02           UK3064.00   Samsonite UK Ltd.            Cheshire Oaks Designer Outlet  8 Cheshire Oaks Outlet Village,       Ellesmere Port            Merseyside   CH65 9JJ      United Kingdom
                                                                                       Kinsey Road
UK03                       Samsonite UK Ltd.            McArthur Glen Designer Outlet 11 Ashford Designer Outlet,            Ashford                   Kent         TN24 0SD      United Kingdom
                                                                                                                                                                                                                    Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 157 of 239 PageID: 164




                                                                                       Kimberley Way



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UK05           UK6296.00   Samsonite UK Ltd.   Great Western Outlet Village      106 McArthur Glen Great           Swindon               Wiltshire                SN2 2DZ       United Kingdom
                                                                                 Western Designer Outlet Village
                                                                                 Kemble Drive
UK06           UK8919.00   Samsonite UK Ltd.   Freeport Braintree Designer       Unit 15, Freeport Village,        Braintree             Essex                    CM77 8YH      United Kingdom
                                               Outlet Village                    Charter Way Chapel Hill
UK07                       Samsonite UK Ltd.   York Designer Outlet              Unit 19, McArthur Glen            York                  North Yorkshire          YO19 4TA      United Kingdom
                                                                                 Designer Outlet Village St.
                                                                                 Nicholas Avenue, Fulford
UK08                       Samsonite UK Ltd.   Clarks Village Outlet Shopping    Clarks Village                    Street                Somerset                 BA16 0BB      United Kingdom
UK10                       Samsonite UK Ltd.   Westfield London Shopping         Westfield London Shopping         London                Hammersmith and Fulham   W12 7GG       United Kingdom
                                               Centre                            Centre, Ariel Way Unit 1153 &
                                                                                 Storage Unit 1083B
                           Tumi                Tumi (UK) Ltd.                    Westfield London Shopping         London                Hammersmith and Fulham   W12 7GD       United Kingdom
                                                                                 Centre, Ariel Way Unit 1121
UK12                       Samsonite UK Ltd.   Bicester Designer Village         112 Pingle Drive                  Bicester              Oxfordshire              OX26 6EU      United Kingdom
                           Tumi                Tumi (UK) Ltd. Bicester Village   75 Pingle Drive                   Bicester              Oxfordshire              OX26 6WD      United Kingdom
UK14                       Samsonite UK Ltd.   The Collection at Edinburgh       Jubilee Road Unit R160, 1st       Edinburgh             Midlothian               EH12 9FS      United Kingdom
                                                                                 Floor, Terminal Building
UK15                       Samsonite UK Ltd.   Rolling Luggage                   Airside, Terminal Three, London   Hounslow              Middlesex                TW6 1QG       United Kingdom
                                                                                 Heathrow Airport Unit RU3113

                           Samsonite UK Ltd.   Rolling Luggage                   Airside, Terminal Four, London Hounslow                 Middlesex                TW6 3XA       United Kingdom
                                                                                 Heathrow Airport Unit RU5023

                           Samsonite UK Ltd.   Rolling Luggage                   Airside, Terminal Five, London Hounslow                 Middlesex                TW6 2GA       United Kingdom
                                                                                 Heathrow Airport Unit RU2058,
                                                                                 Wellington Road

                           Samsonite UK Ltd.   Rolling Luggage                   Landside, Terminal Five, London Hounslow                Middlesex                TW6 2GA       United Kingdom
                                                                                 Heathrow Airport Unit RU3002,
                                                                                 Wellington Road

                           Samsonite UK Ltd.   Rolling Luggage                   Terminal Five, London         Hounslow                  Middlesex                TW6 2GA       United Kingdom
                                                                                 Heathrow Airport Unit RU4005,
                                                                                 Satellite B, Wellington Road

                           Samsonite UK Ltd.   Rolling Luggage                   Landside, Terminal Three,         Hounslow              Middlesex                TW6 1QG       United Kingdom
                                                                                 London Heathrow Airport Unite
                                                                                 R3100/R3099
UK21                       Samsonite UK Ltd.   Rolling Luggage                   Unit 36, St. Pancras Gardens,     London                Camden                   N1C 4QP       United Kingdom
                                                                                 Pancras Road
UK23                       Samsonite UK Ltd.   Rolling Luggage                   Airside, Terminal Two,            Manchester            Lancashire               M90 4AL       United Kingdom
                                                                                 Manchester Airport Unit 25
                           Samsonite UK Ltd.   Rolling Luggage                   Terminal One, Manchester          Manchester            Lancashire               M90 1QX       United Kingdom
                                                                                 Airport Unit A3
UK25                       Tumi                Tumi (UK) Ltd.                    211-213 Regent Street             London                Westminster              W1B 4NF       United Kingdom
UK26                       Tumi                Tumi (UK) Ltd.                    London City Airport Hartmann      London                Newham                   E16 2PX       United Kingdom
                                                                                 Road
UK27                       Samsonite UK Ltd.   Samsonite Tottenham               Tottenham Court Road              London                Camden                   W1T 7NF       United Kingdom
UK28                       Samsonite UK Ltd.   Lipault South Molton              8 South Molton Street             London                Westminster              W1K 5QQ       United Kingdom
UK29                       Samsonite UK Ltd.   Factory Outlet Gunwharf           Gunwharf Quays Unit 13 & R16      Portsmouth            Hampshire                PO1 3TZ       United Kingdom

UK31                       eBags, Inc.         Amazon                            Robson Way, Ellistown           Coalville               Leicestershire           LE67 1GQ      United Kingdom
UK33                       Samsonite UK Ltd.   Rolling Luggage                   Airside, Aberdeen Airport, Dyce Aberdeen                Aberdeen City            AB21 7DU      United Kingdom
                                                                                                                                                                                                                                                                                                UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 135 of 173 Trans ID: LCV2021133181




UK35                       Samsonite UK Ltd.   Rolling Luggage                   Airside, North Terminal, London Gatwick                 West Sussex              RH6 0PJ       United Kingdom
                                                                                 Gatwick Airport
UK37                       Samsonite UK Ltd.   Lipault Hampstead                 22 Hampstead High Street        London                  Camden                   NW3 1QA       United Kingdom
UK39                       Tumi                Tumi (UK) Ltd. North Piazza,      10 The Piazza                   London                  Westminster              WC2E 8HD      United Kingdom
                                               Covent Garden
                                                                                                                                                                                                                 Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 158 of 239 PageID: 165




UK40                       Samsonite UK Ltd.   Rolling Luggage, O2 Arena         Peninsula Square                  London                Greenwich                SE10 0DX      United Kingdom
UK41                       Samsonite UK Ltd.   Rolling Luggage                   Birmingham Airport Place 433      Birmingham            West Midlands            B26 3QJ       United Kingdom


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                                                                               SCHEDULE OF LOCATIONS, APPENDIX A



Location No.   Index No.   Org Unit                Name                             Street                         City            County   State/Prov       Postal Code   Country

UK42                       Samsonite UK Ltd.       McArthurglen's Designer Outlet   Designer Outlet Village Derwen Bridgend                 Mid Glamorgan    CF32 9SU      United Kingdom
                                                   Bridgend
UK43                       Samsonite UK Ltd.       Rolling Luggage Harvey Leeds     107-111 Briggate               Leeds                    West Yorkshire   LS1 6AZ       United Kingdom
UK44                       Samsonite UK Ltd.       Rolling Luggage Harvey           21 New Cathedral Street        Manchester               Lancashire       M1 1AD        United Kingdom
                                                   Manchester
VN01           VN0097.00   Samsonite Europe N.V.                                    284 Hoang Hoa Tham, Phuong     Quan Tan Binh            Ho Chi Minh      700000        Vietnam
                                                                                    12
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                                                                                                     WIND AREAS, APPENDIX B




Location No.   Index No.   Org Unit                    Name                                 Street                                  City                County      State/Prov   Postal Code   Country

S004           001759.71   Samsonite Company Store     Orlando Crossing                     5451 International Drive                Orlando             Orange      Florida      32819-8567    United States of America
S112                       Samsonite Company Store     Tanger Factory Outlet Center         2410 Tanger Boulevard Suite 365         Gonzales            Ascension   Louisiana    70737-5744    United States of America
S152                       Samsonite Company Store     Lake Buena Vista Factory Stores      15757 State Road 535                    Orlando             Orange      Florida      32821-5605    United States of America
S221           000413.84   Samsonite Company Store     Orlando Premium Outlets, Plaza del   8200 Vineland Avenue Suite 760          Orlando             Orange      Florida      32821-6834    United States of America
                                                       Sol
S255                       Samsonite Company Store     Rio Grande Valley Premium            5001 East Expressway 83 Suite 328       Mercedes            Hidalgo     Texas        78570-4577    United States of America
                                                       Outlets, Palm Court
S258                       Samsonite Company Store     Orlando Premium Outlets              4973 International Drive Suite 59       Orlando             Orange      Florida      32819-6221    United States of America
S264                       Samsonite Company Store     Houston Premium Outlets, Outfitter   29300 Hempstead Road Suite 116          Cypress             Harris      Texas        77433-4248    United States of America
                                                       Court
S313                       Samsonite Company Store     Katy Mills Mall                      5000 Katy Mills Circle Suite 406        Katy                Fort Bend   Texas        77494-4406    United States of America
S737                       House of Samsonite          Houston Galleria                     5085 Westheimer Road Suite B3810        Houston             Harris      Texas        77056-8618    United States of America
S742                       Samsonite Company Store     Florida Mall                         8001 South Orange Blossom Trail Suite   Orlando             Orange      Florida      32809-7680    United States of America
                                                                                            1272
T1068                      Tumi                        Orlando International Prime          4963 International Drive Suite 2C17     Orlando             Orange      Florida      32819-6208    United States of America
T1087          000413.84   Tumi                                                             8200 Vineland Avenue Suite 1163         Orlando             Orange      Florida      32821-6826    United States of America
T1089                      Tumi                        Houston Premium Outlet               29300 Highway 290 Suite 1114            Cypress             Harris      Texas        77433-4396    United States of America
T1119                      Tumi                        Mall at Millenia                     4200 Conroy Road Suite 134              Orlando             Orange      Florida      32839-2447    United States of America
T1174                      Tumi                        George Bush Intercontinental         3701 North Terminal Road Terminal D,    Houston             Harris      Texas        77032-5576    United States of America
                                                       Airport                              Space TDR-2, Level 3
T1180                      Tumi                        Houston Galleria II                  5085 Westheimer Road Suite C2557        Houston             Harris      Texas        77056-5669    United States of America
T1183                      Tumi                        Disney Springs                       1668 East Buena Vista Drive Suite 1G    Orlando             Orange      Florida      32830         United States of America

T1193                      Tumi                        Memorial City Mall, Tumi Store       303 Memorial City Suite 802             Houston             Harris      Texas        77024-2685    United States of America
JP013          JP6816.00   Samsonite Japan Co., Ltd.   Toki Premium Outlet                  1-2, Tokigaoka                          Toki-shi                        Gifu         509-5127      Japan
                           Tumi                        Toki Premium Outlet                  1-2, Tokigaoka                          Toki-shi                        Gifu         509-5127      Japan
JP017                      Samsonite Japan Co., Ltd.   Karuizawa Prince Shopping Plaza      Karuizawa                               Karuizawa-machi,                Nagano       389-0102      Japan
                                                                                                                                    Kitasaku-gun
JP021                      Samsonite Japan Co., Ltd.   Nasu Garden Outlet                   184-7, Shionosaki                       Nasushiobara-shi                Tochigi      329-3122      Japan
JP040                      Samsonite Japan Co., Ltd.   Daimaru Kyoto                        79, Tachiuri Nishimachi Yonjodoori,     Shimogyo-ku, Kyoto-             Kyoto        600-8511      Japan
                                                                                            Takakuranishihairi                      shi
JP046                      Samsonite Japan Co., Ltd.   Aeon Musashimurayama                 1-1-3, Enoki                            Musashimurayama-                Tokyo        208-0022      Japan
                                                                                                                                    shi
JP067                      Samsonite Japan Co., Ltd.   JR Kyoto Isetan                      Higashishiokojicho Karasumarudoori      Shimogyo-ku, Kyoto-             Kyoto        600-8555      Japan
                                                                                            Shiokoji Kudaru                         shi
JP110                      Samsonite Japan Co., Ltd.   Takashimaya Kyoto                    52, Shincho Nishiirumachou              Shimogyo-ku, Kyoto-             Kyoto        600-8520      Japan
                                                                                                                                    shi
JP118                      Samsonite Japan Co., Ltd.   Mitsui Outlet Park Shiga Ryuo        1178-694, Kuzushi Aza Sunayama          Ryuo-cho, Gamou-                Shiga        520-2551      Japan
                                                                                                                                    gun
                           Tumi                        Mitsui Outlet Park Shiga Ryuo        1178-694, Kuzushi Aza Sunayama          Ryuo-cho, Gamou-                Shiga        520-2551      Japan
                                                                                                                                    gun
JP129                      Samsonite Japan Co., Ltd.   Aeon Morioka Minami                  7-1-1, Motomiya                         Morioka-shi                     Iwate        020-0866      Japan
JP135                      Samsonite Japan Co., Ltd.   Takashimaya Gifu                     2-25, Hinodemachi                       Gifu-shi                        Gifu         500-8876      Japan
JP147                      Samsonite Japan Co., Ltd.   Aeon Tendo                           Haga                                    Tendo-shi                       Yamagata     994-0067      Japan
JP154                      Samsonite Japan Co., Ltd.   Takashimaya Takasaki                 45, Asahicho                            Takasaki-shi                    Gunma        370-8565      Japan
JP156                      Samsonite Japan Co., Ltd.   Aeon Rakunan                         31, Kisshoin Oikecho                    Minami-ku, Kyoto-               Kyoto        601-8327      Japan
                                                                                                                                    shi
JP165                      Samsonite Japan Co., Ltd.   Aeon Toyoshina                       4272-10, Toyoshina                      Azumino-shi                     Nagano       399-8205      Japan
JP173                      Samsonite Japan Co., Ltd.   Aeon Hinode                          237-3, Hirai Ooaza                      Hinode-machi,                   Tokyo        190-0182      Japan
                                                                                                                                    Nishitama-gun
JP185                      Samsonite Japan Co., Ltd.   Okajima                              1-21-15, Marunouchi                     Kofu-shi                        Yamanashi    400-8660      Japan
JP189                      Samsonite Japan Co., Ltd.   Aeon Kusatsu                         300, Shinhamacho                        Kusatsu-shi                     Shiga        525-0067      Japan
JP192                      Samsonite Japan Co., Ltd.   Aeon Kyoto Katsuragawa               376-1, Kuze Takadacho                   Minami-ku, Kyoto-               Kyoto        601-8211      Japan
                                                                                                                                    shi
                                                                                                                                                                                                                                                                                                                UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 137 of 173 Trans ID: LCV2021133181
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                                                                                                WIND AREAS, APPENDIX B




Location No.   Index No.   Org Unit                        Name                        Street                                 City                   County   State/Prov                  Postal Code   Country

JP211                      Samsonite Japan Co., Ltd.       Marui Kyoto                 68, Shincho Higashiirumacho            Shimogyo-ku, Kyoto-             Kyoto                       600-8567      Japan
                                                                                       Kawaracho Shijodori                    shi
                           Samsonite Japan Co., Ltd.       Marui Kyoto Gregory         68, Shincho Shijodori Kawaramachicho   Shimogyo-ku, Kyoto-             Kyoto                       600-8567      Japan
                                                                                       Nishiiru                               shi
JP215                      Samsonite Japan Co., Ltd.       Aeon Iruma                  462-1, Fujisawa                        Iruma-shi                       Saitama                     358-0013      Japan
JP219                      Samsonite Japan Co., Ltd.       Aeon Koriyama Festa         1, Hiwadamachi                         Koriyama-shi                    Fukushima                   963-0534      Japan
JP221                      Samsonite Japan Co., Ltd.       Aeon Kofushowa              Showacho                               Showa-cho,                      Yamanashi                   409-3852      Japan
                                                                                                                              Nakakoma-gun
JP225                      Samsonite Japan Co., Ltd.       Aeon Mall Sakudaira         11-10, Sakudairaeki Minami             Saku-shi                        Nagano                      385-0029      Japan
JP235                      Samsonite Japan Co., Ltd.       Aeon Minamimatsumoto        5-20, Futaba                           Matsumoto-shi                   Nagano                      390-0833      Japan
JP237                      Samsonite Japan Co., Ltd.       Aeon Kumiyama               156-1, Moriminamioouchi                Kumiyama-cho,                   Kyoto                       613-0024      Japan
                                                                                                                              Kuse-gun
JP241                      Samsonite Japan Co., Ltd.       Aeon Morioka                4-7-1, Maegata                         Morioka-shi                     Iwate                       020-0148      Japan
JP271                      Tumi                            Sano Premium Outlets        2058, Koenacho                         Sano-shi                        Tochigi                     327-0822      Japan
JP278                      Tumi                            Mitsui Outlet Park Iruma    3169-1, Miyadera                       Iruma-shi                       Saitama                     358-8515      Japan
JP304                      Samsonite Japan Co., Ltd.       Ami Premium Outlet          4-1-1, Yoshiwara #1905                 Ami-machi, Inashiki-            Ibaraki                     300-1161      Japan
                                                                                                                              gun
JP308                      Samsonite Japan Co., Ltd.       Tobu Utsunomiya             5-4, Miyazonocho                       Utsunomiya-shi                  Tochigi                     320-8560      Japan
JP320                      Samsonite Japan Co., Ltd.       Aeon Hanyu                  2-281-3, Kawasaki                      Hanyu-shi                       Saitama                     348-0039      Japan
JP321                      Samsonite Japan Co., Ltd.       Yatsugatake Resort Outlet   4000, Kobuchisawacho                   Hokuto-shi                      Yamanashi                   408-0044      Japan
JP336                      Samsonite Japan Co., Ltd.       Gregory Tachikawa           3-2-1, Shibasakimachi                  Tachikawa-shi                   Tokyo                       190-0023      Japan
KO013                      Samsonite South Korea Limited   Lotte Gwangju Suwan         98 Jangsin-ro                          Gwangsan-gu                     Gwangju Metropolitan City   62225         South Korea
KO016                      Samsonite South Korea Limited   Lotte Daegu Yulha           80 Ansim-ro                            Dong-gu                         Daegu Metropolitan City     41097         South Korea
KO022                      Samsonite South Korea Limited   Simon Yeoju Outlet          460 Sanggeo-ri, Yeoju-eup 15-1 San,    Yeoju-gun                       Gyeonggi-do                 12646         South Korea
                                                                                       #2116, Yeoju Simon Outlet
                           Tumi                            Yeoju Simon Outlet(TU)      460 Sanggeo-ri, Yeoju-eup #2116        Yeoju-gun                       Gyeonggi-do                 12646         South Korea
                           Samsonite South Korea Limited                               360 Myeongpum-ro, Yeoju-eup            Yeoju-gun                       Gyeonggi-do                 12646         South Korea
KO023                      Samsonite South Korea Limited   Lotte Icheon Outlet         48-1 Dancheon-ri, Hobeop-myeon         Icheon-si                       Gyeonggi-do                 17384         South Korea
                           Tumi                            Icheon Lotte Outlet(TU)     48-1 Dancheon-ri, Hobeop-myeon         Icheon-si                       Gyeonggi-do                 17384         South Korea
KO024                      Samsonite South Korea Limited   Lotte Cheongju Outlet       332-1 Biha-dong                        Heungdeok-gu,                   Chungcheongbuk-do           28360         South Korea
                                                                                                                              Cheongju-si
KO034                      Samsonite South Korea Limited   2001Outlet Cheonho          563 Cheonho-dong                       Gangdong-gu                     Seoul City                  05327         South Korea
KO050                      Samsonite South Korea Limited   E-Mart Andong               796-1 Ok-dong                          Andong-si                       Gyeongsangbuk-do            36663         South Korea
KO067                      Samsonite South Korea Limited   E-Mart Icheon               47-4 Jeungpo-dong                      Icheon-si                       Gyeonggi-do                 17348         South Korea
KO070                      Samsonite South Korea Limited   E-Mart Kyungsan             623 Jungsan-dong                       Gyeongsan-si                    Gyeongsangbuk-do            38664         South Korea
KO091                      Samsonite South Korea Limited   Homeplus DaejeonYuseong     669 Bongmyeong-dong                    Yuseong-gu                      Daejeon Metropolitan City   34184         South Korea
KO092                      Samsonite South Korea Limited   Homeplus Donggwangju        575-1 Duam-dong                        Buk-gu                          Gwangju Metropolitan City   61165         South Korea
KO120                      Samsonite South Korea Limited   Lotte Mart Guri             430 Inchang-dong                       Guri-si                         Gyeonggi-do                 11915         South Korea
KO142                      Samsonite South Korea Limited   Hyundai Chungcheong(HIGH)   3380 Bokdae-dong                       Heungdeok-gu,                   Chungcheongbuk-do           28424         South Korea
                                                                                                                              Cheongju-si
                           Samsonite South Korea Limited   Hyundai Chungcheong         584-9 Bokdae-dong                      Heungdeok-gu,                   Chungcheongbuk-do           28424         South Korea
                                                                                                                              Cheongju-si
                           Samsonite South Korea Limited   Hyundai Chungcheong(LP)     3380 Bokdae-dong                       Heungdeok-gu,                   Chungcheongbuk-do           28424         South Korea
                                                                                                                              Cheongju-si
KO152                      Samsonite South Korea Limited   Hyundai Chunho(MBS)         455-8 Cheonho-dong                     Gangdong-gu                     Seoul City                  05328         South Korea
                           Samsonite South Korea Limited   Hyundai Chunho              455-8 Cheonho-dong                     Gangdong-gu                     Seoul City                  05328         South Korea
KO159                      Samsonite South Korea Limited   Lotte Square Guri           677 Inchang-dong                       Guri-si                         Gyeonggi-do                 11922         South Korea
KO161                      Samsonite South Korea Limited   Lotte Gwangju_R             268 Dongnip-ro                         Dong-gu                         Gwangju Metropolitan City   61470         South Korea
                           Samsonite South Korea Limited   Lotte Gwangju               7-1 Daein-dong                         Dong-gu                         Gwangju Metropolitan City   61470         South Korea
KO170                      Samsonite South Korea Limited   NC Chungjang(MBS)           28-8, 28-10, 29-2, 29-6 Chungjangno 4- Dong-gu                         Gwangju Metropolitan City   61480         South Korea
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Location No.   Index No.   Org Unit                        Name                             Street                             City            County   State/Prov                  Postal Code   Country

KO174                      Samsonite South Korea Limited   Lotte Mart Gwangju Worldcup      240 Geumhwa-ro                     Seo-gu                   Gwangju Metropolitan City   62048         South Korea
                           Samsonite South Korea Limited   Lotte Outlet Gwangju Worldcup    240 Geumhwa-ro                     Seo-gu                   Gwangju Metropolitan City   62048         South Korea
                           Samsonite South Korea Limited   Hyundai D-Cube_R                 240 Geumhwa-ro                     Seo-gu                   Gwangju Metropolitan City   62048         South Korea
                           Samsonite South Korea Limited   NC Seomyeon(HOS)                 240 Geumhwa-ro                     Seo-gu                   Gwangju Metropolitan City   62048         South Korea
KO204                      Samsonite South Korea Limited   Shinsegye Gwangju                49-1 Gwangcheon-dong               Seo-gu                   Gwangju Metropolitan City   61937         South Korea
KO210                      Samsonite South Korea Limited   Lotte Guri Outlet(AT)            47 Donggureung-ro 136beon-gil      Guri-si                  Gyeonggi-do                 11915         South Korea
KO214                      Samsonite South Korea Limited   Shinsegae Starfield Hanam(HOS)   750 Misa-daero                     Hanam-si                 Gyeonggi-do                 12942         South Korea
                           Samsonite South Korea Limited   Shinsegae Starfield Hanam(GR)    750 Misa-daero                     Hanam-si                 Gyeonggi-do                 12942         South Korea
KO219                      Samsonite South Korea Limited   Lotte Cheongju(LP)               55 Sangdang-ro                     Sangdang-gu,             Chungcheongbuk-do           28530         South Korea
                                                                                                                               Cheongju-si
KO227                      Samsonite South Korea Limited   Homeplus CheongjuSeongan         346 Sajik-daero                    Sangdang-gu,             Chungcheongbuk-do           28524         South Korea
                                                                                                                               Cheongju-si
KO229                      Samsonite South Korea Limited   Lotte Mart Cheongju              15 Pungsan-ro                      Heungdeok-gu,            Chungcheongbuk-do           28396         South Korea
                                                                                                                               Cheongju-si
KO255                      Samsonite South Korea Limited   E-Mart Hanam                     70 Deokpungseo-ro                  Hanam-si                 Gyeonggi-do                 12927         South Korea
KO263                      Samsonite South Korea Limited   Homeplus Sejong                  154 Jeoljae-ro                     Sejong-si                                            30102         South Korea
KO266                      Samsonite South Korea Limited   E-Mart Namyangju                 27 Neureul 2-ro                    Namyangju-si             Gyeonggi-do                 12149         South Korea
MX19                       Samsonite Corporation           Galerias Tabasco                 Prolongacion Paseo Tabasco 1405,   Centro                   Tabasco                     86035         Mexico
                                                                                            Villahermosa Desarrollo Urbano
                                                                                            Tabasco 2000 Local 118
                                                                                                                                                                                                                                                                                                                     UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 139 of 173 Trans ID: LCV2021133181
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                                                                                               WIND AREAS, APPENDIX C



Location No.   Index No.   Org Unit                  Name                             Street                                  City                 County         State/Prov       Postal Code   Country

033            084420.45   Samsonite Corporation     One Imeson Center                1 Imeson Park Boulevard                 Jacksonville         Duval          Florida          32218-5605    United States of America
S088                       Samsonite Company Store   Sawgrass Mills Mall              12801 West Sunrise Boulevard Suite      Sunrise              Broward        Florida          33323-4022    United States of America
                                                                                      665
S089                       Samsonite Company Store   St. Augustine Premium Outlets    2700 State Road 16 Suite 306            Saint Augustine      Saint Johns    Florida          32092-0760    United States of America
S113                       Samsonite Company Store   Sanibel Factory Stores           20350 Summerlin Road Suite 2115         Fort Myers           Lee            Florida          33908-3742    United States of America
S121                       Samsonite Company Store   Florida Keys Outlet Center       250 East Palm Drive Unit 370            Homestead            Miami-Dade     Florida          33034-3514    United States of America
S136                       Samsonite Company Store   Tanger Outlet Center             4620 Factory Stores Boulevard Unit      Myrtle Beach         Horry          South Carolina   29579-6215    United States of America
                                                                                      C120
S139                       Samsonite Company Store   Vero Beach Outlets               1783 94th Drive Space # D-105           Vero Beach           Indian River   Florida          32966-3617    United States of America
S206                       Samsonite Company Store   Miromar Outlets                  10801 Corkscrew Road Suite 135          Estero               Lee            Florida          33928-9435    United States of America
S207           088320.06   Samsonite Company Store   Ellenton Premium Outlets         5169 Factory Shops Boulevard Suite      Ellenton             Manatee        Florida          34222-4122    United States of America
                                                                                      630
S231           095106.98   Samsonite Company Store   Waikele Premium Outlets          94-798 Lumiaina Street Suite 414        Waipahu              Honolulu       Hawaii           96797-5045    United States of America
S232                       Samsonite Company Store   Silver Sands Factory Stores      10406 Emerald Coast Parkway West        Miramar Beach        Walton         Florida          32550-4999    United States of America
                                                                                      Suite 47
S299                       Samsonite Company Store   Tanger Outlet                    5885 Gulf Freeway Suite 745             Texas City           Galveston      Texas            77591-7057    United States of America
S308           088507.18   Samsonite Company Store   Oasis at Sawgrass Mills          2612 Sawgrass Mills Circle Suite 1525   Sunrise              Broward        Florida          33323-3919    United States of America

S357                       Samsonite Company Store   Palm Beach Outlets               1781 Palm Beach Lakes Boulevard         West Palm Beach      Palm Beach     Florida          33401-2052    United States of America
                                                                                      Unit W209
S358                       Samsonite Company Store   The Outlet Collection at         500 Port of New Orleans Place Suite     New Orleans          Orleans        Louisiana        70130-1678    United States of America
                                                     Riverwalk                        118
S367                       Samsonite Company Store   Tampa Premium Outlets            2382 Grand Cypress Drive Space 920      Lutz                 Pasco          Florida          33559-6822    United States of America
S375                       Samsonite Company Store   Tanger Outlets                   1100 Cornerstone Boulevard Suite 420    Daytona Beach        Volusia        Florida          32117-7103    United States of America

S600                       Rolling Luggage           Dolphin Mall                     11401 Northwest 12th Street Suite       Miami                Miami-Dade     Florida          33172-6904    United States of America
                                                                                      E400
S721                       House of Samsonite        The Mall at University Town      140 University Town Center Drive        Sarasota             Sarasota       Florida          34243-4179    United States of America
                                                     Center                           Unit 291
S732                       House of Samsonite        Brickell City Centre             701 South Miami Avenue Space 267        Miami                Miami-Dade     Florida          33130-1946    United States of America
S733                       House of Samsonite        Ala Moana Center                 1450 Ala Moana Boulevard Suite 2248     Honolulu             Honolulu       Hawaii           96814-4604    United States of America

S734                       House of Samsonite        International Market Place       2330 Kalakaua Avenue Suite 144          Honolulu             Honolulu       Hawaii           96815-2953    United States of America
S747                       Samsonite Company Store   Aventura Mall                    19501 Biscayne Boulevard Suite 715      Miami                Miami-Dade     Florida          33180-2342    United States of America
S831                       Samsonite Company Store   Hawaii Warehouse, Waipio         94-1388 Moaniani Street Suite 224       Waipahu              Honolulu       Hawaii           96797-6605    United States of America
                                                     Business Center
T0009                      Tumi                      Shops at Merrick Park            358 San Lorenzo Avenue Space 1502, Coral Gables              Miami-Dade     Florida          33146-1860    United States of America
                                                                                      W151
T0015                      Tumi                      St. Johns Town Center            4812 River City Drive Space 106    Jacksonville              Duval          Florida          32246-7429    United States of America
T0020                      Tumi                      Waikiki International            2330 Kalakaua Avenue Suite 112     Honolulu                  Honolulu       Hawaii           96815-5001    United States of America
                                                     Marketplace
T0022                      Tumi                      Sawgrass Reno                   1800 Sawgrass Mills Circle               Sunrise              Broward        Florida          33323-3921    United States of America
T1007                                                International Plaza             2223 North West Shore Boulevard          Tampa                Hillsborough   Florida          33607-7226    United States of America
                                                                                     Suite 236A
T1034                      Tumi                      The Gardens of the Palm Beaches 3101 Pga Boulevard Suite M205            Palm Beach Gardens   Palm Beach     Florida          33410-2816    United States of America

T1045                      Tumi                      Waterside Shops at Pelican Bay   5475 Tamiami Trail North Suite A-17 Naples                   Collier        Florida          34108-2859    United States of America

T1046          095106.98   Tumi                      Waikele Premium Outlets          94-792 Lumiaina Street Suite 209        Waipahu              Honolulu       Hawaii           96797-5043    United States of America
                                                                                      Building 2
T1076                      Tumi                      Dadeland Mall                    7573 SW 88th St.                        Miami                Miami-Dade     Florida          33156-7726    United States of America
T1077                      Tumi                      Boca Town Center                 6000 Glades Road Suite 1104             Boca Raton           Palm Beach     Florida          33431-7253    United States of America
T1086                      Tumi                                                       1800 Sawgrass Mills Circle Suite 2950   Sunrise              Broward        Florida          33323-3959    United States of America

T1097                      Tumi                      Silver Sands Factory Store       10562 US Highway 98 West Suite 105 Miramar Beach             Walton         Florida          32550-7101    United States of America
                                                                                                                                                                                                                                                                                                                UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 140 of 173 Trans ID: LCV2021133181




T1104                      Tumi                      Waikiki Shopping Plaza           2270 Kalakaua Avenue Suite 103          Honolulu             Honolulu       Hawaii           96815-2565    United States of America
T1124                      Tumi                      Miromar Outlets                  10801 Corkscrew Road Suite 328          Estero               Lee            Florida          33928-9444    United States of America
T1140                      Tumi                                                       140 University Town Center Drive        Sarasota             Sarasota       Florida          34243-4178    United States of America
                                                                                      Unit 269
                                                                                                                                                                                                                                 Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 163 of 239 PageID: 170




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Location No.   Index No.   Org Unit                Name                            Street                                  City                 County       State/Prov         Postal Code   Country

T1162                      Tumi                    Tanger Outlets - Savannah       200 Tanger Outlets Boulevard Suite      Pooler               Chatham      Georgia            31322-3500    United States of America
                                                                                   399
T1167                      Tumi                                                    832 Lincoln Road                        Miami Beach          Miami-Dade   Florida            33139-2880    United States of America
T1171                      Tumi                    Tampa Premium Outlets           2364 Grand Cypress Drive Suite 201      Lutz                 Pasco        Florida            33559-6829    United States of America
T1173                      Tumi                    Mall of San Juan                1000 Mall of San Juan Boulevard Suite   San Juan             San Juan     Puerto Rico        00924-4098    United States of America
                                                                                   259
T1178                      Tumi                    Ala Moana Center                1450 Ala Moana Boulevard Suite 2032     Honolulu             Honolulu     Hawaii             96814-4616    United States of America

T1204                      Tumi                    Aventura Mall                   19501 Biscayne Boulevard Suite 1901 Miami                    Miami-Dade   Florida            33180-2342    United States of America

CC02                       Samsonite Corporation   High Sierra                   336 Longjiang Road 8/F                    Fuqing, Fuzhou                    Fujian             350300        China
CC03           CC6205.00   Speck Holdings, LLC     RR Donnelly Global Turnkey    1-3 Taohua Road 5F Top Ascent             Futian, Shenzhen                  Guangdong          518048        China
                                                   Solutions                     Logistics Building Futian Free Trade
                                                                                 Zone
CC09           CCA093.00   Samsonite Asia Ltd.     DongGuan QuanGangChang        5 Xingmin Road, Xinmin Community,         Dongguan                          Guangdong          523879        China
                                                   Warehouse Co., Ltd. Patsville Chang'an Town
CC15           CCA494.00   Samsonite Asia Ltd.     Samsonite ADC Warehouse - FG 15 Mingzhu Road ZhongTong Modern           Yantian, Shenzhen                 Guangdong          518083        China
                                                                                 Logistic Yantian Port Bonded
                                                                                 Logistics Park - North Basement

                           Tumi Asia Ltd.          Gothenburg-Landvetter Airport   15 Mingzhu Road ZhongTong Modern        Yantian, Shenzhen                 Guangdong          518083        China
                                                                                   Logistic Yantian Port Bonded
                                                                                   Logistics Park - North 2nd Floor
                                                                                   Chamber A2a & A2b, 3rd Floor
                                                                                   Chamber B3a
CC17                       Samsonite Asia Ltd.     Spare Parts                     65 Anchang Road Damco Warehouse,        Longgang, Shenzhen                Guangdong          518115        China
                                                                                   Henggang Street
                           Tumi Asia Ltd.          Damco China Limited             65 Anchang Road Damco Warehouse,        Longgang, Shenzhen                Guangdong          518115        China
                                                                                   Henggang Street
CC18                       Samsonite Asia Ltd.     Patsville                       2 Zhongnan Road, Chang'an Town          Dongguan                          Guangdong          523068        China
                                                                                   Building 5, Kegu Industrial Park
CH01                       Tumi Asia Ltd.          Taiwan Branch                   495 Guang Fu South Road 8F-4            Xinyi District                    Taipei             110           Taiwan
CH02                       Tumi Asia Ltd.          Taiwan Branch                   24 Koun 1 Road Gi Nan Lee               Ta-chia District                  Taichung           437           Taiwan
HK01           HK0261.00   Samsonite Asia Ltd.     The Gateway, Harbour City -     25 Canton Road 25F, Tower 2             Tsim Sha Tsui                     Kowloon                          Hong Kong
                                                   Office
                           Samsonite Asia Ltd.     Samsonite HK, Tumi HK, Tumi     25 Canton Road 5F, Tower 2              Tsim Sha Tsui                     Kowloon                          Hong Kong
                                                   Asia
                           Samsonite Asia Ltd.                                     25 Canton Road 2312, Tower 2, The       Tsim Sha Tsui                     Kowloon                          Hong Kong
                                                                                   Gateway, Harbour City
HK04                       Samsonite Asia Ltd.     Times Square                    1 Matheson Street Shop 817              Causeway Bay                      Hong Kong Island                 Hong Kong
                           Samsonite Asia Ltd.     Times Square                    1 Matheson Street Shop 713              Causeway Bay                      Hong Kong Island                 Hong Kong
                           Tumi Asia Ltd.          Lane Crawford, Times Square     1 Matheson Street                       Causeway Bay                      Hong Kong Island                 Hong Kong
HK05                       Samsonite Asia Ltd.     IFC Mall                        8 Finance Street Shop 2013, 2F          Central                           Hong Kong Island                 Hong Kong
HK09                       Samsonite Asia Ltd.     Elements                        1 Austin Road West Shop 1102B,          West Kowloon                      Kowloon                          Hong Kong
                                                                                   Level 1
                           Tumi Asia Ltd.          Elements                        1 Austin Road West Shop 2127, Level     West Kowloon                      Kowloon                          Hong Kong
                                                                                   2
HK10                       Samsonite Asia Ltd.     Harbour City                    Canton Road Shop OT266-267, 2F,         Tsim Sha Tsui                     Kowloon                          Hong Kong
                                                                                   Ocean Terminal
                           Tumi Asia Ltd.          Harbour City                    Canton Road Shop 323B, Level 3,         Tsim Sha Tsui                     Kowloon                          Hong Kong
                                                                                   Ocean Centre
HK11                       Samsonite Asia Ltd.     Telford Plaza 1                 33 Wai Yip Street Shop F13              Kowloon Bay                       Kowloon                          Hong Kong
HK12                       Samsonite Asia Ltd.     K11 Art Mall                    18 Hanoi Road Shop 204, 2F              Tsim Sha Tsui                     Kowloon                          Hong Kong
HK14                       Samsonite Asia Ltd.     China Hong Kong City            33 Canton Road Shop 8-10, GF            Tsim Sha Tsui                     Kowloon                          Hong Kong
                           Samsonite Asia Ltd.     RL China HK City                33 Canton Road Shop 92, Upper GF,       Tsim Sha Tsui                     Kowloon                          Hong Kong
                                                                                                                                                                                                                                                                                                             UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 141 of 173 Trans ID: LCV2021133181




                                                                                   China Hong Kong City
HK15                       Samsonite Asia Ltd.     Festival Walk                   80 Tat Chee Avenue Shop 23, Level 1     Kowloon Tong                      Kowloon                          Hong Kong

                           Tumi Asia Ltd.          Festival Walk                   80 Tat Chee Avenue Unit G-30            Kowloon Tong                      Kowloon                          Hong Kong
                                                                                                                                                                                                                              Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 164 of 239 PageID: 171




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Location No.   Index No.   Org Unit              Name                            Street                                  City            County   State/Prov         Postal Code   Country

HK16           HK1474.00   Samsonite Asia Ltd.   Citygate Outlet Shopping Center 20 Tat Tung Road Shop 105-106,          Tung Chung               New Territories                  Hong Kong
                                                                                 Level 1
                           Tumi Asia Ltd.        Citygate Outlet Shopping Center 20 Tat Tung Road Shop 228, 2/F          Tung Chung               New Territories                  Hong Kong

HK17                       Samsonite Asia Ltd.   New Town Plaza Phase 1          Sha Tin Centre Street New Town Plaza    Sha Tin                  New Territories                  Hong Kong
                                                                                 Phase 1, Shop 540, 5F
HK18                       Samsonite Asia Ltd.   Tuen Mun Town Plaza Phase 1     1 Tuen Shing Street Shop 1212-1213,     Tuen Mun                 New Territories                  Hong Kong
                                                                                 1F
HK19                       Samsonite Asia Ltd.   Sogo Department Store           545-563 Hennessy Road 9F, Shop No.      Causeway Bay             Hong Kong Island                 Hong Kong
                                                                                 9-05
                           Samsonite Asia Ltd.   Sogo Department Store           545-563 Hennessy Road 9F, Shop No.      Causeway Bay             Hong Kong Island                 Hong Kong
                                                                                 9-07
                           Tumi Asia Ltd.        CWB - Sogo Department Store     555 Hennessy Road Shop No. 5-20C,       Causeway Bay             Hong Kong Island                 Hong Kong
                                                                                 5/F
                           Samsonite Asia Ltd.   Sogo Department Store           545-563 Hennessy Road 9F, Shop No.      Causeway Bay             Hong Kong Island                 Hong Kong
                                                                                 9-07G
HK21                       Samsonite Asia Ltd.   The Wing On Department Store    211 Des Voeux Road Central 2F           Sheung Wan               Hong Kong Island                 Hong Kong

HK22                       Samsonite Asia Ltd.   Luggage Dept. Wing On Plus      345 Nathan Road 2F                      Yau Ma Tei               Kowloon                          Hong Kong
                           Samsonite Asia Ltd.   Wing On Kowloon Centre, Wing 345 Nathan Road 2F                         Yau Ma Tei               Kowloon                          Hong Kong
                                                 On Plus
HK23                       Samsonite Asia Ltd.   Cityplaza 2 - Uny               18 Taikoo Shing Road G/F, Luggage       Quarry Bay               Hong Kong Island                 Hong Kong
                                                                                 Department of Apita
                           Samsonite Asia Ltd.   Cityplaza                       18 Taikoo Shing Road Shop 075, G/F      Quarry Bay               Hong Kong Island                 Hong Kong
                           Samsonite Asia Ltd.   Cityplaza - Lipault             18 Taikoo Shing Road Shop 132, 1/F      Quarry Bay               Hong Kong Island                 Hong Kong
HK24                       Samsonite Asia Ltd.   Wing On Plaza                   62 Mody Road LGF                        Tsim Sha Tsui            Kowloon                          Hong Kong
HK27                       Samsonite Asia Ltd.   Citywalk 2                      19 Yeung Uk Road Shop G18, GF           Tsuen Wan                New Territories                  Hong Kong
HK28                       Samsonite Asia Ltd.   Dragon Centre                   37K Yen Chow Street L1-3                Sham Shui Po             Kowloon                          Hong Kong
HK30                       Samsonite Asia Ltd.   Bags Department, Kornhill Plaza 2 Kornhill Road 2F, L203                Quarry Bay               Hong Kong Island                 Hong Kong
                                                 (South)
HK31                       Samsonite Asia Ltd.   Tuen Mun Town Plaza Phase 1     1 Tuen Shun Street 1F, L302             Tuen Mun                 New Territories                  Hong Kong
HK32                       Samsonite Asia Ltd.   Aeon Whampoa Store              Shung King Street Shop G-02, G/F,       Hung Hom                 Kowloon                          Hong Kong
                                                                                 Whampoa Garden Site 5 & 6
HK33                       Samsonite Asia Ltd.   Yata - Tsuen Wan Plaza          4-30 Tai Pa Street Level 3, 3/F,        Tsuen Wan                New Territories                  Hong Kong
                                                                                 Luggage Department
HK34                       Samsonite Asia Ltd.   Jusco Kln Bay Store, Megabox, 38 Wang Chiu Road Shop L107, 1F           Kowloon Bay              Kowloon                          Hong Kong
                                                 Enterprises Square 5
HK37                       Samsonite Asia Ltd.   Jusco Kowloon City Store        128 Carpenter Road Shop L202, 2F        Kowloon City             Kowloon                          Hong Kong
HK41                       Samsonite Asia Ltd.   Metropole Building              416-428 King's Road Stand 224, 231,     North Point              Hong Kong Island                 Hong Kong
                                                                                 1F
HK43                       Samsonite Asia Ltd.   Tai Po Mega Mall Zone B         8, 10 On Pong Road 1F, 2F               Tai Po                   New Territories                  Hong Kong
HK46                       Samsonite Asia Ltd.   RL Airport T2                   Hong Kong International Airport Unit    Chek Lap Kok             New Territories                  Hong Kong
                                                                                 5P032, Sky Plaza, Terminal 2
                           Tumi Asia Ltd.        HKIA Warehouse                  Hong Kong International Airport         Chek Lap Kok             New Territories                  Hong Kong
                                                                                 4W552, Level 4, Terminal 1 Restricted
                                                                                 Area
                           Tumi Asia Ltd.        HKIA                            Hong Kong International Airport Unit    Chek Lap Kok             New Territories                  Hong Kong
                                                                                 6E154A, Terminal 1
                           Samsonite Asia Ltd.                                   Hong Kong International Airport         Chek Lap Kok             New Territories                  Hong Kong
                                                                                 Cheong Hong Road Unit 7T043, Level
                                                                                 7, Passenger Terminal Building 1

HK47                       Samsonite Asia Ltd.   Miramar Shopping Centre         132 Nathan Road B1F, Shop B1014-        Tsim Sha Tsui            Kowloon                          Hong Kong
                                                                                 B1015
HK49                       Tumi Asia Ltd.        Pacific Place                   88 Queensway Shop 142, Level 1          Admiralty                Hong Kong Island                 Hong Kong
                                                                                                                                                                                                                                                                                                  UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 142 of 173 Trans ID: LCV2021133181




HK53                       Samsonite Asia Ltd.   MOKO                            193 Prince Edward Road West Shop        Mong Kok                 Kowloon                          Hong Kong
                                                                                 M41, MTR Floor MOKO
HK56                       Samsonite Asia Ltd.   Sogo Tsim Sha Tsui Store        20 Nathan Road Shop 13, 42 & 43, 1F     Tsim Sha Tsui            Kowloon                          Hong Kong

HK59                       Samsonite Asia Ltd.                                   9 Long Yat Road Shop 2055, Level 2      Yuen Long                New Territories                  Hong Kong
                                                                                                                                                                                                                   Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 165 of 239 PageID: 172




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Location No.   Index No.   Org Unit                    Name                               Street                                  City                  County   State/Prov         Postal Code   Country

HK60                       Samsonite Asia Ltd.         Citistore - Tsuen Wan II           67-95 Tsuen Wan Market Street No. 1- Tsuen Wan                         New Territories                  Hong Kong
                                                                                          21, 1/F Citistore Kolour, TWTL 301

HK62           HK1823.00   Tumi Asia Ltd.              Main Warehouse                     16-24 Ta Chuen Ping Street Unit A, B,   Kwai Chung                     New Territories                  Hong Kong
                                                                                          C, 2/F Mercantile Ind. Bldg.
HK63                       Tumi Asia Ltd.              Harbour City                       Canton Road Suite 514, 5th Floor,       Tsim Sha Tsui                  Kowloon                          Hong Kong
                                                                                          North Tower World Finance Centre
HK64                       Tumi Asia Ltd.              IFC Mall                           1 Harbour View Street Shop No. 2010,    Central                        Hong Kong Island                 Hong Kong
                                                                                          Podium Level 2
HK65                       Tumi Asia Ltd.              The Landmark                       15 Queen's Road Central Shop B6-7,      Central                        Hong Kong Island                 Hong Kong
                                                                                          Basement
HK66                       Tumi Asia Ltd.              Pacific Place - Admiralty Centre   18 Harcourt Road Unit 504A, 5th         Admiralty                      Hong Kong Island                 Hong Kong
                                                       Tower II                           Floor
HK67                       Samsonite Asia Ltd.         Patsville                          2 San Ping Circuit Block E, G/F, Tuen   Tuen Mun                       New Territories                  Hong Kong
                                                                                          Mun Industrial Centre
HK69                       Samsonite Asia Ltd.         Citistore - Tuen Mun               2 Tuen Lung Street No. LC3, Luggage     Tuen Mun                       New Territories                  Hong Kong
                                                                                          Section, L3 North Wing, Trend Plaza

HK70                       Samsonite Asia Ltd.         Citistore - Yuen Long              1 Kau Yuk Road No. C-LU03,              Yuen Long                      New Territories                  Hong Kong
                                                                                          Luggage Section, 4/F, Kolour Yuen
                                                                                          Long YLTL 464
HK72                       Samsonite Asia Ltd.                                            514 Lockhart Road G/F                   Causeway Bay                   Hong Kong Island                 Hong Kong
HK73                       Samsonite Asia Ltd.         Landmark North                     39 Lung Sum Avenue Shop 303A,           Sheung Shui                    New Territories                  Hong Kong
                                                                                          Level 3
HK74                       Tumi Asia Ltd.              IFC Warehouse, New World           16-18 Queen's Road Central Room         Central                        Hong Kong Island                 Hong Kong
                                                       Tower                              1010, 10th Floor
HK75                       Tumi Asia Ltd.              TS - Lane Crawford                 4/F, Times Square Causeway Bay          Causeway Bay                   Hong Kong Island                 Hong Kong
                                                                                          Shop 405
HK76                       Samsonite Asia Ltd.                                            18 Salisbury Road Shop No. 403A,        Tsim Sha Tsui                  Kowloon                          Hong Kong
                                                                                          Level 4 of K11 Musea, Victoria
                                                                                          Dockside
HK77                       Samsonite Asia Ltd.                                            63 Wing Hong Street Unit 4, 23/F,       Cheung Sha Wan                 Kowloon                          Hong Kong
                                                                                          Global Gateway Tower
JP001                      Samsonite Japan Co., Ltd.   Marui Kitasenju                    3-92, Senju                             Adachi-ku                      Tokyo              120-0034      Japan
JP002                      Samsonite Japan Co., Ltd.   Design Office, GS Heim Funaba      1-5-10, Awajimachi #704                 Chuo-ku, Osaka-shi             Osaka              541-0047      Japan
JP006                      Samsonite Japan Co., Ltd.   Landmark Plaza                     2-2-1, Minatomirai 4F                   Nishi-ku, Yokohama-            Kanagawa           220-8172      Japan
                                                                                                                                  shi
                           Tumi                        Yokohama Landmark                  2-2-1-1, Minatomirai                    Nishi-ku, Yokohama-            Kanagawa           220-8190      Japan
                                                                                                                                  shi
JP007          JP6815.00   Samsonite Japan Co., Ltd.   Tressa Yokohama North Building 700, Morookacho 2F                          Kohoku-ku,                     Kanagawa           222-0002      Japan
                                                                                                                                  Yokohama-shi
JP008                      Samsonite Japan Co., Ltd.   Lalaport Toyosu                    2-4-9, Toyosu #15710, 1F                Koto-ku                        Tokyo              135-0061      Japan
JP009                      Samsonite Japan Co., Ltd.   Koshigaya Laketown                 4-21-1, Azumacho                        Koshigaya-shi                  Saitama            343-0826      Japan
JP010                      Samsonite Japan Co., Ltd.   VenusFort, Pallet Town West        1-3-15, Aomi 3F                         Koto-ku                        Tokyo              135-0064      Japan
                                                       Mall
                           Tumi                        VenusFort Outlet                   1-3-15, Aomi                            Koto-ku                        Tokyo              135-0064      Japan
JP011                      Samsonite Japan Co., Ltd.   Lalaport Tokyo Bay                 2-1-1, Hamacho                          Funabashi-shi                  Chiba              273-0012      Japan
JP014          JP4207.00   Samsonite Japan Co., Ltd.   Rinku Premium Outlet               3-28, Rinkuoraiminami                   Izumisano-shi                  Osaka              598-8508      Japan
JP015          JP1994.00   Samsonite Japan Co., Ltd.   Gotenba Premium Outlet             1312, Fukasawa                          Gotenba-shi                    Shizuoka           412-0023      Japan
                           Tumi                        Gotenba Premium Outlet             1312, Fukasawa                          Gotenba-shi                    Shizuoka           412-0023      Japan
JP018                      Samsonite Japan Co., Ltd.   Tosu Premium Outlet                8-1, Yayoigaoka                         Tosu-shi                       Saga               841-0005      Japan
                           Tumi                        Tosu Premium Outlet                8-1, Yayoigaoka                         Tosu-shi                       Saga               841-0005      Japan
JP019                      Samsonite Japan Co., Ltd.   Kobesanda Premium Outlet           7-3, Kamitsodai                         Kita-ku, Kobe-shi              Hyogo              651-1515      Japan
                           Tumi                        Kobesanda Premium Outlet           7-3, Kamitsodai                         Kita-ku, Kobe-shi              Hyogo              651-1515      Japan
JP020                      Samsonite Japan Co., Ltd.   Chitose Outlet Mall Rera           1-2-1, Kashiwadaiminami                 Chitose-shi                    Hokkaido           066-8765      Japan
                                                                                                                                                                                                                                                                                                                 UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 143 of 173 Trans ID: LCV2021133181




JP022                      Samsonite Japan Co., Ltd.   Kurashiki Outlet                   12-3, Kotobukicho #1660                 Kurashiki-shi                  Okayama            710-0813      Japan
                           Tumi                        Mitsui Outlet Park Kurashiki       12-3, Kotobukicho                       Kurashiki-shi                  Okayama            710-0813      Japan
                           Samsonite Japan Co., Ltd.   Kurashiki Outlet DMX               12-3, Kotobukicho #1532                 Kurashiki-shi                  Okayama            710-0813      Japan
                           Samsonite Japan Co., Ltd.   Kurashiki Outlet Gregory           12-3, Kotobukicho #1450                 Kurashiki-shi                  Okayama            710-0813      Japan
                                                                                                                                                                                                                                  Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 166 of 239 PageID: 173




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Location No.   Index No.   Org Unit                    Name                            Street                               City                    County   State/Prov   Postal Code   Country

JP023                      Samsonite Japan Co., Ltd.   Okinawa Ashibina Outlet         1-188, Toyosaki                      Tomigusuku-shi                   Okinawa      901-0225      Japan
                           Tumi                        Okinawa Ashibina Outlet Mall    1-188, Toyosaki                      Tomigusuku-shi                   Okinawa      901-0225      Japan
                           Samsonite Japan Co., Ltd.   Okinawa Ashibina Outlet         1-188, Toyosaki                      Tomigusuku-shi                   Okinawa      901-0225      Japan
                                                       Hartmann
                           Samsonite Japan Co., Ltd.   Gregory Okinawa FO Mall         1-188, Toyosaki                      Tomigusuku-shi                   Okinawa      901-0225      Japan
                                                       Ashibinaa
JP024                      Samsonite Japan Co., Ltd.   Mitsukoshi Ebisu                4-20-7, Ebisu 2F                     Shibuya-ku                       Tokyo        150-6090      Japan
JP025                      Samsonite Japan Co., Ltd.   Granduo Tachikawa               3-12-1, Shibasakicho 2F              Tachikawa-shi                    Tokyo        190-0023      Japan
JP029                      Samsonite Japan Co., Ltd.   Urawa Parco                     11-1, Higashitakasagocho             Urawa-ku, Saitama-shi            Saitama      330-0055      Japan

JP031                      Samsonite Japan Co., Ltd.   Seibu Higashitotsuka            537-1, Shinanocho                    Totsuka-ku,                      Kanagawa     244-8530      Japan
                                                                                                                            Yokohama-shi
JP032                      Samsonite Japan Co., Ltd.   Seibu Takatsuki                 4-1, Hakubaicho                      Takatsuki-shi                    Osaka        569-1116      Japan
JP033                      Samsonite Japan Co., Ltd.   Sogo Chiba                      1000, Shinmachi                      Chuo-ku, Chiba-shi               Chiba        260-8557      Japan
                           Tumi                        Sogo Chiba                      1000, Shinmachi 5F                   Chuo-ku, Chiba-shi               Chiba        260-8557      Japan
JP035                      Samsonite Japan Co., Ltd.   Sogo Omiya                      1-6-2, Sakuragicho                   Omiya-ku, Saitama-shi            Saitama      330-9530      Japan

JP038                      Samsonite Japan Co., Ltd.   Daimaru Hakata                  1-4-1, Tenjin                        Chuo-ku, Fukuoka-shi             Fukuoka      810-8717      Japan

                           Samsonite Japan Co., Ltd.   Daimaru Hakata Biz              1-4-1, Tenjin                        Chuo-ku, Fukuoka-shi             Fukuoka      810-8717      Japan

JP039                      Samsonite Japan Co., Ltd.   Daimaru Kobe                    40, Akashimachi                      Chuo-ku, Kobe-shi                Hyogo        650-0037      Japan
                           Tumi                        Daimaru Kobe                    40, Akashimachi                      Chuo-ku, Kobe-shi                Hyogo        650-0037      Japan
JP041                      Samsonite Japan Co., Ltd.   Daimaru Sapporo                 4-7, Kita 5 Jonishi                  Chuo-ku, Sapporo-shi             Hokkaido     060-0006      Japan

JP042                      Samsonite Japan Co., Ltd.   Daimaru Shinsaibashi Men's Bag 1-7-1, Shinsaibashisuji               Chuo-ku, Osaka-shi               Osaka        542-8501      Japan

                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya             1-7-1, Shinsaibashisuji              Chuo-ku, Osaka-shi               Osaka        542-8501      Japan
                                                       Shinsaibashi Hartmann
                           Samsonite Japan Co., Ltd.   Daimaru Shinsaibashi Kitakan    1-7-1, Shinsaibashisuji              Chuo-ku, Osaka-shi               Osaka        542-8501      Japan
JP043                      Samsonite Japan Co., Ltd.   Daimaru Tokyo                   1-9-1, Marunouchi                    Chiyoda-ku                       Tokyo        100-6701      Japan
                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya Tokyo       1-9-1, Marunouchi                    Chiyoda-ku                       Tokyo        100-6701      Japan
                                                       SBL
                           Tumi                        Daimaru Tokyo                   1-9-1, Marunouchi 7F                 Chiyoda-ku                       Tokyo        100-6701      Japan
JP044                      Samsonite Japan Co., Ltd.   Daimaru Umeda                   3-1-1, Umeda                         Kita-ku, Osaka-shi               Osaka        530-0001      Japan
                           Tumi                        Daimaru Umeda                   3-1-1, Umeda 8F                      Kita-ku, Osaka-shi               Osaka        530-0001      Japan
                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya Umeda       3-1-1, Umeda                         Kita-ku, Osaka-shi               Osaka        530-0001      Japan
                                                       Hartmann
JP047                      Samsonite Japan Co., Ltd.   Fujisaki                        3-2-17, Ichibancho                   Aoba-ku, Sendai-shi              Miyagi       980-8652      Japan
JP048                      Samsonite Japan Co., Ltd.   Fukuya Hachobori                6-26, Ebisucho                       Naka-ku, Hiroshima-              Hiroshima    730-8548      Japan
                                                                                                                            shi
JP049                      Samsonite Japan Co., Ltd.   Hankyu Hakata                   1-1, Hakataekichuogai                Hakata-ku, Fukuoka-              Fukuoka      812-0012      Japan
                                                                                                                            shi
                           Samsonite Japan Co., Ltd.   Hankyu Hakata Biz               1-1, Hakataekichuogai                Hakata-ku, Fukuoka-              Fukuoka      812-0012      Japan
                                                                                                                            shi
                           Tumi                        Hankyu Hakata                   1-1, Hakataekichuogai 6F             Hakata-ku, Fukuoka-              Fukuoka      812-0012      Japan
                                                                                                                            shi
JP050                      Samsonite Japan Co., Ltd.   Hankyu Kawanishi                26-1, Sakaemachi                     Kawanishi-shi                    Hyogo        666-0033      Japan
JP051                      Samsonite Japan Co., Ltd.   Hankyu Nishinomiya              14-1, Takamatsucho                   Nishinomiya-shi                  Hyogo        663-8204      Japan
JP055                      Samsonite Japan Co., Ltd.   Hankyu Tsuzuki                  1-31-1-1, Nakagawachuo               Tsuzuki-ku,                      Kanagawa     224-0003      Japan
                                                                                                                            Yokohama-shi
JP056                      Samsonite Japan Co., Ltd.   Hankyu Umeda                  8-7, Kakudacho                         Kita-ku, Osaka-shi               Osaka        530-8350      Japan
                           Samsonite Japan Co., Ltd.   Hankyu Shinhonten Biz         8-7, Kakudacho                         Kita-ku, Osaka-shi               Osaka        530-8350      Japan
                           Tumi                        Hankyu Umeda Department Store 8-7, Kakudacho 8F                      Kita-ku, Osaka-shi               Osaka        530-8350      Japan
                                                                                                                                                                                                                                                                                                       UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 144 of 173 Trans ID: LCV2021133181




JP057                      Samsonite Japan Co., Ltd.   Hankyu Men's Tokyo Biz          2-5-1, Yurakucho                     Chiyoda-ku                       Tokyo        100-8488      Japan
                           Samsonite Japan Co., Ltd.   Hankyu Men's Tokyo              2-5-1, Yurakucho                     Chiyoda-ku                       Tokyo        100-8488      Japan
                           Tumi                        Hankyu Men's Tokyo              2-5-1, Yurakucho B1F                 Chiyoda-ku                       Tokyo        100-8488      Japan
JP058                      Samsonite Japan Co., Ltd.   Hanshin Umeda                   1-13-13, Umeda                       Kita-ku, Osaka-shi               Osaka        530-8224      Japan
                                                                                                                                                                                                                        Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 167 of 239 PageID: 174




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Location No.   Index No.   Org Unit                    Name                               Street                             City                    County   State/Prov   Postal Code   Country

JP059                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Fuchu            1-41-2, Miyamachi                  Fuchu-shi                        Tokyo        183-0023      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Fuchu Biz        1-41-2, Miyamachi                  Fuchu-shi                        Tokyo        183-0023      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Fuchu Lipault    1-41-2, Miyamachi                  Fuchu-shi                        Tokyo        183-0023      Japan

                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Fuchu            1-41-2, Miyamachi                  Fuchu-shi                        Tokyo        183-0023      Japan
                                                       Hartmann
JP060                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Matsudo          1307-1, Matsudo                    Matsudo-shi                      Chiba        271-0092      Japan
                                                       Lipault
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Matsudo          1307-1, Matsudo                    Matsudo-shi                      Chiba        271-0092      Japan
                                                       Hartmann
JP061                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Niigata          1-6-1, Yachiyo                     Chuo-ku, Niigata-shi             Niigata      950-8589      Japan
JP062                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Sagamihara       4-4-3, Sagamiono                   Minami-ku,                       Kanagawa     252-0303      Japan
                                                                                                                             Sagamihara-shi
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Sagamihara       4-4-3, Sagamiono                   Minami-ku,                       Kanagawa     252-0303      Japan
                                                       Hartmann                                                              Sagamihara-shi
JP063                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Shinjuku         3-14-1, Shinjuku                   Shinjuku-ku                      Tokyo        160-0022      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Shinjuku Men's   3-14-1, Shinjuku                   Shinjuku-ku                      Tokyo        160-0022      Japan
                                                       Bag
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Shinjuku         3-14-1, Shinjuku                   Shinjuku-ku                      Tokyo        160-0022      Japan
JP064                      Samsonite Japan Co., Ltd.   Isetan Shizuoka                    1-7, Gofukucho                     Aoi-ku, Shizuoka-shi             Shizuoka     420-0031      Japan
                           Samsonite Japan Co., Ltd.   Isetan Shizuoka Biz                1-7, Gofukucho                     Aoi-ku, Shizuoka-shi             Shizuoka     420-0031      Japan
JP065                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Tachikawa        2-5-1, Akebonocho                  Tachikawa-shi                    Tokyo        190-0012      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Tachikawa        2-5-1, Akebonocho                  Tachikawa-shi                    Tokyo        190-0012      Japan
                                                       Hartmann
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Tachikawa        2-5-1, Akebonocho                  Tachikawa-shi                    Tokyo        190-0012      Japan
                                                       Lipault
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Tachikawa Biz    2-5-1, Akebonocho                  Tachikawa-shi                    Tokyo        190-0012      Japan

JP066                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Urawa            1-15-1, Takasago                   Urawa-ku, Saitama-shi            Saitama      330-0063      Japan

                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Urawa Biz        1-15-1, Takasago                   Urawa-ku, Saitama-shi            Saitama      330-0063      Japan

                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Urawa            1-15-1, Takasago                   Urawa-ku, Saitama-shi            Saitama      330-0063      Japan
                                                       Hartmann
JP068                      Samsonite Japan Co., Ltd.   JR Osaka Isetan Travel             3-1-3, Umeda                       Kita-ku, Osaka-shi               Osaka        530-8558      Japan
                           Samsonite Japan Co., Ltd.   JR Osaka Isetan Biz                3-1-3, Umeda                       Kita-ku, Osaka-shi               Osaka        530-8558      Japan
                           Tumi                        Osaka Isetan Lucua                 3-1-3, Umeda                       Kita-ku, Osaka-shi               Osaka        530-8558      Japan
JP069                      Samsonite Japan Co., Ltd.   Iwataya Mitsukoshi Honten          2-5-35, Tenjin                     Chuo-ku, Fukuoka-shi             Fukuoka      810-8717      Japan

                           Tumi                        Iwataya Honten                     2-5-35, Tenjin 5F                  Chuo-ku, Fukuoka-shi             Fukuoka      810-8717      Japan

JP072                      Samsonite Japan Co., Ltd.   Izutsuya Kokura                    1-1, Senbamachi                    Kokurakita-ku,                   Fukuoka      802-8511      Japan
                                                                                                                             Kitakyushu-shi
JP074                      Samsonite Japan Co., Ltd.   Keihan Moriguchi                   8-3, Kawaharacho 4F                Moriguchi-shi                    Osaka        570-8558      Japan
JP075                      Samsonite Japan Co., Ltd.   Keio Shinjuku                      1-1-4, Nishishinjuku               Shinjuku-ku                      Tokyo        160-8321      Japan
                           Samsonite Japan Co., Ltd.   Keio Shinjuku Lipault              1-1-4, Nishishinjuku               Shinjuku-ku                      Tokyo        160-8321      Japan
JP076                      Samsonite Japan Co., Ltd.   Marui City Yokohama                2-19-12, Takashima                 Nishi-ku, Yokohama-              Kanagawa     220-0011      Japan
                                                                                                                             shi
JP077                      Tumi                        Ginza Six                          6-10-1, Ginza                      Chuo-ku                          Tokyo        104-0061      Japan
JP078                      Samsonite Japan Co., Ltd.   Matsuzakaya Nagoya                 3-16-1, Sakae                      Naka-ku, Nagoya-shi              Aichi        460-8430      Japan
                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya Nagoya         3-16-1, Sakae                      Naka-ku, Nagoya-shi              Aichi        460-8430      Japan
                                                       Biz
                           Tumi                        Matsuzakaya Nagoya                 3-16-1, Sakae North 1F             Naka-ku, Nagoya-shi              Aichi        460-8430      Japan
JP079                      Samsonite Japan Co., Ltd.   Matsuzakaya Shizuoka               10-2, Miyukicho                    Aoi-ku, Shizuoka-shi             Shizuoka     420-0857      Japan
JP080                      Samsonite Japan Co., Ltd.   Matsuzakaya Toyoda                 6-85-1, Nishimachi                 Toyota-shi                       Aichi        471-8560      Japan
                                                                                                                                                                                                                                                                                                        UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 145 of 173 Trans ID: LCV2021133181




JP081                      Samsonite Japan Co., Ltd.   Matsuzakaya Ueno                   3-29-5, Ueno                       Taito-ku                         Tokyo        110-0005      Japan
                           Samsonite Japan Co., Ltd.   Daimaru Matsuzakaya Ueno Biz       3-29-5, Ueno                       Taito-ku                         Tokyo        110-0005      Japan
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JP082                      Samsonite Japan Co., Ltd.   Mitsukoshi Marui Imai Sapporo   2-11, Minami 1 Jonishi              Chuo-ku, Sapporo-shi            Hokkaido     060-0061      Japan
                                                       Honten Travel
                           Samsonite Japan Co., Ltd.   Mitsukoshi Marui Imai Sapporo   2-11, Minami 1 Jonishi              Chuo-ku, Sapporo-shi            Hokkaido     060-0061      Japan
                                                       Honten Biz
JP083                      Samsonite Japan Co., Ltd.   Meitetsu Honten                 1-2-1, Meieki                       Nakamura-ku, Nagoya-            Aichi        450-8505      Japan
                                                                                                                           shi
                           Tumi                        Meitetsu Nagoya                 1-2-1, Meieki                       Nakamura-ku, Nagoya-            Aichi        450-8505      Japan
                                                                                                                           shi
JP085                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Ginza       4-6-16, Ginza                         Chuo-ku                         Tokyo        104-8212      Japan
JP087                      Samsonite Japan Co., Ltd.   Mitsukoshi Matsuyama          3-1-1, Ichibancho                     Matsuyama-shi                   Ehime        790-8532      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Matsuyama Hartmann 3-1-1, Ichibancho                     Matsuyama-shi                   Ehime        790-8532      Japan

                           Tumi                        Mitsukoshi Matsuyama            3-1-1, Ichibancho                   Matsuyama-shi                   Ehime        790-8532      Japan
JP088                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Nishobashi    1-4-1, Nihonbashimuromachi          Chuo-ku                         Tokyo        103-8001      Japan
                                                       Honten Biz
                           Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Nishobashi    1-4-1, Nihonbashimuromachi          Chuo-ku                         Tokyo        103-8001      Japan
                                                       Hartmann
                           Tumi                        Mitsukoshi Nihonbashi           1-4-1, Nihonbashimuromachi          Chuo-ku                         Tokyo        103-8001      Japan
JP089                      Samsonite Japan Co., Ltd.   Mitsukoshi Marui Sapporo        3-8, Minami 1 Jonishi               Chuo-ku, Sapporo-shi            Hokkaido     060-0061      Japan

                           Samsonite Japan Co., Ltd.   Mitsukoshi Sapporo Hartmann     3-8, Minami 1 Jonishi               Chuo-ku, Sapporo-shi            Hokkaido     060-0061      Japan

JP090                      Samsonite Japan Co., Ltd.   Mitsukoshi Sendai               4-11-1, Ichibancho                  Aoba-ku, Sendai-shi             Miyagi       980-8543      Japan
                           Samsonite Japan Co., Ltd.   Mitsukoshi Sendai Hartmann      4-11-1, Ichibancho                  Aoba-ku, Sendai-shi             Miyagi       980-8543      Japan
JP091                      Samsonite Japan Co., Ltd.   Mitsukoshi Takamatsu            7-1, Uchimachi                      Takamatsu-shi                   Kagawa       760-8639      Japan
                           Samsonite Japan Co., Ltd.   Takamatsu Mitsukoshi Hartmann   7-1 Uchimachi                       Takamatsu-shi                   Kagawa       760-8639      Japan

JP092                      Tumi                        Odakyu Shinjyuku                1-1-3 Nishi-Shinjyuku               Shinjuku-ku                     Tokyo        160-8001      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Shinjuku                 1-1-3, Nishishinjuku                Shinjuku-ku                     Tokyo        160-8001      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Shinjuku Hartmann        1-1-3, Nishishinjuku                Shinjuku-ku                     Tokyo        160-8001      Japan
JP093                      Samsonite Japan Co., Ltd.   Odakyu Shinjuku Halc            1-5-1, Nishishinjuku                Shinjuku-ku                     Tokyo        160-0023      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Shinjuku Halc Gregory    1-5-1, Nishishinjuku                Shinjuku-ku                     Tokyo        160-0023      Japan
JP094                      Samsonite Japan Co., Ltd.   Seibu Akita                     2-6-1, Nakadori                     Akita-shi                       Akita        010-8505      Japan
                           Samsonite Japan Co., Ltd.   Seibu Akita Men's Bag           2-6-1, Nakadori                     Akita-shi                       Akita        010-8505      Japan
JP095                      Samsonite Japan Co., Ltd.   Seibu Shibuya                   21-1, Udagawacho                    Shibuya-ku                      Tokyo        150-8330      Japan
                           Samsonite Japan Co., Ltd.   Seibu Shibuya Biz               21-1, Udagawacho                    Shibuya-ku                      Tokyo        150-8330      Japan
                           Tumi                        Seibu Shibuya                   21-1, Udagawacho                    Shibuya-ku                      Tokyo        150-8330      Japan
JP096                      Samsonite Japan Co., Ltd.   Sogo Hiroshima                  6-27, Motomachi                     Naka-ku, Hiroshima-             Hiroshima    730-8501      Japan
                                                                                                                           shi
                           Tumi                        Sogo Hiroshima                  6-27, Motomachi 6F                  Naka-ku, Hiroshima-             Hiroshima    730-8501      Japan
                                                                                                                           shi
JP097                      Samsonite Japan Co., Ltd.   Takashimaya Yokohama            1-6-31, Nanko                       Nishi-ku, Yokohama-             Kanagawa     220-8601      Japan
                                                                                                                           shi
                           Samsonite Japan Co., Ltd.   Takashimaya Yokohama            1-6-31, Nanko                       Nishi-ku, Yokohama-             Kanagawa     220-8601      Japan
                                                       Hartmann                                                            shi
                           Tumi                        Takashimaya Yokohama            1-6-31, Minamisaiwai 6F             Nishi-ku, Yokohama-             Kanagawa     220-8601      Japan
                                                                                                                           shi
                           Samsonite Japan Co., Ltd.   Takashimaya Yokohama            1-6-31, Nanko                       Nishi-ku, Yokohama-             Kanagawa     220-8601      Japan
                                                                                                                           shi
JP098                      Samsonite Japan Co., Ltd.   JR Nagoya Takashimaya           1-1-4, Meieki                       Nakamura-ku, Nagoya-            Aichi        450-6001      Japan
                                                                                                                           shi
                           Tumi                        JR Tokai Takashimaya            1-1-4, Meieki 8F                    Nakamura-ku, Nagoya-            Aichi        450-6001      Japan
                                                                                                                           shi
JP099                      Samsonite Japan Co., Ltd.   JR Osaka Takashimaya            5-1-5, Nanba                        Chuo-ku, Osaka-shi              Osaka        542-8510      Japan
JP100                      Samsonite Japan Co., Ltd.   Tobu Ikebukuro                  1-1-25, Nishiikebukuro              Toshima-ku                      Tokyo        171-8512      Japan
                                                                                                                                                                                                                                                                                                     UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 146 of 173 Trans ID: LCV2021133181




                           Samsonite Japan Co., Ltd.   Tobu Ikebukuro                  1-1-25, Nishiikebukuro              Toshima-ku                      Tokyo        171-8512      Japan
                           Tumi                        Tobu Ikebukuro                  1-1-25, Nishiikebukuro              Toshima-ku                      Tokyo        171-8512      Japan
JP101                      Samsonite Japan Co., Ltd.   Tokyu Honten                    2-24-1, Dogenzaka                   Shibuya-ku                      Tokyo        150-8019      Japan
                           Samsonite Japan Co., Ltd.   Tokyu Shibuya Honten            2-24-1, Dogenzaka                   Shibuya-ku                      Tokyo        150-8019      Japan
JP102                      Samsonite Japan Co., Ltd.   Tokyu Kichijoji                 2-3-1, Kichijoji Honcho             Musashino-shi                   Tokyo        180-0004      Japan
                           Tumi                        Tokyu Kichijoji                 2-3-1, Kichijoji Honcho             Musashino-shi                   Tokyo        180-0004      Japan
                                                                                                                                                                                                                      Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 169 of 239 PageID: 176




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JP103                      Samsonite Japan Co., Ltd.   Tokyu Toyoko                     2-24-1, Shibuya                     Shibuya-ku                       Tokyo        150-8319      Japan
JP105                      Samsonite Japan Co., Ltd.   Tokyo Yurakucho                  2-10-1, Yurakucho                   Chiyoda-ku                       Tokyo        100-0006      Japan
JP107                      Samsonite Japan Co., Ltd.   Aeon Kashihara                   7-20-1, Magarikawacho               Kashihara-shi                    Nara         634-0837      Japan
JP108                      Samsonite Japan Co., Ltd.   Hankyu Ingus                     1-27, Chayamachi                    Kita-ku, Osaka-shi               Osaka        530-0013      Japan
JP109                      Samsonite Japan Co., Ltd.   Nagoya Mitsukoshi Sakae Travel   3-5-1, Sakae                        Naka-ku, Nagoya-shi              Aichi        460-0008      Japan

                           Samsonite Japan Co., Ltd.   Nagoya Mitsukoshi Sakae          3-5-1, Sakae                        Naka-ku, Nagoya-shi              Aichi        460-0008      Japan
                                                       Hartmann
                           Samsonite Japan Co., Ltd.   Nagoya Mitukoshi Sakai Biz       3-5-1, Sakae                        Naka-ku, Nagoya-shi              Aichi        460-0008      Japan
JP111                      Samsonite Japan Co., Ltd.   Tokyu Tamaplaza                  1-7, Utsukushigaoka                 Aoba-ku, Yokohama-               Kanagawa     225-0002      Japan
                                                                                                                            shi
JP116                      Samsonite Japan Co., Ltd.   Black Label Osaka                3-1, Ofukacho Grand Front Osaka     Kita-ku, Osaka-shi               Osaka        530-0011      Japan
                                                                                        Shop & Restaurant North
JP117                      Samsonite Japan Co., Ltd.   Shisui Premium Outlet            689, Iizumi                         Shisui-machi, Inba-              Chiba        285-0912      Japan
                                                                                                                            gun
JP119                      Samsonite Japan Co., Ltd.   Aeon Itami                       1-1-1, Fujinoki                     Itami-shi                        Hyogo        664-0847      Japan
JP120                      Samsonite Japan Co., Ltd.   Aeon Hiroshimafuchu              2-1-1, Osu                          Fuchu-cho, Aki-gun               Hiroshima    735-8588      Japan
JP121                      Samsonite Japan Co., Ltd.   Aeon Itabashi                    2-6-1, Tokumaru                     Itabashi-ku                      Tokyo        175-0083      Japan
JP122                      Samsonite Japan Co., Ltd.   Nagoya Mitsukoshi Hoshigaoka     14-14, Hoshigaoka Motomachi         Chikusa-ku, Nagoya-              Aichi        464-8661      Japan
                                                                                                                            shi
JP123                      Samsonite Japan Co., Ltd.   Marui Imai Hakodate              32-15, Honcho                       Hakodate-shi                     Hokkaido     040-0011      Japan
JP124                      Samsonite Japan Co., Ltd.   Aeon Higashi Kurume              5-17-62, Minamisawa                 Higashikurume-shi                Tokyo        203-0023      Japan
JP125                      Samsonite Japan Co., Ltd.   Aeon Kasai                       3-9-19, Nishikasai                  Edogawa-ku                       Tokyo        134-0088      Japan
JP126                      Samsonite Japan Co., Ltd.   Aeon Osaka Dome City             3-13-1, Chiyozaki                   Nishi-ku, Osaka-shi              Osaka        550-0023      Japan
JP127                      Samsonite Japan Co., Ltd.   Tokyo Haneda Kuko                2-6-5, Hanedakuko                   Ota-ku                           Tokyo        144-0041      Japan
JP128                      Samsonite Japan Co., Ltd.   Tokiha                           2-1-4, Funaimachi                   Oita-shi                         Oita         870-8688      Japan
JP130                      Samsonite Japan Co., Ltd.   Kanazawa Meitetsu Marugoshi      15-1, Musashimachi                  Kanazawa-shi                     Ishikawa     920-8583      Japan
JP131                      Samsonite Japan Co., Ltd.   Takashimaya Konandai             3-1-3, Konandai                     Konan-ku, Yokohama-              Kanagawa     234-8501      Japan
                                                                                                                            shi
                           Samsonite Japan Co., Ltd.   Takashimaya Konandai Lipault     3-1-3, Konandai                     Konan-ku, Yokohama-              Kanagawa     234-8501      Japan
                                                                                                                            shi
JP133                      Samsonite Japan Co., Ltd.   Kintetsu Abeno Harukas           1-1-43, Abenosuji                   Abeno-ku, Osaka-shi              Osaka        545-8545      Japan
                           Samsonite Japan Co., Ltd.   Kintetsu Abeno Harukas           1-1-43, Abenosuji                   Abeno-ku, Osaka-shi              Osaka        545-8545      Japan
                                                       Hartmann
                           Tumi                        Abeno Harukas Kintetsu           1-1-43, Abenosuji Tower Building 7F Abeno-ku, Osaka-shi              Osaka        545-8545      Japan

JP134                      Samsonite Japan Co., Ltd.   Marui Nanba                      3-8-9, Nanba                        Chuo-ku, Osaka-shi               Osaka        542-0076      Japan
                           Samsonite Japan Co., Ltd.   Marui Nanba Men's Bag            3-8-9, Nanba                        Chuo-ku, Osaka-shi               Osaka        542-0076      Japan
JP136                      Samsonite Japan Co., Ltd.   Aeon Toin                        510-1, Nagafuke Tsukida             Toin-cho, Inabe-gun              Mie          511-0255      Japan
JP138                      Samsonite Japan Co., Ltd.   Daimaru Shimonoseki              4-4-10, Takezakicho                 Shimonoseki-shi                  Yamaguchi    750-8503      Japan
JP139                      Samsonite Japan Co., Ltd.   Aeon Makuhari Shintoshin         1-13, Toyosuna                      Mihama-ku, Chiba-shi             Chiba        261-0024      Japan

JP140                      Samsonite Japan Co., Ltd.   Aeon Naha                        5-10-2, Kanagusuku                  Naha-shi                         Okinawa      901-0155      Japan
JP141                      Samsonite Japan Co., Ltd.   Aeon Haebaru                     264, Miyahira                       Haebaru-cho,                     Okinawa      901-1104      Japan
                                                                                                                            Shimajiri-gun
JP142                      Samsonite Japan Co., Ltd.   Takashimaya Okayama              6-40, Honmachi                      Kita-ku, Okayama-shi             Okayama      700-8520      Japan

                           Samsonite Japan Co., Ltd.   Takashimaya Okayama Men's Bag 6-40, Honmachi                         Kita-ku, Okayama-shi             Okayama      700-8520      Japan

JP143                      Samsonite Japan Co., Ltd.   Takashimaya Shinjuku             5-24-2, Sendagaya                   Shibuya-ku                       Tokyo        151-0051      Japan
                           Tumi                        Takashimaya Shinjuku             5-24-2, Sendagaya 6F                Shibuya-ku                       Tokyo        151-0051      Japan
JP144                      Samsonite Japan Co., Ltd.   Aeon Wakayama                    573, Naka Kusutani                  Wakayama-shi                     Wakayama     640-8451      Japan
JP145                      Samsonite Japan Co., Ltd.   Keio Seiseki Sakuragaoka         1-10-1, Sekido                      Tama-shi                         Tokyo        206-0011      Japan
JP146                      Samsonite Japan Co., Ltd.   Sanyo                            1, Minamimachi                      Himeji-shi                       Hyogo        670-0912      Japan
JP150                      Samsonite Japan Co., Ltd.   Aeon Odaka                       1-1, Odakacho Okuhirako             Midori-ku, Nagoya-shi            Aichi        459-8001      Japan
                                                                                                                                                                                                                                                                                                       UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 147 of 173 Trans ID: LCV2021133181




JP151                      Samsonite Japan Co., Ltd.   Aeon Marine Pia                  3-13-1, Takasu                      Mihama-ku, Chiba-shi             Chiba        261-8513      Japan
                                                                                                                                                                                                                        Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 170 of 239 PageID: 177




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Location No.   Index No.   Org Unit                    Name                            Street                               City                    County   State/Prov   Postal Code   Country

JP152                      Samsonite Japan Co., Ltd.   Sapporokitahiroshima Outlet SBL 2-12-2, Omagarisaiwaicho Mitsui      Kitahiroshima-shi                Hokkaido     061-1278      Japan
                                                                                       Outlet Sapporo Kitahiroshima Maple
                                                                                       Mall 2F #3511
                           Samsonite Japan Co., Ltd.   Sapporokitahiroshima Outlet     2-12-2, Omagarisaiwaicho Mitsui      Kitahiroshima-shi                Hokkaido     061-1278      Japan
                                                       Gregory                         Outlet Sapporo Kitahiroshima Maple
                                                                                       Mall 2F #3330
JP153                      Samsonite Japan Co., Ltd.   Laketown Outlet AT              4-50, Azumacho Laketown Outlet 1F    Koshigaya-shi                    Saitama      343-0826      Japan
                           Samsonite Japan Co., Ltd.   Laketown Outlet                 4-50, Azumacho Laketown Outlet 1F    Koshigaya-shi                    Saitama      343-0826      Japan
JP155                      Samsonite Japan Co., Ltd.   Takashimaya Sakai               59, Mikunigaokamiyukidori            Sakai-ku, Sakai-shi              Osaka        590-0028      Japan
JP157                      Samsonite Japan Co., Ltd.   Aeon Matsue                     151, Higashiasahimachi               Matsue-shi                       Shimane      690-0001      Japan
JP158                      Samsonite Japan Co., Ltd.   Aeon Nagoya Chaya               2-11, Nishichaya                     Minato-ku, Nagoya-               Aichi        455-0858      Japan
                                                                                                                            shi
JP159                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Haneda T1     3-3-2, Hanedakuko                    Ota-ku                           Tokyo        144-0041      Japan
JP160                      Samsonite Japan Co., Ltd.   Sogo Yokohama                   2-18-1, Takashima                    Nishi-ku, Yokohama-              Kanagawa     220-8510      Japan
                                                                                                                            shi
                           Tumi                        Sogo Yokohama                   2-18-1, Takashima                    Nishi-ku, Yokohama-              Kanagawa     220-8510      Japan
                                                                                                                            shi
JP164                      Samsonite Japan Co., Ltd.   Aeon Kagawa Ayagawa             822-1, Kayahara                      Ayagawa-cho, Ayauta-             Kagawa       761-2304      Japan
                                                                                                                            gun
JP166          JP8223.00   Samsonite Japan Co., Ltd.   SBL Ginza, Shinbashi Kaikan     1-8-19, Ginza                        Chuo-ku                          Tokyo        104-0061      Japan
                           Tumi                        Ginza 2                         1-8-19, Ginza Kirarito               Chuo-ku                          Tokyo        104-0061      Japan
JP167                      Samsonite Japan Co., Ltd.   Tsuruya Biz                     6-1, Tetorihoncho                    Chuo-ku, Kumamoto-               Kumamoto     860-8586      Japan
                                                                                                                            shi
JP168                      Samsonite Japan Co., Ltd.   Odakyu Fujisawa                 21-1, Minamifujisawa                 Fujisawa-shi                     Kanagawa     251-8580      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Fujisawa Lipault         21-1, Minamifujisawa                 Fujisawa-shi                     Kanagawa     251-8580      Japan
JP169                      Samsonite Japan Co., Ltd.   Tobu Funabashi                  7-1-1, Honcho                        Funabashi-shi                    Chiba        273-8567      Japan
JP170                      Samsonite Japan Co., Ltd.   Aeon Funabashi                  1-1-8, Yamate                        Funabashi-shi                    Chiba        273-0045      Japan
JP171                      Samsonite Japan Co., Ltd.   Aeon Nagoya Dome                4-102-3, Yada Minami                 Higashi-ku, Nagoya-              Aichi        461-0048      Japan
                                                                                                                            shi
JP172                      Samsonite Japan Co., Ltd.   Aeon Himeji                     520, Shikama-ku Hosoe                Himeji-shi                       Hyogo        672-8064      Japan
JP174                      Samsonite Japan Co., Ltd.   Keihan Kuzuha                   15-1, Kuzuha Hanazonocho             Hirakata-shi                     Osaka        573-1121      Japan
JP175                      Samsonite Japan Co., Ltd.   Aeon Ibaraki                    8-30, Matsugamotocho                 Ibaraki-shi                      Osaka        567-0033      Japan
JP176                      Samsonite Japan Co., Ltd.   Aeon Ishinomaki                 4-104, Akanedaira                    Ishinomaki-shi                   Miyagi       986-0866      Japan
JP178                      Samsonite Japan Co., Ltd.   Aeon Kahoku                     25, Ta, Uchihisumi                   Kahoku-shi                       Ishikawa     929-1198      Japan
JP179                      Samsonite Japan Co., Ltd.   Aeon Kakamigahara               3-8, Naka Kayabacho                  Kakamigahara-shi                 Gifu         504-0943      Japan
JP180                      Samsonite Japan Co., Ltd.   Aeon Kisarazu                   1-4, Tsukiji                         Kisarazu-shi                     Chiba        292-0835      Japan
JP182                      Samsonite Japan Co., Ltd.   Aeon Okayama                    1-2-1, Shimoishii                    Kita-ku, Okayama-shi             Okayama      700-0907      Japan

JP183                      Samsonite Japan Co., Ltd.   Aeon Rycom                      Awase Tochikukaku Seiri Jigyonai     Kitanakagusuku-son,              Okinawa      901-2300      Japan
                                                                                                                            Nakagami-gun
JP184                      Samsonite Japan Co., Ltd.   Aeon Kochi                      1-4-8, Hadaminamimachi               Kochi-shi                        Kochi        780-0026      Japan
JP186                      Samsonite Japan Co., Ltd.   Keikyu Kamiooka                 1-6-1, Kamiooka Nishi                Konan-ku, Yokohama-              Kanagawa     233-8556      Japan
                                                                                                                            shi
                           Samsonite Japan Co., Ltd.   Keikyu Kamiooka Lipault         1-6-1, Kamiooka Nishi                Konan-ku, Yokohama-              Kanagawa     233-8556      Japan
                                                                                                                            shi
JP187                      Samsonite Japan Co., Ltd.   Aeon Laketown                   3-1-1, Laketown                      Koshigaya-shi                    Saitama      343-0828      Japan
JP188                      Samsonite Japan Co., Ltd.   Aeon Kurashiki                  1, Mizue                             Kurashiki-shi                    Okayama      710-8560      Japan
JP190                      Samsonite Japan Co., Ltd.   Aeon Kamatori                   3-16-1, Oyumino                      Midori-ku, Chiba-shi             Chiba        266-0031      Japan
JP191                      Samsonite Japan Co., Ltd.   Makuhari Outlet                 2-6-1, Hibino                        Mihama-ku, Chiba-shi             Chiba        261-0021      Japan

JP193                      Samsonite Japan Co., Ltd.   Entetsu                         320-2, Sunayamacho                   Naka-ku, Hamamatsu-              Shizuoka     430-8588      Japan
                                                                                                                            shi
                           Tumi                        Entetsu Hamamatsu               320-2, Sunayamacho                   Naka-ku, Hamamatsu-              Shizuoka     430-8588      Japan
                                                                                                                            shi
                           Samsonite Japan Co., Ltd.   Entetsu SBL                     320-2, Sunayamacho                   Naka-ku, Hamamatsu-              Shizuoka     430-8588      Japan
                                                                                                                                                                                                                                                                                                       UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 148 of 173 Trans ID: LCV2021133181




                                                                                                                            shi
JP194                      Samsonite Japan Co., Ltd.   Aeon Tsudanuma                  1-23-1, Tsudanuma                    Narashino-shi                    Chiba        275-0016      Japan
JP195                      Samsonite Japan Co., Ltd.   Aeon Natori                     5-3-1, Morisekinoshita               Natori-shi                       Miyagi       981-1294      Japan
JP196                      Samsonite Japan Co., Ltd.   Marinoa City Fukuoka            2-12-30, Odo                         Nishi-ku, Fukuoka-shi            Fukuoka      819-0001      Japan

JP197                      Samsonite Japan Co., Ltd.   Aeon Okazaki Minami             1-1, Barayama, Tosakicho             Okazaki-shi                      Aichi        444-0840      Japan
                                                                                                                                                                                                                        Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 171 of 239 PageID: 178




JP198                      Samsonite Japan Co., Ltd.   Hokuriku Oyabe Outlet           1-1, Washiba, Nishinakano            Oyabe-shi                        Toyama       932-0035      Japan



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JP199                      Samsonite Japan Co., Ltd.   Aeon Rinku Sennan               3-12, Rinkuuminamihama              Sennan-shi                        Osaka        590-0535      Japan
JP200          JP7735.00   Samsonite Japan Co., Ltd.   New Head Office                 3-16-3, Higashi                     Shibuya-ku                        Tokyo        150-0011      Japan
                           Tumi                        Samsonite Black Label MOP       3-16-3, Higashi 5F                  Shibuya-ku                        Tokyo        150-0011      Japan
                                                       Kisarazu
JP201                      Samsonite Japan Co., Ltd.   Marui Shinjuku Honkan           3-30-13, Shinjuku                   Shinjuku-ku                       Tokyo        160-0022      Japan
                           Samsonite Japan Co., Ltd.   Marui Shinjuku Honkan Gregory   3-30-13, Shinjuku                   Shinjuku-ku                       Tokyo        160-0022      Japan

JP202                      Tumi                        Outlet Shisui                   2-4-1, Iizumi                       Shisui-machi, Inba-               Chiba        285-0912      Japan
                                                                                                                           gun
                           Samsonite Japan Co., Ltd.   Shisui Outlet Hartmann          2-4-1, Iizumi                       Shisui-machi, Inba-               Chiba        285-0912      Japan
                                                                                                                           gun
JP203                      Samsonite Japan Co., Ltd.   Marui Mizonokuchi               1-4-1, Mizonokuchi                  Takatsu-ku, Kawasaki-             Kanagawa     213-0001      Japan
                                                                                                                           shi
JP204                      Samsonite Japan Co., Ltd.   Aeon Tonami                     31-1, Tochikukaku Seiri Jigyo,      Tonami-shi                        Toyama       939-1343      Japan
                                                                                       Nakagami
JP205                      Samsonite Japan Co., Ltd.   Aeon Yokkaichi Kita             2-40, Tomisuharacho                 Yokkaichi-shi                     Mie          510-8016      Japan
JP206                      Samsonite Japan Co., Ltd.   Takashimaya Yonago              1-30, Kakubancho                    Yonago-shi                        Tottori      683-0812      Japan
JP207                      Samsonite Japan Co., Ltd.   Parco Nagoya                    3-29-1, Sakae                       Naka-ku, Nagoya-shi               Aichi        460-0008      Japan
JP208                      Samsonite Japan Co., Ltd.   Seibu Ikebukuro                 1-28-1, Minamiikebukuro             Toshima-ku                        Tokyo        171-0022      Japan
JP209                      Tumi                        Matsuya Ginza                   3-6-1, Ginza 5F                     Chuo-ku                           Tokyo        104-8130      Japan
                           Samsonite Japan Co., Ltd.   Matsuya Ginza Biz               3-6-1, Ginza                        Chuo-ku                           Tokyo        104-8130      Japan
JP210                      Samsonite Japan Co., Ltd.   Marui Omiya                     2-3, Sakuragicho                    Omiya-ku, Saitama-shi             Saitama      330-9501      Japan

JP213                      Samsonite Japan Co., Ltd.   Aeon Sagamihara                 2-10-1, Furufuchi                   Minami-ku,                        Kanagawa     252-0344      Japan
                                                                                                                           Sagamihara-shi
JP214                      Samsonite Japan Co., Ltd.   Iwataya Mitsukoshi Fukuoka      2-1-1, Tenjin                       Chuo-ku, Fukuoka-shi              Fukuoka      810-8544      Japan

                           Tumi                        Mitsukoshi Fukuoka              2-1-1, Tenjin                       Chuo-ku, Fukuoka-shi              Fukuoka      810-8544      Japan

JP216                      Samsonite Japan Co., Ltd.   Aeon Mall Kobe Kita             8-1-1, Kouzudai                     Kita-ku, Kobe-shi                 Hyogo        651-1515      Japan
JP217                      Samsonite Japan Co., Ltd.   Sogo Kobe                       8-1-8, Onoedori                     Chuo-ku, Kobe-shi                 Hyogo        651-8511      Japan
JP218                      Samsonite Japan Co., Ltd.   Marui Hakata                    9-1, Hakataekichuogai               Hakata-ku, Fukuoka-               Fukuoka      812-0012      Japan
                                                                                                                           shi
JP220                      Samsonite Japan Co., Ltd.   Aeon Okyozuka                   2-91, Okyozuka                      Nonoichi-shi                      Ishikawa     921-8801      Japan
JP222                      Samsonite Japan Co., Ltd.   Aeon Mall Kitatoda              1-3-1, Bijogihigashi                Toda-shi                          Saitama      335-0032      Japan
JP223                      Samsonite Japan Co., Ltd.   Aeon Mall Higashiura            6-2, Ogawa                          Higashiura-cho, Chita-            Aichi        470-2102      Japan
                                                                                                                           gun
JP224                      Samsonite Japan Co., Ltd.   Aeon Wonder City                40, Futakatacho                     Nishi-ku, Nagoya-shi              Aichi        452-0817      Japan
JP226                      Samsonite Japan Co., Ltd.   Kintetsu Nara                   2-4-1, Saidaiji Higashimachi        Nara-shi                          Nara         631-8511      Japan
                           Samsonite Japan Co., Ltd.   Kintetsu Nara Shinshi Kaban     2-4-1, Saidaiji Higashimachi        Nara-shi                          Nara         631-8511      Japan
JP227                      Samsonite Japan Co., Ltd.   Aeon Shijonawate                4-3-2, Suna                         Shijonawate-shi                   Osaka        575-0001      Japan
JP228                      Samsonite Japan Co., Ltd.   Aeon Niigata Aoyama             2-5-1, Aoyama                       Nishi-ku, Niigata-shi             Niigata      950-2002      Japan
JP229                      Samsonite Japan Co., Ltd.   Aeon Narita                     24, Wing Tsuchiya                   Narita-shi                        Chiba        286-0039      Japan
JP230                      Samsonite Japan Co., Ltd.   Aeon Mitouchihara               2-1, Uchihara                       Mito-shi                          Ibaraki      319-0317      Japan
JP231                      Samsonite Japan Co., Ltd.   Aeon Chiba Newtown              3-1-1, Chuo Kita                    Inzai-shi                         Chiba        270-1385      Japan
JP232                      Samsonite Japan Co., Ltd.   Lalaport Iwata                  1200, Takamigaoka                   Iwata-shi                         Shizuoka     438-0801      Japan
JP233                      Samsonite Japan Co., Ltd.   Lalaport Shinmisato             3-1-1, Shinmisato Lala City         Misato-shi                        Saitama      341-0009      Japan
JP234                      Samsonite Japan Co., Ltd.   Aeon Himejiotsu                 2-5, Otsu-ku Otsu-cho               Himeji-shi                        Hyogo        671-1146      Japan
JP236                      Samsonite Japan Co., Ltd.   Aeon Tokoname                   2-20-3, Rinkucho                    Tokoname-shi                      Aichi        479-0882      Japan
JP238                      Samsonite Japan Co., Ltd.   Odakyu Machida                  6-12-20, Haramachida                Machida-shi                       Tokyo        194-0013      Japan
                           Samsonite Japan Co., Ltd.   Odakyu Machida Lipault          6-12-20, Haramachida                Machida-shi                       Tokyo        194-0013      Japan
JP239                      Samsonite Japan Co., Ltd.   Aeon Sakaiteppocho              1, Teppocho                         Sakai-ku, Sakai-shi               Osaka        590-0905      Japan
JP240                      Samsonite Japan Co., Ltd.   Daimaru Kochi                   1-6-1, Obiyamachi                   Kochi-shi                         Kochi        780-8566      Japan
JP242                      Samsonite Japan Co., Ltd.   Aeon Gosyono                    1-1-1, Goshonojizoden               Akita-shi                         Akita        010-1413      Japan
JP243                      Samsonite Japan Co., Ltd.   Aeon Yamatotsuruma              1-2-1, Shimotsuruma                 Yamato-shi                        Kanagawa     242-0001      Japan
                                                                                                                                                                                                                                                                                                       UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 149 of 173 Trans ID: LCV2021133181




JP244                      Samsonite Japan Co., Ltd.   Aeon Ebina                      2-4-1, Chuo                         Ebina-shi                         Kanagawa     243-0432      Japan
JP245                      Samsonite Japan Co., Ltd.   Aeon Shinagawa Seaside          4-12-5, Higashishinagawa            Shinagawa-ku                      Tokyo        140-0002      Japan
JP246                      Samsonite Japan Co., Ltd.   Kisarazu Outlet Gregory         3-1-1, Kanedahigashi                Kisarazu-shi                      Chiba        292-0009      Japan
                           Samsonite Japan Co., Ltd.   Samsonite Black Label MOP       3-1-1, Kanedahigashi                Kisarazu-shi                      Chiba        292-0009      Japan
                                                       Kisarazu
JP247                      Samsonite Japan Co., Ltd.   Gregory Harajuku                6-17-11, Jingumae                   Shibuya-ku                        Tokyo        150-0001      Japan
                                                                                                                                                                                                                        Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 172 of 239 PageID: 179




JP248                      Samsonite Japan Co., Ltd.   Aeon Imabarishintoshi           1-1, Nigiwaihiroba                  Imabari-shi                       Ehime        794-0068      Japan
JP249                      Samsonite Japan Co., Ltd.   Marui Machida                   6-1-6, Haramachida                  Machida-shi                       Tokyo        194-0013      Japan


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JP250                      Samsonite Japan Co., Ltd.   Aeon Chigasakichuo                 3-5-16, Chigasaki                 Chigasaki-shi                    Kanagawa     253-0041      Japan
JP251                      Samsonite Japan Co., Ltd.   Aeon Kamagaya                      2-7-1, Shinkamagaya               Kamagaya-shi                     Chiba        273-0107      Japan
JP252                      Samsonite Japan Co., Ltd.   Aeon Town Yukarigaoka              6-12-3, Nishiyukarigaoka          Sakura-shi                       Chiba        285-0850      Japan
JP254                      Samsonite Japan Co., Ltd.   Aeon Kasaihojo                     308-1, Hojocho Honjo              Kasai-shi                        Hyogo        675-2312      Japan
JP255                      Samsonite Japan Co., Ltd.   Aeon Hiroshimagion                 3-2-1, Gion                       Asaminami-ku,                    Hiroshima    731-0196      Japan
                                                                                                                            Hiroshima-shi
JP256                      Samsonite Japan Co., Ltd.   Aeon Matsuyama                     1-13-5, Amayamamachi              Matsuyama-shi                    Ehime        790-0951      Japan
JP257                      Samsonite Japan Co., Ltd.   Aeon Ako                           55-3, Nakahiro                    Ako-shi                          Hyogo        678-0232      Japan
JP258                      Samsonite Japan Co., Ltd.   Aeon Fuseekimae                    1-8-37, Chodo                     Higashiosaka-shi                 Osaka        577-0056      Japan
JP259                      Samsonite Japan Co., Ltd.   Aeon Fujinomiya                    1-8, Asamacho                     Fujinomiya-shi                   Shizuoka     418-0032      Japan
JP260                      Samsonite Japan Co., Ltd.   Aeon Takamatsuhigashi              3-8-5, Fukuokacho                 Takamatsu-shi                    Kagawa       760-0066      Japan
JP261                      Samsonite Japan Co., Ltd.   Mitsukoshi Isetan Salone Men's     3-3-1, Marunouchi                 Chiyoda-ku                       Tokyo        100-0005      Japan

JP265                      Tumi                        Tumi Marunouchi Store              2-2-3, Marunouchi                 Chiyoda-ku                       Tokyo        100-0005      Japan
JP266                      Tumi                        Tumi Omotesando Store              5-9-17, Jingumae                  Shibuya-ku                       Tokyo        150-0001      Japan
JP267                      Tumi                        Tumi Nagoya Store                  3-15-3, Sakae                     Naka-ku, Nagoya-shi              Aichi        460-0008      Japan
JP268                      Tumi                        Tumi Minamisenba Store             13-10, Minamisenba 1F             Chuo-ku, Osaka-shi               Osaka        542-0081      Japan
JP270                      Tumi                        Tumi Osaka Hiltonplaza             2-2-2, Umeda B1F                  Kita-ku, Osaka-shi               Osaka        530-0001      Japan
JP272                      Tumi                        Temmaya Okayama                    2-1-1, Omotecho 4F                Kita-ku, Okayama-shi             Okayama      700-8625      Japan

JP273          JP7736.00   Tumi                        Hashimoto Warehouse                4-7, Oyamacho 205, Logiport-      Midori-ku,                       Kanagawa     252-0146      Japan
                                                                                          Hashimoto 2F                      Sagamihara-shi
JP275                      Tumi                        Takashimaya Nihombashi             2-4-1, Nihonbashi 5F              Chuo-ku                          Tokyo        103-8265      Japan
JP276                      Tumi                        Takashimaya Tamagawa               3-17-1, Tamagawa 4F               Setagaya-ku                      Tokyo        158-8701      Japan
                           Samsonite Japan Co., Ltd.   Takashimaya Tamagawa               3-17-1, Tamagawa                  Setagaya-ku                      Tokyo        158-8701      Japan
JP277                      Tumi                        Mitsui Outlet Park Jazz Dream      368, Urayasu Nagashimacho         Kuwana-shi                       Mie          511-1135      Japan
                                                       Nagashima
JP279                      Tumi                        Koshigaya Laketown Outlet          4-1-1, Laketown                   Koshigaya-shi                    Saitama      343-0828      Japan
JP280                      Tumi                        Mitsui Outlet Park Makuhari        2-5, Hibino                       Mihama-ku, Chiba-shi             Chiba        261-0021      Japan
                                                       Outlet
JP281                      Tumi                        Mitsui Outlet Park Kisarazu        1-1-1, Kamedahigashi              Kisarazu-shi                     Chiba        292-0009      Japan
JP282                      Tumi                        Mitsui Outlet Park Hokuiku         972-1, Nishinakano                Oyabe-shi                        Toyama       932-8538      Japan
                                                       Oyabe
JP283                      Tumi                        Mitsui Outlet Park Kitahiroshima   3-7-6, Omagarisaiwaicho           Kitahiroshima-shi                Hokkaido     061-1278      Japan

JP285                      Samsonite Japan Co., Ltd.   Marui Yurakucho                    2-7-1, Yurakucho                  Chiyoda-ku                       Tokyo        100-0006      Japan
JP286                      Samsonite Japan Co., Ltd.   Marui City Shibuya                 1-21-3, Jinnan                    Shibuya-ku                       Tokyo        150-0041      Japan
JP287                      Samsonite Japan Co., Ltd.   Marui City Ikebukuro               3-28-13, Nishiikebukuro           Toshima-ku                       Tokyo        171-0021      Japan
JP288                      Samsonite Japan Co., Ltd.   Marui Ueno                         6-15-1, Ueno                      Taito-ku                         Tokyo        110-8502      Japan
JP289                      Samsonite Japan Co., Ltd.   Marui Kokubunji                    3-20-3, Minamicho                 Kokubunji-shi                    Tokyo        185-8562      Japan
                           Samsonite Japan Co., Ltd.   Marui Kokubunji Shinshi Kaban      3-20-3 Minamimachi                Kokubunji-shi                    Tokyo        185-8562      Japan

JP290                      Samsonite Japan Co., Ltd.   Marui Ebina                        1-6-1, Chuo                       Ebina-shi                        Kanagawa     243-0483      Japan
JP291                      Samsonite Japan Co., Ltd.   Marui Shiki                        5-26-1, Honcho                    Shiki-shi                        Saitama      353-0004      Japan
JP293                      Samsonite Japan Co., Ltd.   Marui Shizuoka                     6-10, Miyukicho                   Aoi-ku, Shizuoka-shi             Shizuoka     420-0857      Japan
JP294                      Samsonite Japan Co., Ltd.   Marui Kobe                         1-7-2, Sannomiyacho               Chuo-ku, Kobe-shi                Hyogo        650-0021      Japan
JP297                      Samsonite Japan Co., Ltd.   Marui Men Shinjyuku                5-16-4, Shinjuku                  Shinjuku-ku                      Tokyo        160-0022      Japan
JP298                      Samsonite Japan Co., Ltd.   Marui Kinshicho                    3-9-10, Kotobashi                 Sumida-ku                        Tokyo        130-0022      Japan
JP299                      Samsonite Japan Co., Ltd.   Marui Kichijoji                    1-7-1, Kichijoji Minamicho        Musashino-shi                    Tokyo        180-0003      Japan
JP300                      Samsonite Japan Co., Ltd.   Aeon Shimoda                       40-1, Nakanotai                   Oirase-cho, Kamikita-            Aomori       039-2112      Japan
                                                                                                                            gun
JP301                      Samsonite Japan Co., Ltd.   Aeon Urawamizono                   5-50-1, Misono                    Midori-ku, Saitama-              Saitama      336-8760      Japan
                                                                                                                            shi
JP302                      Samsonite Japan Co., Ltd.   Sendaikou Outlet                   3-7-5, Nakano                     Miyagino-ku, Sendai-             Miyagi       983-0013      Japan
                                                                                                                            shi
                                                                                                                                                                                                                                                                                                       UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 150 of 173 Trans ID: LCV2021133181




                           Tumi                        Mitsui Outlet Park Sendaiko        3-7-2, Nakano                     Miyagino-ku, Sendai-             Miyagi       983-0013      Japan
                                                                                                                            shi
JP303                      Samsonite Japan Co., Ltd.   Lalaport Shonanhiratsuka           10-1, Amanuma                     Hiratsuka-shi                    Kanagawa     254-8510      Japan
                                                       Gregory
                                                                                                                                                                                                                        Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 173 of 239 PageID: 180




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JP305                      Samsonite Japan Co., Ltd.       Mitsukoshi Isetan Hous Gregory   3-28-12, Meieki                      Nakamura-ku, Nagoya-             Aichi                    450-6490      Japan
                                                                                                                                 shi
JP306                      Samsonite Japan Co., Ltd.       Mitsukoshi Isetan Centrair       1-1, Sentorea                        Tokoname-shi                     Aichi                    479-0881      Japan
JP307                      Samsonite Japan Co., Ltd.       Takashimaya Kashiwa              3-16, Suehirocho                     Kashiwa-shi                      Chiba                    277-8666      Japan
                           Tumi                            Takashimaya Kashiwa              3-16, Suehirocho                     Kashiwa-shi                      Chiba                    277-8666      Japan
JP309                      Samsonite Japan Co., Ltd.       Aeon Nagakute                    5-10-11, Tochikukaku Seiri           Nagakute-shi                     Aichi                    480-1100      Japan
                                                                                            Jigyochinai Nagakutecho
JP310                      Samsonite Japan Co., Ltd.       Sapporo Tokyu                    2, Kita 4 Jonishi                    Chuo-ku, Sapporo-shi             Hokkaido                 060-0004      Japan

                           Samsonite Japan Co., Ltd.       Sapporo Tokyu Gregory            2, Kita 4 Jonishi                    Chuo-ku, Sapporo-shi             Hokkaido                 060-0004      Japan

JP311                      Samsonite Japan Co., Ltd.       Aeon Niihama                     8-8, Maedacho                        Niihama-shi                      Ehime                    792-0007      Japan
JP312                      Samsonite Japan Co., Ltd.       Aeon Himonya                     4-1-1, Himonya                       Meguro-ku                        Tokyo                    152-0003      Japan
JP313                      Samsonite Japan Co., Ltd.       Aeon Shinkomatsu                 20, Okishuhen Tochikukaku Seiri      Komatsu-shi                      Ishikawa                 923-0861      Japan
                                                                                            Jigyochinai
JP314                      Samsonite Japan Co., Ltd.       Kintetsu Uehonmachi              6-1-55, Uehonmachi                   Tennoji-ku, Osaka-shi            Osaka                    543-8543      Japan

JP315                      Samsonite Japan Co., Ltd.       Yokohama Gregory                 3-5-1, Minatomirai                   Nishi-ku, Yokohama-              Kanagawa                 220-0012      Japan
                                                                                                                                 shi
JP316                      Samsonite Japan Co., Ltd.       Takashimaya Senboku              1-3-1, Chayamadai                    Minami-ku, Sakai-shi             Osaka                    590-0115      Japan
JP317                      Samsonite Japan Co., Ltd.       Aeon Tokushima                   4-1, Minamisuehirocho                Tokushima-shi                    Tokushima                770-0865      Japan
JP318                      Samsonite Japan Co., Ltd.       Kintetsu Wakayama                5-18, Tomodacho                      Wakayama-shi                     Wakayama                 640-8342      Japan
JP319                      Samsonite Japan Co., Ltd.       Osakatsurumi Outlet Gregory      2-7-70, Matsutaomiya                 Tsurumi-ku, Osaka-shi            Osaka                    538-0031      Japan

JP322                      Samsonite Japan Co., Ltd.       Aeon Toyoda                      1-1, Hirojicho                       Toyota-shi                       Aichi                    471-0864      Japan
JP323          JP8221.00   Samsonite Japan Co., Ltd.       Konoike Transport Co., Ltd.      3-4-1, Nishiura                      Funabashi-shi                    Chiba                    273-0017      Japan
JP324                      Tumi                            Outlet Hiroshima                 4-1-1, Ishiuchihigashi               Saeki-ku, Hiroshima-             Hiroshima                731-5162      Japan
                                                                                                                                 shi
JP325                      Samsonite Japan Co., Ltd.       Aeon Onahama                     79 Onahama Aza Tatsumimachi          Iwaki-shi                        Fukushima                971-8555      Japan
JP326                      Samsonite Japan Co., Ltd.       Gregory Shinjuku                 3-38-1 Shinjuku                      Shinjuku-ku                      Tokyo                    160-0022      Japan
JP327                      Samsonite Japan Co., Ltd.       Aeon Takamatsu                   1-1 Kozaihoncho                      Takamatsu-shi                    Kagawa                   761-8012      Japan
JP328                      Samsonite Japan Co., Ltd.       Aeon Ojitsu                      1-18 Ojitsuhigashimachi              Moriguchii-shi                   Osaka                    570-0016      Japan
JP329                      Samsonite Japan Co., Ltd.       Gregory Fukuoka                  2-30-24 Chigyohama                   Chuo-ku Fukuoka-shi              Fukuoka                  810-0065      Japan

JP330                      Samsonite Japan Co., Ltd.       Iyotetsu Takashimaya             5-5-1, Minatomachi                   Matsuyama-shi                    Ehime                    790-8587      Japan
JP331                      Samsonite Japan Co., Ltd.       Gregory Kitasenju                42-2, Senju Asahimachi               Adachi-ku                        Tokyo                    120-0026      Japan
JP332                      Samsonite Japan Co., Ltd.       Aeon Yahata Higashi              3-2-102, Higashida                   Yahata HIgashi-ku,               Fukuoka                  805-0071      Japan
                                                                                                                                 Kitakyushu-shi
JP333                      Samsonite Japan Co., Ltd.       Gregory Odaiba                   1-7-1, Daiba                         Minato-ku                        Tokyo                    135-0091      Japan
JP334                      Samsonite Japan Co., Ltd.       Aeon Fukuoka Ito                 1-2-1, Kitahara                      Nishi-ku, Fukuoka-shi            Fukuoka                  819-0379      Japan

JP335                      Samsonite Japan Co., Ltd.       Gregory Machida                  6-4-1, Haramachida                   Machida-shi                      Tokyo                    194-8501      Japan
JP337                      Tumi                            Outlet Minamiosawa               1-600 Minami Osawa                   Hachiouji-shi                    Tokyo                    192-0364      Japan
JP338                      Tumi                            Customer Center                  1-8-3-201 Muromaci Nihonbashi        Chuou-ku                         Tokyo                    103-0022      Japan
JP339                      Tumi                            Outlet Minamimachida             3-3-1 Tsuruma                        Machida-shi                      Tokyo                    194-0004      Japan
KO002          KO0334.00   Samsonite South Korea Limited   Head Office                      945-1 Daechi-dong                    Gangnam-gu                       Seoul City               06181         South Korea
                           Samsonite South Korea Limited   Coex Mall                        513 Yeongdong-daero                  Gangnam-gu                       Seoul City               06164         South Korea
                           Samsonite South Korea Limited   Hyundai Muyeok(HM)               517 Teheran-ro                       Gangnam-gu                       Seoul City               06164         South Korea
                           Samsonite South Korea Limited   Hyundai Muyeok(MBS)              159-7 Samseong-dong                  Gangnam-gu                       Seoul City               06164         South Korea
                           Samsonite South Korea Limited   Hyundai Muyeok                   159-7 Samseong-dong                  Gangnam-gu                       Seoul City               06164         South Korea
                           Tumi                            Hyundai Muyeok(TU)               517 Teheran-ro                       Gangnam-gu                       Seoul City               06164         South Korea
KO003                      Samsonite South Korea Limited   Lotte Goyang Terminal(AT)        1036 Jungang-ro                      Ilsandong-gu, Goyang-            Gyeonggi-do              10450         South Korea
                                                                                                                                 si
KO004                      Samsonite South Korea Limited   Lotte Incheon Hangdong(AT)       2 Seohae-daero 209beon-gil           Jung-gu                          Incheon Metropolitan City 22338        South Korea
                                                                                                                                                                                                                                                                                                                        UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 151 of 173 Trans ID: LCV2021133181




KO005                      Samsonite South Korea Limited   Lotte Mart Gimpo Airport         38 Haneul-gil                        Gangseo-gu                       Seoul City               07505         South Korea
                           Samsonite South Korea Limited   Lotte Gimpo_R                    38 Haneul-gil                        Gangseo-gu                       Seoul City               07505         South Korea
KO008                      Samsonite South Korea Limited   Cheongdam HM                     776 Samseong-ro                      Gangnam-gu                       Seoul City               06070         South Korea
KO009                      Samsonite South Korea Limited   Lotte Dongdaemoon FITIN          264 Eulji-ro                         Jung-gu                          Seoul City               04561         South Korea
                                                           MALL
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Location No.   Index No.   Org Unit                        Name                           Street                                City                     County   State/Prov                  Postal Code   Country

KO010                      Samsonite South Korea Limited   Lotte Mart Suwon               124 Sehwa-ro                          Gwonseon-gu, Suwon-               Gyeonggi-do                 16621         South Korea
                                                                                                                                si
                           Samsonite South Korea Limited   AK Suwon                       18 Maesanno 1-ga                      Paldal-gu, Suwon-si               Gyeonggi-do                 16622         South Korea
                           Samsonite South Korea Limited   Lotte Suwon_R                  124 Sehwa-ro                          Gwonseon-gu, Suwon-               Gyeonggi-do                 16621         South Korea
                                                                                                                                si
                           Samsonite South Korea Limited   Lotte Suwon                    124 Sehwa-ro                          Gwonseon-gu, Suwon-               Gyeonggi-do                 16621         South Korea
                                                                                                                                si
                           Samsonite South Korea Limited   AK Suwon(LP)                   924 Deogyeong-daero                   Paldal-gu, Suwon-si               Gyeonggi-do                 16622         South Korea
KO012                      Samsonite South Korea Limited   Lotte Gwangmyeong              17 Iljik-ro                           Gwangmyeong-si                    Gyeonggi-do                 14352         South Korea
KO014                      Samsonite South Korea Limited   Hyundai Gimpo                  100 Arayuk-ro 152beon-gil             Gimpo-si                          Gyeonggi-do                 10135         South Korea
                           Tumi                            Gimpo Hyundai Outlet(TU)       100 Arayuk-ro 152beon-gil, Gochon-    Gimpo-si                          Gyeonggi-do                 10135         South Korea
                                                                                          eup Jeonho-ri
KO015                      Samsonite South Korea Limited   Lotte Gimhae Outlet            A-109 1B4L Sinmun-ri, Jangyu-myeon    Gimhae-si                         Gyeongsangnam-do            51011         South Korea
                                                                                          Gimhae Distribution Center
KO017                      Samsonite South Korea Limited   Lotte DongBusan                147 Gijanghaean-ro, Gijang-eup        Gijang-gun                        Busan Metropolitan City     46084         South Korea
                           Tumi                            DongBusan Lotte Outlet(TU)     64 Dangsa-ri, Gijang-eup              Gijang-gun                        Busan Metropolitan City     46083         South Korea
KO018                      Samsonite South Korea Limited   Bongmu Isiapolice Outlet       1545 Bongmu-dong                      Dong-gu                           Daegu Metropolitan City     41026         South Korea
KO019                      Samsonite South Korea Limited   Simon Busan                    483-2 Jwacheon-ri, Jangan-eup         Gijang-gun                        Busan Metropolitan City     46029         South Korea
KO020                      Samsonite South Korea Limited   Lotte Buyeo Outlet             172 Hapjeong-ri, Gyuam-myeon          Buyeo-gun                         Chungcheongnam-do           33115         South Korea
KO021                      Samsonite South Korea Limited   Seoul Station Lotte Outlet     405 Hangang-daero                     Jung-gu                           Seoul City                  04509         South Korea
KO025                      Samsonite South Korea Limited   Paju Lotte Outlet              104-1 Munbal-dong 2F, 2 Block, Paju   Paju-si                           Gyeonggi-do                 10881         South Korea
                                                                                          Publishment Center
KO026                      Samsonite South Korea Limited   Simon Paju Outlet              1790-8 Beopheung-ri, Tanhyeon-        Paju-si                           Gyeonggi-do                 10862         South Korea
                                                                                          myeon
                           Tumi                            Simon Paju Outlet(TU)          1790-8 Beopheung-ri, Tanhyeon-        Paju-si                           Gyeonggi-do                 10862         South Korea
                                                                                          myeon
KO027                      Samsonite South Korea Limited   Lotte Jamsil Worldmall(RED)    29 Sincheon-dong                      Songpa-gu                         Seoul City                  05551         South Korea
                           Samsonite South Korea Limited   Lotte Mart Jamsil              40-1 Jamsil-dong                      Songpa-gu                         Seoul City                  05554         South Korea
                           Samsonite South Korea Limited   Lotte Jamsil(MBS)              40-1 Jamsil-dong                      Songpa-gu                         Seoul City                  05554         South Korea
                           Samsonite South Korea Limited   Lotte Jamsil                   40-1 Jamsil-dong                      Songpa-gu                         Seoul City                  05554         South Korea
                           Samsonite South Korea Limited   Lotte Jamsil(LP)               240 Olympic-ro                        Songpa-gu                         Seoul City                  05554         South Korea
                           Samsonite South Korea Limited   Lotte Jamsil(HM)               240 Olympic-ro                        Songpa-gu                         Seoul City                  05554         South Korea
                           Samsonite South Korea Limited   Lotte Mart World Tower         300 Olympic-ro                        Songpa-gu                         Seoul City                  05551         South Korea
                           Tumi                            Lotte Jamsil(TU)               240 Olympic-ro                        Songpa-gu                         Seoul City                  05554         South Korea
                           Samsonite South Korea Limited   L&J Lotte Jamsil Worldmall     29 Sincheon-dong                      Songpa-gu                         Seoul City                  05551         South Korea
KO029                      Samsonite South Korea Limited   Podo Mall(RED)                 330 Sillim-ro                         Gwanak-gu                         Seoul City                  08777         South Korea
KO032                      Samsonite South Korea Limited   2001Outlet Bundang             11-1 Gumi-dong                        Bundang-gu,                       Gyeonggi-do                 13630         South Korea
                                                                                                                                Seongnam-si
KO033                      Samsonite South Korea Limited   2001Outlet Cheolsan            261 Cheolsan-dong                     Gwangmyeong-si                    Gyeonggi-do                 14237         South Korea
KO035                      Samsonite South Korea Limited   2001Outlet Haewoondae          1467-4 Jwa-dong                       Haeundae-gu                       Busan Metropolitan City     48106         South Korea
KO036                      Samsonite South Korea Limited   Newcore Junggye                509 Junggye-dong                      Nowon-gu                          Seoul City                  01783         South Korea
KO037                      Samsonite South Korea Limited   Dong-A Shopping                53-3 Deoksan-dong                     Jung-gu                           Daegu Metropolitan City     41936         South Korea
                           Samsonite South Korea Limited   Hyundai Daegu(MBS)             200 Gyesan-dong 2-ga                  Jung-gu                           Daegu Metropolitan City     41936         South Korea
                           Samsonite South Korea Limited   Hyundai Daegu                  200 Gyesan-dong 2-ga                  Jung-gu                           Daegu Metropolitan City     41936         South Korea
                           Tumi                            Hyundai Daegu(TU)              2077 Dalgubeol-daero                  Jung-gu                           Daegu Metropolitan City     41936         South Korea
                           Tumi                            Hyundai Daegu(TU)              2077 Dalgubeol-daero                  Jung-gu                           Daegu Metropolitan City     41936         South Korea
KO038                      Samsonite South Korea Limited   E-Land Retail Exco             22 Yutongdanji-ro 14-gil, Sangyeok-   Buk-gu                            Daegu Metropolitan City     41518         South Korea
                                                                                          dong
KO040                      Samsonite South Korea Limited   Grand Ilsan                    22 Juyeop-dong                        Ilsanseo-gu, Goyang-si            Gyeonggi-do                 34681         South Korea

KO041                      Samsonite South Korea Limited   Happy World                    917-6 Mok-dong                        Yangcheon-gu                      Seoul City                  07997         South Korea
KO043                      Samsonite South Korea Limited   Megamart Chuncheon             34 Joyang-dong                        Chuncheon-si                      Gangwon-do                  24353         South Korea
KO044                      Samsonite South Korea Limited   Newcore Gangnam                70-2 Jamwon-dong                      Seocho-gu                         Seoul City                  06511         South Korea
KO045                      Samsonite South Korea Limited   Shinsegye Incheon_R            35 Yeonnam-ro                         Nam-gu                            Incheon Metropolitan City   22242         South Korea
                                                                                                                                                                                                                                                                                                                           UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 152 of 173 Trans ID: LCV2021133181




                           Samsonite South Korea Limited   Shinsegye Incheon              15 Gwangyo-dong                       Nam-gu                            Incheon Metropolitan City 22242           South Korea

                           Tumi                            Shinsegye Incheon_TU           35 Yeonnam-ro                         Nam-gu                            Incheon Metropolitan City 22242           South Korea

KO046                      Samsonite South Korea Limited   Newcore Outlet UlsnaSeongnam   20 Sigyetap-geori                     Jung-gu                           Ulsan Metropolitan City     44532         South Korea
                                                                                                                                                                                                                                            Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 175 of 239 PageID: 182




KO047                      Samsonite South Korea Limited   Newcore Pyungchon              1039-3 Hogye-dong                     Dongan-gu, Anyang-si              Gyeonggi-do                 14073         South Korea



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Location No.   Index No.   Org Unit                        Name                      Street                              City                   County   State/Prov                  Postal Code   Country

KO048                      Samsonite South Korea Limited   Newcore Sopoong           539-1 Sang-dong                     Wonmi-gu, Bucheon-              Gyeonggi-do                 14545         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   Homeplus Sangdong         540-1 Sang-dong                     Wonmi-gu, Bucheon-              Gyeonggi-do                 14545         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   Newcore Bucheon(GR)       539-1 Sang-dong                     Wonmi-gu, Bucheon-              Gyeonggi-do                 14545         South Korea
                                                                                                                         si
KO049                      Samsonite South Korea Limited   Newcore Yatop             357-1 Yatap-dong                    Bundang-gu,                     Gyeonggi-do                 13497         South Korea
                                                                                                                         Seongnam-si
KO051                      Samsonite South Korea Limited   E-Mart Asan               192-2 Punggi-dong                   Asan-si                         Chungcheongnam-do           31528         South Korea
KO052                      Samsonite South Korea Limited   E-Mart Bucheon            316-2 Simgokbon-dong                Sosa-gu, Bucheon-si             Gyeonggi-do                 14637         South Korea
KO053                      Samsonite South Korea Limited   E-Mart Changwon           91 Jungang-dong                     Seongsan-gu,                    Gyeongsangnam-do            51515         South Korea
                                                                                                                         Changwon-si
                           Samsonite South Korea Limited   Lotte Changwon_R          124 Jungang-daero                   Seongsan-gu,                    Gyeongsangnam-do            51494         South Korea
                                                                                                                         Changwon-si
                           Samsonite South Korea Limited   E-Mart/Changwon           91 Jungang-dong                     Seongsan-gu,                    Gyeongsangnam-do            51515         South Korea
                                                                                                                         Changwon-si
KO054                      Samsonite South Korea Limited   E-Mart CheonanSeobuk      446-2 Seongseong-dong               Seobuk-gu, Cheonan-             Chungcheongnam-do           31087         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   E-Mart/Cheonan(AT)        446-2 Seongseong-dong               Seobuk-gu, Cheonan-             Chungcheongnam-do           31087         South Korea
                                                                                                                         si
KO055                      Samsonite South Korea Limited   E-Mart Chungju            1024 Munhwa-dong                    Chungju-si                      Chungcheongbuk-do         27407           South Korea
KO057                      Samsonite South Korea Limited   E-Mart Dunsan             959-2 Dunsan-dong                   Seo-gu                          Daejeon Metropolitan City 35229           South Korea

KO058                      Samsonite South Korea Limited   E-Mart Eunpyung           90-1 Eungam-dong                    Eunpyeong-gu                    Seoul City                  03461         South Korea
KO059                      Samsonite South Korea Limited   E-Mart Gayang             449-19 Gayang-dong                  Gangseo-gu                      Seoul City                  07532         South Korea
KO060                      Samsonite South Korea Limited   E-Mart Geumjeong          24 Jungang-daero 1841beon-gil       Geumjeong-gu                    Busan Metropolitan City     46233         South Korea
KO061                      Samsonite South Korea Limited   E-Mart Gojan              46 Wonpogongwon 1-ro                Danwon-gu, Ansan-si             Gyeonggi-do                 15455         South Korea

KO062                      Samsonite South Korea Limited   E-Mart Gunsan             590-296 Gyeongam-dong               Gunsan-si                       Jeollabuk-do                54032         South Korea
KO063                      Samsonite South Korea Limited   E-Mart Guro               43 Digital-ro 32-gil                Guro-gu                         Seoul City                  08379         South Korea
KO064                      Samsonite South Korea Limited   E-Mart Gwangmyeong Soha   1339-3 Soha-dong                    Gwangmyeong-si                  Gyeonggi-do                 14316         South Korea
                           Samsonite South Korea Limited   Lotte Pyeongchon          1339-3 Soha-dong                    Gwangmyeong-si                  Gyeonggi-do                 14316         South Korea
                           Samsonite South Korea Limited   AK Wonju(HOS)             1339-3 Soha-dong                    Gwangmyeong-si                  Gyeonggi-do                 14316         South Korea
                           Samsonite South Korea Limited   Shinsegye Uijeongbu       1339-3 Soha-dong                    Gwangmyeong-si                  Gyeonggi-do                 14316         South Korea
KO066                      Samsonite South Korea Limited   E-Mart/HwaseongBongdam    133-1 Donghwa-ri, Bongdam-eup       Hwaseong-si                     Gyeonggi-do                 18298         South Korea
KO068                      Samsonite South Korea Limited   E-Mart Jinju              3 Insa-dong                         Jinju-si                        Gyeongsangnam-do            52686         South Korea
KO069                      Samsonite South Korea Limited   E-Mart Jukjeon            1282 Jukjeon-dong                   Suji-gu, Yongin-si              Gyeonggi-do                 16896         South Korea
                           Samsonite South Korea Limited   Shinsegye Gyunggi         1285 Jukjeon-dong                   Suji-gu, Yongin-si              Gyeonggi-do                 16896         South Korea
                           Tumi                            Shinsegye Gyunggi(TU)     1285 Jukjeon-dong                   Suji-gu, Yongin-si              Gyeonggi-do                 16896         South Korea
KO071                      Samsonite South Korea Limited   E-Mart Manchon            1356-5 Manchon-dong                 Suseong-gu                      Daegu Metropolitan City     42037         South Korea
KO072                      Samsonite South Korea Limited   E-Mart Mokdong            962 Mok-dong                        Yangcheon-gu                    Seoul City                  08001         South Korea
KO073                      Samsonite South Korea Limited   E-Mart Pyungtaik          50 Jije-dong                        Pyeongtaek-si                   Gyeonggi-do                 17840         South Korea
KO074                      Samsonite South Korea Limited   E-Mart Sanbon             347 Sanbon-ro                       Gunpo-si                        Gyeonggi-do                 15865         South Korea
KO075                      Samsonite South Korea Limited   E-Mart Sasang             531-2 Gwaebeop-dong                 Sasang-gu                       Busan Metropolitan City     46970         South Korea
KO076                      Samsonite South Korea Limited   E-Mart Sihwa              210 Jeongwang-daero                 Siheung-si                      Gyeonggi-do                 15066         South Korea
KO078                      Samsonite South Korea Limited   E-Mart Sunchen            169 Deogam-dong                     Suncheon-si                     Jeollanam-do                57964         South Korea
KO079                      Samsonite South Korea Limited   E-Mart Suwon              1189 Gwonseon-dong                  Gwonseon-gu, Suwon-             Gyeonggi-do                 16585         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   NC Suwon Terminal(MBS)    270 Gyeongsu-daero                  Gwonseon-gu, Suwon-             Gyeonggi-do                 16585         South Korea
                                                                                                                         si
KO080                      Samsonite South Korea Limited   E-Mart Wolgye             333-1 Wolgye-dong                   Nowon-gu                        Seoul City                  01906         South Korea
KO081                      Samsonite South Korea Limited   E-Mart Yangjae            16 Maeheon-ro                       Seocho-gu                       Seoul City                  06771         South Korea
                           Samsonite South Korea Limited   Hyundai Mokdong(RED)      16 Maeheon-ro                       Seocho-gu                       Seoul City                  06771         South Korea
KO083                      Samsonite South Korea Limited   E-Mart Yeonsu             926-9 Dongchun-dong                 Yeonsu-gu                       Incheon Metropolitan City   21975         South Korea
                                                                                                                                                                                                                                                                                                                  UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 153 of 173 Trans ID: LCV2021133181




KO084                      Samsonite South Korea Limited   Homeplus Ansan            586 Seongpo-dong 2F                 Sangnok-gu, Ansan-si            Gyeonggi-do                 15294         South Korea

                           Samsonite South Korea Limited   Lotte Mart Ansan          590 Seongpo-dong                    Sangnok-gu, Ansan-si            Gyeonggi-do                 15299         South Korea

KO086                      Samsonite South Korea Limited   Homeplus Buksuwon         898 Jowon-dong                      Jangan-gu, Suwon-si             Gyeonggi-do                 16295         South Korea
KO087                      Samsonite South Korea Limited   Homeplus Centum           1499 U 2-dong                       Haeundae-gu                     Busan Metropolitan City     48059         South Korea
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Location No.   Index No.   Org Unit                        Name                      Street                              City                   County   State/Prov                  Postal Code   Country

KO088                      Samsonite South Korea Limited   Homeplus Changwon         30-3 Palyong-dong                   Uichang-gu,                     Gyeongsangnam-do            51393         South Korea
                                                                                                                         Changwon-si
                           Samsonite South Korea Limited   Newcore Outlet Incheon    30-3 Palyong-dong                   Uichang-gu,                     Gyeongsangnam-do            51393         South Korea
                                                                                                                         Changwon-si
KO089                      Samsonite South Korea Limited   Homeplus Chilgok          968 Dongcheon-dong                  Buk-gu                          Daegu Metropolitan City     41422         South Korea
KO093                      Samsonite South Korea Limited   Homeplus Dongsuwon        1045 Ingye-dong                     Paldal-gu, Suwon-si             Gyeonggi-do                 16490         South Korea
KO094                      Samsonite South Korea Limited   Homeplus Gaya             624-7 Gaya-dong                     Busanjin-gu                     Busan Metropolitan City     47324         South Korea
KO095                      Samsonite South Korea Limited   Homeplus Geumcheon        291-1 Doksan-dong                   Geumcheon-gu                    Seoul City                  08584         South Korea
KO096                      Samsonite South Korea Limited   Homeplus Gimhae           1131-2 Nae-dong                     Gimhae-si                       Gyeongsangnam-do            50943         South Korea
KO097                      Samsonite South Korea Limited   Homeplus Gimpo            692 Gamjeong-dong                   Gimpo-si                        Gyeonggi-do                 10102         South Korea
KO099                      Samsonite South Korea Limited   Homeplus Hapjeong         490 Seogyo-dong                     Mapo-gu                         Seoul City                  04036         South Korea
KO100                      Samsonite South Korea Limited   Homeplus Jakjeon          27 Gyeyang-daero                    Gyeyang-gu                      Incheon Metropolitan City   21111         South Korea

                           Samsonite South Korea Limited   Lotte Jeonju_R            27 Gyeyang-daero                    Gyeyang-gu                      Incheon Metropolitan City 21111           South Korea

KO101                      Samsonite South Korea Limited   Homeplus Jamsil           7-12 Sincheon-dong                  Songpa-gu                       Seoul City                  05510         South Korea
KO102                      Samsonite South Korea Limited   Homeplus Jeonjuhyoja      431-5 Hyoja-dong 1-ga               Wansan-gu, Jeonju-si            Jeollabuk-do                55056         South Korea

KO103                      Samsonite South Korea Limited   Homeplus Masan            151-1 Yangdeok-dong                 Masanhoewon-gu,                 Gyeongsangnam-do            51320         South Korea
                                                                                                                         Changwon-si
KO104                      Samsonite South Korea Limited   Homeplus Munlae           55-3 Mullaedong 3-ga                Yeongdeungpo-gu                 Seoul City                  07297         South Korea
                           Samsonite South Korea Limited   Lotte Youngdeungpo(MBS)   55-3 Mullaedong 3-ga                Yeongdeungpo-gu                 Seoul City                  07297         South Korea
KO106                      Samsonite South Korea Limited   Homeplus Suncheon         975-1 Jorye-dong                    Suncheon-si                     Jeollanam-do                57946         South Korea
KO107                      Samsonite South Korea Limited   Homeplus Sungseo          230-11 Yongsan-dong                 Dalseo-gu                       Daegu Metropolitan City     42637         South Korea
KO108                      Samsonite South Korea Limited   Homeplus Uijeongbu        475-1 Geumo-dong                    Uijeongbu-si                    Gyeonggi-do                 11757         South Korea
KO109                      Samsonite South Korea Limited   Homeplus Ulsan            100 Boksan-dong                     Jung-gu                         Ulsan Metropolitan City     44478         South Korea
KO110                      Samsonite South Korea Limited   Homeplus Ulsandonggu      637 Bangeojinsunhwando-ro           Dong-gu                         Ulsan Metropolitan City     44068         South Korea
KO111                      Samsonite South Korea Limited   Homeplus Worldcup         515 Seongsan-dong                   Mapo-gu                         Seoul City                  03932         South Korea
KO112                      Samsonite South Korea Limited   Homeplus Youngtong        994-2 Yeongtong-dong                Yeongtong-gu, Suwon-            Gyeonggi-do                 16704         South Korea
                                                                                                                         si
KO113                      Samsonite South Korea Limited   Lotte Mart/Anseong        2-13 Gongdo-eup                     Anseong-si                      Gyeonggi-do               17558           South Korea
KO114                      Samsonite South Korea Limited   2001Outlet Anyang         738-1 Bupyeong-dong                 Bupyeong-gu                     Incheon Metropolitan City 21404           South Korea

KO117                      Samsonite South Korea Limited   Lotte Mart Chuncheon      6 Onui-dong                         Chuncheon-si                    Gangwon-do                  24363         South Korea
KO118                      Samsonite South Korea Limited   Lotte Mart Gumi           465 Sinpyeong-dong                  Gumi-si                         Gyeongsangbuk-do            39255         South Korea
KO119                      Samsonite South Korea Limited   Lotte Mart Gunsan         210-1 Susong-dong                   Gunsan-si                       Jeollabuk-do                54091         South Korea
KO121                      Samsonite South Korea Limited   Lotte Mart Guro           636-89 Guro-dong                    Guro-gu                         Seoul City                  08278         South Korea
KO122                      Samsonite South Korea Limited   Lotte Mart Gwangbok       20-1 Jungang-dong 7-ga              Jung-gu                         Busan Metropolitan City     48944         South Korea
                           Samsonite South Korea Limited   Lotte Gwangbok            20-1 Jungang-dong 7-ga              Jung-gu                         Busan Metropolitan City     48944         South Korea
KO123                      Samsonite South Korea Limited   Lotte Mart Gyeyang        822 Jangje-ro                       Gyeyang-gu                      Incheon Metropolitan City   21060         South Korea

KO126                      Samsonite South Korea Limited   Lotte Mart Iksan          833-2 Yeongdeung-dong               Iksan-si                        Jeollabuk-do                54545         South Korea
KO127                      Samsonite South Korea Limited   Lotte Mart Jangyoo        300 Daecheong-ri, Jangyu-myeon      Gimhae-si                       Gyeongsangnam-do            51004         South Korea
KO128                      Samsonite South Korea Limited   Lotte Mart Jeju           708 Nohyeong-dong                   Jeju-si                         Jejudo                      63084         South Korea
KO129                      Samsonite South Korea Limited   Lotte Mart Jinhae         543-5 Seok-dong                     Jinhae-gu, Changwon-            Gyeongsangnam-do            51658         South Korea
                                                                                                                         si
KO130                      Samsonite South Korea Limited   Lotte Mart Jinjang        64 Jinjangyutong-ro                 Buk-gu                          Ulsan Metropolitan City     44248         South Korea
KO131                      Samsonite South Korea Limited   Lotte Mart Jungye         361-517 Junggye-dong                Nowon-gu                        Seoul City                  01745         South Korea
KO133                      Samsonite South Korea Limited   Lotte Mart Sasang         733 Nakdong-daero                   Sasang-gu                       Busan Metropolitan City     47032         South Korea
                           Samsonite South Korea Limited   Debec Plaza               733 Nakdong-daero                   Sasang-gu                       Busan Metropolitan City     47032         South Korea
                           Samsonite South Korea Limited   Daegu Main_R              733 Nakdong-daero                   Sasang-gu                       Busan Metropolitan City     47032         South Korea
KO134                      Samsonite South Korea Limited   Lotte Mart Songpa         150-2 Munjeong-dong                 Songpa-gu                       Seoul City                  05833         South Korea
KO136                      Samsonite South Korea Limited   Lotte Mart Sungjung       1485 Seongjeong-dong                Seobuk-gu, Cheonan-             Chungcheongnam-do           31109         South Korea
                                                                                                                         si
KO138                      Samsonite South Korea Limited   Lotte Mart Ulsan          74 Samsan-ro                        Nam-gu                          Ulsan Metropolitan City     44722         South Korea
                                                                                                                                                                                                                                                                                                                  UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 154 of 173 Trans ID: LCV2021133181




KO139                      Samsonite South Korea Limited   Lotte Mart Ungsang        34 Samho 1-gil                      Yangsan-si                      Gyeongsangnam-do            50529         South Korea
KO140                      Samsonite South Korea Limited   Megamart Namchun          545-2 Namcheon-dong                 Suyeong-gu                      Busan Metropolitan City     48313         South Korea
                                                                                                                                                                                                                                   Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 177 of 239 PageID: 184




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                                                                                               WIND AREAS, APPENDIX C



Location No.   Index No.   Org Unit                        Name                       Street                             City                   County   State/Prov                  Postal Code   Country

KO141                      Samsonite South Korea Limited   AK Bundang(GR)             42 Hwangsaeul-ro 360beon-gil       Bundang-gu,                     Gyeonggi-do                 13591         South Korea
                                                                                                                         Seongnam-si
                           Samsonite South Korea Limited   AK Bundang(MBS)            263 Seohyeon-dong                  Bundang-gu,                     Gyeonggi-do                 13591         South Korea
                                                                                                                         Seongnam-si
                           Samsonite South Korea Limited   AK Bundang                 263 Seohyeon-dong                  Bundang-gu,                     Gyeonggi-do                 13591         South Korea
                                                                                                                         Seongnam-si
                           Samsonite South Korea Limited   AK Bundang(LP)             42 Hwangsaeul-ro 360beon-gil       Bundang-gu,                     Gyeonggi-do                 13591         South Korea
                                                                                                                         Seongnam-si
                           Tumi                            AK Bundang(TU)             42 Hwangsaeul-ro 360beon-gil       Bundang-gu,                     Gyeonggi-do                 13591         South Korea
                                                                                                                         Seongnam-si
                           Tumi                            AK Bundang(TU)             42 Hwangsaeul-ro 360beon-gil       Bundang-gu,                     Gyeonggi-do                 13591         South Korea
                                                                                                                         Seongnam-si
KO143                      Samsonite South Korea Limited   Hyundai D-Cube             662 Gyeongin-ro                    Guro-gu                         Seoul City                  08209         South Korea
                           Samsonite South Korea Limited   Hyundai D-Cube(GR)         662 Gyeongin-ro                    Guro-gu                         Seoul City                  08209         South Korea
                           Samsonite South Korea Limited   Hyundai D-Cube(LP)         662 Gyeongin-ro                    Guro-gu                         Seoul City                  08209         South Korea
KO145                      Samsonite South Korea Limited   Hyundai Shinchon(HIGH)     83 Sinchon-ro                      Seodaemun-gu                    Seoul City                  03789         South Korea
                           Samsonite South Korea Limited   Hyundai Shinchon(MBS)      30-33 Changcheon-dong              Seodaemun-gu                    Seoul City                  03789         South Korea
                           Samsonite South Korea Limited   Hyundai Shinchon           30-33 Changcheon-dong              Seodaemun-gu                    Seoul City                  03789         South Korea
                           Samsonite South Korea Limited   Hyundai Sinchon            83 Sinchon-ro                      Seodaemun-gu                    Seoul City                  03789         South Korea
KO146                      Samsonite South Korea Limited   I'Park Main(HOS)           40-999 Hangangno 3-ga              Yongsan-gu                      Seoul City                  04377         South Korea
                           Samsonite South Korea Limited   Gimpo Hyundai Outlet(HM)   55 Hangang-daero 23-gil            Yongsan-gu                      Seoul City                  04377         South Korea
                           Samsonite South Korea Limited   I'Park (GR)                55 Hangang-daero 23-gil            Yongsan-gu                      Seoul City                  04377         South Korea
                           Samsonite South Korea Limited                              55 Hangang-daero 23-gil            Yongsan-gu                      Seoul City                  04377         South Korea
KO147                      Samsonite South Korea Limited   Galleria Chunan            354-1 Sinbu-dong                   Dongnam-gu,                     Chungcheongnam-do           31120         South Korea
                                                                                                                         Cheonan-si
                           Samsonite South Korea Limited   Arario Chunan              354-1 Sinbu-dong                   Dongnam-gu,                     Chungcheongnam-do           31120         South Korea
                                                                                                                         Cheonan-si
KO149                      Samsonite South Korea Limited   Hyundai Mokdong            916 Mok-dong                       Yangcheon-gu                    Seoul City                07998           South Korea
KO151                      Samsonite South Korea Limited   Galleria Timeworld(HOS)    1038 Dunsan-dong                   Seo-gu                          Daejeon Metropolitan City 35229           South Korea

KO153                      Samsonite South Korea Limited   Hyundai Jungdong(MBS)      1164 Jung-dong                     Wonmi-gu, Bucheon-              Gyeonggi-do                 14546         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   Hyundai Jungdong           1164 Jung-dong                     Wonmi-gu, Bucheon-              Gyeonggi-do                 14546         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited   Hyundai Jungdong(LP)       180 Gilju-ro                       Wonmi-gu, Bucheon-              Gyeonggi-do                 14546         South Korea
                                                                                                                         si
                           Samsonite South Korea Limited                              180 Gilju-ro                       Wonmi-gu, Bucheon-              Gyeonggi-do                 14546         South Korea
                                                                                                                         si
KO154                      Samsonite South Korea Limited   Hyundai Mia                20-1 Gireum-dong                   Seongbuk-gu                     Seoul City                  02730         South Korea
KO156                      Samsonite South Korea Limited   Lotte Busan                503-3 Bujeon 1-dong                Busanjin-gu                     Busan Metropolitan City     47258         South Korea
                           Tumi                            Lotte Busan(TU)            772 Gaya-daero                     Busanjin-gu                     Busan Metropolitan City     47285         South Korea
                           Samsonite South Korea Limited   L&J Lotte Busan            772 Gaya-daero                     Busanjin-gu                     Busan Metropolitan City     47285         South Korea
                           Samsonite South Korea Limited   Lotte Busan(RED)           772 Gaya-daero                     Busanjin-gu                     Busan Metropolitan City     47285         South Korea
                           Samsonite South Korea Limited                              772 Gaya-daero                     Busanjin-gu                     Busan Metropolitan City     47285         South Korea
KO157                      Samsonite South Korea Limited   Lotte Cheongnyangni_R      214 Wangsan-ro                     Dongdaemun-gu                   Seoul City                  02555         South Korea
                           Samsonite South Korea Limited   Lotte Chunglyangri         620-69 Jeonnong-dong               Dongdaemun-gu                   Seoul City                  02559         South Korea
KO158                      Samsonite South Korea Limited   Lotte Daejeon_R            598 Gyeryong-ro                    Seo-gu                          Daejeon Metropolitan City   35299         South Korea

                           Samsonite South Korea Limited   Lotte Daejeon              423-1 Goejeong-dong                Seo-gu                          Daejeon Metropolitan City 35299           South Korea

KO160                      Samsonite South Korea Limited   Lotte Gwangbok_R           2 Jungang-daero                    Jung-gu                         Busan Metropolitan City     48944         South Korea
KO162                      Samsonite South Korea Limited   Lotte Jeonju               971 Seosin-dong                    Wansan-gu, Jeonju-si            Jeollabuk-do                54946         South Korea

KO163                      Samsonite South Korea Limited   Lotte Jungdong(RED)        300 Gilju-ro                       Wonmi-gu, Bucheon-              Gyeonggi-do                 14548         South Korea
                                                                                                                         si
                                                                                                                                                                                                                                                                                                                  UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 155 of 173 Trans ID: LCV2021133181




                           Samsonite South Korea Limited   Lotte Square Jungdong      1140 Jung-dong                     Wonmi-gu, Bucheon-              Gyeonggi-do                 14548         South Korea
                                                                                                                         si
KO164                      Samsonite South Korea Limited   Lotte Main(RED)            1 Sogong-dong                      Jung-gu                         Seoul City                  04533         South Korea
                           Samsonite South Korea Limited   Lotte Main(LP)             81 Namdaemun-ro                    Jung-gu                         Seoul City                  04533         South Korea
                           Samsonite South Korea Limited   Lotte Main(GR)             81 Namdaemun-ro                    Jung-gu                         Seoul City                  04533         South Korea
                           Tumi                            Hotel Lotte(TU)            30 Eulji-ro                        Jung-gu                         Seoul City                  04533         South Korea
                                                                                                                                                                                                                                   Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 178 of 239 PageID: 185




                           Tumi                            Lotte Main(TU)             81 Namdaemun-ro                    Jung-gu                         Seoul City                  04533         South Korea



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Location No.   Index No.   Org Unit                        Name                            Street                             City                     County   State/Prov                  Postal Code   Country

KO165                      Samsonite South Korea Limited   Lotte Nowon(MBS)                713 Sanggye-dong                   Nowon-gu                          Seoul City                  01695         South Korea
                           Samsonite South Korea Limited   Lotte Nowon                     713 Sanggye-dong                   Nowon-gu                          Seoul City                  01695         South Korea
                           Tumi                            Lotte Nowon(TU)                 713 Sanggye-dong                   Nowon-gu                          Seoul City                  01695         South Korea
KO166                      Samsonite South Korea Limited   Lotte Youngdeungpo              618-496 Yeongdeungpo-dong          Yeongdeungpo-gu                   Seoul City                  07306         South Korea
KO168                      Samsonite South Korea Limited   Enter6 Dongtan(MBS)             96, 98 Bansong-dong                Hwaseong-si                       Gyeonggi-do                 18445         South Korea
KO169                      Samsonite South Korea Limited   Enter6 TechnoMart(MBS)          85 Gwangnaru-ro 56-gil             Gwangjin-gu                       Seoul City                  05116         South Korea
KO171                      Samsonite South Korea Limited   Shinsegye Centumcity_R          35 Centum nam-daero                Haeundae-gu                       Busan Metropolitan City     48058         South Korea
                           Samsonite South Korea Limited                                   59 Centum nam-daero                Haeundae-gu                       Busan Metropolitan City     48058         South Korea
KO172                      Samsonite South Korea Limited   Shinsegye Gangnam_R             176 Sinbanpo-ro                    Seocho-gu                         Seoul City                  06546         South Korea
                           Samsonite South Korea Limited   Shinsegye Gangnam               19-3 Banpo-dong                    Seocho-gu                         Seoul City                  06546         South Korea
                           Samsonite South Korea Limited   Shinsegye Gangnam(HM)           176 Sinbanpo-ro                    Seocho-gu                         Seoul City                  06546         South Korea
KO175                      Samsonite South Korea Limited   AK Guro                         573 Guro-dong                      Guro-gu                           Seoul City                  08292         South Korea
KO176                      Samsonite South Korea Limited   AK Pyungtaik                    297 Pyeongtaek-dong                Pyeongtaek-si                     Gyeonggi-do                 17912         South Korea
                           Samsonite South Korea Limited   AK Pyungtaik(GR)                297 Pyeongtaek-dong                Pyeongtaek-si                     Gyeonggi-do                 17912         South Korea
KO178                      Samsonite South Korea Limited   Galleria Suwon                  1125-1 Ingye-dong                  Paldal-gu, Suwon-si               Gyeonggi-do                 16491         South Korea
KO179                      Samsonite South Korea Limited   Hyundai Busan                   62-5 Beomil-dong                   Dong-gu                           Busan Metropolitan City     48735         South Korea
KO180                      Samsonite South Korea Limited   Hyundai Donggu                  105 Seobu-dong                     Dong-gu                           Ulsan Metropolitan City     44033         South Korea
KO181                      Samsonite South Korea Limited   Hyundai Kintax                  2602 Daehwa-dong                   Ilsanseo-gu, Goyang-si            Gyeonggi-do                 10391         South Korea

KO182                      Samsonite South Korea Limited   Hyundai Main                    429 Apgujeong-dong                 Gangnam-gu                        Seoul City                  06001         South Korea
                           Samsonite South Korea Limited   Hyundai Main(HM)                165 Apgujeong-ro                   Gangnam-gu                        Seoul City                  06001         South Korea
                           Tumi                            Hyundai Main(TU)                165 Apgujeong-ro                   Gangnam-gu                        Seoul City                  06001         South Korea
KO183                      Samsonite South Korea Limited   Hyundai Ulsan                   1521-1 Samsan-dong                 Nam-gu                            Ulsan Metropolitan City     44705         South Korea
                           Samsonite South Korea Limited   Hyundai Ulsan_R                 261 Samsan-ro                      Nam-gu                            Ulsan Metropolitan City     44705         South Korea
                           Samsonite South Korea Limited   Hyundai Ulsan(GR)               1521-1 Samsan-dong                 Nam-gu                            Ulsan Metropolitan City     44705         South Korea
KO184                      Samsonite South Korea Limited   Lotte Anyang                    88-1 Anyang-dong                   Manan-gu, Anyang-si               Gyeonggi-do                 13992         South Korea

KO185                      Samsonite South Korea Limited   Lotte Bundang                   14 Sunae-dong                      Bundang-gu,                       Gyeonggi-do                 13595         South Korea
                                                                                                                              Seongnam-si
KO186                      Samsonite South Korea Limited   Lotte Bupyung                   70-127 Bupyeong-dong               Bupyeong-gu                       Incheon Metropolitan City 21387           South Korea

KO187                      Samsonite South Korea Limited   Lotte Centumcity                1469 U-dong                        Haeundae-gu                       Busan Metropolitan City     48058         South Korea
                           Samsonite South Korea Limited   Shinsegye Centumcity            1469 U-dong                        Haeundae-gu                       Busan Metropolitan City     48058         South Korea
                           Tumi                            Lotte Centumcity(TU)            1469 U-dong                        Haeundae-gu                       Busan Metropolitan City     48058         South Korea
KO188                      Samsonite South Korea Limited   Lotte Daegu                     302-155 Chilseong 2-ga             Buk-gu                            Daegu Metropolitan City     41581         South Korea
                           Samsonite South Korea Limited   Lotte Daegu(RED)                302-155 Chilseong 2-ga             Buk-gu                            Daegu Metropolitan City     41581         South Korea
KO189                      Samsonite South Korea Limited   Lotte Daegu Youngplaza(MBS)     15-1 Sail-dong                     Jung-gu                           Daegu Metropolitan City     41909         South Korea
                           Samsonite South Korea Limited   Lotte Daegu Youngplaza(LP)      585 Gukchaebosang-ro               Jung-gu                           Daegu Metropolitan City     41909         South Korea
KO190                      Samsonite South Korea Limited   Lotte Donglae                   502-3 Oncheon-dong                 Dongnae-gu                        Busan Metropolitan City     47727         South Korea
KO191                      Samsonite South Korea Limited   Lotte Gwanak(HOS)               729-22 Bongcheon-dong              Gwanak-gu                         Seoul City                  08708         South Korea
KO192                      Samsonite South Korea Limited   Lotte Ilsan                     784 Janghang-dong                  Ilsandong-gu, Goyang-             Gyeonggi-do                 10401         South Korea
                                                                                                                              si
                           Samsonite South Korea Limited   Lotte Ilsan(LP)                 784 Janghang-dong                  Ilsandong-gu, Goyang-             Gyeonggi-do                 10401         South Korea
                                                                                                                              si
KO193                      Samsonite South Korea Limited   Lotte Incheon                   1455 Guwol-dong                    Namdong-gu                        Incheon Metropolitan City 21573           South Korea

KO194                      Samsonite South Korea Limited   Lotte Gangnam                   937 Daechi-dong                    Gangnam-gu                        Seoul City                  06206         South Korea
KO195                      Samsonite South Korea Limited   Lotte Main                      2 Sogong-dong                      Jung-gu                           Seoul City                  04532         South Korea
KO196                      Samsonite South Korea Limited   Lotte Mia                       70-6 Mia-dong                      Gangbuk-gu                        Seoul City                  01215         South Korea
KO197                      Samsonite South Korea Limited   Lotte Pohang                    62 Haksan-ro                       Buk-gu, Pohang-si                 Gyeongsangbuk-do            37718         South Korea
KO198                      Samsonite South Korea Limited   Lotte Starcity                  227-342 Jayang-dong                Gwangjin-gu                       Seoul City                  05065         South Korea
KO199                      Samsonite South Korea Limited   Lotte Ulsan                     1480-1 Samsan-dong                 Nam-gu                            Ulsan Metropolitan City     44719         South Korea
                           Samsonite South Korea Limited   Lotte Ulsan(GR)                 288 Samsan-ro                      Nam-gu                            Ulsan Metropolitan City     44719         South Korea
KO200                      Tumi                            Debec Plaza(TU)                 333 Myeongdeok-ro                  Jung-gu                           Daegu Metropolitan City     41953         South Korea
KO201                      Samsonite South Korea Limited   NC Donga                        1273 Beommul-dong                  Suseong-gu                        Daegu Metropolitan City     42198         South Korea
                                                                                                                                                                                                                                                                                                                         UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 156 of 173 Trans ID: LCV2021133181




KO202                      Samsonite South Korea Limited   E-Land Gangseo                  686, 689-1, 689-2 Deungchon-dong   Gangseo-gu                        Seoul City                  07573         South Korea
KO203                      Samsonite South Korea Limited   Shinsegae Daejeon Stylemarket   63-3 Yongjeon-dong                 Dong-gu                           Daejeon Metropolitan City   34551         South Korea

KO205                      Samsonite South Korea Limited   Shinsegye Main                  52-5 Chungmuro 1-ga                Jung-gu                           Seoul City                  04530         South Korea
                           Tumi                            Shinsegye Main(TU)              52-5 Chungmuro 1-ga                Jung-gu                           Seoul City                  04530         South Korea
KO206                      Samsonite South Korea Limited   Shinsegye Masan                 10-3 Sanho-dong                    Masanhappo-gu                     Gyeongsangnam-do            51330         South Korea
                                                                                                                                                                                                                                          Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 179 of 239 PageID: 186




KO208                      Samsonite South Korea Limited   Shinsegye Youngdeungpo          434-5 Yeongdeungpo-dong 4-ga       Yeongdeungpo-gu                   Seoul City                  07305         South Korea
KO209                      Samsonite South Korea Limited   Sangsu(Gregory)                 47 Dongmak-ro 7-gil 1F             Mapo-gu                           Seoul City                  04043         South Korea


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Location No.   Index No.   Org Unit                        Name                              Street                                 City                    County   State/Prov                Postal Code   Country

KO211                      Samsonite South Korea Limited   Lotte Uijeongbu Outlet(AT)        804-6 Millak-dong                      Uijeongbu-si                     Gyeonggi-do               11813         South Korea
KO212                      Samsonite South Korea Limited   Lotte Gwanggyo                    1338 Iui-dong                          Yeongtong-gu, Suwon-             Gyeonggi-do               16508         South Korea
                                                                                                                                    si
KO213                      Samsonite South Korea Limited   Hyundai Songdo                    123 Songdogukje-daero                  Yeonsu-gu                        Incheon Metropolitan City 21984         South Korea

KO215                      Samsonite South Korea Limited   Lotte Jinju                       35 Chungmugong-dong                    Jinju-si                         Gyeongsangnam-do          52851         South Korea
KO216                      Samsonite South Korea Limited   Dobong Mountain(GR)               45 Dobongsan-gil                       Dobong-gu                        Seoul City                01302         South Korea
KO217                      Samsonite South Korea Limited   Hyundai Pangyo                    541 Baekhyeon-dong                     Bundang-gu,                      Gyeonggi-do               13529         South Korea
                                                                                                                                    Seongnam-si
                           Samsonite South Korea Limited   Hyundai Pangyo_R                  541 Baekhyeon-dong                     Bundang-gu,                      Gyeonggi-do               13529         South Korea
                                                                                                                                    Seongnam-si
                           Samsonite South Korea Limited                                     20 Pangyoyeok-ro 146beon-gil           Bundang-gu,                      Gyeonggi-do               13529         South Korea
                                                                                                                                    Seongnam-si
KO218                      Samsonite South Korea Limited   Lotte Ansan_R                     12 Gojan 1-gil                         Danwon-gu, Ansan-si              Gyeonggi-do               15360         South Korea

KO220                      Samsonite South Korea Limited   Lotte Masan                       18 Dongseodong-ro                      Masanhappo-gu,                   Gyeongsangnam-do          51720         South Korea
                                                                                                                                    Changwon-si
KO221                      Samsonite South Korea Limited   Lotte Sangin                      232 Wolbae-ro                          Dalseo-gu                        Daegu Metropolitan City   42809         South Korea
KO222                      Samsonite South Korea Limited   Hyundai City Outlet               20 Jangchungdan-ro 13-gil              Jung-gu                          Seoul City                04563         South Korea
                                                           Dongdaemoon(HS)
                           Samsonite South Korea Limited   Hyundai City Dongdaemoon          20 Jangchungdan-ro 13-gil Euljiro 6-   Jung-gu                          Seoul City                04563         South Korea
                                                           Outlet                            ga
KO223                      Samsonite South Korea Limited   Newcore Ilsan                     1206 Jungang-ro                        Ilsandong-gu, Goyang-            Gyeonggi-do               10414         South Korea
                                                                                                                                    si
KO224                      Samsonite South Korea Limited   Newcore Ansan                     20 Danggok-ro                          Danwon-gu, Ansan-si              Gyeonggi-do               15360         South Korea

KO225                      Samsonite South Korea Limited   Shinsegye Gimhae                  24 Jeonha-ro 304beon-gil               Gimhae-si                        Gyeongsangnam-do          50938         South Korea
                           Samsonite South Korea Limited   Shinsegae Gimhae(RED)             24 Jeonha-ro 304beon-gil               Gimhae-si                        Gyeongsangnam-do          50938         South Korea
                           Samsonite South Korea Limited   Shinsegye Gimhae(LP)              24 Jeonha-ro 304beon-gil               Gimhae-si                        Gyeongsangnam-do          50938         South Korea
                           Samsonite South Korea Limited   Shinsegye Gimhae(GR)              24 Jeonha-ro 304beon-gil               Gimhae-si                        Gyeongsangnam-do          50938         South Korea
KO226                      Samsonite South Korea Limited   Homeplus Seogwipo                 180 Jungang-ro                         Seogwipo-si                      Jejudo                    63585         South Korea
                           Samsonite South Korea Limited   Lotte Gwangbok(GR)                180 Jungang-ro                         Seogwipo-si                      Jejudo                    63585         South Korea
KO228                      Samsonite South Korea Limited   E-Mart Pungsan                    237 Mugunghwa-ro                       Ilsandong-gu, Goyang-            Gyeonggi-do               10311         South Korea
                                                                                                                                    si
                           Samsonite South Korea Limited   Hyundai Shinchon(LP)              237 Mugunghwa-ro                       Ilsandong-gu, Goyang-            Gyeonggi-do               10311         South Korea
                                                                                                                                    si
KO232                      Tumi                            Shinsegye Daegu(TU)               328-2 Sincheon-dong                    Dong-gu                          Daegu Metropolitan City   41243         South Korea
                           Samsonite South Korea Limited   Shinsegye Daegu                   328-2 Sincheon-dong                    Dong-gu                          Daegu Metropolitan City   41243         South Korea
                           Samsonite South Korea Limited   Shinsegye Daegu(RED)              328-2 Sincheon-dong                    Dong-gu                          Daegu Metropolitan City   41243         South Korea
                           Samsonite South Korea Limited   Shinsegye Daegu(HM)               328-2 Sincheon-dong                    Dong-gu                          Daegu Metropolitan City   41243         South Korea
KO233                      Samsonite South Korea Limited   Lotte Eunpyeong MALL(HOS)         79-15 Jingwan-dong                     Eunpyeong-gu                     Seoul City                03306         South Korea
KO235                      Samsonite South Korea Limited   Hyundai/GardenFive(AT)            66 Chungmin-ro                         Songpa-gu                        Seoul City                05838         South Korea
KO236                      Samsonite South Korea Limited   Shinsegae Starfield Goyang(HOS)   1972-8 Goyang-daero                    Deogyang-gu, Goyang-             Gyeonggi-do               10596         South Korea
                                                                                                                                    si
                           Samsonite South Korea Limited   Shinsegae Starfield Goyang(LP)    1972-8 Goyang-daero                    Deogyang-gu, Goyang-             Gyeonggi-do               10596         South Korea
                                                                                                                                    si
KO237                      Samsonite South Korea Limited   Namak Lotte Outlet                2622 Namak-ri, Samhyang-eup            Muan-gun                         Jeollanam-do              58579         South Korea
KO238                      Samsonite South Korea Limited   Gwangyang LF Outlet               707 Deongnye-ri                        Gwangyang-si                     Jeollanam-do              58222         South Korea
KO239                      Samsonite South Korea Limited   Siheung Simon Outlet              699 Seohaean-ro                        Siheung-si                       Gyeonggi-do               15010         South Korea
KO240                      Samsonite South Korea Limited   Newcore Moran                     1136 Seongnam-daero                    Jungwon-gu,                      Gyeonggi-do               13365         South Korea
                                                                                                                                    Seongnam-si
KO241                      Samsonite South Korea Limited   Taepyung(AT)                      115 Dongjak-daero                      Dongjak-gu                       Seoul City                07008         South Korea
KO242                      Samsonite South Korea Limited   NC Bulgwang(AT)                   20 Bulgwang-ro                         Eunpyeong-gu                     Seoul City                03397         South Korea
KO243                      Samsonite South Korea Limited   Newcore Ulsan                     217 Samsan-ro                          Nam-gu                           Ulsan Metropolitan City   44703         South Korea
KO244                      Samsonite South Korea Limited   Hyungji Artmalling Busan(RED)     1413 Nakdongnam-ro                     Saha-gu                          Busan Metropolitan City   49311         South Korea
                                                                                                                                                                                                                                                                                                                            UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 157 of 173 Trans ID: LCV2021133181




KO245                      Samsonite South Korea Limited   Galleria LuxuryHall_HM            343 Apgujeong-ro                       Gangnam-gu                       Seoul City                06008         South Korea
                           Tumi                            Galleria LuxuryHall_TU            343 Apgujeong-ro                       Gangnam-gu                       Seoul City                06008         South Korea
                           Tumi                            Galleria LuxuryHall_TU            343 Apgujeong-ro                       Gangnam-gu                       Seoul City                06008         South Korea
KO246                      Samsonite South Korea Limited   Debec Outlet                      454 Dongdaegu-ro                       Dong-gu                          Daegu Metropolitan City   41250         South Korea
                                                                                                                                                                                                                                             Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 180 of 239 PageID: 187




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                                                                                                 WIND AREAS, APPENDIX C



Location No.   Index No.   Org Unit                        Name                         Street                                 City                   County   State/Prov                Postal Code   Country

KO247                      Samsonite South Korea Limited   Lotte Mart Siheungbaegot     67 Seouldaehak-ro 278beon-gil          Siheung-si                      Gyeonggi-do               15011         South Korea
KO248                      Samsonite South Korea Limited   Homeplus Pajuunjeong         927 Mokdong-dong                       Paju-si                         Gyeonggi-do               10892         South Korea
KO249                      Samsonite South Korea Limited   E-Mart Seosuwon              291 Suin-ro                            Gwonseon-gu, Suwon-             Gyeonggi-do               16405         South Korea
                                                                                                                               si
KO250                      Samsonite South Korea Limited   E-Mart Chunheon              2353 Gyeongchun-ro                     Chuncheon-si                    Gangwon-do                24435         South Korea
KO252                      Samsonite South Korea Limited   Homeplus Chengna             587 Jungbong-daero                     Seo-gu                          Incheon Metropolitan City 22762         South Korea

KO253                      Samsonite South Korea Limited   Homeplus Inha                6 Soseong-ro                           Nam-gu                          Incheon Metropolitan City 22201         South Korea

KO254                      Samsonite South Korea Limited   E-Mart Mokpo                 138 Ogam-ro                            Mokpo-si                        Jeollanam-do              58657         South Korea
KO256                      Samsonite South Korea Limited   E-Mart Gimpo Hangang         71 Gimpohangang 7-ro                   Gimpo-si                        Gyeonggi-do               10071         South Korea
KO257                      Samsonite South Korea Limited   Galleria Centercity(GR)      Gimpohangang 7-ro                      Gimpo-si                        Gyeonggi-do               10071         South Korea
                           Samsonite South Korea Limited   2001Outlet Bupyeong          Gimpohangang 7-ro                      Gimpo-si                        Gyeonggi-do               10071         South Korea
                           Samsonite South Korea Limited   E-Land Gangseo(GR)           Gimpohangang 7-ro                      Gimpo-si                        Gyeonggi-do               10071         South Korea
KO258                      Samsonite South Korea Limited   E-Mart Dongtan               44 Seoku-dong                          Hwaseong-si                     Gyeonggi-do               18451         South Korea
KO259                      Samsonite South Korea Limited   Grand Avenue Pohang          77 Jungheung-ro                        Nam-gu, Pohang-si               Gyeongsangbuk-do          37761         South Korea
KO260                      Samsonite South Korea Limited   E-Mart Traders Gimpo         16-10 Pungmu-dong                      Gimpo-si                        Gyeonggi-do               10113         South Korea
KO261                      Samsonite South Korea Limited   Lotte Outlet Goyang AT       420 Gwonyul-daero 1F                   Deogyang-gu, Goyang-            Gyeonggi-do               10551         South Korea
                                                                                                                               si
KO262                      Samsonite South Korea Limited   Megamart Shinseondowon mal   54B1N Jinjangmyeongchonjigu,           Buk-gu                          Ulsan Metropolitan City   44250         South Korea
                                                                                        Jinjang-dong
KO264                      Samsonite South Korea Limited   E-Mart Pyungchon             300 Simin-daero                        Dongan-gu, Anyang-si            Gyeonggi-do               14066         South Korea

KO265                      Samsonite South Korea Limited   Homeplus Gumi                174 Gumi-daero                      Gumi-si                            Gyeongsangbuk-do          39347         South Korea
KO267                      Samsonite South Korea Limited   E-Mart Wolbae                92 Jincheon-ro                      Dalseo-gu                          Daegu Metropolitan City   42778         South Korea
KO268                      Samsonite South Korea Limited   E-Mart Bundangnggi-do        134 Buljeong-ro                     Bundang-gu,                        Gyeonggi-do               13605         South Korea
                                                                                                                            Seongnam-si
KO269                      Samsonite South Korea Limited                                1283 Jungang-ro                     Ilsandong-gu, Goyang-              Gyeonggi-do               10401         South Korea
                                                                                                                            si
KO270                      Samsonite South Korea Limited                                379 Ttukseom-ro                     Seongdong-gu                       Seoul City                04781         South Korea
KO271                      Samsonite South Korea Limited                                130 Jochon-ro                       Gunsan-si                          Jeollabuk-do              54072         South Korea
KO272                      Samsonite South Korea Limited   Warehouse                    San-16, #2 Daeshin-myun Chohyun-ri Yeoju-City                          Gyeonggi-do                             South Korea
                                                                                        Kyoungki
MC01           MC0006.00   Samsonite Macau Limitada        The Grand Canal Shoppes      Estrada da Baia de Nossa Senhora da Taipa                                                                      Macao
                                                                                        Esperanca s/n Shop 2527a, Venetian
                                                                                        Macao-Resort-Hotel The Cotai Strip

                           Tumi Asia (Macau) Co. Ltd.      Venetian                     Estrada da Baia de Nossa Senhora da    Taipa                                                                   Macao
                                                                                        Esperanca s/n Shop 2707, Venetian
                                                                                        Macao-Resort-Hotel The Grand Canal
                                                                                        Shoppes
                           Samsonite Macau Limitada        The Grand Canal Shoppes      Sun Street K63 Level 3, Venetian       Taipa                                                                   Macao
                                                                                        Macao-Resort-Hotel The Grand Canal
                                                                                        Shoppes
MC02                       Tumi Asia (Macau) Co. Ltd.      One Central                  Avenida de Sagres Shop 240, 2/F, One   Macau                                                                   Macao
                                                                                        Central Macau Nape
MC03                       Samsonite Macau Limitada        RL Cotai                     Sands Cotai Central, The Cotai Strip   Taipa                                                                   Macao
                                                                                        Shop 2118A, Level 2, Shoppes at
                                                                                        Cotai Central
MC04                       Samsonite Macau Limitada        Galaxy                       Galaxy Resort & Casino Phase 2 Shop    Cotai                                                                   Macao
                                                                                        1018
                           Tumi Asia (Macau) Co. Ltd.      Galaxy                       Nascente da Avenida Marginal Flor de   Cotai                                                                   Macao
                                                                                        Lótus e a Sul da Estrada Shop 1028,
                                                                                        1/F, Galaxy Macau Resort
                                                                                                                                                                                                                                                                                                                      UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 158 of 173 Trans ID: LCV2021133181
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                                                                                                WIND AREAS, APPENDIX C



Location No.   Index No.   Org Unit                     Name                           Street                               City               County   State/Prov     Postal Code   Country

MC05                       Tumi Asia (Macau) Co. Ltd.   New Yaohan                     Avenida Comercial de Macau 2/F New   Macau                                                    Macao
                                                                                       Yaohan
MX18                       Samsonite Corporation        Tienda Cancun                  Carretera Cancun-Chetumal km 22,     Benito Juarez               Quintana Roo   77500         Mexico
                                                                                       Cancun Unidad 1 Cun 2263 Planta
                                                                                       Baja, Lado, Aire Terminal 2
                           Samsonite Corporation        Cancun T4                      Carretera Cancun-Chetumal km 22,     Benito Juarez               Quintana Roo   77500         Mexico
                                                                                       Cancun Planta Alta Local 40404,
                                                                                       Terminal 4
MX49                       Samsonite Corporation        Playa del Carmen               Calle Norte esq Quinta Avenida       Playa del Carmen            Quintana Roo   77710         Mexico
                                                                                       Manzana 20
PH01           PH0816.00   Gregory                      Dong-In-Sunbirds Corporation   Mindanao Avenue Phase II, FAB        Mariveles                   Bataan         2106          Philippines
                           Samsonite Asia Ltd.          Dong-In-Sunbirds Corporation   Mindanao Avenue Phase II, FAB        Mariveles                   Bataan         2106          Philippines
                                                        (FG Gregory only)              Maligaya
                                                                                                                                                                                                                                                                                                    UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 159 of 173 Trans ID: LCV2021133181
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                                                                                        WIND AREAS, APPENDIX D



Location No.   Index No.   Org Unit                  Name                               Street                                 City              County        State/Prov      Postal Code      Country

004            014735.05   Samsonite Corporation     Corporate Office                   575 West Street                        Mansfield         Bristol       Massachusetts   02048-1152       United States of America
014                        Tumi                                                         261 5th Avenue Room 2003, 2005,        New York          New York      New York        10016-7701       United States of America
                                                                                        2106, 2108
020                        Tumi                      Storage                            50 Rockefeller Plaza                   New York          New York      New York        10020-1605       United States of America
032            031710.97   Tumi                      Tumi Corporate Headquarters        499 Thornall Street Floor 10           Edison            Middlesex     New Jersey      08837-2210       United States of America
S052                       Samsonite Company Store   Tanger Outlet Center               36474 Seaside Outlet Drive Unit        Rehoboth Beach    Sussex        Delaware        19971-1214       United States of America
                                                                                        1540
S142                       Samsonite Company Store   Williamsburg Premium Outlets       5715 Richmond Road Suite 20, 61A       Williamsburg      James City    Virginia        23188-1998       United States of America
S187           013315.18   Samsonite Company Store   Wrentham Village Premium Outlet,   1 Premium Outlet Boulevard Suite       Wrentham          Norfolk       Massachusetts   02093-1572       United States of America
                                                     Heritage Court                     315
S214                       Samsonite Company Store   The Mills at Jersey Gardens        651 Kapkowski Road Space 1034          Elizabeth         Union         New Jersey      07201-4946       United States of America
S287                       Samsonite Company Store   Jersey Shore Premium Outlets,      1 Premium Outlet Boulevard Suite       Tinton Falls      Monmouth      New Jersey      07753-7485       United States of America
                                                     Sailboat Court                     825
S298                       Samsonite Company Store   Faneuil Hall Marketplace           8 North Market Street Building         Boston            Suffolk       Massachusetts   02109-6200       United States of America
S362                       Samsonite Company Store   Tanger Outlets                     455 Trolley Line Boulevard Suite 700   Mashantucket      New London    Connecticut     06338-3830       United States of America

S384                       Samsonite Company Store   Empire Outlets                     1 Richmond Terrace Space 313A,         Staten Island     Richmond      New York        10301-1950       United States of America
                                                                                        313B Level 2
S520                       Samsonite Company Store                                      520 Madison Avenue                     New York          New York      New York        10022-4213       United States of America
S723                       House of Samsonite        South Shore Plaza                  250 Granite Street Suite 2051          Braintree         Norfolk       Massachusetts   02184-2804       United States of America
S731                       House of Samsonite        World Trade Center                 185 Greenwich Street Space LL4420      New York          New York      New York        10007-2344       United States of America
S735                       House of Samsonite        Copley Place                       100 Huntington Avenue                  Boston            Suffolk       Massachusetts   02116-6506       United States of America
S745                       Samsonite Company Store   The Mall at Short Hills            1200 Morris Turnpike, Suite D205       Short Hills       Essex         New Jersey      07078-2751       United States of America
S748                       Samsonite Company Store   American Dream Mall                100 Meadowlands Parkway Suite          East Rutherford   Bergen        New Jersey      07073            United States of America
                                                                                        D141
S864                       Samsonite Company Store   Tanger Factory Outlet Center       307 Tanger Mall Drive                  Riverhead         Suffolk       New York        11901-6403       United States of America
S885                       Samsonite Company Store   Assembly Row                       370 Artisan Way Suite 112              Somerville        Middlesex     Massachusetts   02145-1228       United States of America
T0008                      Tumi                      Shops at Columbus Circle           10 Columbus Circle Suite 108           New York          New York      New York        10019-1231       United States of America
T0010                      Tumi                      Natick Mall                        1245 Worcester Street Suite 1192,      Natick            Middlesex     Massachusetts   01760-1544       United States of America
                                                                                        2204A, 2204B
T0012                      Tumi                      Hudson Yards                       20 Hudson Yards Suite 105              New York          New York      New York        10001-2151       United States of America
T0013                      Tumi                      Tanger Outlets Deer Park           1361 The Arches Circle                 Deer Park         Suffolk       New York        11729-7069       United States of America
T0014                      Tumi                      Westfarms Mall                     500 Westfarms Mall Space C-227         Farmington        Hartford      Connecticut     06032-2607       United States of America
T0018                      Tumi                      Grand Central Terminal             89 E 42nd Street Space MC-80           New York          New York      New York        10017-5503       United States of America
T0019                      Tumi                      American Dream                     1 American Dream Way Suite D205        East Rutherford   Bergen        New Jersey      07073            United States of America
T1000                      Tumi                                                         30 Rockefeller Plaza 53 West 49th      New York          New York      New York        10112-0015       United States of America
                                                                                        Street
T1002                      Tumi                      The Mall at Short Hills            1200 Morris Turnpike Suite B250        Short Hills       Essex         New Jersey      07078-0435       United States of America
T1016                      Tumi                      Tanger Outlet Center               1770 West Main Street Suite 502        Riverhead         Suffolk       New York        11901-3184       United States of America
T1018                      Tumi                      Kittery Factory Outlet             375 US Route 1 Suite T-150             Kittery           York          Maine           03904-5582       United States of America
T1033                      Tumi                      Roosevelt Field Mall               630 Old Country Road Unit 3054         Garden City       Nassau        New York        11530-3702       United States of America
T1036                      Tumi                      Soho                               102 Prince Street                      New York          New York      New York        10012-5416       United States of America
T1041                      Tumi                      The Westchester                    125 Westchester Avenue Suite 1200      White Plains      Westchester   New York        10601-4530       United States of America

T1053                      Tumi                                                         289 Greenwich Avenue                   Greenwich         Fairfield     Connecticut     06830-6542       United States of America
T1060                      Tumi                                                         390 Hackensack Avenue 1 Riverside      Hackensack        Bergen        New Jersey      07601-6310       United States of America
                                                                                        Square Mall Space 140
T1071                      Tumi                                                         1100 Madison Avenue                    New York          New York      New York        10028-0327       United States of America
T1074                      Tumi                      The Mall at Chestnut Hill          199 Boylston Street Suite N107         Chestnut Hill     Middlesex     Massachusetts   02467-1696       United States of America
T1075                      Tumi                      Garden State Plaza                 1 Garden State Plaza Suite 1148        Paramus           Bergen        New Jersey      07652-2404       United States of America
T1085          013315.18   Tumi                      Wrentham Village Premium Outlets   1 Premium Outlet Boulevard Suite       Wrentham          Norfolk       Massachusetts   02093-1570       United States of America
                                                                                        B265A
T1103                      Tumi                                                         2205 Broadway Upper West Side          New York          New York      New York        10024-6203       United States of America
                                                                                                                                                                                                                                                                                                          UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 160 of 173 Trans ID: LCV2021133181




T1106                      Tumi                                                         125 5th Avenue Flatiron                New York          New York      New York        10003-1030       United States of America
T1116                      Tumi                                                         120 Terminal C Newark Liberty          Newark            Essex         New Jersey      07114            United States of America
                                                                                        Airport
T1122                      Tumi                                                         1600 Walt Whitman Road Suite           Melville          Suffolk       New York        11747-3088       United States of America
                                                                                        1033C
T1126                      Tumi                      Clinton Crossing                   20-A Killingworth Turnpike Suite       Clinton           Middlesex     Connecticut     06413-1378       United States of America
                                                                                                                                                                                                                           Case 2:21-cv-02752-KM-JBC Document 1-1 Filed 02/17/21 Page 183 of 239 PageID: 190




                                                                                        226
T1131                      Tumi                                                         610 Madison Avenue                     New York          New York      New York        10022-1620       United States of America

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Location No.   Index No.   Org Unit                Name                           Street                                City             County      State/Prov      Postal Code      Country

T1144                      Tumi                    Jersey Shore Premium Outlets   1 Premium Outlet Boulevard Suite      Tinton Falls     Monmouth    New Jersey      07753-7469       United States of America
                                                                                  761
T1166                      Tumi                    Lynnfield Market Street        687 Market Street                     Lynnfield        Essex       Massachusetts   01940-4000       United States of America
T1170                      Tumi                    World Trade Center             185 Greenwich Street Space LL4315     New York         New York    New York        10007-2344       United States of America
T1172                      Tumi                                                   34986 Midway Outlet Drive Unit 110    Rehoboth Beach   Sussex      Delaware        19971-8587       United States of America

T1177                      Tumi                    Copley Place                   100 Huntington Avenue Suite D-        Boston           Suffolk     Massachusetts   02116-6506       United States of America
                                                                                  010A
T1182                      Tumi                                                   75 Middlesex Turnpike Suite 1098      Burlington       Middlesex   Massachusetts   01803-5310       United States of America
T1184                      Tumi                    Jersey Gardens                 651 Kapkowski Road Suite 1078A        Elizabeth        Union       New Jersey      07201-4913       United States of America
T1186                      Tumi                    Faneuil Hall Market Place      4 South Market Street Floor 1 Space   Boston           Suffolk     Massachusetts   02109-6201       United States of America
                                                                                  2025B, Bay 28
CD10                       Samsonite Canada Inc.   Dartmouth Crossing             85 Hector Gate                        Dartmouth                    Nova Scotia     B3B 0B8          Canada
                                                                                                                                                                                                                                                                                                UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 161 of 173 Trans ID: LCV2021133181
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                                                                                          FLOOD LOCATIONS, APPENDIX E



Location No.   Index No.   Org Unit                  Name                                 Street                                City           County           State/Prov         Postal Code    Country

S001                       Samsonite Company Store   Scheels All Sports, Inc.             4550 15th Avenue South                Fargo          Cass             North Dakota       58103-8959     United States of America
S088                       Samsonite Company Store   Sawgrass Mills Mall                  12801 West Sunrise Boulevard Suite    Sunrise        Broward          Florida            33323-4022     United States of America
                                                                                          665
S113                       Samsonite Company Store   Sanibel Factory Stores               20350 Summerlin Road Suite 2115       Fort Myers     Lee              Florida            33908-3742     United States of America
S123           089568.83   Samsonite Company Store   Outlets at Barstow                   2796 Tanger Way Suite 340             Barstow        San Bernardino   California         92311-9475     United States of America
S206                       Samsonite Company Store   Miromar Outlets                      10801 Corkscrew Road Suite 135        Estero         Lee              Florida            33928-9435     United States of America
S214                       Samsonite Company Store   The Mills at Jersey Gardens          651 Kapkowski Road Space 1034         Elizabeth      Union            New Jersey         07201-4946     United States of America
S235           076819.58   Samsonite Company Store   Las Americas Premium Outlets,        4345 Camino de la Plaza Suite 282A    San Ysidro     San Diego        California         92173-3059     United States of America
                                                     Plaza Catalonia
S273                       Samsonite Company Store   San Francisco Premium Outlets        2736 Livermore Outlets Drive       Livermore         Alameda          California         94551-4204     United States of America
S278                       Samsonite Company Store   Phoenix Premium Outlets, Palo        4976 Premium Outlets Way Suite 410 Chandler          Maricopa         Arizona            85226-5506     United States of America
                                                     Verde Court
S289                       Samsonite Company Store   Great Mall                           186 Great Mall Drive                  Milpitas       Santa Clara      California         95035-8039     United States of America
S298                       Samsonite Company Store   Faneuil Hall Marketplace             8 North Market Street Building        Boston         Suffolk          Massachusetts      02109-6200     United States of America
S308           088507.18   Samsonite Company Store   Oasis at Sawgrass Mills              2612 Sawgrass Mills Circle Suite      Sunrise        Broward          Florida            33323-3919     United States of America
                                                                                          1525
S353                       Samsonite Company Store   St. Louis Premium Outlets            18505 Outlet Boulevard Suite 406      Chesterfield   Saint Louis      Missouri           63005-0010     United States of America
S358                       Samsonite Company Store   The Outlet Collection at Riverwalk   500 Port of New Orleans Place Suite   New Orleans    Orleans          Louisiana          70130-1678     United States of America
                                                                                          118
S361                       Samsonite Company Store   Tanger Outlets                       1645 Parkway Suite 710                Sevierville    Sevier           Tennessee          37862-6822     United States of America
S369                       Samsonite Company Store   Tucson Premium Outlets               6401 West Marana Center Boulevard     Tucson         Pima             Arizona            85742-8563     United States of America
                                                                                          Suite 908
S732                       House of Samsonite        Brickell City Centre                 701 South Miami Avenue Space 267      Miami          Miami-Dade       Florida            33130-1946     United States of America

S733                       House of Samsonite        Ala Moana Center                     1450 Ala Moana Boulevard Suite        Honolulu       Honolulu         Hawaii             96814-4604     United States of America
                                                                                          2248
S734                       House of Samsonite        International Market Place           2330 Kalakaua Avenue Suite 144        Honolulu       Honolulu         Hawaii             96815-2953     United States of America
S743                       Samsonite Company Store   Fashion Valley Mall                  7007 Friars Rd Ste 651                San Diego      San Diego        California         92108-5103     United States of America
T0022                      Tumi                      Sawgrass Reno                        1800 Sawgrass Mills Circle            Sunrise        Broward          Florida            33323-3921     United States of America
T1060                      Tumi                                                           390 Hackensack Avenue 1 Riverside     Hackensack     Bergen           New Jersey         07601-6310     United States of America
                                                                                          Square Mall Space 140
T1075                      Tumi                      Garden State Plaza                   1 Garden State Plaza Suite 1148       Paramus        Bergen           New Jersey         07652-2404     United States of America
T1080                      Tumi                                                           1818 Redwood Highway                  Corte Madera   Marin            California         94925-1235     United States of America
T1086                      Tumi                                                           1800 Sawgrass Mills Circle Suite      Sunrise        Broward          Florida            33323-3959     United States of America
                                                                                          2950
T1090                      Tumi                      Fashion Valley                       7007 Friars Road Suite 566            San Diego      San Diego        California         92108-1142     United States of America
T1104                      Tumi                      Waikiki Shopping Plaza               2270 Kalakaua Avenue Suite 103        Honolulu       Honolulu         Hawaii             96815-2565     United States of America
T1107                      Tumi                      Philadelphia International Airport   8500 Essington Avenue Suite BC20      Philadelphia   Philadelphia     Pennsylvania       19153-7037     United States of America
T1120                      Tumi                      San Francisco Premium Outlets        2796 Livermore Outlets Drive          Livermore      Alameda          California         94551-4204     United States of America
T1124                      Tumi                      Miromar Outlets                      10801 Corkscrew Road Suite 328        Estero         Lee              Florida            33928-9444     United States of America
T1167                      Tumi                                                           832 Lincoln Road                      Miami Beach    Miami-Dade       Florida            33139-2880     United States of America
T1178                      Tumi                      Ala Moana Center                     1450 Ala Moana Boulevard Suite        Honolulu       Honolulu         Hawaii             96814-4616     United States of America
                                                                                          2032
T1184                      Tumi                      Jersey Gardens                       651 Kapkowski Road Suite 1078A        Elizabeth      Union            New Jersey         07201-4913     United States of America
T1201                      Tumi                      South Coast Plaza                    3333 Bristol Street Suite 2636        Costa Mesa     Orange           California         92626-1827     United States of America
T1204                      Tumi                      Aventura Mall                        19501 Biscayne Boulevard Suite 1901   Miami          Miami-Dade       Florida            33180-2342     United States of America

S464                       Samsonite Canada Inc.     McArthurGlen Designer Outlets        7998 Grauer Road CRU 018              Richmond                        British Columbia   V7B 1N4        Canada
T8006                      Tumi                      McArthurGlen Designer Outlets        7899 Templeton Station Road Suite     Richmond                        British Columbia   V7B 0B7        Canada
                                                                                          CRU-039
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                                                    DISTRIBUTION CENTERS, MANUFACTURING PLANTS AND WAREHOUSE LOCATIONS, APPENDIX F



Location No.   Index No.   Org Unit                       Name                  Street                           City           County   State/Prov            Postal Code   Country

002            001486.37   Samsonite Corporation          Division 7            10480 Yeager Road                Jacksonville   Duval    Florida               32218-5643    United States of America
015            001095.96   Tumi                           Tumi US Warehouse     2501 Mathews Industrial Circle   Vidalia        Toombs   Georgia               30474-9243    United States of America
                                                                                Suite 1
BE01           BE2395.00   Samsonite Europe N.V.                                Westerring 17                    Oudenaarde              Oost-Vlaanderen       9700          Belgium
GE18           GEF137.00   Tumi                           Tumi Unna Warehouse   Hans-Böckler-Str. 6              Unna                    Nordrhein-Westfalen   59423         Germany
HU01           HU0629.00   Samsonite Hungaria KFT         Imobilia/Plant        Keselyusi ut 5                   Szekszard               Tolna                 7100          Hungary
                                                                                                                                                                                                                                                                                              UNN-L-000193-21 01/19/2021 2:11:10 PM Pg 163 of 173 Trans ID: LCV2021133181
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                                                                                   Account No. 1-56395
                                                                                     Policy No. 1059326

                       SUPPLEMENTAL UNITED STATES
                 CERTIFIED ACT OF TERRORISM ENDORSEMENT
  This Endorsement is applicable to all insured Locations in the United States, its territories
  and possessions and the Commonwealth of Puerto Rico.

  Coverage for “Certified Act of Terrorism” Under The Terrorism Risk Insurance Act of 2002, as
  amended.

  In consideration of a premium charged of USD20,890, this Policy, subject to the terms and conditions
  therein and in this Endorsement, covers direct physical loss or damage to insured property and any
  resulting TIME ELEMENT loss, as provided in the TIME ELEMENT section of the Policy, caused by or
  resulting from a Certified Act of Terrorism as defined herein.

  Notwithstanding anything contained elsewhere in this Policy, any exclusion or limitation of terrorism in
  this Policy and any endorsement attached to and made a part of this Policy, is hereby amended to the
  effect that such exclusion or limitation does not apply to a “Certified Act of Terrorism” as defined herein.
  This amendment does not apply to any limit of liability for a Certified Act of Terrorism, if any, stated
  under the LIMITS OF LIABILITY clause of the DECLARATIONS section of this Policy.

  With respect to any one or more Certified Act(s) of Terrorism, this Company will not pay any amounts
  for which the Company is not responsible under the terms of the Terrorism Risk Insurance Act of 2002
  (including subsequent action of Congress pursuant to the Act) which includes a provision stating that if
  the aggregate insured losses exceed USD100,000,000,000 during any calendar year, neither the United
  States Government nor any insurer that has met its insurer deductible shall be liable for the payment of
  any portion of the amount of such losses that exceed USD100,000,000,000. If the aggregate insured
  losses for all insurers exceed USD100,000,000,000, your coverage may be reduced.

  The coverage provided under this Endorsement for “Certified” losses caused by acts of terrorism will be
  partially reimbursed by the United States Government under a formula established by Federal Law.
  Under this formula, the United States pays 85% (and beginning on January 1, 2016, shall then decrease by
  1 percentage point per calendar year until equal to 80 percent) of covered terrorism losses exceeding a
  statutorily established retention by the insurer referenced in this Policy. The premium charged for this
  coverage is provided above.

  The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism
  exclusion, do not serve to create coverage for any loss which would otherwise be excluded under this
  Endorsement or the Policy.

  The coverage provided by this Endorsement only applies to a Certified Act of Terrorism.

  Reference and Application: The following term(s) means:

  Certified Act of Terrorism:

  A “Certified Act of Terrorism” means any act that is certified by the Secretary of the Treasury, in
  consultation with the Secretary of Homeland Security, and the Attorney General of the United States, to
  be an act of terrorism pursuant to the federal Terrorism Risk Insurance Act of 2002 as amended and

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  extended in 2005, 2007, and in 2015. The criteria contained in that Act for a “Certified Act of Terrorism”
  include the following:

        a. The act resulted in aggregate losses in excess of USD5,000,000; and

        b. The act is a violent act or an act that is dangerous to human life, property or infrastructure and
           is committed by an individual or individuals as part of an effort to coerce the civilian
           population of the United States or to influence the policy or affect the conduct of the United
           States Government by coercion.




  Form FMG7308                                  Page 2 of 2                          Edition January 2015


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                     FACTORY MUTUAL INSURANCE COMPANY


        IMPORTANT INFORMATION REQUIRED BY THE
          LOUISIANA DEPARTMENT OF INSURANCE
           Commercial Property Insurance Policy Coverage Disclosure Summary
                       This form was promulgated pursuant to LSA-R.S. 22:1319


     THIS IS ONLY A SUMMARY OF YOUR COVERAGE AND DOES NOT
     CHANGE, EXPAND, OR REDUCE THE COVERAGE OR ANY OTHER
     PROVISIONS CONTAINED IN YOUR POLICY. INSURANCE IS A
     CONTRACT. THE LANGUAGE IN YOUR INSURANCE POLICY
     CONTROLS YOUR LEGAL RIGHTS.

             **READ YOUR INSURANCE POLICY FOR COMPLETE
                   POLICY TERMS AND PROVISIONS**

     COVERAGE(S) FOR WHICH PREMIUM WAS PAID

     Property Damage Coverage
     Time Element Coverage


     DEDUCTIBLES

     This policy sets forth certain deductibles that will be applied to claims for
     damages. When applicable, a deductible will be subtracted from your total
     claim and you will be paid the balance subject to applicable coverage limits.

           NOTICE: This policy [does/does not] set forth a deductible for
           covered losses caused by wind as defined in the policy. Look at the
           Declaration Page and the following pages of your policy to determine
           the amount of the deductible that will apply to any claim for damage
           caused by wind.

     **You may be able to reduce your premium by increasing your deductible.
     Contact your insurance broker or insurance company for more details.




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                     FACTORY MUTUAL INSURANCE COMPANY



     The following example assumes no coinsurance penalty and a 5% wind
     deductible applicable to values at risk. The loss amounts to the insured
     property are $1,000,000 (building) and $500,000 (business personal
     property).

     Insurance limit on building                                       $10,000,000
     Total of building insured wind loss                                 1,000,000
     Minus 5% deductible (10,000,000 x .05)                           -    500,000
     Net payment to Insured for building loss                              500,000

     Insurance limit on business personal property                   7,000,000
     Total of business personal property insured wind loss             500,000
     Minus 5% deductible (7,000,000 x .05)                          - 350,000
     Net payment to Insured for business personal property wind loss 150,000

     Total net payment to Insured for loss                                 650,000

     TO SEE EXACTLY HOW YOUR SEPARATE HURRICANE, WIND OR
     NAMED STORM DEDUCTIBLE WILL APPLY, PLEASE REFER TO
     YOUR POLICY.



             LIMITATIONS OR EXCLUSIONS UNDER THIS POLICY

     FLOOD - Flood damage [is/is not] covered, regardless of how caused,
     when flood is the peril that causes the loss. This may include, but is not
     limited to, storm surge, waves, tidal water, overflow of a body of water,
     whether driven by wind or not.

           Flood Insurance may be available through the National Flood
           Insurance Program (NFIP). NFIP flood insurance may provide
           coverage for damage to your building and/or contents subject to the
           coverage limits and terms of the policy.

           Excess Flood Insurance may be available under a separate policy
           from this or another insurer if the amount of the primary flood
           insurance is not enough to cover the value of your property.


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                    FACTORY MUTUAL INSURANCE COMPANY



           . You may contact your broker or insurer for more information
              on the National Flood Insurance Program and Excess Flood
              Insurance.

     MOLD - Damage caused solely by Mold is not covered under this policy.

     **FOR ALL OTHER LIMITATIONS OR EXCLUSIONS REFER TO
     YOUR POLICY FOR COMPLETE DETAILS ON TERMS AND
     PROVISIONS**




     EFFECTIVE JANUARY 1, 2010




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                                   FILING EXEMPTION NOTICE


  Various states have enacted laws which suspend the requirement for the filing of rates and forms
  used for commercial and large commercial risks. This notice is being sent to you in accordance with
  the following states’ requirement for the insurance company to notify clients affected by this law. If
  you have any questions or concerns, please contact your Account Manager.

  Applicable States:
  Kentucky
  Michigan
  Missouri
  Pennsylvania
  South Dakota




  Form FMG7547                                 Page 1 of 1                       January 2019
  Factory Mutual Insurance Company




                                                                                       Samsonite 000168
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                         NEW JERSEY EARTHQUAKE INSURANCE
                                AVAILABILITY NOTICE

  All Insureds and applicants are cautioned that commercial fire and extended coverage insurance
  policies do not provide coverage for earthquake damage.

  The definition of an earthquake:

           •    is a shaking or trembling of the earth that is geologic or tectonic in nature;
           •    includes shock waves or tremors before, during or after a volcanic eruption; and
           •    can also include after-shocks that occur within a seventy-two hour period following an
                earthquake.

  A typical commercial fire and extended coverage insurance policy:

       ·        does not cover the cost to replace or repair damaged premises or structures, such as garages,
                resulting from an earthquake;
       ·        does not cover the cost to replace or repair the contents of business if the damages result from
                an earthquake; and
       ·        does not pay for any additional business expenses if property is badly damaged or destroyed
                by an earthquake.

  Earthquake insurance is available through an endorsement to this policy for an additional premium.
  The decision to purchase earthquake insurance is one that should be carefully considered based on
  individual circumstances.

  Historically, an earthquake in New Jersey is a rare event, although the possibility exists that it could
  happen. Over the five-year period from 1997 to 2002, for every $1 of earthquake insurance premium, 3/10
  of one cent has been paid out for losses.

  Please contact your broker or account manager if you have any questions or want additional
  information on how to obtain earthquake insurance.

  This notice is a general description of coverage and does not change, modify, or invalidate any of the
  provisions, terms or conditions of this Policy or its endorsements.




  7207 (2/03)
                                                                                               Samsonite 000169
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                   IMPORTANT NOTICE OF PREMIUM DISCOUNTS AND SURCHARGES

                                        Section 38-75-755 of the Code of Laws of
                                                 South Carolina requires

                                    FACTORY MUTUAL INSURANCE COMPANY

  to notify you of the availability of premium discounts for properties on which fixtures or
  construction techniques demonstrated to reduce the amount of loss in a windstorm have been
  installed or implemented. For your insured locations in South Carolina, there are many
  construction aspects that are reviewed which impact on the Wind portion of your premium. Your
  account manager can advise you further about how your premium has been developed.

  Among the factors considered are the following: the slope of the roof connecting down to the roof
  eaves line and if there is properly secured flashing; whether all glazed openings are protected for
  impact resistance and whether the roof tie downs such as clips, single wraps, double wraps,
  mechanical fasteners, or welds are in place; whether there are mechanical fasteners rated for the
  wind speed and whether welded connections are within the design for the wind speed; whether
  all other openings meet protection standards for impact resistance; and where applicable,
  whether braced gable roofs have been properly braced within the attic to the interior roof rafters.


  Masonry construction will be inspected so as to be at least two thirds of the total wall area and if
  there are unrestrained connections of walls to foundations, this will impact adversely for wind.

  Credits are given for buildings meeting FM Global Engineering standards and for meeting the
  International Building Code as adopted by the South Carolina Building Codes Council as of 2007.
  Buildings that do not meet these standards may be subject to premium surcharge or other
  underwriting conditions such as increased deductibles.




    7305 (10/07)                                     Page 1 of 1                             FACTORY MUTUAL INSURANCE COMPANY

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                                        VIRGINIA NOTICE


                IMPORTANT INFORMATION REGARDING YOUR INSURANCE

  In the event you need to contact someone about this insurance for any reason please contact your
  agent. If no agent was involved in the sale of this insurance, or if you have additional questions
  you may contact the insurance company issuing this insurance at the following address and
  telephone number:

                                            FM Global
                                 P.O. Box 7500 Johnston, RI 02919
                                       Fax: (401) 275-3029
                                         1-800-343-7722

  If you have been unable to contact or obtain satisfaction from the company or the agent, you may
  contact the Virginia State Corporation Commission’s Bureau of Insurance at: Property and
  Casualty Division, Bureau of Insurance, P.O. Box 1157, Richmond, VA 23218. In-state toll-free
  calls: 1-800-552-7945, Out-of-state calls: (804) 371-9741.


  Written correspondence is preferable so that a record of your inquiry is maintained. When
  contacting your agent, company or the Bureau of Insurance, have your policy number available




                      FUNCTIONAL REPLACEMENT COST COVERAGE

  Following state requirements, we are advising you that the coverage under this policy for certain
  property as specified in the policy’s Valuation clause applies on a functional replacement cost
  basis which means that, under certain conditions, claims may be settled for less than the actual
  cash value of the property insured.




  6579 (5/17)



                                                                                      Samsonite 000171
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                             STATE OF WASHINGTON NOTICE



     Various states have enacted laws that suspend the requirements for the filing of rates and
     forms used for large commercial insureds. This notice is being sent to you in accordance
     with the state’s requirement for the insurance company to notify clients affected by this
     new law. If you have any questions or concerns, please contact your Account Manager.




     7030 (4/06)




                                                                                    Samsonite 000172
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                         Civil Case Information Statement
  Case Details: UNION | Civil Part Docket# L-000193-21

 Case Caption: SAMSONITE LLC VS FACTORY MUTUAL                    Case Type: OTHER INSURANCE CLAIM (INCLUDING
 INSUR ANCE CO                                                    DECLARATORY JUDGMENT ACTIONS)
 Case Initiation Date: 01/19/2021                                 Document Type: Complaint with Jury Demand
 Attorney Name: SHERILYN PASTOR                                   Jury Demand: YES - 12 JURORS
 Firm Name: MC CARTER & ENGLISH LLP                               Is this a professional malpractice case? NO
 Address: FOUR GATEWAY CTR 100 MULBERRY ST                        Related cases pending: NO
 NEWARK NJ 071024056                                              If yes, list docket numbers:
 Phone: 9736224444                                                Do you anticipate adding any parties (arising out of same
 Name of Party: PLAINTIFF : Samsonite LLC                         transaction or occurrence)? NO
 Name of Defendant’s Primary Insurance Company
 (if known): Unknown                                              Are sexual abuse claims alleged by: Samsonite LLC? NO


                                                                  Are sexual abuse claims alleged by: Tumi, Inc.? NO


                                                                  Are sexual abuse claims alleged by: Delilah Europe Investments
                                                                  Sar? NO



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? YES
  If yes, is that relationship: Business
  Does the statute governing this case provide for payment of fees by the losing party? YES
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)
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  01/19/2021                                                      /s/ SHERILYN PASTOR
  Dated                                                                         Signed
